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                                                                             ALLMTN,APPEAL,TERMED
                               U.S. District Court
                         District of Colorado (Denver)
              CIVIL DOCKET FOR CASE #: 1:13−cv−01300−MSK−MJW

  Colorado Outfitters Association et al v. Hickenlooper           Date Filed: 05/17/2013
  Assigned to: Chief Judge Marcia S. Krieger                      Date Terminated: 06/26/2014
  Referred to: Magistrate Judge Michael J. Watanabe               Jury Demand: None
  Case in other court: USCA, 14−01290                             Nature of Suit: 950 Constitutional − State
                       USCA, 14−01292                             Statute
                                                                  Jurisdiction: Federal Question
  Cause: 28:1331 Federal Question: Other Civil Rights
  Defendant
  Mesa County, Board of County                      represented by David Robert Frankel
  Commissioners                                                    Mesa County Attorney's Office
                                                                   P.O. Box 20000
                                                                   544 Rood Avenue
                                                                   2nd Floor Annex
                                                                   Grand Junction, CO 81502−5004
                                                                   970−244−1612
                                                                   Fax: 970−255−7196
                                                                   Email: david.frankel@mesacounty.us
                                                                   ATTORNEY TO BE NOTICED

  Plaintiff
  Colorado Outfitters Association                   represented by Peter J. Krumholz
                                                                   Hale Westfall, LLP
                                                                   1600 Stout Street
                                                                   Suite 500
                                                                   Denver, CO 80202
                                                                   720−904−6007
                                                                   Fax: 720−904−6006
                                                                   Email: pkrumholz@halewestfall.com
                                                                   ATTORNEY TO BE NOTICED

                                                                  Richard A. Westfall
                                                                  Hale Westfall, LLP
                                                                  1600 Stout Street
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                                                                  Denver, CO 80202
                                                                  720−904−6010
                                                                  Fax: 720−904−6020
                                                                  Email: rwestfall@halewestfall.com
                                                                  ATTORNEY TO BE NOTICED

  Plaintiff
  Colorado Farm Bureau                              represented by Peter J. Krumholz
                                                                   (See above for address)
                                                                   ATTORNEY TO BE NOTICED

                                                                                                          951
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                                                        Richard A. Westfall
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  National Shooting Sports Foundation     represented by Jonathan Michael Anderson
                                                         Holland &Hart, LLP−Denver
                                                         P.O. Box 8749
                                                         555 17th Street
                                                         Suite 3200
                                                         Denver, CO 80201−8749
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                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                        Douglas L. Abbott
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                                                        P.O. Box 8749
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                                                        #3200
                                                        Denver, CO 80201−8749
                                                        303−295−8000
                                                        Fax: 295−8261
                                                        Email: dabbott@hollandhart.com
                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  Magpul Industries                       represented by Jonathan Michael Anderson
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                        Douglas L. Abbott
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  Colorado Youth Outdoors                 represented by Peter J. Krumholz
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

  Plaintiff
  USA Liberty Arms                        represented by Jonathon Michael Watson
                                                         Sherman &Howard, L.L.C.−Denver
                                                         633 17th Street
                                                         Suite 3000
                                                         Denver, CO 80202−3622

                                                                                             952
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                                                          303−297−2900
                                                          Fax: 303−298−0940
                                                          Email: jwatson@shermanhoward.com
                                                          TERMINATED: 02/12/2014

                                                          Marc F. Colin
                                                          Bruno Colin &Lowe, P.C.
                                                          1999 Broadway
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                                                          Denver, CO 80202
                                                          303−831−1099
                                                          Fax: 303−831−1088
                                                          Email: mcolin@brunolawyers.com
                                                          ATTORNEY TO BE NOTICED

  Plaintiff
  Outdoor Buddies, Inc.                     represented by Peter J. Krumholz
                                                           (See above for address)
                                                           ATTORNEY TO BE NOTICED

                                                          Richard A. Westfall
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

  Plaintiff
  Women for Concealed Carry                 represented by Peter J. Krumholz
                                                           (See above for address)
                                                           ATTORNEY TO BE NOTICED

                                                          Richard A. Westfall
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

  Plaintiff
  Colorado State Shooting Association       represented by Anthony John Fabian
                                                           Anthony J. Fabian, P.C.
                                                           510 Wilcox Street
                                                           #C
                                                           Castle Rock, CO 80104
                                                           303−663−9339
                                                           Email: fabianlaw@qwestoffice.net
                                                           ATTORNEY TO BE NOTICED

  Plaintiff
  Hamilton Family Enterprises, Inc.         represented by Anthony John Fabian
  doing business as                                        (See above for address)
  Family Shooting Center at Cherry Creek                   ATTORNEY TO BE NOTICED
  State Park

  Plaintiff

                                                                                               953
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  David Strumillo                        represented by David Benjamin Kopel
                                                        Independence Institute
                                                        727 East 16th Avenue
                                                        Denver, CO 80203
                                                        303−279−6536
                                                        Fax: 303−279−4176
                                                        Email: david@i2i.org
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  David Bayne                            represented by Peter J. Krumholz
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                      Richard A. Westfall
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

  Plaintiff
  Dylan Harrell                          represented by Peter J. Krumholz
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                      Richard A. Westfall
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

  Plaintiff
  Rocky Mountain Shooters Supply         represented by Jonathon Michael Watson
                                                        (See above for address)
                                                        TERMINATED: 02/12/2014

                                                      Marc F. Colin
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

  Plaintiff
  2nd Amendment Gunsmith &Shooter        represented by Jonathon Michael Watson
  Supply, LLC                                           (See above for address)
                                                        TERMINATED: 02/12/2014

                                                      Marc F. Colin
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

  Plaintiff
  Burrud Arms Inc.                       represented by Jonathon Michael Watson
  doing business as                                     (See above for address)
  Jensen Arms                                           TERMINATED: 02/12/2014

                                                                                            954
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                                                          Marc F. Colin
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

  Plaintiff
  Green Mountain Guns                      represented by Jonathon Michael Watson
                                                          (See above for address)
                                                          TERMINATED: 02/12/2014

                                                          Marc F. Colin
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

  Plaintiff
  Jerry's Outdoor Sports                   represented by Jonathon Michael Watson
                                                          (See above for address)
                                                          TERMINATED: 02/12/2014

                                                          Marc F. Colin
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

  Plaintiff
  Specialty Sports &Supply                 represented by Jonathon Michael Watson
                                                          (See above for address)
                                                          TERMINATED: 02/12/2014

                                                          Marc F. Colin
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

  Plaintiff
  Goods for the Woods                      represented by Jonathon Michael Watson
                                                          (See above for address)
                                                          TERMINATED: 02/12/2014

                                                          Marc F. Colin
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

  Plaintiff
  John B. Cooke                            represented by David Benjamin Kopel
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

  Plaintiff
  Ken Putnam                               represented by David Benjamin Kopel
                                                          (See above for address)


                                                                                              955
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                                                     ATTORNEY TO BE NOTICED

  Plaintiff
  James Faull                            represented by David Benjamin Kopel
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  Larry Kuntz                            represented by David Benjamin Kopel
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  Fred Jobe                              represented by David Benjamin Kopel
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  Donald Krueger                         represented by David Benjamin Kopel
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  Stan Hilkey                            represented by David Benjamin Kopel
  TERMINATED: 05/08/2014                                (See above for address)
                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  Dave Stong                             represented by David Benjamin Kopel
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  Peter Gonzalez                         represented by David Benjamin Kopel
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  Sue Kurtz                              represented by David Benjamin Kopel
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

  Plaintiff
  Douglas N. Darr                        represented by David Benjamin Kopel
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED



                                                                                       956
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  V.
  Defendant
  John W. Hickenlooper                      represented by Daniel D. Domenico
  Govenor of the State of Colorado                         Colorado Attorney General's Office
                                                           Ralph L. Carr Colorado Judicial Center
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                                                           Denver, CO 80203
                                                           720−508−6000
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                                                           ATTORNEY TO BE NOTICED

                                                           David Christopher Blake
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                                                           John Tien Yau Lee
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                                                           ATTORNEY TO BE NOTICED

                                                           Jonathan Patrick Fero
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                                                           ATTORNEY TO BE NOTICED

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                                                                                                    957
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                                                     ATTORNEY TO BE NOTICED

                                                     LeeAnn Morrill
                                                     Colorado Attorney General's Office
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                                                     ATTORNEY TO BE NOTICED

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                                                     ATTORNEY TO BE NOTICED

                                                     Molly Allen Moats
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                                                     1300 Broadway
                                                     Denver, CO 80203
                                                     720−508−6000
                                                     Fax: 720−508−6032
                                                     Email: molly.moats@state.co.us
                                                     ATTORNEY TO BE NOTICED

                                                     Stephanie Lindquist Scoville
                                                     Colorado Attorney General's Office
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                                                     1300 Broadway
                                                     Denver, CO 80203
                                                     720−508−6000
                                                     Fax: 720−508−6032
                                                     Email: stephanie.scoville@state.co.us
                                                     ATTORNEY TO BE NOTICED

  Interested Party
  Board of County Commissioners for      represented by David Robert Frankel
  Mesa County Colorado                                  (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                     Maurice L. Dechant
                                                     Maurice L. Dechant, Attorney at Law
                                                     1940 10 Road
                                                     Mack, CO 81525
                                                     970−216−0941

                                                                                              958
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                                                            Email: lyledechant@gmail.com
                                                            TERMINATED: 03/03/2014

  Plaintiff
  John B. Cooke                              represented by David Benjamin Kopel
  Sheriff of Weld County, Colordo                           (See above for address)
  TERMINATED: 11/27/2013                                    LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

  Plaintiff
  Terry Maketa                               represented by David Benjamin Kopel
  Sheriff of El Paso County, Colorado                       (See above for address)
  TERMINATED: 11/27/2013                                    LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

  Plaintiff
  Justin Smith                               represented by David Benjamin Kopel
  Sheriff of Larimer County, Colorado                       (See above for address)
  TERMINATED: 11/27/2013                                    LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

  Plaintiff
  David A. Weaver                            represented by David Benjamin Kopel
  Sheriff of Douglas County, Colorado                       (See above for address)
  TERMINATED: 11/27/2013                                    LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

  Plaintiff
  Bruce W. Hartman                           represented by David Benjamin Kopel
  Sheriff of Gilpin County, Colorado                        (See above for address)
  TERMINATED: 11/27/2013                                    LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

  Plaintiff
  Dennis Spruell                             represented by David Benjamin Kopel
  Sheriff of Montezuma County, Colorado                     (See above for address)
  TERMINATED: 11/27/2013                                    LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

  Plaintiff
  Tim Jantz                                  represented by David Benjamin Kopel
  Sheriff of Moffat County, Colorado                        (See above for address)
  TERMINATED: 11/27/2013                                    LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

  Plaintiff
  Jerry Martin                               represented by David Benjamin Kopel
  Sheriff of Dolores County, Colorado                       (See above for address)


                                                                                                959
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   TERMINATED: 11/27/2013                                    LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

   Plaintiff
   Mike Ensminger                             represented by David Benjamin Kopel
   Sheriff of Teller County, Colorado                        (See above for address)
   TERMINATED: 11/27/2013                                    LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

   Plaintiff
   Shayne Heap                                represented by David Benjamin Kopel
   Sheriff of Elbert County, Colorado                        (See above for address)
   TERMINATED: 11/27/2013                                    LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

   Plaintiff
   Chad Day                                   represented by David Benjamin Kopel
   Sheriff of Yuma County, Colorado                          (See above for address)
   TERMINATED: 11/27/2013                                    LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

   Plaintiff
   Fred D. McKee                              represented by David Benjamin Kopel
   Sheriff of Delta County, Colorado                         (See above for address)
   TERMINATED: 11/27/2013                                    LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

   Plaintiff
   Lou Vallario                               represented by David Benjamin Kopel
   Sheriff of Garfield County, Colorado                      (See above for address)
   TERMINATED: 11/27/2013                                    LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

   Plaintiff
   Fred Hosselkus                             represented by David Benjamin Kopel
   Sheriff of Mineral County, Colorado                       (See above for address)
   TERMINATED: 11/27/2013                                    LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

   Plaintiff
   Brett L. Powell                            represented by David Benjamin Kopel
   Sheriff of Logan County, Colorado                         (See above for address)
   TERMINATED: 11/27/2013                                    LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

   Plaintiff
   Brian E. Norton                            represented by David Benjamin Kopel
   Sheriff of Rio Grande County, Colorado                    (See above for address)


                                                                                                  960
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   TERMINATED: 11/27/2013                                   LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

   Plaintiff
   Duke Schirard                             represented by David Benjamin Kopel
   Sheriff of La Plata County, Colorado                     (See above for address)
   TERMINATED: 11/27/2013                                   LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

   Plaintiff
   Jim Beicker                               represented by David Benjamin Kopel
   Sheriff of Fremont County, Colorado                      (See above for address)
   TERMINATED: 11/27/2013                                   LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

   Plaintiff
   Ronald Bruce                              represented by David Benjamin Kopel
   Sheriff of Hinsdale County, Colorado                     (See above for address)
   TERMINATED: 11/27/2013                                   LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

   Plaintiff
   Chris S. Johnson                          represented by David Benjamin Kopel
   Sheriff of Otero County, Colorado                        (See above for address)
   TERMINATED: 11/27/2013                                   LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

   Plaintiff
   James Crone                               represented by David Benjamin Kopel
   Sheriff of Morgan County, Colorado                       (See above for address)
   TERMINATED: 11/27/2013                                   LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

   Plaintiff
   Si Woodruff                               represented by David Benjamin Kopel
   Sheriff of Rio Blanco County, Colorado                   (See above for address)
   TERMINATED: 11/27/2013                                   LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

   Plaintiff
   Tom Ridnour                               represented by David Benjamin Kopel
   Sheriff of Kit Carson County, Colorado                   (See above for address)
   TERMINATED: 11/27/2013                                   LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

   Plaintiff
   Tom Nestor                                represented by David Benjamin Kopel
   Sheriff of Lincoln County, Colorado                      (See above for address)


                                                                                                 961
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   TERMINATED: 11/27/2013                                   LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

   Plaintiff
   Forrest Frazee                            represented by David Benjamin Kopel
   Sheriff of Kiowa County, Colorado                        (See above for address)
   TERMINATED: 11/27/2013                                   LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

   Plaintiff
   Rick Dunlap                               represented by David Benjamin Kopel
   Sheriff of Montrose County, Colorado                     (See above for address)
   TERMINATED: 11/27/2013                                   LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

   Plaintiff
   Ted B. Mink                               represented by David Benjamin Kopel
   Sheriff of Jefferson County, Colorado                    (See above for address)
   TERMINATED: 11/27/2013                                   LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

   Plaintiff
   Fred Wegener                              represented by David Benjamin Kopel
   Sheriff of Park County, Colorado                         (See above for address)
   TERMINATED: 11/27/2013                                   LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

   Plaintiff
   Bruce Newman                              represented by David Benjamin Kopel
   Sheriff of Huerfano County, Colorado                     (See above for address)
   TERMINATED: 11/27/2013                                   LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

   Plaintiff
   Randy Peck                                represented by David Benjamin Kopel
   Sheriff of Sedgwick County, Colorado                     (See above for address)
   TERMINATED: 11/27/2013                                   LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

   Plaintiff
   Dominic Mattivi, Jr.                      represented by David Benjamin Kopel
   Sheriff of Ouray County, Colorado                        (See above for address)
   TERMINATED: 11/27/2013                                   LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

   Plaintiff
   John Minor                                represented by David Benjamin Kopel
   Sheriff of Summit County, Colorado                       (See above for address)


                                                                                                 962
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   TERMINATED: 11/27/2013                                    LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

   Plaintiff
   Scott Fischer                              represented by David Benjamin Kopel
   Sheriff of Jackson County, Colorado                       (See above for address)
   TERMINATED: 11/27/2013                                    LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

   Plaintiff
   Rick Besecker                              represented by David Benjamin Kopel
   Sheriff of Gunnison County, Colorado                      (See above for address)
   TERMINATED: 11/27/2013                                    LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

   Plaintiff
   Charles "Rob" Urbach                       represented by David Benjamin Kopel
   Sheriff of Phillips County, Colorado                      (See above for address)
   TERMINATED: 11/27/2013                                    LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

   Plaintiff
   Rod Fenske                                 represented by David Benjamin Kopel
   Sheriff of Lake County, Colorado                          (See above for address)
   TERMINATED: 11/27/2013                                    LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

   Plaintiff
   Grayson Robinson                           represented by David Benjamin Kopel
   Sheriff of Arapahoe County, Colorado                      (See above for address)
   TERMINATED: 11/27/2013                                    LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

   Plaintiff
   David Campbell                             represented by David Benjamin Kopel
   Sheriff of Baca County, Colorado                          (See above for address)
   TERMINATED: 11/27/2013                                    LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

   Plaintiff
   Mike Norris                                represented by David Benjamin Kopel
   Sheriff of Saguache County, Colorado                      (See above for address)
   TERMINATED: 11/27/2013                                    LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

   Plaintiff
   Amos Medina                                represented by David Benjamin Kopel
   Sheriff of Costilla County, Colorado                      (See above for address)


                                                                                                  963
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   TERMINATED: 11/27/2013                                            LEAD ATTORNEY
                                                                     ATTORNEY TO BE NOTICED

   Plaintiff
   Miles Clark                                      represented by David Benjamin Kopel
   Sheriff of Crowley County, Colorado                             (See above for address)
   TERMINATED: 11/27/2013                                          LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED

   Plaintiff
   David Encinias                                   represented by David Benjamin Kopel
   Sheriff of Bent County, Colorado                                (See above for address)
   TERMINATED: 11/27/2013                                          LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED

   Plaintiff
   James (Jim) Casias                               represented by David Benjamin Kopel
   Sheriff of Las Animas County, Colorado                          (See above for address)
   TERMINATED: 11/27/2013                                          LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED

   Plaintiff
   Garrett Wiggins                                  represented by David Benjamin Kopel
   Sheriff of Routt County, Colorado                               (See above for address)
   TERMINATED: 11/27/2013                                          LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED

   Plaintiff
   Grand Prix Guns                                  represented by Jonathon Michael Watson
   TERMINATED: 12/23/2013                                          (See above for address)
                                                                   TERMINATED: 02/12/2014

                                                                     Marc F. Colin
                                                                     (See above for address)
                                                                     ATTORNEY TO BE NOTICED

   Plaintiff
   Rodney Johnson                                   represented by David Benjamin Kopel
   Sheriff of Grand County, Colorado                               (See above for address)
   TERMINATED: 12/12/2013                                          LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED


    Date Filed        #    Page Docket Text
    08/22/2013        70         BRIEF in Opposition to 64 MOTION to Dismiss Claims Two, Three, and
                                 Four, and to Dismiss Sheriffs as Plaintiffs Acting in their Official Capacities
                                 filed by Plaintiffs Jim Beicker, Rick Besecker, Ronald Bruce, David
                                 Campbell, James (Jim) Casias, Miles Clark, John B. Cooke, James Crone,
                                 Douglas Darr, Chad Day, Rick Dunlap, David Encinias, Mike Ensminger,

                                                                                                               964
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                              James Faull, Rod Fenske, Scott Fischer, Forrest Frazee, Peter Gonzalez,
                              Bruce W. Hartman, Shayne Heap, Stan Hilkey, Fred Hosselkus, Tim Jantz,
                              Fred Jobe, Chris S. Johnson, Rodney Johnson, Donald Krueger, Larry
                              Kuntz, Sue Kurtz, Terry Maketa, Jerry Martin, Dominic Mattivi, Jr, Fred D.
                              McKee, Amos Medina, Ted B. Mink, John Minor, Tom Nestor, Bruce
                              Newman, Mike Norris, Brian E. Norton, Randy Peck, Brett L. Powell, Ken
                              Putnam, Tom Ridnour, Grayson Robinson, Duke Schirard, Justin Smith,
                              Dennis Spruell, Dave Stong, David Strumillo, Charles "Rob" Urbach, Lou
                              Vallario, David A. Weaver, Fred Wegener, Garrett Wiggins, Si Woodruff.
                              (Attachments: # 1 Exhibit Sheriff Bruce interrogatory, # 2 Exhibit Sheriff
                              Woodruff interrogatory, # 3 Exhibit Sheriff Crone interrogatory, # 4 Exhibit
                              Sheriff Stong interrogatory, # 5 Exhibit Sheriff Campbell interrogatory, # 6
                              Exhibit Sheriff Jobe interrogatory, # 7 Exhibit Sheriff Nestor interrogatory,
                              # 8 Exhibit Sheriff Logan interrogatory, # 9 Exhibit Sheriff Spruell
                              interrogatory, # 10 Exhibit Sheriff Faull interrogatory, # 11 Exhibit Sheriff
                              Smith interrogatory, # 12 Exhibit Sheriff McKee interrogatory, # 13 Exhibit
                              Sheriff Weaver interrogatory, # 14 Exhibit Sheriff Casias interrogatory, # 15
                              Exhibit Sheriff Beicker interrogatory, # 16 Exhibit Legislative testimony, #
                              17 Exhibit Ayoob expert report)(Kopel, David) (Entered: 08/22/2013)
                              Main Document (Not Attached)
                              Attachment # 1 Exhibit Sheriff Bruce interrogatory (Not Attached)
                              Attachment # 2 Exhibit Sheriff Woodruff interrogatory (Not Attached)
                              Attachment # 3 Exhibit Sheriff Crone interrogatory (Not Attached)
                              Attachment # 4 Exhibit Sheriff Stong interrogatory (Not Attached)
                              Attachment # 5 Exhibit Sheriff Campbell interrogatory (Not Attached)
                              Attachment # 6 Exhibit Sheriff Jobe interrogatory (Not Attached)
                              Attachment # 7 Exhibit Sheriff Nestor interrogatory (Not Attached)
                              Attachment # 8 Exhibit Sheriff Logan interrogatory (Not Attached)
                              Attachment # 9 Exhibit Sheriff Spruell interrogatory (Not Attached)
                              Attachment # 10 Exhibit Sheriff Faull interrogatory (Not Attached)
                              Attachment # 11 Exhibit Sheriff Smith interrogatory (Not Attached)
                              Attachment # 12 Exhibit Sheriff McKee interrogatory (Not Attached)
                              Attachment # 13 Exhibit Sheriff Weaver interrogatory (Not Attached)
                              Attachment # 14 Exhibit Sheriff Casias interrogatory (Not Attached)
                          18 Attachment # 15 Exhibit Sheriff Beicker interrogatory
                          26 Attachment # 16 Exhibit Legislative testimony
                          34 Attachment # 17 Exhibit Ayoob expert report
    09/05/2013    75      51 REPLY to Response to 64 MOTION to Dismiss Claims Two, Three, and
                             Four, and to Dismiss Sheriffs as Plaintiffs Acting in their Official Capacities


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                               filed by Defendant John W. Hickenlooper. (Lee, John) (Entered:
                               09/05/2013)
    11/01/2013    92       73 SURREPLY re 64 MOTION to Dismiss Claims Two, Three, and Four, and
                              to Dismiss Sheriffs as Plaintiffs Acting in their Official Capacities filed by
                              Defendant John W. Hickenlooper. (Lee, John) (Entered: 11/01/2013)
    11/27/2013    96       82 Opinon and ORDER granting in part and denying in part Defendant's 64
                              Motion to Dismiss. The Defendant's Motion to Dismiss is GRANTED IN
                              PART AND DENIED IN PART. The motion is GRANTED with respect to
                              all claims asserted by the Sheriffs. The claims are DISMISSED without
                              prejudice. Any Sheriff shall have 14 days from the date of this Order in
                              which to seek to join the action in an individual capacity. The motion is
                              GRANTED with respect to the Plaintiffs' claim that the phrase "designed to
                              be readily converted," found in § 18−12−301(2)(a)(I), is unconstitutionally
                              vague, and the claim is DISMISSED. The claims proceeding in this case are
                              (1) Second Amendment challenges to §§ 18−12−301 et seq. and §
                              18−12−112; (2) a claim for unconstitutional vagueness as to the phrase
                              "continuous possession," § 18−12−302(2)(a)(II); and (3) the ADA claims.
                              By Chief Judge Marcia S. Krieger on 11/27/2013.(klyon, ) (Entered:
                              11/27/2013)
    12/09/2013   102      107 Unopposed MOTION to Amend/Correct/Modify 96 Order on Motion to
                              Dismiss,,, by Plaintiffs 2nd Amendment Gunsmith &Shooter Supply, LLC,
                              David Bayne, Jim Beicker, Rick Besecker, Ronald Bruce, Burrud Arms Inc.,
                              David Campbell, James (Jim) Casias, Miles Clark, Colorado Farm Bureau,
                              Colorado Outfitters Association, Colorado State Shooting Association,
                              Colorado Youth Outdoors, John B. Cooke, James Crone, Douglas Darr,
                              Chad Day, Rick Dunlap, David Encinias, Mike Ensminger, James Faull, Rod
                              Fenske, Scott Fischer, Forrest Frazee, Peter Gonzalez, Goods for the Woods,
                              Grand Prix Guns, Green Mountain Guns, Hamilton Family Enterprises, Inc.,
                              Dylan Harrell, Bruce W. Hartman, Shayne Heap, Stan Hilkey, Fred
                              Hosselkus, Tim Jantz, Jerry's Outdoor Sports, Fred Jobe, Chris S. Johnson,
                              Rodney Johnson, Donald Krueger, Larry Kuntz, Sue Kurtz, Magpul
                              Industries, Terry Maketa, Jerry Martin, Dominic Mattivi, Jr, Fred D. McKee,
                              Amos Medina, Ted B. Mink, John Minor, National Shooting Sports
                              Foundation, Tom Nestor, Bruce Newman, Mike Norris, Brian E. Norton,
                              Outdoor Buddies, Inc., Randy Peck, Brett L. Powell, Ken Putnam, Tom
                              Ridnour, Grayson Robinson, Rocky Mountain Shooters Supply, Duke
                              Schirard, Justin Smith, Specialty Sports &Supply, Dennis Spruell, Dave
                              Stong, David Strumillo, USA Liberty Arms, Charles "Rob" Urbach, Lou
                              Vallario, David A. Weaver, Fred Wegener, Garrett Wiggins, Women for
                              Concealed Carry, Si Woodruff. (Krumholz, Peter) (Entered: 12/09/2013)
    12/11/2013   104      115 MOTION for Joinder , MOTION for Leave to File 3d Amended Complaint
                              by Plaintiffs Jim Beicker, Rick Besecker, Ronald Bruce, David Campbell,
                              James (Jim) Casias, Miles Clark, John B. Cooke, James Crone, Douglas
                              Darr, Chad Day, Rick Dunlap, David Encinias, Mike Ensminger, James
                              Faull, Rod Fenske, Scott Fischer, Forrest Frazee, Peter Gonzalez, Bruce W.
                              Hartman, Shayne Heap, Stan Hilkey, Fred Hosselkus, Tim Jantz, Fred Jobe,
                              Chris S. Johnson, Rodney Johnson, Donald Krueger, Larry Kuntz, Sue
                              Kurtz, Terry Maketa, Jerry Martin, Dominic Mattivi, Jr, Fred D. McKee,
                              Amos Medina, Ted B. Mink, John Minor, Tom Nestor, Bruce Newman,

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                               Mike Norris, Brian E. Norton, Randy Peck, Brett L. Powell, Ken Putnam,
                               Tom Ridnour, Grayson Robinson, Duke Schirard, Justin Smith, Dennis
                               Spruell, Dave Stong, David Strumillo, Charles "Rob" Urbach, Lou Vallario,
                               David A. Weaver, Fred Wegener, Garrett Wiggins, Si Woodruff.
                               (Attachments: # 1 Exhibit 3d Am. Complaint, with strikethroughs, # 2
                               Deposition Excerpts Exhibit C. Wagner deposition, # 3 Exhibit Exhibit D.
                               AG response to FFL discovery, # 4 Exhibit Exhibit E. AG response to
                               Sheriffs discovery, # 5 Exhibit Exhibit F. CBI documents, # 6 Deposition
                               Excerpts Exhibit G. Sloan deposition, # 7 Exhibit Exhibit H. AG response to
                               2d non−profit discovery, # 8 Exhibit Exhibit I. AG response to 1st
                               non−profit discovery)(Kopel, David) (Entered: 12/11/2013)
    12/11/2013   109      299 Exhibits in Support of 62 Amended Complaint, by Plaintiffs 2nd
                              Amendment Gunsmith &Shooter Supply, LLC, David Bayne, Burrud Arms
                              Inc., Colorado Farm Bureau, Colorado Outfitters Association, Colorado
                              State Shooting Association, Colorado Youth Outdoors, Goods for the
                              Woods, Grand Prix Guns, Green Mountain Guns, Hamilton Family
                              Enterprises, Inc., Dylan Harrell, Jerry's Outdoor Sports, Magpul Industries,
                              National Shooting Sports Foundation, Outdoor Buddies, Inc., Rocky
                              Mountain Shooters Supply, Specialty Sports &Supply, David Strumillo,
                              USA Liberty Arms, Women for Concealed Carry. (Public Entry for 106
                              Restricted Document − Level 1) (Text only entry) (klyon, ) (Entered:
                              12/12/2013)




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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Civil Action No. 13-CV-1300-MSK-MJW

 JOHN B. COOKE, Sheriff of Weld County, Colorado, et al.

         Plaintiffs,

 vs.

 JOHN W. HICKENLOOPER, Governor of the State of Colorado,

         Defendant.


        RESPONSE OF FREMONT COUNTY SHERIFF JAMES L.
          BEICKER TO DEFENDANT’S INTERROGATORIES

        Sheriff Beicker, by and through his undersigned counsel, and pursuant to Fed.
 R. Civ. P. 33(b), hereby responds to Defendant’s Interrogatories as follows:

                             GENERAL OBJECTIONS

        Where no objection is interposed, the responses below reflect all responsive
information and documents identified by Sheriff Beicker before the date of the
responses, pursuant to a reasonable and diligent search and investigation conducted
in connection with this discovery. To the extent the discovery purports to require
more, Sheriff objects on the grounds that (a) the discovery seeks to compel him to
conduct a search beyond the scope of permissible discovery contemplated by the
Federal Rules of Civil Procedure, and (b) compliance with the discovery would be
oppressive, and would impose an undue burden or expense.

       Sheriff Beicker’s discovery responses are also made subject to the ongoing
 discovery and trial preparation in this case. These discovery responses are made
 based on the best information, including facts available as of the date of such
 responses. Sheriff Beicker reserves the right to amend, supplement, or change
 these discovery responses as permitted or required under the Federal Rules of Civil
 Procedure based on additional information obtained through the discovery and trial
 preparation process.

       Sheriff Beicker makes each individual response subject to and without
 waiving the conditions and objections that are stated in the sections of these
 responses entitled “General Objections” and “Objections to Instructions and




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 Definitions” and that are specifically referred to in that particular individual
 response.

        Sheriff Beicker makes each individual response without adopting in any way
 (unless otherwise stated) the terms and phrases that Defendant purports to define
 in his discovery. When Sheriff Beicker uses words or phrases that Defendant has
 purported to define, those words and phrases should be given either (a) the meaning
 set out by Sheriff Beicker in his responses, or in its objections to the specific
 definitions, or (b) the ordinary meaning of such words or phrases.


             OBJECTIONS TO INSTRUCTIONS AND DEFINITIONS

        Defendant has purported to define several terms used in his discovery. In his
 responses, Sheriff Beicker gives ordinary words and phrases their ordinary
 meaning. By making this written response, Sheriff Beicker does not (a) adopt any
 purported definition, (b) waive or limit its objections to Defendant’s purported
 definitions, or (c) concede the applicability of any such definition to any term or
 phrase that might be contained in written responses. Wherever these words are
 used in Defendant’s interrogatories, these objections and these clarifications are
 incorporated, unless otherwise specified in the request.

        Defendant purported to define “you” and “your” to include “counsel for
 Plaintiffs.” Sheriff Beicker objects to this definition to the extent that it purports to
 require the disclosure of information, communications, or documents protected from
 disclosure by the attorney-client privilege, work product immunity, or any other
 privilege or immunity.

 RESPONSES

 1. With respect to each and every home invasion or “robbery in the home” to which
 your department has responded since January 1, 2004, please:

    a. describe the circumstances surrounding the home invasion/robbery in the
       home, including: the date and location (by city and county), the number of
       perpetrators involved, whether or not the perpetrator(s) carried firearms, and
       whether or not the perpetrator(s), victim(s), or others fired any shots;

 Response:

 We have only one case of home invasion or robbery/ burglary since January 1, 2004.
 It is a current and ongoing investigation. Because this information involves an open
 case with an ongoing prosecution, it is privileged from discovery. The incident did
 not involve more than 16 shots fired.




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         b. if a firearm was fired or otherwise used or displayed by any person,
         identify who used, displayed, or discharged the firearm, the manner in which
         they did so, whether the firearm used a magazine, the capacity of any
         magazines from which bullets were fired, the number of rounds fired by each
         individual, and whether any person was shot;

 Response: Sheriff Beicker objects to this interrogatory on the ground that the
 phrase “otherwise used or displayed” is vague and ambiguous. Subject to and
 without waiving this objection, the only incident is the one described in 1.a. above.


 c. if any person was shot, identify the individuals who inflicted and suffered any
 gunshot injuries and state whether any individual was killed.

 Response:

 None.

 2. With respect to each and every occasion when you, your predecessor(s) in office,
 or a sheriff’s deputy has discharged a firearm in the course of duty since January 1,
 2004 (not including firearm practice or training), please:

 a. describe the circumstances surrounding the firearm discharge, including the
 date, location (by city and county), the reason for the firearm discharge, and
 whether you, your predecessor(s), or deputy were fired upon;

 Response: Sheriff Beicker objects to this interrogatory on the ground that it is
 overbroad and not reasonably calculated to lead to the discovery of admissible
 evidence. Subject to and without waiving this objection: With the research I
 conducted and to my knowledge, there have been no occasion in which myself or
 past or current officers have discharged their firearms in the line of duty since
 January 1, 2004.


 b. if a firearm was fired by any person involved in the event, identify who fired the
 firearm, whether the firearm used a magazine, the capacity of any magazines from
 which bullets were fired, the number of rounds fired by each individual, and
 whether any person was shot;

 Response: Sheriff Beicker objects to this interrogatory on the ground that the
 word “event” is vague. Subject to and without waiving this objection: With the
 research I conducted and to my knowledge, there have been no occasion in which




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 myself or past or current officers have discharged their firearms in the line of duty
 since January 1, 2004.

 c. if any person was shot, identify the individuals who inflicted and suffered any
 gunshot injuries and state whether any individual was killed.

 Response:

 None.

 3. With respect to the allegations of paragraph 102 of the First Amended Complaint
 (doc. #22), describe every instance since January 1, 1973 in which you or your
 predecessors in office requested the armed assistance of able-bodied adults (“posse
 comitatus”). In your response, state in detail the circumstances surrounding each
 such request, including:

 a. the reason for the request, the number of individuals who responded to the
 request, whether such individuals were law enforcement officers or were deputized
 for the purposes of participating, and whether these individuals were required by
 you or your predecessors to carry firearms in connection with their participation;

 Response:

 I was unable to make contact with any of the previous Sheriffs of Fremont County,
 to my knowledge and with research I was unable to find any evidence that past
 Sheriffs have requested the help of civilians for any emergency or law enforcement
 related matter. I myself have not requested the help of civilians to date and have
 been Sheriff of Fremont County since January 2003.


 b. whether any individual who responded to the request to assist law enforcement
 or any individual(s) they encountered while assisting law enforcement discharged a
 firearm. If shots were fired, state the circumstances surrounding the discharge of
 the firearm(s), including: who discharged a firearm, whether the firearm(s) used a
 magazine, the capacity of any magazines from which bullets were fired, the number
 of rounds fired, and whether any person was shot;

 Response:

 I was unable to make contact with any of the previous Sheriffs of Fremont County,
 to my knowledge and with research I was unable to find any evidence that past
 Sheriffs have requested the help of civilians for any emergency or law enforcement
 related matter. I myself have not requested the help of civilians to date and have
 been Sheriff of Fremont County since January 2003.




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 c. if any person was shot, identify the individuals who inflicted and suffered any
 gunshot injuries and state whether any individual was killed.

 Response:

 I was unable to make contact with any of the previous Sheriffs of Fremont County,
 to my knowledge and with research I was unable to find any evidence that past
 Sheriffs have requested the help of civilians for any emergency or law enforcement
 related matter. I myself have not requested the help of civilians to date and have
 been Sheriff of Fremont County since January 2003.


 4. With respect to the allegations of paragraph 103 of the First Amended Complaint
 (doc. #22), describe every instance since January 1, 2004 when you or your
 predecessors appointed deputies who were not certified peace officers. In your
 response, state in detail:

 a. the date and duration of each individual’s appointment, the circumstances
 surrounding the need for the “non-certified” deputy, whether the non-certified
 deputy was required to carry a firearm, whether the “non-certified” deputy carried a
 firearm he/she supplied or a firearm supplied by the sheriff’s office, and whether
 any non-certified deputy ever discharged a firearm;

 Response:

 Since being elected in January of 2003 I have never appointed any deputy that was
 not a certified peace officer in Colorado, other than Detention deputies.

 b. the circumstances surrounding the discharge of the non-certified deputy’s
 firearm, including: the date and location of the event, whether the non-certified
 deputy was fired upon, the number of rounds fired by the non-certified deputy, the
 number of rounds fired by others involved in the event, the capacities of magazines
 from which bullets were fired, and whether any individual was shot;

 Response:

 None.

 c. if any person was shot, identify the individuals who inflicted and suffered any
 gunshot injuries and state whether any individual was killed.

 Response:




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 None.

 5. Describe every occasion since January 1, 2004 when you, your predecessor
 sheriff(s), a sheriff’s deputy, or a family member living with these individuals has
 discharged or otherwise used or displayed a firearm in defense of self, home, or
 other family members. In your response, describe the circumstances surrounding
 each event, including: the events leading to the use, display, or discharge of the
 firearm, the number of rounds fired by you or others, and the capacity of magazines
 used by firearms that were discharged. If any person was shot, identify the
 individuals who inflicted and suffered any gunshot injuries and state whether any
 individual was killed.

 Response: Sheriff Beicker objects to this interrogatory on the ground that the
 phrase “otherwise used or displayed” is vague and ambiguous. Subject to and
 without waiving this objection: In my research I can find no incidents where
 deputies or family members that discharged or displayed or used a firearm of any
 kind in defense of home or self since January 1, 2004.


 6. With respect to the allegations of paragraph 105 of the First Amended Complaint
 (doc. #22), describe every instance since January 1, 2004 in which you or your
 predecessors in office requested armed citizen assistance for emergencies and
 natural disasters. In your response, state in detail the circumstances surrounding
 each such request, including:

 a. the reason for the request, the number of individuals who responded to the
 request, and whether such individuals were law enforcement officers or were
 deputized for the purposes of participating, and whether these individuals were
 required by you or your predecessors to carry firearms;

 Response:

 Since January 1, 2004 I have requested the assistance of the Colorado Mounted
 Rangers” J Troop.” The majority of these individuals are not POST certified peace
 officers, but my understanding is that a few members of their organization are.

 I have used their assistance on four wildfires in my county: Duckett Fire/ Park Fire/
 Wetmore Fire/ Royal Gorge Fire. On these incidents they were assigned to road
 closures, manning road blocks for evacuated areas.

 They were allowed, but not required to carry firearms for this duty. I have no
 documented evidence of who did carry or did not carry during these events.




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 The Fremont County Sheriff’s Office has also utilized the J Troop Rangers for some
 annual community events: Canon City Music and Blossom Festival/ Penrose Apple
 Days. Once again they were authorized to carry weapons for these events, but I
 have no documentation or records of how many Rangers were assigned or who they
 were individually.

 I have also used the Colorado Department of Corrections personnel to assist in
 locating wanted persons in my County. The personnel assigned to these situations
 have been the search and tracking teams and the SORT team personnel. These staff
 are considered level II peace officers in Colorado and are acting under the color of
 duty for the Director of the Colorado Department of Corrections. They are
 authorized to carry firearms, and there have been no reports of the use of firearms
 during any of these events.


 b. whether any individual who responded to the request to assist law enforcement
 or any individual(s) they encountered while assisting law enforcement discharged a
 firearm. If shots were fired, state the circumstances surrounding the discharge of
 the firearm(s), including: who discharged a firearm, whether the firearm(s) used a
 magazine, the capacity of any magazines from which bullets were fired, the number
 of rounds fired, and whether any person was shot;

 Response:

 There are no known incidents of the use of firearms during any of these events.

 c. if any person was shot, identify the individuals who inflicted and suffered any
 gunshot injuries and state whether any individual was killed.

 Response:

 None.

 AS TO OBJECTIONS:




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                                        s/David B. Kopel
                                        INDEPENDENCE INSTITUTE
                                        727 E. 16th Avenue
                                        Denver, CO 80203
                                        Phone: (303) 279-6536
                                        Fax: (303) 279-4176
                                        david@i2i.org

                                        ATTORNEY FOR SHERIFFS AND DAVID
                                        STRUMILLO

 AS TO RESPONSES:
       Pursuant to 28 U.S.C. § 1746, I, James Beicker, do hereby verify under
 penalty of perjury that the foregoing responses to Defendant’s Interrogatories are
 true and correct to the best of my information and belief.

       Dated this 12th day of August, 2013.

                                        ______             _____________
                                        s/Sheriff James Beicker




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                             IN THE UNITED STATES DISTRICT COURT

                                  FOR THE DISTRICT OF COLORADO


                               Civil Action No. 13-CV-1300-MSK-MJW


 JOHN B. COOKE, Sheriff of Weld County, Colorado; et al.



         Plaintiffs,



 vs.


 JOHN W. HICKENLOOPER, Governor of the State of Colorado,


         Defendant.



         LEGISLATIVE TESTMIONY OF LEE REEDY AND SAM MYRANT.
         EXHIBIT P OF SHERIFFS' RESPONSE TO MOTION TO DISMISS


 Exhibit P

                      1

  1 CITY AND COUNTY OF DENVER

  2 STATE OF COLORADO

  3 JUDICIAL COMMITTEE MEETING

  4 HELD ON FEBRUARY 12, 2013

  5 HOUSE BILL 13-1224

  6 ----------------------------------------------------

  7              REPORTER'S TRANSCRIPT



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  8 ----------------------------------------------------

  9

 10           This transcript was taken from an audio

 11 recording by Angela Smith, Professional Reporter and

 12 Notary Public.

 …..



 Testimony of Lee Reedy



                    155

 24    Sir, state your name for the record,

 25 please. Tell us who you represent.

                    156

  1            LEE REEDY: My name is Lee Reedy. I

  2 represent my wife and myself.

  3            THE CHAIRMAN: Fantastic. Welcome,

  4 sir. Thank you for waiting so long. Please proceed

  5 with your testimony.

  6            LEE REEDY: To much of America, a

  7 firearm is a symbol that you are a citizen, a

  8 responsible person who can be trusted with an

  9 instrument of considerable power that enables you to

 10 protect yourself, your family, and your property.

 11             To the elite, a firearm is a symbol of

 12 barbarism and a lack of trust in their fellow




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 13 citizens and reliance on government.

 14           I would agree that violence is rarely

 15 the answer, as we've heard before in this testimony,

 16 but when it is, it becomes only the answer. That is

 17 to say, at that point, the number one priority is to

 18 survive, and the focus has got to be on taking away

 19 the attacker's ability to continue and resume -- or

 20 continue or resume the attack.

 21           I's oppose HB13-1224 for a number of

 22 reasons, but I'd like to bring up a couple of things

 23 that I haven't heard yet.

 24           There's no exemption that I can tell

 25 for entities like security companies, who rely on

                  157

  1 having duty weapons like the Glock 22, Glock 23.

  2 They typically have 13 or 15 rounds.

  3          There's no exemption for statutorily

  4 authorized agencies that are not actually employees.

  5 And to this, I refer to the Colorado Mounted

  6 Rangers. They are an all-volunteer organization and

  7 yet they are not covered in the exemptions of this

  8 bill.

  9          There are no exemptions for school

 10 resource officers who would be in the most and best

 11 place to make the changes or to effect a defense of




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 12 children.

 13           And I don't think the committee really

 14 realized it or not, but when you entertained an

 15 amendment to okay Magpul as a manufacturer of

 16 products, it kind of sounded like what you said was,

 17 oh, it's okay to manufacture them here, you just

 18 can't have them here. And that really sounded

 19 hypocritical.

 20           And, you know, I don't mean it to

 21 sound accusatory, but it really kind of sounded like

 22 the focus was, oh, we want the taxes and we want the

 23 manufacturing and the jobs, but we don't want the

 24 magazines, God forbid.

 Testimony of Sam Myrant



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 10       THE CHAIRMAN: And we'll proceed

 11 through our witnesses, if we can. Let's see. We

 12 have Sam Myrant. Sam Myrant.

 13           Mr. Myrant, welcome. Please tell us

 14 your name, who you represent and proceed with your

 15 testimony, sir.

 16           SAM MYRANT: My name is Sammy Myrant,

 17 and I represent myself and my family. And first of

 18 all, I'd like to -- I earlier expressed my




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 19 condolences to Representative Fields on her loss.

 20            My loss goes on every day. The man

 21 who committed 16 felony counts of rape, child abuse

 22 on this child gets out of prison this year. So

 23 there are times when we're going to need a magazine

 24 of high capacity.

 25            He's a member of the Aryan

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  1 Brotherhood, and he gets out of prison this year.

  2 And he has sworn to kidnap her and us, rape her

  3 again in front of us, then kill us in front of her.

  4           And is he going to obey your new law

  5 of 10-round capacity. Because when he gets out, the

  6 law is going to be passed. So is he going to obey

  7 the law? Being a member of the Aryan Brotherhood,

  8 do you think he's going to be able to find some sort

  9 of weapons illegally? Yes, he is.

 10            So my point is, the only person that

 11 can protect my family and myself is myself. My

 12 wife, who had never shot a gun in her life, went out

 13 and got a concealed weapons permit and learned how

 14 to shoot. Because how would she feel -- how would

 15 any of you feel if your daughters or granddaughters

 16 were attacked and you said, oh, it's illegal for me

 17 to carry this high-capacity gun, so go ahead, kill




                                                                                               980
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 18 my granddaughter, kill my daughter.

 19           Is that the object for this committee

 20 of this law? Who's going to protect us? The police

 21 can't protect us. It's a personal responsibility.

 22 We are responsible for our own protection.

 23           I have many police officer friends.

 24 Bruce Vanderjack was a friend of mine. We worked

 25 together as security officers. There is no one who

                  125

  1 is responsible for your protection but yourself.

  2           So what's going to happen when it

  3 comes down to when these animals are going to come

  4 get us? Who's going to protect us? Are you all

  5 going to be there to protect me?

  6           Police officers will tell you -- every

  7 one of these sheriffs will tell you they cannot be

  8 there. And so if I'm not allowed to protect myself

  9 with this high-capacity ammo, what do you guys say,

 10 oops?

 11           THE CHAIRMAN: Representative Salazar.

 12           REPRESENTATIVE SALAZAR: I'm so sorry

 13 for your loss, and I'm concerned that the gentleman

 14 who committed this crime is coming out this year.

 15           Just a question for you. How many --

 16 how many rounds do you think that you would need to




                                                                                              981
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 17 be able to protect yourself?

 18            And I sincerely -- this isn't a

 19 sarcastic question. I really am asking that

 20 question. How many rounds do you think that you

 21 need, to be able to protect yourself, in a magazine?

 22            THE CHAIRMAN: Mr. Myrant.

 23            SAM MYRANT: Well, first of all, I am

 24 disabled, so I can't put a clip in and out very

 25 quickly. I drop them, even when I'm practicing at

                   126

  1 the range. So I want to have as many in my Glock 17

  2 that I can have. And I carry 17 in there all the

  3 time. My wife carries 15 in hers.

  4           And I don't want to kill anybody, but

  5 I have to be responsible. I have to be able to

  6 protect my family, and so I need that many.

  7           THE CHAIRMAN: Representative Salazar.

  8           REPRESENTATIVE SALAZAR: Okay. So

  9 then that answers my question that, it's not the 10

 10 that you think -- or that's written in the

 11 legislation right now, that you feel that the 17

 12 that you might have might get you there, that you'd

 13 feel a little better with that.

 14            SAM MYRANT: That's the capacity --

 15 I'm sorry. That's the capacity. Or if I feel




                                                                                               982
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 16 like -- if I saw him out -- I have a 30-round clip

 17 that I can put into my Glock. If I felt that that's

 18 what I needed to carry, I would.

 19           REPRESENTATIVE SALAZAR: Thank you.




                                                                                              983
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            Expert Report of Massad Ayoob




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                                                                                      984
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        I.       Background	  and	  Qualifications	  
 	  
 My	   name	   is	   Massad	   Ayoob.	   My	   CV	   is	   attached,	   but	   briefly,	   I	   have	   been	   a	   firearms	  
 instructor	   since	   1972,	   author	   in	   the	   firearms	   press	   since	   1971,	   and	   competitive	  
 shooter	  since	  the	  late	  1960s.	  I	  have	  served	  as	  Handgun	  Editor	  of	  Guns	  magazine	  
 for	   more	   than	   30	   years,	   as	   Law	   Enforcement	   Editor	   for	   American	   Handgunner	  
 magazine	  for	  a	  like	  period,	  and	  am	  the	  author	  of	  some	  fourteen	  books	  on	  firearms	  
 and	  self-­‐defense.	  	  
 	  
 I	  served	  for	  nineteen	  years	  as	  chair	  of	  the	  firearms	  committee	  for	  the	  American	  
 Society	  of	  Law	  Enforcement	  Trainers,	  and	  the	  last	  ten	  years	  on	  the	  advisory	  board	  
 of	  the	  International	  Law	  Enforcement	  Educators	  and	  Trainers	  Association.	  I	  have	  
 served	  as	  an	  expert	  witness	  for	  the	  courts	  since	  1979	  in	  areas	  related	  to	  weapons,	  
 weapons	   training,	   use	   of	   force	   training	   standards,	   and	   dynamics	   of	   violent	  
 encounters.	  
 	  
 I	   have	   been	   asked	   by	   Plaintiffs’	   counsel	   to	   explain	   some	   of	   the	   impacts	   that	   a	  
 magazine	   capacity	   limitation	   law	   has	   on	   law-­‐abiding	   firearms	   owners	   who	   are	  
 afflicted	  by	  various	  disabilities.	  
 	  
 I	  am	  providing	  this	  expert	  report	  pro	  bono.	  
 	  
          II.        Impact	  on	  Persons	  with	  Disabilities	  
 	  
 Over	   the	   years,	   I	   have	   trained	   thousands	   of	   police	   and	   citizen	   shooters,	   of	   all	  
 levels	   of	   ability.	   I	   have	   had	   occasion	   to	   train	   many	   physically	   challenged	   shooters.	  
 These	  include	  paraplegic	  and	  partially	  quadriplegic	  firearms	  users,	  a	  broad	  range	  
 of	   amputees,	   many	   people	   suffering	   from	   birth	   defects,	   as	   well	   as	   persons	   who	  
 have	  limited	  physical	  abilities	  due	  to	  the	  effects	  of	  aging.	  	  	  
 	  
 I	   can	   say	   to	   a	   definite	   degree	   of	   scientific	   certainty	   that	   there	   are	   a	   great	   many	  
 people	   in	   this	   situation	   whose	   ability	   to	   defend	   themselves	   and	   other	   innocent	  
 persons	   will	   be	   severely	   and	   negatively	   impacted	   by	   a	   magazine	   capacity	  
 limitation.	  
 	  
 	  
 	  	  

                                                                        2	  
 	  
                                                                                                                                                      985
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        A. Missing	  or	  shortened	  fingers	  
 	  
 Handguns	  are	  designed	  for	  normal	  hands,	  and	  historically,	  for	  average	  or	  larger-­‐
 than-­‐average	   male	   hands.	   	   People	   with	   shorter-­‐than-­‐average	   fingers	   (or	   fewer	  
 than	  five	  fingers)	  suffer	  particularly	  in	  this	  respect.	  
 	  
 Dwarves,	   “Thalidomide	   babies”	   in	   adulthood,	   and	   those	   who	   have	   suffered	  
 traumatic	   amputation	   of	   thumbs	   or	   fingers	   are	   particularly	   affected	   by	   reduced	  
 cartridge	  capacity.	  	  The	  thumb	  of	  the	  firing	  hand	  normally	  presses	  the	  magazine	  
 release	  button	  to	  eject	  the	  spent	  magazine	  from	  an	  empty	  semiautomatic	  pistol	  
 to	   begin	   the	   loading	   process,	   and	   the	   index	   finger	   of	   the	   right-­‐handed	   shooter	  
 does	   the	   same	   on	   the	   popular	   AR15	   rifle.	   	   When	   these	   digits	   are	   shorter	   than	  
 average,	   or	   indeed	   are	   not	   present,	   it	   becomes	   extremely	   slow,	   awkward,	   and	  
 sometimes	  even	  impossible	  for	  such	  a	  legitimate	  user	  to	  perform	  this	  operation.	  	  
 	  
 With	   the	   full	   capacity	   magazines	   which	   are	   legal	   in	   all	   but	   a	   few	   states,	   the	  
 shooter	   would	   not	   run	   out	   of	   ammunition	   so	   quickly,	   and	   would	   not	   have	   to	  
 reload	  at	  all.	  
 	  
         B. Missing	  hand	  or	  arm	  
 	  
 The	   situation	   becomes	   even	   more	   difficult	   for	   the	   user	   who	   has	   only	   one	   hand	   or	  
 arm.	  I	  have	  worked	  with	  a	  number	  of	  students	  who	  were	  in	  this	  situation	  due	  to	  
 birth	  defect,	  traumatic	  amputation,	  post-­‐polio	  syndrome,	  etc.	  	  For	  them	  to	  reload	  
 one-­‐handed,	   they	   have	   to	   eject	   the	   magazine	   one-­‐handed	   and	   then	   secure	   the	  
 pistol	   in	   a	   holster,	   waistband,	   between	   the	   knees,	   etc.	   These	   manipulations	   are	  
 awkward,	  time	  consuming,	  and	  potentially	  dangerous	  even	  in	  training,	  let	  alone	  in	  
 conditions	   of	   life-­‐threatening	   stress.	   	   Moreover,	   a	   homeowner	   awakened	   from	  
 sleep	  by	  a	  home	  invasion	  in	  the	  night	  is	  unlikely	  to	  have	  time	  to	  put	  on	  pants,	  let	  
 alone	   a	   holster,	   prior	   to	   grabbing	   the	   defensive	   firearm.	   Nor	   are	   they	   likely	   to	  
 have	  time	  to	  grab	  spare	  magazines,	  even	  if	  they	  had	  a	  place	  to	  carry	  such	  on	  their	  
 person.	  
 	  
         C. Disabilities	  associated	  with	  aging	  
 	  
 Other	  physical	  limitations	  can	  prejudice	  the	  lawfully	  armed	  citizen	  in	  this	  regard.	  
 It	   is	   common	   for	   senior	   citizens	   to	   suffer	   from	   arthritis	   and	   related	   ailments.	  

                                                                     3	  
 	  
                                                                                                                                               986
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 These	   weaken	   the	   hands,	   making	   a	   reload	   even	   more	   difficult.	   	   Range	   of	  
 movement	  of	  hands,	  wrists,	  and	  fingers	  are	  deleteriously	  affected.	  	  Another	  age-­‐
 related	  issue	  can	  be	  hand	  tremors.	  	  These	  make	  it	  extremely	  difficult	  for	  the	  user	  
 to	   press	   the	   small	   magazine	   release	   button,	   to	   grasp	   the	   fresh	   magazine,	   and	  
 insert	   that	   next	   magazine	   into	   the	   small	   receptacle	   within	   the	   firearm.	   	   The	  
 shooter	  then	  has	  to	  activate	  a	  small	  slide	  release	  or	  bolt	  release	  lever	  to	  bring	  the	  
 first	   cartridge	   from	   the	   fresh	   magazine	   into	   the	   firing	   chamber	   and	   resume	  
 shooting.	  	  
 	  
 This	   past	   winter,	   I	   had	   occasion	   to	   do	   refresher	   training	   with	   a	   student	   from	  
 decades	   before,	   now	   in	   his	   mid-­‐eighties.	   While	   mentally	   as	   sharp	   as	   ever,	   this	  
 student	  was	  affected	  by	  weakened	  and	  palsied	  hands.	  He	  was	  no	  longer	  able	  to	  
 qualify	  on	  a	  police-­‐type	  course	  with	  his	  preferred	  semiautomatic	  pistol	  because,	  
 while	  he	  was	  able	  to	  hit	  the	  target,	  he	  was	  unable	  to	  perform	  the	  required	  reloads	  
 within	   the	   standard	   time	   constraints.	   	   By	   simply	   replacing	   the	   lower	   capacity	  
 magazines	  with	  higher	  capacity	  ones,	  he	  was	  able	  to	  get	  his	  shots	  on	  target	  within	  
 the	  required	  time	  limit.	  	  Such	  a	  man	  would	  be	  profoundly	   harmed	  by	  a	  magazine	  
 capacity	  limit.	  	  
 	  
 Therefore,	   we	   see	   that	   the	   magazine	   capacity	   limit	   also	   has	   a	   particularly	   harmful	  
 impact	  on	  the	  elderly.	  
 	  
        D. Lower	  body	  disabilities	  
 	  
 Legitimate	   firearms	   users	   with	   lower	   body	   movement	   limitations	   are	   also	  
 impacted	   in	   this	   regard.	   	   As	   recently	   as	   this	   year,	   I	   have	   	   trained	   Wounded	  
 Warriors	   who	   returned	   from	   the	   current	   conflict	   unable	   to	   walk.	   One	   had	   lost	  
 both	  legs	  above	  the	  knee	  and	  part	  of	  one	  hand	  in	  an	  IED	  explosion;	  the	  other	  had	  
 lost	   one	   leg	   and	   lost	   the	   use	   of	   the	   other.	   Both	   were	   able	   to	   shoot	   and	   even	  
 reload	  effectively,	  and	  the	  latter	  was	  actually	  top	  shot	  in	  his	  class	  competing	  from	  
 the	  wheelchair	  against	  able-­‐bodied	  classmates.	  However,	  in	  a	  real	  world	  situation	  
 neither	  would	  have	  been	  able	  to	  maneuver	  his	  wheelchair	  to	  a	  position	  of	  cover	  
 safely,	  the	  way	  an	  able-­‐bodied	  shooter	  could,	  firing	  while	  moving.	  	  	  
 	  
 The	   wheelchair-­‐bound	   defender	   is	   trapped	   in	   place.	   	   Such	   a	   citizen	   has	   all	   the	  
 more	   need	   for	   a	   higher	   capacity	   firearm,	   because	   trapped	   in	   the	   open	   against	  
 opposing	  fire	  or	  direct	  assault,	  they	  would	  have	  no	  practical	  way	  to	  move	  to	  cover	  

                                                                       4	  
 	  
                                                                                                                                                    987
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 during	   the	   critical,	   vulnerable	   seconds	   it	   would	   take	   them	   to	   reload	   a	   lower-­‐
 capacity	  firearm	  that	  had	  run	  empty.	  
 	  
 III.	  Perspective	  on	  shootouts	  
 	  
 While	   high	   volume	   shootouts	   are	   the	   exception	   rather	   than	   the	   norm	   in	  
 legitimate	  armed	  self-­‐defense	  cases,	  they	  do	  occur.	  	  Capt.	  Richard	  Wemmer	  (ret.),	  
 the	   famed	   officer	   survival	   expert	   from	   LAPD,	   documented	   multiple	   gunfights	   in	  
 which	   police	   officers	   emptied	   their	   service	   pistols	   and	   both	   of	   the	   spare	  
 magazines	   customarily	   worn	   on	   police	   uniform	   duty	   belts,	   and	   had	   not	   yet	   won	  
 the	  gunfights.	  A	  similar	  incident	  was	  documented	  not	  long	  ago	  in	  Illinois,	  involving	  
 a	   lone	   officer	   with	   three	   15-­‐shot	   pistol	   magazines	   against	   a	   single	   well-­‐ensconced	  
 and	  heavily	  armed	  offender.	  	  The	  officer	  was	  out	  of	  ammunition	  and	  still	  in	  deadly	  
 danger	  when	  additional	  responding	  officers	  arrived	  and	  neutralized	  the	  would-­‐be	  
 cop-­‐killer	  who	  was	  shooting	  at	  him.	  	  While	  these	  were	  law	  enforcement	  incidents,	  
 it	   must	   always	   be	   remembered	   that	   many	   private	   citizens	   own	   their	   guns	   to	  
 protect	  themselves	  from	  the	  very	  same	  criminals	  that	  society	  arms	  our	  police	  to	  
 deal	  with.	  	  	  	  
 	  
 Over	  the	  years,	  high-­‐volume	  gunfights	  have	  indeed	  been	  known	  to	  occur	  in	  which	  
 it	   was	   imperative	   for	   armed	   citizens	   to	   sustain	   fire	   to	   contain	   or	   neutralize	   the	  
 threat.	  For	  example,	  Lance	  Thomas,	  a	  watch	  repairman	  in	  Los	  Angeles,	  was	  over	  
 the	   course	   of	   years	   forced	   to	   shoot	   it	   out	   multiple	   times	   with	   multiple	   armed	  
 robbers.	  	  Thomas	  won	  the	  gunfights	  only	  because	  he	  kept	  several	  loaded	  guns	  in	  
 his	   work	   area	   and	   was	   able	   to	   transition	   to	   another	   gun	   when	   the	   first	   ran	   dry.	  
 Had	  he	  not	  been	  able	  on	  one	  occasion	  to	  transition	  between	  more	  than	  two	  guns,	  
 he	   almost	   certainly	   would	   have	   been	   murdered.	   (The	   Thomas	   incidents	   are	  
 described	   in	   my	   article,	   “An	   urban	   gunfighter:	   The	   lessons	   of	   Lance	   Thomas,”	  
 American	  Handgunner,	  Mar.	  1,	  2002,	  available	  at	  2002	  WLNR	  14052078.)	  
 	  
 In	  another	  well-­‐known	  case,	  the	  Beverly	  Hills	  Jewelry	  Store	  robbery	  in	  Richmond,	  
 VA,	   store	   owners	   shot	   it	   out	   with	   multiple	   armed	   members	   of	   the	   Dixie	   Mafia.	  
 They	   prevailed	   only	   because	   over	   a	   dozen	   loaded	   guns	   had	   been	   staged	   every	  
 three	  feet	  behind	  the	  counters,	  and	  one	  owner	  was	  able	  to	  move	  between	  guns,	  
 transitioning	  to	  a	  fresh	  weapon	  when	  the	  last	  went	  dry.	  (Reports	  of	  the	  robbery	  
 can	  be	  found	  at	  Associated	  Press,	  Owner	  Offers	  No	  Regrets	  Over	  Killing	  Robbers	  
 Inside	   Store,”	   Virginia	   Pilot	   and	   Ledger-­‐Star	   (Norfolk,	   VA),	   Dec.	   6,	   1994,	   	   1994	  

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                                                                                                                                                   988
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 WLNR	  1880234;	  Mark	  Bowes,	  “A	  'Dixie	  Mafia'	  Man's	  Life,	  Death	  Robber's	  Record	  
 Stretches	  To	  '42,”	  	  Richmond	  Times	  Dispatch,	  Dec.	  28,	  1994,	  	  1994	  WLNR	  989704;	  
 Associated	   Press,	   “2	   Masked	   Men	   Shot	   To	   Death	   In	   Gunfight	   With	   Store	   Clerks	  
 The	  Shots	  Were	  Fired	  At	  A	  Jewelry	  Store	  In	  A	  Richmond	  Suburb,”	  Virginian-­‐Pilot	  &	  
 Ledger	  Star	  (Norfolk	  Va.),	  Dec.	  3,	  1994,	  1994	  WLNR	  1893020.)	  
 	  
 This	   strategy	   is	   not	   practical	   in	   the	   American	   home,	   or	   in	   public	   with	   a	   citizen	  
 licensed	   to	   carry	   a	   concealed	   handgun.	   	   However,	   a	   higher	   capacity	   firearm	   –	   a	  
 Springfield	   XDM	   9mm	   with	   19	   rounds	   in	   the	   magazine	   and	   a	   20th	   in	   the	   firing	  
 chamber,	   or	   some	   of	   the	   30-­‐shot	   rifles	   available	   today	   –	   would	   give	   such	   a	   citizen	  
 (especially	  one	  with	  a	  disability)	  more	  of	  a	  fighting	  chance	  to	  survive	   such	  violent,	  
 armed	  criminal	  assaults.	  
 	  
 IV.	  Conclusion	  
 	  
 It	   is	   clear	   to	   a	   strong	   degree	   of	   scientific	   certainty	   that	   the	   magazine	   capacity	  
 limitation	   in	   Colorado	   will	   have	   a	   harmful	   impact	   on	   the	   disabled/physically	  
 challenged	  individual,	  and	  on	  the	  elderly	  as	  well.	  	  	                                               	  




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 Curriculum	  Vitae,	  	  Massad	  F.	  Ayoob	  
 	  
 Areas	  of	  Expertise	  
 	  
 Dynamics	   of	   violent	   encounters,	   training	   standards	   for	   safe	   weapons	   handling	   (law	  
 enforcement/civilian),	   training	   standards	   of	   firearms	   and	   use	   of	   force	   (police/civilian),	  
 homicide/use	   of	   force	   investigation,	   personal	   and	   professional	   security,	   weapon	  
 retention/disarming,	  law	  enforcement	  internal	  investigation/discipline.	  
 	  
 Teaching	  Experience	  
 	  
 Director,	  Massad	  Ayoob	  Group,	  2009-­‐present.	  
 	  
 Director,	  Lethal	  Force	  Institute,	  1981-­‐2009.	  
 	  
 Chair	   of	   firearms	   committee,	   American	   Society	   of	   Law	   Enforcement	   Trainers	   (ASLET),	   1987-­‐
 2007.	  	  Also	  served	  on	  Ethics	  Committee.	  	  Led	  annual	  Panel	  of	  Experts	  on	  firearms/deadly	  force	  
 issues	  at	  ASLET’s	  international	  seminars.	  
 	  
 Special	   Instructor,	   Chapman	   Academy	   of	   Practical	   Shooting,	   1981-­‐88.	   Defensive	   Combat	  
 Shooting;	  Judicious	  Use	  of	  Deadly	  Force;	  Advanced	  Officer	  Survival	  Tactics.	  
 	  
 International	   Instructor,	   PR-­‐24	   baton;	   has	   lectured	   several	   times	   at	   annual	   international	  
 seminar.	  Trains	  other	  instructors	  and	  trainers	  of	  instructors.	  
 	  
 Advisory	  Board	  member,	  International	  Law	  Enforcement	  Educators’	  and	  Trainers’	  Association.	  	  
 Have	  lectured	  there	  on	  investigation	  and	  management	  of	  police	  use	  of	  force	  cases	  at	  all	  Annual	  
 Meetings	  since	  the	  organization’s	  inception	  in	  2003.	  
 	  
 National	   Instructor,	   Weapon	   Retention	   &	   Disarming,	   National	   Law	   Enforcement	   Training	  
 Center.	  Trains	  other	  instructors	  and	  trainers	  of	  instructors.	  1990-­‐2009.	  
 Assistant	  professor	  teaching	  weapons	  and	  chemical	  agents,	  Advanced	  Police	  Training	  Program	  
 of	  New	  Hampshire,	  1974-­‐77.	  
 	  
 Co-­‐instructor	   (w/former	   world	   pistol	   champion	   Ray	   Chapman)	   of	   Advanced	   Officer	   Survival	  
 Seminars	  for	  the	  Police	  Marksman	  Association.	  
 	  
 International	  Instructor,	  Persuader	  Mini-­‐Baton,	  certified	  by	  Joe	  Truncale.	  
 	  
 Instructor,	  Kubotan	  self-­‐defense,	  certified	  by	  Soke	  Takayuki	  Kubota.	  
 	  
 National	  Instructor,	  Telescoping	  baton,	  certified	  by	  CASCO	  (baton	  manufacturer).	  
 	  

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 Instructor,	  straight	  baton,	  certified	  by	  COPSTK	  (baton	  manufacturer).	  
 Has	  taught	  for	  national,	  international,	  and	  regional	  seminars	  of	  
 	  
 	        FBI.	  Albuquerque	  Office.	  Use	  of	  force/Survival.	  2012.	  
 	  
           International	   Association	   of	   Law	   Enforcement	   Firearms	   Instructors.	   Numerous	   annual	  
           meetings.	  
           	  
           Regional	   seminars	   for	   CLE	   credit	   on	   defending	   deadly	   force	   cases	   (NACDL;	   Mass.	   CDL	  
           Assn.).	  
           	  
           International	   Homicide	   Investigators’	   Seminar.	   Investigation	   of	   officer-­‐involved	  
           shootings	  and	  characteristics	  of	  self-­‐defense	  shootings.	  
           	  
           McGill	   University	   School	   of	   Medicine.	   Visiting	   lecturer	   on	   medico-­‐legal	   aspects	   of	  
           gunshot	  and	  knife	  wounds.	  	  
           	  
           Officer	  survival	  tactics	  taught	  at:	  	  DEA	  National	  Academy;	  Ordnance	  Expo,	  Los	  Angeles;	  
           National	  Tactical	  Invitational;	  New	  England	  SWAT	  Seminar;	  Metro-­‐Dade	  Police	  Academy;	  
           DEA/Miami.	  
 	  
 Personal	  Training	  
 	  
 Smith	   &	   Wesson	   Academy:	   	   Advanced	   Combat	   Shooting	   (1st	   in	   class),	   Instructor	   course;	  
 Instructor	   Update	   (twice);	   Officer	   Survival	   Course	   (1st	   in	   class);	   Weapon	   Retention	   instructor	  
 course;	  advanced	  revolver	  shooting	  course.	  
 	  
 Glock:	  	  Glock	  Instructor	  Course;	  Glock	  Armorer	  Course.	  
 	  
 Firearms	  Instructor	  Courses:	  National	  Rifle	  Association.	  
 	  
 Ordnance	   Expo:	   Firearms	   and	   Ballistic	   Evidence;	   Officer	   Involved	   Shooting	   Investigation;	  
 Advanced	  Officer	  Involved	  Shooting	  Investigation;	  Officer	  Survival;	  Management	  of	  Barricaded	  
 Suspects.	  
 	  
 International	   Police	   Academy:	   Defensive	   Tactics	   (Unarmed	   Combat	   and	   Restraint)	   Instructor	  
 Course,	  rated	  Master	  Instructor	  by	  sensei	  James	  Morell.	  
 	  
 NYPD:	   “Hostage	   Negotiation	   for	   Supervisors”,	   “Post	   Shooting	   Tactics”,	   “House	   Clearing	  
 Techniques”,	   “Off	   Duty	   Confrontation	   Tactics”,	   “Summary	   of	   Violent	   Encounter	   Patterns”,	  
 “Police	  Shotgun	  Program.”	  
 	  
 Advanced	   Homicide	   Investigation.	   By	   Vern	   Geberth,	   NYPD	   Ret.,	   author	   of	   “Practical	   Homicide	  
 Investigation.”	  	  	  

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 International	  Homicide	  Investigators’	  Seminar	  (2	  occasions).	  
 	  
 Medical/Legal	  Death	  Investigation	  (Dade	  County	  Medical	  Examiner’s	  Office).	  
 	  
 Americans	  for	  Effective	  Law	  Enforcement	  :	  “Police	  Civil	  Liability	  Seminar.”	  
 	  
 American	   Society	   of	   Law	   Enforcement	   Trainers.	   “PPCT:	   Pressure	   Point	   Control	   Tactics	   	   ,”	   taught	  
 by	  Bruce	  Siddle.	  
 	  
 Federal	  Law	  Enforcement	  Training	  Center:	  BOSS	  program	  including	  officer	  survival,	  intelligence	  
 briefings	  on	  outlaw	  bike	  gangs,	  booby	  traps,	  counter-­‐ambush	  tactics,	  arrest	  techniques.	  
 	  
 Escrima	  (stick-­‐	  and	  knife-­‐fighting),	  Grandmaster	  Remy	  Presas.	  
 	  
 Knife/Counter-­‐Knife	  courses:	  Master	  Paul	  Vunak,	  Hank	  Renhardt,	  Sensei	  Jim	  Maloney,	  Michael	  
 de	  Bethencourt.	  
 	  
 Has	   studied	   personally	   with	   world	   handgun	   champions	   Ray	   Chapman,	   Rob	   Leatham,	   Jerry	  
 Miculek,	  and	  Frank	  Garcia	  in	  advanced	  shooting	  programs.	  
 	  
 Has	  studied	  special	  units	  and	  their	  training	  on-­‐site,	  including:	  
 	  
 NYPD	  Firearms	  &	  Tactics	  Unit,	  Emergency	  Services	  Unit,	  Armed	  Robbery	  Stakeout	  Unit.	  
 	  
 LAPD	  SWAT,	  Firearms	  Training	  Unit.	  
 	  
 FBI	  Firearms	  Training	  Unit.	  
 	  
 Metro-­‐Dade	  Police	  Firearms/SWAT	  Training	  Unit	  
 	  
 Illinois	  State	  Police	  Ordnance	  Section.	  
 	  
 NH	  State	  Police	  SWAT,	  EVOC,	  Firearms	  Training.	  
 	  
 Kentucky	  State	  Police,	  Firearms	  Training	  and	  SRT	  Training.	  
 	  
 Arizona	  Highway	  Patrol	  Firearms	  Training.	  
 	  
 London,	   England	   Metropolitan	   Police	   firearms	   training	   and	   special	   services	   unit	   (D.11,	   PT-­‐17,	  
 SO-­‐19).	  
 	  
 Has	  reviewed	  or	  audited	  numerous	  other	  law	  enforcement	  firearms	  training	  programs.	  	  
 	  

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 Publication	  Credits	  
 	  
 Books:	  
 	  
 “Fundamentals	  of	  Modern	  Police	  Impact	  Weapons,”	  Charles	  C.	  Thomas,	  Publishers,	  1978.	  
 	  
 “In	   the	   Gravest	   Extreme:	   the	   Role	   of	   the	   Firearm	   in	   Personal	   Protection,”	   Police	   Bookshelf,	  
 1979.	  
 	  
 “Hit	  the	  White	  Part,”	  Police	  Bookshelf,	  1982.	  
 	  
 “The	  Truth	  About	  Self	  Protection,”	  Bantam,	  1983.	  
 	  
 “StressFire,”	  Police	  Bookshelf,	  1984.	  
 	  
 “StressFire	  II,”	  Advanced	  Combat	  Shotgun,”	  Police	  Bookshelf,	  1992.	  
 	  
 “The	  Semiautomatic	  Pistol	  in	  Police	  Service	  and	  Self	  Defense,”	  Police	  Bookshelf,	  1988.	  
 	  
 “Ayoob	  Files:	  the	  Book,”	  Police	  Bookshelf,	  1995.	  
 	  
 “Complete	   Book	   of	   Handguns,”	   Volume	   10	   (1993)	   with	   completely	   new	   volume	   produced	  
 annually	  through	  2009,	  Harris	  Publications.	  
 	  
 “Gun	  Digest	  Book	  of	  Combat	  Handgunnery,	  Fifth	  Edition,”	  Krause	  Publications,	  2002.	  
 	  
 “Gun	  Digest	  Book	  of	  SIG-­‐Sauer	  Pistols,”	  Krause	  Publications,	  2004.	  
 	  
 “Gun	  Digest	  Book	  of	  Beretta	  Pistols,”	  Krause	  Publications,	  2005.	  
 	  
 “Gun	  Digest	  Book	  of	  Combat	  Handgunnery,	  Sixth	  Edition,”	  Krause	  Publications,	  2007.	  
 	  
 “Gun	  Digest	  Book	  of	  Concealed	  Carry,”	  Krause	  Publications,	  2008.	  
 	  
 “Massad	  Ayoob’s	  Greatest	  Handguns	  of	  the	  World,”	  Krause	  Publications,	  2010.	  
 	  
 “Gun	  Digest	  Book	  of	  Concealed	  Carry,”	  Second	  Edition,	  Krause,	  	  2012	  
 	  
 “Combat	  Shooting	  With	  Massad	  Ayoob,”	  Krause,	  2011	  
 	  
 “Complete	  Book	  of	  Handguns,”	  annual	  editions	  now	  through	  2013	  
 	  
 	  

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 Monographs:	  
 	  
 “Gunproof	  Your	  Children,”	  Police	  Bookshelf/Potshot	  Press	  
 	  
 “Handgun	  Primer,”	  Police	  Bookshelf/Potshot	  Press.	  
 	  
 “The	  Police	  View	  of	  Gun	  Control,”	  Second	  Amendment	  Foundation.	  
 	  
 “Armed	  and	  Alive,”	  Second	  Amendment	  Foundation.	  
 	  
 Forewords	  for	  Authoritative	  Texts:	  
 	  
 “The	  Newhall	  Incident,”	  by	  Mike	  Wood	  
 	  
 “Armed:	  The	  Essential	  Guide	  to	  Concealed	  Carry,”	  by	  Dr.	  Bruce	  Eimer	  
 	  
 “The	  Gun	  Digest	  Book	  of	  the	  Revolver,”	  by	  Grant	  Cunningham	  
 	  
 “Mu	  Tau:	  The	  Modern	  Greek	  Karate”	  by	  James	  Arvanitis	  
 	  
 “Realistic	  Defensive	  Tactics”	  by	  John	  Peters	  
 	  
 “Modern	  Centerfire	  Handguns”	  by	  Stanley	  Trzoniec	  
 	  
 “You	  Can’t	  Miss”	  by	  John	  Shaw	  
 	  
 “MasterTips”	  by	  Jon	  Winokur	  
 	  
 “Effective	  Defense”	  by	  Gila	  May-­‐Hayes	  
 	  
 “In	  Self	  Defense”	  by	  Michael	  Izumi	  
 	  
 “The	  Tactical	  Pistol”	  by	  David	  Lauck	  
 	  
 “The	  Tactical	  Rifle”	  by	  David	  Lauck	  
 	  
 “Personal	  Defense	  for	  Women”	  by	  Gila	  Hayes	  
 	  
 “Lessons	  From	  Armed	  America”	  by	  Mark	  Walters	  and	  Kathy	  Jackson	  
 	  
 “Armed	  Response”	  by	  Dave	  Kenik	  
 	  
 “Rule	  the	  Night/Win	  the	  Fight”	  by	  Ed	  Santos	  
 	  

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                                                                                                                           994
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 Periodicals:	  
 	  
 Handgun	  Editor,	  Guns	  magazine	  
 	  
 Law	  Enforcement	  Editor,	  American	  Handgunner	  magazine	  
 	  
 Contributing	  Editor,	  Shooting	  Industry	  magazine	  
 	  
 Contributing	  Editor,	  On	  Target	  magazine	  
 	  
 Firearms	  Editor,	  Backwoods	  Home	  magazine	  
 	  
 Associate	  Editor,	  Combat	  Handguns	  magazine	  
 	  
 Associate	  Editor,	  Guns	  &	  Weapons	  for	  Law	  Enforcement	  magazine	  
 	  
 Associate	  Editor,	  Gun	  Week	  
 	  
 	             Have	   published	   thousands	   of	   articles	   in	   various	   professional	   journals	   and	   newsstand	  
 periodicals,	  the	  overwhelming	  majority	  related	  to	  law	  enforcement,	  weaponry,	  martial	  arts	  and	  
 personal	  defense.	  	  Firearms	  articles	  have	  appeared	  in	  Guns,	  American	  Handgunner,	  Handguns,	  
 GUNsport,	   Handgunner,	   Home	   Defense,	   Glock	   Annual,	   Colt	   Annual,	   Magnum,	   Gun	   World,	  
 Combat	  Handguns,	  and	  others.	  	  Martial	  arts/unarmed	  combat	  articles	  have	  appeared	  in	  Black	  
 Belt,	   Official	   Karate,	   Inside	   Kung-­‐fu,	   Inside	   Karate,	   Warriors,	   Fighting	   Stars,	   and	   other	   such	  
 publications.	   Law	   enforcement	   articles	   have	   been	   published	   in	   American	   Police	   Beat,	   Law	   &	  
 Order,	   Police,	   Police	   Product	   News,	   Sentinel,	   Trooper,	   Patrolman,	   Police	   Marksman,	   Guardian,	  
 Guns	   &	   Weapons	   for	   Law	   Enforcement,	   Guns	   &	   Ammo	   Law	   Enforcement	   Annual,	   and	   other	  
 police	  professional	  journals	  and	  law	  enforcement	  related	  periodicals.	  	  Has	  also	  been	  published	  
 in	   Car	   &	   Driver,	   Gentlemen’s	   Quarterly,	   Man’s	   Magazine,	   Modern	   Jeweler,	   New	   Hampshire	  
 Outdoorsman,	  New	  Hampshire	  Times,	  Prism,	  Sexology,	  Sports	  Afield,	  and	  assorted	  other	  general	  
 interest	  publications.	  
 	  
 Training	  Films	  
 	  
 “Massad	  Ayoob	  on	  Concealed	  Carry,”	  Panteao	  Productions,	  2013	  
 	  
 “Massad	  Ayoob	  on	  Home	  Defense,”	  Panteao	  Productions,	  2011	  
 	  
 “StressFire	  Handgun,”	  2002	  
 	  
 “StressFire	  Shotgun,”	  2002	  
 	  
 “StressFire	  Rifle,”	  2002	  

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                                                                                                                                                        995
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 “Deadly	  Force	  Cases,”	  ALI-­‐ABA,	  2001	  
 	  
 “Judicious	  Use	  of	  Deadly	  Force,”	  1990	  
 	  
 “Post	  Violent	  Event	  Trauma,”	  1990	  
 	  
 “LFI	  Handgun	  Safety,”	  1990	  
 	  
 “Off	  Duty	  Survival,”	  1993	  
 	  
 “Shoot	  to	  Live,”	  1986	  
 	  
 “How	  Close	  is	  Too	  Close,”	  1986	  
 	  
 “Cute	  Lawyer	  Tricks,”	  1986	  
 	  
 “Physio-­‐Psychological	  Aspects	  of	  Violent	  Encounters,”	  1981	  
 	  
 Has	  appeared	  in	  various	  other	  training	  films.	  
 	  
 Quoted	  as	  authoritative	  reference	  in:	  
 	  
 FBI	  Journal	  
 	  
 “Law	  Enforcement	  Handgun	  Digest”	  (Grennell)	  
 	  
 “Gun	  Digest	  Book	  of	  Combat	  Handgunnery,	  1st	  edition	  (Lewis	  &	  Mitchell),	  2nd	  and	  3rd	  editions	  
 (Karwan)	  
 	  
 “Shooting	  Schools:	  An	  Analysis”	  (Winter)	  
 	  
 “Street	  Survival:	  Tactics	  for	  Armed	  Encounters,”	  (Adams,	  McTernan,	  Remsberg)	  
 	  
 “Tactical	  Edge:	  Tactics	  for	  High	  Risk	  Patrol”	  (Remsberg)	  
 	  
 “Handgun	  Retention	  System”	  (Lindell)	  
 	  
 “The	  Street	  Smart	  Gun	  Book”	  (Farnam)	  
 	  
 “Police	  Handgun	  Manual”	  (Clede)	  
 	  
 “Police	  Shotgun	  Manual”	  (Clede)	  
 	  

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 “High	  Tech	  SWAT	  Weapons”	  (Bane)	  
 	  
 “PR-­‐24	  Baton	  Manual”	  (Starrett)	  
 	  
 “Police	  Officers	  Guide”	  (Clede)	  
 	  
 Cited	  as	  authoritative	  reference	  in	  numerous	  other	  publications.	  	  	  
 	  
 	  
 Career	  Accomplishments	  
 	  
 Voted	  Outstanding	  American	  Handgunner	  of	  the	  Year,	  1998.	  
 	  
 Winner	  of	  first	  annual	  National	  Tactical	  Advocate	  Award,	  1995,	  awarded	  by	  American	  Tactical	  
 Shooting	  Association.	  
 	  
 Winner	  of	  the	  Roy	  Rogers	  Award	  for	  promotion	  of	  firearms	  safety.	  
 	  
 Winner	  of	  first	  George	  C.	  Nonte	  Award	  for	  excellence	  in	  firearms	  journalism,	  1978.	  
 	  
 Firearms	  Qualifications	  and	  Awards	  
 	  
 Combat	  Master,	  NRA	  Police	  Revolver	  
 	  
 First	  5-­‐gun	  Master,	  International	  Defensive	  Pistol	  Association	  
 	  
 Master,	  Revolver,	  National	  Marksman	  Sports	  Society	  
 	  
 Master,	  Automatic,	  National	  Marksman	  Sports	  Society	  
 	  
 Class	  A,	  International	  Practical	  Shooting	  Confederation	  
 	  
 Grand	  Mastershot,	  UK	  Practical	  Shooting	  Association	  
 	  
 Master	  Blaster,	  Second	  Chance	  
 	  
 Expert,	  NRA	  Action	  Shooting	  
 	  
 Honorary	  Distinguished	  Expert,	  Federal	  Law	  Enforcement	  Training	  Center	  
 	  
 Several	  times	  top	  shooter	  in	  statewide	  NH	  police	  combat	  matches,	  1973-­‐2003	  
 	  
 Five	  times	  New	  England	  Regional	  champion	  in	  various	  handgun	  disciplines	  
 	  

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 Co-­‐winner	   with	   daughter	   Justine,	   National	   Champion	   Parent/Child	   Team,	   National	   Junior	  
 Handgun	  Championships,	  1998	  
 	  
 Has	  won	  numerous	  individual/local	  combat	  shooting	  tournaments,	  has	  competed	  successfully	  
 in	  five	  countries.	  	  
 	  
 Law	  Enforcement	  Experience	  
 	  
 Hooksett	  (NH)	  Police	  Dept.:	  1972-­‐73,	  auxiliary	  policeman.	  1973-­‐1980,	  fully	  sworn	  Police	  Officer.	  
 Duties	   under	   four	   chiefs	   included	   patrol,	   firearms	   training,	   community	   relations	   and	   crime	  
 prevention	  assignments,	  dept.	  firearms	  instructor	  for	  most	  of	  this	  period.	  Served	  in	  part	  time	  
 capacity	  with	  full	  police	  authority.	  
 	  
 Deerfield	  (NH)	  Police	  Dept.:	  1982-­‐1990.	  	  Fully	  sworn	  officer,	  rank	  of	  Sergeant	  (’82-­‐’84)	  in	  charge	  
 of	   all	   police	   training,	   and	   Lieutenant	   (’84-­‐’90),	   in	   charge	   of	   police	   training	   and	   crime	   prevention	  
 activities.	  Served	  in	  part	  time	  capacity	  with	  full	  police	  authority.	  
 	  
 Grantham	   (NH)	   Police	   Dept.:	   1990-­‐present.	   	   Fully	   sworn	   Captain	   and	   Police	   Prosecutor.	  	  
 Training,	   research,	   and	   other	   administrative	   functions.	   	   Served	   in	   part	   time	   capacity	   with	   full	  
 police	  authority.	  
 	                                                  	  




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                                                          Massad	  Ayoob	  case	  list	  
 	  
 CASE	                                              LOCALE	            ALLEGATION	                            RETAINED	  BY	  
 Littleton	  v.	  Belmont	  County	              OH	                Wrongful	  Death	                     Defendant	  
 Florida	  v.	  Hecksel	                          FL	                Manslaughter	                          Defendant	  
 Favor	  v.	  Walgreen	                           TX	                Wrongful	  Death	                     Defendant	  
 Texas	  v.	  Hubbard	                            TX	                Murder	                                Defendant	  
 Wemouth	  v.	  Brunswick	                        ME	                Wrongful	  Death	                     Defendant	  
 Allen	  v.	  Leal	                               TX	                Wrongful	  Death	                     Plaintiff	  
 California	  v.	  Karlson	                       CA	                Murder	                                Defendant	  
 Minick	  v.	  County	  of	  Sacramento	        CA	                Wrongful	  Death	                     Defendant	  
 Jones	  v.	  Norwalk	                            CT	                Wrongful	  Death	                     Defendant	  
 CA	  v.	  Matthews	                              CA	                Assault	                               Defendant	  
 Maxim	  v.	  Livingstone	                        FL	                Wrongful	   Shooting	                 Plaintiff	  
                                                                         Injury	  
 Florida	  v.	  Bonenfant	                        FL	                Aggravated	  Assault	                 Defendant	  
 Cangealose	  v.	  Janet	  Reno	  &	  FBI	     Wash	  DC	        Wrongful	                              Plaintiff	  
                                                                         Termination	  
 Null	  v.	  Murfreesboro	                        TN	                Wrongful	                              Plaintiff	  
                                                                         Termination	  
 Missouri	  v.	  Beeler	                          MO	                Murder	                                Defendant	  
 Nordlund	  v.	  American	  Armor	               NE	                Product	  Liability	                  Defendant	  
 House	  v.	  Lawco	                              UT	                Product	  Liability	                  Defendant	  
 Saldana	  v.	  Weitzel	                          WI	                Wrongful	  Death	                     Defendant	  
 Messing	  v.	  Oak	  Creek	                     WI	                Wrongful	  Death	                     Defendant	  
 Palmquist	  v.	  Selvik	                         IL	                Wrongful	  Death	                     Defendant	  
 NY	  v.	  Gill	                                  NY	                Gun	  Permit	  Hearing	              Defendant	  
 Michigan	  v.	  Budzyn	                          MI	                Murder	                                Defendant	  
 Wallen	  v.	  County	  of	  El	  Dorado	      CA	                Wrongful	  Death	                     Defendant	  
 FL	  v.	  Jimmy	  Hecksel	                      FL	                Manslaughter	                          Defendant	  
 Paderez	  v.	  Blocker	                          CA	                Product	  liability	                  Defendant	  
 Blanford	  v.	  County	  of	  Sacramento	      CA	                Wrongful	  Death	                     Defendant	  
 MA	  v.	  Robert	  Tessitore	                   MA	                Manslaughter	                          Defendant	  
 Kulesza	  v.	  Marina	  Bay	                    MA	                Failure	  to	  protect	              Plaintiff	  
 MS	  v.	  Patrick	  Champagne	                  MS	                Manslaughter	                          Defendant	  
 Gorey	  v.	  Foley	                              MI	                Wrongful	  Death	                     Defendant	  
 Tim	  Alessi	  v.	  State	  of	  FL	          FL	                PCR	                                   Appellant	  	  
 TN	  v.	  Robert	  Barnes	                      TN	                Murder	  	                            Defendant	  
 FL	  v.	  Plana	                                 FL	                Murder	                                Defendant	  
 Webster	   &	   Castle	   v.	   Orange	        FL	                Wrongful	  Shooting	                  Defendant	  
 County	  
 Oxendine	  v.	  SRMC	                            NC	                Wrongful	  Death	                     Defendant	  
 FL	  v.	  Ed	  Michael	                         FL	                Aggravated	  Assault	  	  	  	     Defendant	  
 TX	  v.	  Terry	  Graham	                       TX	                Homicide	                              State	  


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 NM	  v.	  Billy	  Anders	                                                                                                                                                                       NM	                                                                                                 Manslaughter	                                                                             Defendant	  
 MD	  v.	  Der	  and	  Kifer	                                                                                                                                                                   MD	                                                                                                 Manslaughter	  	                                                                         Defendants	  
 CO	  v.	  Larry	  Lindsey	                                                                                                                                                                      CO	                                                                                                 Aggravated	  Assault	                                                                    Defendant	  
 WA	  v.	  Jay	  Olsen	                                                                                                                                                                          WA	                                                                                                 Aggravated	  Assault	                                                                    Defendant	  
 Chambers	  v.	  Graham	                                                                                                                                                                          TX	                                                                                                 Wrongful	  Death	                                                                        Defendant	  
 FL	  v.	  Tim	  Alessi	                                                                                                                                                                         FL	                                                                                                 Murder	  (appeal)	                                                                       Defendant	  
 CA	   v.	   Thomas	   Mun	   &	   Chad	   CA	                                                                                                                                                                                                                                                     Homicide	   (grand	   jury	                                                             State	  
 Marshall	                                                                                                                                                                                                                                                                                               level)	  
 FL	  v.	  William	  Wilkerson	                                                                                                                                                                  FL	                                                                                                 Murder	                                                                                   Defendant	  
 FL.	  V.	  Ronald	  Robbins	                                                                                                                                                                    FL	                                                                                                 Manslaughter	                                                                             Defendant	  
 WA	  v.	  Jay	  Olsen	                                                                                                                                                                          WA	                                                                                                 Aggravated	  Assault	                                                                    Defendant	  
 Chambers	  v.	  Graham	                                                                                                                                                                          TX	                                                                                                 Wrongful	  Death	                                                                        Defendant	  
 Arizona	  v.	  Larry	  Hickey	                                                                                                                                                                  AZ	                                                                                                 Aggravated	  Assault	                                                                    Defendant	  
 Olevarria	  v.	  Couture	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  VA	                                         	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  Wrongful	  
                                                                                                                                                                                                                                                                                                            	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   Death	  	         Defendant	  
 Aguilar	  v.	  ICE	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  NY	  
                                                                                                                                                                                                     	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   Excessive	  Force	                                                                       Defendant	  
 Atkinson	  v.	  Tulare	  County	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  CA	                                                                         	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  Wrongful	  
                                                                                                                                                                                                                                                                                                            	  	  	                                                           Death	  	  	     Defendant	  
 Gutierrez	  v.	  Yolo	  County	                                                                                                                                                                 CA	                                                                                                 Wrongful	  Death	                                                                        Defendant	  
 WV	  v.	  Jonathan	  Ferrell	                                                                                                                                                                   WV	                                                                                                 Murder	                                                                                   Defendant	  
 	  
 	  




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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

 Civil Action No. 13-cv-01300-MSK-MJW

 John B. Cooke, Sheriff of Weld County, Colorado, et al.

       Plaintiffs,

 v.

 JOHN W. HICKENLOOPER, Governor of the State of Colorado,

       Defendant.

   REPLY IN SUPPORT OF MOTION TO DISMISS PLAINTIFFS’ CLAIMS
  TWO, THREE, AND FOUR, AND TO DISMISS SHERIFFS AS PLAINTIFFS
              ACTING IN THEIR OFFICIAL CAPACITIES.

       COMES NOW Defendant, Governor John Hickenlooper, by and through

 undersigned counsel, states as follows in support of his Motion to Dismiss Plaintiffs’

 Claims Two, Three, and Four, and to Dismiss Sheriffs as Plaintiffs Acting in Their

 Official Capacities [Doc. 69] (filed on 8/22/13):

                                   INTRODUCTION

       This is not a Court of general jurisdiction. In order to invoke federal

 jurisdiction, Plaintiffs must establish standing under the Article III, section II

 prerequisite of case or controversy. In their responses, Plaintiffs propose an

 extraordinarily inclusive view of standing. Plaintiffs ask this Court to adjudicate

 Claims Two, Three, and Four because this Court must assume they face a credible

 threat of prosecution. They also insist that the Governor’s affirmative assurance




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 regarding the reach of the challenged legislation, issued through the Additional

 Technical Guidance, stops short of overcoming that presumption. In so doing,

 Plaintiffs get the law backwards. Plaintiffs bear the burden of establishing

 standing. And as explained in detail in the Motion to Dismiss, Plaintiffs have not

 done so here. This Court should dismiss Claims Two, Three, and Four.

       Plaintiffs’ argument that Sheriffs should not be dismissed through their

 official capacities under the political subdivision doctrine fares no better. Plaintiffs

 strain to dissuade this Court from reaching the issue by arguing that it will have no

 practical effect on the litigation. But that argument ignores that the political

 subdivision doctrine is jurisdictional and must therefore be considered. On the legal

 merits, Sheriffs assert that the political subdivision doctrine does not apply because

 they have a “personal stake” through their official capacities. The Tenth Circuit has

 already rejected that argument. Therefore, because Sheriffs are a political

 subdivision of the State of Colorado, this Court should dismiss Sheriffs from this

 case to the extent they are acting through their official capacities.


                                      ARGUMENT

       I.     Plaintiffs have not established a real and immediate
              threat of prosecution to merit standing on Claims Two,
              Three, and Four.

       Plaintiffs have not established a credible threat of prosecution. As explained

 in the Motion to Dismiss, Plaintiffs’ claim of a real and immediate threat of

 prosecution is far too speculative for the Court to allow Plaintiffs to seek declaratory




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 relief. And even if Plaintiffs assert more than a conjectural fear of prosecution, the

 Governor’s Additional Guidance has resolved the issue. This Court should dismiss

 Claims Two, Three, and Four.

              A.     Plaintiffs effectively concede they are unable
                     to establish a credible threat of prosecution.

       Although “standing for retrospective relief may be based on past injuries, ...

 claims for prospective relief require a continuing injury.” PeTA v. Rasmussen, 298

 F.3d 1198, 1202 (10th Cir. 2002). In particular, “[t]o have standing, [a plaintiff]

 must show a real and immediate threat that [he or she] will be prosecuted under

 [the challenged statute] in the future.” Faustin v. City & County of Denver, 268 F.3d

 942, 948 (10th Cir. 2001).

       Quite apart from establishing that they face a real and immediate threat of

 prosecution, Plaintiffs instead insist that “courts assume a credible threat of

 prosecution in the absence of compelling contrary evidence.” Pls.’ Resp. to Def.’s

 Mot. to Dismiss [Doc. 69], at 4. According to Plaintiffs, “[t]he lack of enforcement of

 a particular statute alone does not automatically preclude standing.” Doc. 69, at 4.

 In their view, therefore, “if a plaintiff alleges that prosecution is even ‘remotely

 possible,’ then a finding of standing is appropriate.” Doc. 69, at 4. Precedent rejects

 Plaintiffs’ position at every turn.

       At the outset, Plaintiffs’ argument ignores their burden. “One of the most

 important doctrines within” the case or controversy requirement is the doctrine of

 standing, which “focuses upon whether a particular litigant is entitled to have a




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 federal court decide the merits of the particular dispute.” Raiser v. United States,

 325 F.3d 1182, 1183 (10th Cir. 2002). Indeed, “[t]o have standing, a plaintiff bears

 the burden of showing that (1) he suffered an injury in fact that is (a) concrete and

 particularized and (b) actual and imminent, not merely conjectural or hypothetical;

 (2) the injury is fairly traceable to the defendant’s conduct; and (3) a favorable

 decision is likely to redress his alleged injuries.” Hammer v. Sam’s E., Inc., No. 12-

 cv-2618-CM, 2013 U.S. Dist. LEXIS 98707, at **4–5 (D. Kan. Jul. 16, 2013) (citing

 Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 180–81

 (2000)) (emphasis added).

       Second, Plaintiffs’ focus on the statute’s age only serves to highlight the

 fundamental deficiency with their position: they are unable to meet their threshold

 burden of establishing a credible threat. Plaintiffs contend that because “HB 1224

 has only been in effect for approximately seven weeks [it] mitigates in favor of

 finding a credible threat of prosecution.” Doc. 69, at 7. That argument is beside the

 point. What matters is that Plaintiffs have never been arrested or threatened with

 arrest.

       Third, Plaintiffs wrongly persist that if “a plaintiff alleges that prosecution is

 even ‘remotely possible,’ then a finding of standing is appropriate.” Doc. 69, at 4

 (citing Babbit v. UFW Nat’l Union, 442 U.S. 289, 298 (1979)). Although Plaintiffs

 seize on dictum, the full line from Babbit does not go that far. Instead, it simply

 states that “[w]hen plaintiffs ‘do not claim that they have ever been threatened with




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 prosecution, that a prosecution is likely, or even that a prosecution is remotely

 possible,’ they do not allege a dispute susceptible to resolution by a federal court.”

 Id. (quoting Younger v. Harris, 401 U.S. 37, 42 (1971)). Worse still, Plaintiffs’

 argument ignores that in Younger, the Court reversed the district court’s judgment

 that a state law was unconstitutionally vague because plaintiffs lacked standing in

 part because “of the relative remoteness of the controversy.” 401 U.S. at 53.

       Fourth, Plaintiffs err in relying on Babbit and Virginia v. American

 Booksellers Association, 484 U.S. 383 (1988). Doc. 69, at 4. Both cases involved suits

 invoking First Amendment rights and, as Booksellers explained, criminal statutes

 infringing on First Amendment rights leads to “self-censorship, a harm that can be

 realized even without an actual prosecution.” 484 U.S. at 393; see Babbit, 442 U.S.

 at 301 (explaining that the plaintiffs sought standing on the ground that “they must

 curtail their consumer appeals, and thus forgo full exercise of what they insist are

 their First Amendment rights”). Therefore, in both cases, the plaintiffs were able to

 demonstrate an actual injury without establishing a credible threat of prosecution.

 See Am. Booksellers Ass’n., 484 U.S. at 393; Babbit 442 U.S. at 303 (reasoning

 plaintiffs demonstrated an injury for standing purposes because “it is clear that

 appellees desire to engage at least in consumer publicity campaigns prohibited by

 the Act”).

       Accordingly, nothing in Babbit or Booksellers helps Plaintiffs establish

 standing. At first cut, the standing requirements used in First Amendment cases




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 only apply to cases invoking First Amendment rights. NRA of Am. v. Magaw, 132

 F.3d 272, 294 (6th Cir. 1997) (“Except for cases involving core First Amendment

 rights, the existence of a chilling effect has never been considered a sufficient basis,

 in and of itself, for prohibiting government action.”) (internal quotation marks and

 citation omitted)); see also D.L.S. v. Utah, 374 F.3d 971, 975 (10th Cir. 2004)

 (refusing to review under the standing standards for First Amendment claims

 because plaintiff “has not established such an injury”). Regardless, even assuming

 that a plaintiff may establish standing outside the First Amendment context by

 alleging that a criminal statute has chilled constitutionally protected conduct,

 Plaintiffs fail to meet that test in this case. Plaintiffs do not assert that the alleged

 vagueness in the statute has chilled their Second Amendment right. To the

 contrary, Plaintiffs explicitly state that they “will continue to engage in the conduct

 that is potentially criminalized under HB 1224 and subject to prosecution under the

 same.” Doc. 69, at 5 (emphasis added).

       In the end, therefore, Plaintiffs’ claim that they “will continue to engage in

 the conduct that is potentially criminalized” only serves to belie their claim that

 they face a credible threat of prosecution. Doc. 69, p. 5. Rather, Plaintiffs’ request

 “to anticipate whether and when these [plaintiffs] will be charged with crime . . .

 takes [the Court] into the area of speculation and conjecture.” O’Shea v. Littleton,

 414 U.S. 488, 497 (1974). As Plaintiffs have not demonstrated any credible threat of




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 prosecution, they lack Article III standing to assert Claims Two, Three, and Four

 even without considering the Additional Technical Guidance.

              B.     Plaintiffs’ attempt to manufacture factual
                     disputes where there are none under the
                     Additional Technical Guidance fail.

       As explained in the Motion to Dismiss, the Additional Technical Guidance

 was issued as a compromise to directly resolve and address the grounds raised in

 Plaintiffs’ request for a temporary injunction that are identical to those they assert

 in their request for declaratory relief. Doc. 69, at 3. To obtain a preliminary

 injunction, a moving party must establish that they will suffer irreparable injury

 unless the injunction issues. Schrier v. Univ. of Colo., 427 F.3d 1253, 1258 (10th

 Cir. 2005). Considering the Technical Guidance obviated Plaintiffs’ concern that the

 legislation would create irreparable injury, there is no basis to reason that the

 Technical Guidance does not also satisfy the lesser standard of actual injury

 required for standing.

       Surprisingly, Plaintiffs now assert for the first time that the Additional

 Technical Guidance “left a significant delta between defendant’s position and

 Plaintiffs’ second, third, and fourth claims.” Doc. 69, at 18–19. Plaintiffs argue that

 the Additional Technical Guidance fails to resolve four remaining issues. Doc. 69, at

 19–21. They are wrong.

       Initially, Plaintiffs assert that the statute’s ban on magazines designed to be

 “readily converted” to hold 15 or more bullets could be ambiguous for magazines




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 that hold less than 15 bullets because “if the determination to be made is based not

 on whether a detachable box magazine is capable of being . . . converted to accept

 more than 15 rounds . . . but instead, [on whether] it has objective features that are

 specifically designed to make it readily convertible . . .” Doc. 69, at. 19 (internal

 citation omitted). Plaintiffs fail to explain how that makes the law vague.

 Regardless, Plaintiffs’ alleged ambiguity is resolved by the Additional Technical

 Guidance, because it expressly provides that “[m]agazines with a capacity of 15 or

 fewer rounds are not large capacity magazines as defined” in the legislation

 “[w]hether or not they have removable base plates.” Doc. 59, at 1.

       Next, Plaintiffs assert that under the Additional Technical Guidance, HB

 1224 will be “very difficult to enforce.” Doc. 69, at 20 (emphasis added). Although

 Plaintiffs argue it is practically difficult for a law enforcement officer to determine

 whether a magazine—despite its marking—actually holds more than 15 rounds of

 ammunition, there is nothing vague about the statute’s prohibition of magazines

 holding more than 15 rounds of ammunition. Rather, to the extent Plaintiffs are

 correct that law enforcement will have difficult time enforcing HB 1224 under the

 Additional Technical Guidance, their argument only demonstrates that the

 Additional Technical Guidance clearly defines the law.

        Plaintiffs also assert that the Additional Technical Guidance fails to cure the

 alleged ambiguity prohibiting magazines “capable of accepting” more than 15

 rounds because some rifles “will accept 13 rounds of one caliber may accept 18




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 rounds of a compatible shorter caliber.” Doc. 69, at 20–21. But Plaintiffs only

 highlight that the statute is not vague. Indeed, they precisely identify what they

 believe the law prohibits.

       Last, in regards to HB 1224’s grandfather clause, Plaintiffs baldly submit

 that the Additional Technical Guidance fails to cover “the problem, described in the

 Second Amended Complaint and in other pleadings, of a grandfathered magazine

 owner who leaves the state and entrusts the magazine to a friend or neighbor for

 safe storage, a magazine with another person at a shooting event in which both

 were participating.” Doc. 69, at 21. Yet under the Additional Technical Guidance,

 “continuous possession” is “only lost by a voluntary relinquishment of dominion and

 control.” Doc. 59, at 2. Therefore, Plaintiffs’ hypothetical owner who leaves a

 magazine in the control of a friend or shooting participant but without relinquishing

 dominion would not forfeit the Grandfather clause under the Additional Technical

 Guidance.

       In sum, none of Plaintiffs’ alleged ambiguities equate to a credible threat of

 prosecution, let alone any threat at all.

              C.     Plaintiffs offer no reason why this Court
                     should not credit Tenth Circuit precedent
                     and hold that the Additional Technical
                     Guidance forecloses any credible threat of
                     prosecution.

       Plaintiffs alternatively argue that even if the Additional Technical Guidance

 covers their concerns, it “cannot wash away the credible threat of prosecution that




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 exists and continues to exist while HB 1224 remains in force because, although

 entitled to respect, formal attorney general opinions are not binding upon the court

 or law enforcement in general.” Doc. 69, at 6. But that argument simply ignores

 controlling Tenth Circuit precedent. In the context of an affirmative assurance, “the

 ‘possibility’ of future enforcement need not be ‘reduced to zero’ to defeat standing . .

 . [because] it is ‘not necessary for defendants [] to refute and eliminate all possible

 risk that the statute might be enforced’ to demonstrate a lack of a case or

 controversy.” Mink v. Suthers, 482 F.3d 1244, 1255 (10th Cir. 2007) (quoting

 Winsness v. Yocom, 433 F.3d 727, 731 (10th Cir. 2006)).

       Plaintiffs also fail to offer a persuasive response to this Circuit’s cases

 holding that a plaintiff fails to meet the credible threat requirement when there are

 affirmative assurances of non-prosecution from a governmental actor responsible for

 enforcing the challenged statute. See Bronson v. Swensen, 500 F.3d 1099, 1111–12

 (10th Cir. 2007); D.L.S., 374 F.3d 971; Mink, 482 F.3d 1244. Plaintiffs argue that

 Bronson and D.L.S. are distinguishable because the defendants expressly stated

 that the challenged statues would not be enforced against the plaintiffs. Doc. 69, at

 8. In a similar vein, Plaintiffs contend Mink is inapplicable because the plaintiff in

 that case “admitted that he could not constitutionally prosecute the plaintiff.” Doc.

 69, at 9. But an assurance, such as here, that a statute does not apply to the

 conduct at all, is more compelling than an assurance that a person will not be

 prosecuted for conduct that is covered by a statute. Indeed, as even Plaintiffs




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 acknowledge in Faustin, the Tenth Circuit has found no credible threat “based on

 the city’s prosecutor’s determination that the plaintiff did not, in fact, violate the

 city’s sign-posting ordinance.” Doc. 69, at 9 (citing 268 F.3d 942, 948 (10th Cir.

 2001)).

       Additionally, as explained in the Motion to Dismiss, the Additional Technical

 Guidance provides for an affirmative defense. See Colo. Rev. Stat. § 18-1-504(2)(c).

 Plaintiffs’ argument that the affirmative defense has no bearing on whether they

 face a credible threat of “potential prosecution” misunderstands Colorado law. Doc.

 69, at 12. In Colorado, an affirmative defense “becomes an additional element” of

 the crime and the prosecution must “prov[e] beyond a reasonable doubt that the

 affirmative defense is inapplicable.” People v. Pickering, 276 P.3d 553, 555 (Colo.

 2011). Thus, Plaintiffs are undoubtedly wrong in arguing that the affirmative

 defense created by the Additional Technical Guidance is irrelevant to the question

 of whether Plaintiffs face a credible threat of prosecution. Under state law, a person

 acting in compliance with the Additional Technical Guidance would not meet the

 elements of the crime now set forth in HB 1224.

              D.     Plaintiffs’ attempt to assert standing based on
                     past or future economic loss is unavailing.

       Plaintiffs also fail to save their vagueness claims by invoking alleged

 economic losses of the firearms dealers and the Family Shooting Center. As

 explained in detail above, Plaintiffs have failed to establish that they face any

 credible threat of prosecution. For the same reasons, therefore, the firearm dealers




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 and the Family Shooting Center are foreclosed from arguing that they will suffer

 economic harm because their customers will not buy or use their services in fear of a

 credible threat of prosecution that does not exist.

       In any event, Defendant does not challenge the standing of these or any

 Plaintiffs other than the 55 Sheriffs through their official capacities, to challenge

 HB 1224’s prospective prohibition of magazines holding more than fifteen rounds.

 The only economic loss that could constitute an injury-in-fact for the challenged

 vagueness claims would be future lost sales of magazines capable of accepting no

 more than 15 rounds. Yet Plaintiffs concede the Second Technical Guidance Letter

 has “abated those economic injuries.” Doc. 69, at 14.

       To the extent that Plaintiffs argue they have standing because they have

 already suffered economic loss, past economic loss is not a continuing injury.

 Rasmussen, 298 F.3d at 1202 (holding that claims for prospective relief “require a

 continuing injury”). Plaintiffs also do not seek damages. As such, the declaratory

 judgment they seek would in no way redress any of their past economic losses, and

 Plaintiffs have not established standing. See Duke Power Co. v. Carolina Envtl.

 Study Group, Inc., 438 U.S. 59, 75 n.20 (1978) (in order to satisfy the

 “redressability” requirement for standing, a plaintiff must show that there is at

 least a “‘substantial likelihood’ that the relief requested will redress the injury

 claimed . . . .”); accord Baca v. King, 92 F.3d 1031, 1036 (10th Cir. 1996).




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               E.    In the event this Court agrees with Plaintiffs
                     that the Additional Technical Guidance does
                     not apply to law enforcement, Plaintiffs
                     necessarily establish that their claims are not
                     redressable.

         Plaintiffs do not seriously engage Defendant’s argument that to the extent

 they stake their claim for standing on the notion that law enforcement agencies are

 not bound by the Governor’s Additional Technical Guidance, Plaintiffs should have

 included those agencies in this suit. See Bronson, 500 F.3d 1099. Instead, Plaintiffs

 simply proclaim that under ACLU v. Johnson, 194 F.3d 149 (10th Cir. 1999), a

 declaratory injunction against Defendant “will bind all district attorneys and

 therefore redress Plaintiffs’ alleged injuries.” Doc. 69, at 17. In Johnson, the Tenth

 Circuit determined that an injunction against the Governor and the Attorney

 General of New Mexico could extend to the state district attorneys. 194 F.3d at

 1163.

         Johnson necessarily holds that New Mexico’s district attorneys are either

 officers, agents, servants, employees, or attorneys of their governor, or are in active

 concert or participation with him. Id. (quoting Fed. R. Civ. P. 65(d)). While

 Defendant maintains that Colorado’s district attorneys exercise independent

 authority, Plaintiffs nonetheless lack standing. There cannot exist both a credible

 threat of prosecution and an injury fairly traceable to and redressable against this

 particular Defendant. An injunction or declaratory judgment against the Governor

 only could bind Colorado’s district attorneys and local law enforcement agencies if,




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 as in New Mexico, those entities are the Governor’s officers, agents, servants,

 employees, or attorneys, or are in active concert or participation with him. The

 Governor’s additional Technical Guidance, then, would foreclose any credible threat

 of prosecution. Plaintiffs cannot escape this reality. Either the district attorneys

 and local law enforcement agencies are bound, or they are not. If they are, the

 Governor’s Technical Guidance controls and there is no actual and imminent injury.

 If they are not bound, the Governor as the only named Defendant cannot redress

 Plaintiffs’ alleged injury.

        II.    The Political Subdivision doctrine applies here.

        The rule is that a political subdivision may not challenge the validity of an

 act by a fellow political subdivision. While Sheriffs present a flood of arguments

 contending they have standing, those arguments ignore that those inquiries are

 irrelevant if the political subdivision doctrine applies. Because Sheriffs are a

 political subdivision, and considering that the political subdivision doctrine applies

 to this case, this Court should bar the 55 Sheriffs from bringing suit through their

 official capacities.

               A.       The political subdivision doctrine is
                        jurisdictional and must be considered.

        In an attempt to avoid the application of the political subdivision doctrine,

 Sheriffs argue that “this Court need not decide whether Sheriffs have standing

 through their official capacity,” because other plaintiffs “clearly have standing to

 raise all the claims at issue.” Pls.’ Opp. to Def.’s Mot. to Dismiss [Doc. 70], at 3. To




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 support its argument, Sheriffs point to the Colorado Attorney General’s Brief in the

 Affordable Care Act litigation arguing that Colorado’s standing “was irrelevant,

 since other plaintiffs had standing.” Doc. 70, at 3.

       That analogy offers no help to Sheriffs’ argument. As a factual matter, unlike

 the instant case, the State of Colorado was not a political subdivision of the Federal

 Government in the Affordable Care Act litigation. Regardless, the political

 subdivision doctrine is independent from prudential standing inquiries. See, e.g.,

 Bd. of County Comm'rs v. Geringer, 297 F.3d 1108, 1112–13 (10th Cir. 2002).

 “Under the doctrine of political subdivision standing, federal courts lack jurisdiction

 over certain controversies between political subdivisions and their parent states.”

 City of Hugo v. Nichols, 656 F.3d 1251, 1255 (10th Cir. 2011) (citing Branson Sch.

 Dist. RE-82 v. Romer, 161 F.3d 619, 623 (10th Cir. 1998)). Therefore, as an initial

 matter, this Court must consider whether the political subdivision doctrine bars

 Sheriffs from bringing suit through their official capacities.

              B.     A political subdivision does not have standing
                     simply by having a personal stake.

       The majority of Sheriffs’ standing arguments turn on their contention that

 the political subdivision doctrine does not apply when a political subdivision

 establishes a “personal stake.” Relying on what they term the “Allen rule,” Doc. 70,

 at 7, Sheriffs assert they have standing through their official capacities because

 they have a personal stake in: (1) adhering to their oath of office; (2) preserving

 posse comitatus; (3) not having to do background checks before transferring




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 weapons; and (4) effectively performing the duties of their office. Doc. 70, at 7, 8–15,

 16–21, 22–25, 26–37. In a footnote in Board of Education v. Allen, 392 U.S. 236, 242

 n.5 (1968), the majority explained that though there was no challenge to the

 standing of the school board member Appellees (presumably a political subdivision),

 they had standing because “they are in the position of having to choose between

 violating their oath and taking a step—refusal to comply with [the challenged

 statute]—that would be likely to bring their expulsion from office and also a

 reduction of funds for their school districts. 392 U.S. at 242 n.5.

       As a factual matter, nowhere in the opinion is the political subdivision

 doctrine ever mentioned. Thus, it is by no means clear that the Allen court intended

 to carve out an exception to the political subdivision doctrine. More fundamentally,

 Allen never stated that the school board members had standing through their

 official capacities. Plaintiffs’ reliance on Allen to argue that they have standing

 through their official capacity is entirely misplaced.

       Regardless, Plaintiffs’ argument fails on the already-invalidated reading of

 Allen they rely upon. Recently, the Tenth Circuit determined that standing in Allen

 was based on “the individual board members’ personal stake in losing their jobs.”

 Hugo, 656 F.3d at 1256; see Doc. 70, at 7 (acknowledging same). As Sheriffs cannot,

 and have not, asserted that compliance with HB 1224 and HB 1229 will result in

 their termination from office, Sheriffs’ laundry list of “personal stake” claims do

 nothing to stop the application of the political subdivision doctrine.




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              C.     Sheriffs are political subdivisions of the state.

       Sheriffs also attempt to brush aside the political subdivision doctrine by

 arguing that they are not a political subdivision of the state. Counties are political

 subdivisions of the state. Although Sheriffs insist they are not an officer of the

 county because a “Sheriff [and not the county] has plenary authority over the

 hiring, firing, and retention of deputies,” Doc. 70, at 42, the Colorado Constitution

 lists sheriffs as county officers. Colo. Const. Art. XIV, § 8 Under Colorado law,

 counties are political subdivisions of the state. Beaver Meadows v. Bd. of County

 Comm’rs, 709 P.2d 928, 932 (Colo. 1985); Pennobscot, Inc. v. Bd. of County Comm’rs,

 642 P.2d 915, 918 (Colo. 1982); Colorado State Bd. of Social Services v. Billings, 487

 P.2d 1110, 1112 (1971). And under the Colorado Constitution, a Sheriff’s salary is to

 be paid by “fees, perquisites and emoluments of their respective offices, or from the

 general county fund.” Colo. Const. Art. XIV, § 8.

       Sheriffs also err in asserting they are not political subdivisions of the state

 because their offices were created by the People of Colorado. Doc. 70, at 40. Sheriffs

 have not explained, nor is Defendant able to determine, under what exact official

 capacity Sheriffs seek to bring their claims if they are not officers of the state. That

 argument ignores the principle that the political subdivision doctrine applies not

 only to a subdivision that is directly subject to another political subdivision, but a

 “political subdivision of a state may not challenge the validity of an act by a fellow

 political subdivision . . . .” Housing Authority of Kaw Tribe of Indians v. Ponca City,




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 952 F.2d 1183, 1190 (10th Cir. 1991) (emphasis added). Regardless, the People of

 Colorado, through the Colorado Constitution, are the State of Colorado. Colo. Const.

 Art. II, § 1 (“[a]ll political power is vested in and derived from the people; all

 government, of right, originates from the people . . .”); Colo. Const. Art. II, § 2 (“The

 people of this state have the sole and exclusive right of governing themselves, as a

 free, sovereign and independent state . . . .”). Thus, Sheriffs’ argument presents no

 distinction at all. The political subdivision doctrine applies.

              D.     Sheriffs remaining claims of third-party
                     standing are not properly before the Court
                     and are without legal foundation.

       In a last-ditch attempt to save standing through their official capacities,

 Sheriffs insist they have third-party standing. Specifically, Sheriffs argue that they

 have third-party standing to assert claims for the: (1) Colorado mounted rangers

 and potential posse members; (2) sheriffs and deputies who wish to purchase large

 capacity magazines; and (3) current and former Sheriffs who are disabled under the

 Americans with Disabilities Act. Doc. 70, at 30–37, 44–48. Those arguments fail as

 a matter of logic, procedure, and law.

       As an initial matter, Sheriffs claim for third-party standing ignores that

 Defendant has not moved to dismiss Sheriffs through their individual capacities.

 Doc. 64, at 15 n.3. Defendant has never disputed that Sheriffs can bring the claims

 through their individual capacities. As such, the question of whether they have




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 third-party standing is irrelevant to whether they can bring suit through their

 official capacities.

        Sheriffs’ argument for third-party standing is further precluded as a

 procedural matter. Unlike a factual attack 1, a facial attack may not rely on

 documentary evidence outside the complaint. See Paper, Allied-Industrial, Chem. &

 Energy Workers Int’l Union v. Cont’l Carbon Co., 428 F.3d 1285, 1292–93 (10th Cir.

 2005). In the Second Amended Complaint, Sheriffs never mentioned the Colorado

 mounted rangers, the rights of posse members to be in a posse, or that sheriffs and

 their deputies would experience difficulty in purchasing standard capacity

 magazines. Sheriffs also never asserted that they were bringing claims on behalf of

 current and former employees that are disabled. The third-party interests Sheriffs

 raise for the first time in their Opposition to the Motion to Dismiss are not properly

 before the Court. Compare Doc. 62, ¶ 102–05 (asserting first-party standing for

 posse comitatus), with, e.g., Doc. 62, ¶ 65 (asserting third-party standing on behalf

 of Women for Concealed Carry).

        In any event, Sheriffs’ claims are also readily divorced from the law. With

 respect to their claim for third-party standing on behalf of the Colorado mounted

 rangers and the employees of Sheriffs’ departments who are purportedly having

 difficulty purchasing large capacity magazines, Sheriffs contend that “[w]hen a

 political subdivision meets the standard tests for third-party standing, the rule

 1 As expressly explained, the Defendant’s argument requesting dismissal claims 2,

 3, and 4 is brought as a factual attack. Doc. 64, p. 4.



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 against political subdivision standing does not apply.” Doc. 70, at 29. But in support

 of that claim, Sheriffs only cite state cases from California and Ohio addressing

 whether the political subdivision doctrine applied as a matter of state law. Doc. 70,

 at 29–30; see, e.g., City of E. Liverpool v. Columbiana County Budget Comm’n, 870

 N.E.2d 705, 711–12 (Ohio 2007). But in Federal Court, political subdivisions may

 not sue because the Fourteenth Amendment “was written to protect individual

 rights, as opposed to collective or structural rights.” Branson, 161 F.3d at 628.

       Likewise, Sheriffs attempt to assert third-party standing under the American

 with Disabilities Act and for potential posse members is missing the necessary legal

 premise. “Third-party standing requires not only an injury in fact and a close

 relation to the third party, but also a hindrance or inability of the third party to

 pursue his or her own claims.” Terrell v. INS, 157 F.3d 806, 809 (10th Cir. 1998)

 (emphasis added). Here, several disabled Plaintiffs and the non-profit group

 Outdoor Buddies are already plaintiffs in the suit. Doc. 62, at 19–12, 28–29. Thus,

 as disabled plaintiffs are part of the suit, Sheriffs have not established that third-

 party disabled citizens face a hindrance or inability to pursue their own claims. To

 the extent Sheriffs belatedly assert they have third-party standing on behalf of

 potential posse members, that argument suffers from the same defect: individual

 citizens are plaintiffs in this case, and Sheriffs do not explained why they did not, or

 could not have, raise that claim.




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                                   CONCLUSION

        For the reasons and authorities stated above, Defendant asks this Court to

 dismiss Claims Two, Three, and Four in Plaintiffs’ Second Amended Complaint.

 Defendant also asks this Court to dismiss the 55 Sheriffs as Plaintiffs in their

 official capacities.

                                       Respectfully submitted,

                                       JOHN W. SUTHERS
                                       Attorney General


                                       s/ John T. Lee
                                       Daniel D. Domenico*
                                       Solicitor General
                                       David C. Blake*
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                          CERTIFICATE OF SERVICE

        I hereby certify that on August 5, 2013 I served a true and complete copy
 of the foregoing REPLY IN SUPPORT OF MOTION TO DISMISS PLAINTIFFS’
 CLAIMS TWO, THREE, AND FOUR, AND TO DISMISS SHERIFFS AS
 PLAINTIFFS ACTING IN THEIR OFFICIAL CAPACITIES upon all counsel of
 record including those listed below via the CM/ECF system for the United States
 District Court for the District of Colorado:

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                                            s/ Jonathan P. Fero




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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Civil Action No. 13-cv-01300-MSK-MJW

 JOHN B. COOKE, Sheriff of Weld County, Colorado, et al.

        Plaintiffs,

 v.

 JOHN W. HICKENLOOPER, Governor of the State of Colorado,

        Defendant.

      GOVERNOR’S REPLY TO AMICUS BRIEF OF BOARD OF COUNTY
                COMMISSIONERS OF MESA COUNTY

        COMES NOW Defendant, Governor John Hickenlooper, by and through

 undersigned counsel, states as follows in response 1 to the Amicus brief

 submitted by the Board of County Commissioners of Mesa County [Doc. 68-1]

 (filed on 8/22/13):

                                 INTRODUCTION

        Nothing in the Board of County Commissioners of Mesa County’s

 (“Board”) amicus brief diminishes the contradiction between the Sheriffs’

 attempt to bring suit in their official capacities and the Board’s position that the

 Sheriffs are not political subdivisions of the State. The only reasonable reading




 1On October 10, 2013, the Court granted leave to file an Amicus Brief to the Board
 of County Commissioners of Mesa County and permitted Defendant fourteen days
 in which to respond. On October 25, 2013, the Court granted the Defendant’s
 request for an extension of time, to and including, November 1, 2013.



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 of the Colorado Constitution and Colorado law is that the Sheriffs are political

 subdivisions of the State.

       Likewise, the Board’s attempt to argue that the Sheriffs have standing

 because they suffer a direct injury fails as a matter of law and is procedurally

 improper. The claim that the Sheriffs do not fall within HB 1224’s express

 exemption because they cannot be classified as a department, agency, or political

 subdivision of the State has never been asserted by the Sheriffs; moreover, it is

 plain that in practice the Sheriffs consider themselves and their deputies to be

 exempt from Colorado’s limitation on magazine capacity. The Sheriffs’

 understanding that they are exempt is undoubtedly correct. Colorado case law

 confirms that the Sheriffs enjoy civil protection under the substantially similar

 classification necessary to benefit from State governmental immunity. As such,

 this Court should dismiss the Sheriffs to the extent they are bringing suit in

 their official capacities.


                                      ARGUMENT

       A. An officer suing in an official capacity on behalf of a political
          subdivision— as the sheriffs have done in this case—have no
          greater standing to maintain a lawsuit than a political
          subdivision.

       There is no dispute that counties are political subdivisions of the State.

 See Doc. 68-1, at 2. Under the doctrine of political subdivision standing, federal

 courts lack jurisdiction over certain controversies between political subdivisions

 and their parent states. Branson Sch. Dist. RE-82 v. Romer, 161 F.3d 619, 628




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 (10th Cir. 1998). According to the Board, the Sheriffs are not political

 subdivisions because they are independent from both their respective counties

 and the State. The Colorado Constitution belies their claims.

       Article XIV of the Colorado Constitution establishes counties in the State

 of Colorado and sets forth their organization. In particular, that Article creates a

 number of officers for each county, including the “sheriff.” Colo. Const. Art. XIV,

 § 8. 2 The Colorado Constitution further directs that county officers’ salaries are

 to be paid from county funds. Colo. Const. Art. XIV, § 8. The authority to

 determine the qualifications and salaries for the Sheriffs is also delegated to the

 General Assembly. See Colo. Const. Art. XIV, § 8.5; Colo. Const. Art. XIV, § 15.

 Under the Constitution, therefore, the Sheriffs are arms of the counties and

 subject to the authority of the General Assembly. See, e.g., Colo. Rev. Stat. § 30-

 10-504 (requiring that “the salaries of the undersheriff and deputy sheriff shall

 be fixed by the sheriff, with the approval of the board of county commissioners”);

 see also Skidmore v. O’Rourke, 383 P.2d 473, 474 (Colo. 1963) (in case decided

 under art. XIV, 8, holding that “the powers and duties of [elected county

 officials] are prescribed by the Constitution or by statute, or both”).

       Alternatively, the Board insists that the Sheriffs are not a political

 subdivision of the State because they are bringing suit as elected officials and

 not as “entities.” See Doc. 68-1, at 3 (“Cases argued by the State in its Motion to

 2 In addition to the sheriff, elected county officers include the clerk and recorder, the

 coroner, the treasurer, the county surveyor, and the county assessor. Colo. Const.
 art. XIV, § 8.



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 Dismiss Sheriffs as Plaintiffs Acting in Their Official Capacity are directed

 towards entities and not toward individual officers and/or officials”). However,

 “[i]t is illogical to presume that an officer suing in an official capacity on behalf

 of a political subdivision might have greater standing to maintain a lawsuit than

 would the political subdivision that official represents.” Williams v. Corbett, 916

 F. Supp. 2d 593, 598 (M.D. Pa. 2013); cf. City of Hugo v. Nichols, 656 F.3d 1251,

 1255 n.5 (10th Cir. 2011) (the principle of the political subdivision doctrine

 “applies equally to suits against state officials in their official capacity . . .”).

 Accordingly, considering that the Board correctly recognizes that a county office

 is barred from suing its parent state, so too are county officers precluded from

 suing on behalf of their county offices.

       Indeed, the various statutes cited by the Board highlight that the Sheriffs

 are political subdivisions of the State. See, e.g., United States v. Alabama, 791

 F.2d 1450, 1454-55 (11th Cir. 1986) (“creatures of the state have no standing to

 invoke certain constitutional provisions in opposition to the will of their

 creator”). As the Board admits, State statutes outline the Sheriffs’ duties, Colo.

 Rev. Stat. § 30-10-516, grant the Sheriffs the authority to appoint undersheriffs

 and deputy sheriffs, Colo. Rev. Stat. § 30-2-106, and mandate that a Sheriff

 must meet all the standard imposed by the Peace Officers Standard and

 Training Board, Colo. Rev. Stat. § 16-2.5-102. Therefore, far from supporting the

 Board’s contention that the Sheriffs are independent from the State, the fact




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 that the Sheriffs’ duties, salaries, and training are all determined by the General

 Assembly confirm that the Sheriffs are political subdivisions of the State.

       In any event, even granting the Board’s premise that constitutional

 officers are not responsible to the State, the result in this case would be the

 same. Like the Sheriffs, the Governor is a constitutional officer. Colo. Const. Art.

 IV, § 1. If, as the Board claims, constitutional officers are independent from the

 State, a suit against the Governor would not redress their alleged claims. Thus,

 accepting the test that the Board proposes would mean that the Governor is the

 wrong defendant and would require dismissal of the entire action. 3 Cf. Peterson

 v. Martinez, 707 F.3d 1197, 1206-07 (10th Cir. 2013) (dismissing claim on

 Eleventh Amendment grounds against state official who did not have statutory

 authority to enforce the challenged statute).

       B. The Board’s attempt to raise a new claim of injury on behalf of
          the Sheriffs is barred as a procedural matter and irreconcilable
          with the applicable facts and law.

       The Board’s remaining factual argument is no more persuasive than their

 legal argument and entirely ignores the allegations in the complaint. The Board

 argues that the Sheriffs have standing in their official capacity because they do

 not fit under the exemption set forth in HB 1224. Doc. 68-1, at 5-6. The large

 capacity magazine ban challenged in this case exempts “[a]n employee of any of

 the following agencies who bears a firearm in the course of his or her official


 3 The Governor has asserted Eleventh Amendment immunity, see Doc. 65 at p. 56,

 and intends to raise that issue at the summary judgment stage.



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 duties,” including (II) A department, agency, or political subdivision of the State

 of Colorado . . .” Colo. Rev. Stat. § 18-12-302(3)(b).

       At the outset, the Board’s argument ignores that the Governor has not

 moved to dismiss the Sheriffs through their individual capacities. See Doc. 64, at

 15 n.3. The Governor has never argued that the Sheriffs are barred from

 bringing suit in their individual capacities. As a result, the argument that the

 Sheriffs do not fall under the HB 1224’s law enforcement exception is inapposite.

       The Board’s claim also fails as a procedural matter. Unlike a factual

 attack, a facial attack may not rely on documentary evidence outside the

 complaint. See Paper, Allied-Indust., Chem. & Energy Workers Int’l Union v.

 Cont’l Carbon Co., 428 F.3d 1285, 1292-93 (10th Cir. 2005). The Sheriffs have

 never argued that they are not a department, agency, or political subdivision of

 the State of Colorado. The Board is foreclosed from raising a claim of injury

 never presented in the complaint.

       Regardless, Colorado case law confirms that the Sheriffs are political

 subdivisions of the State and fit within HB 1224’s exception. In Colorado, absent

 express exceptions, “sovereign immunity shall be a bar to any action against a

 public entity for injury which lies in tort or could lie in tort regardless of whether

 that may be the type of action or the form of relief chosen by a claimant.” Colo.

 Rev. Stat. § 24-10-108. Colorado law defines “public entity” as including “any

 county” and any “kind of district, agency, instrumentality, or political

 subdivision thereof organized pursuant to the law.” Colo. Rev. Stat. § 24-10-



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 103(5). Colorado courts have repeatedly concluded that Colorado Sheriffs are

 “public entities” as defined in the Governmental Immunity Act. Therefore, under

 Colorado law the Sheriffs should also be classified as a “department, agency, or

 political subdivision of the State of Colorado” for the purposes of HB 1224’s law

 enforcement exception. See, e.g., Corsentino v. Cordova, 4 P.3d 1082, 1087 (Colo.

 2000) (analyzing whether under the exceptions to the Governmental Immunity

 Act, a sheriff waived immunity); Young v. Jefferson County Sheriff, 292 P.3d

 1189, 1191-92 (Colo. App. 2012) (same); Cordova v. Pueblo West Metro. Dist., 986

 P.2d 976, 979-80 (Colo. App. 1998) (same).

       This conclusion finds substantial support in the simple fact that Sheriffs

 are subject to both county and State authority. For example, although the Board

 correctly points out that the Sheriff has authority to appoint deputies and fix

 their salaries, a Sheriff’s budget is subject to his county commissioners’

 “exclusive power to adopt the annual budget for the operation of the county

 government[.]” § 30-11-107, C.R.S. (2013). And State statutes not only set

 qualifications for election to office, but also impose many other duties on the

 sheriff of each county. As the Board points out, there are a host of statutes that

 bind, empower, protect and apply to Sheriffs, all of which are “set out, inter alia,

 and without limitation, in Titles 13, 16, 17, 18, 19, 24, 29, 30, and 42 of the

 Colorado Revised Statutes.” Amicus Brief, p. 2.




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                                   CONCLUSION

       Based on the foregoing reasoning and authorities, this Court should reject

 the Board’s suggestion that the Sheriffs are not barred from maintaining their

 suit by the political subdivision doctrine, and dismiss the Sheriffs in their official

 capacities pursuant to Fed. R. Civ. P. 12(b)(1) for lack of subject matter

 jurisdiction.

                                       Respectfully submitted,

                                       JOHN W. SUTHERS
                                       Attorney General

                                       s/ John T. Lee
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                           CERTIFICATE OF SERVICE

        I hereby certify that on October 31, 2013 I served a true and complete copy of
 the foregoing Governor’s Reply to Amicus Brief upon all counsel of record listed
 below via the CM/ECF system for the United States District Court for the District
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                                               s/ John T. Lee




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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO
                           Chief Judge Marcia S. Krieger

 Civil Action No. 13-cv-01300-MSK-MJW

 JOHN B. COOKE, Sheriff of Weld County, Colorado;
 TERRY MAKETA, Sheriff of El Paso County, Colorado;
 JUSTIN SMITH, Sheriff of Larimer County, Colorado;
 DAVID A. WEAVER, Sheriff of Douglas County, Colorado:
 BRUCE W. HARTMAN, Sheriff of Gilpin County, Colorado;
 KEN PUTNAM, Sheriff of Cheyenne County, Colorado;
 DENNIS SPRUELL, Sheriff of Montezuma County, Colorado;
 TIM JANTZ, Sheriff of Moffat County, Colorado;
 JERRY MARTIN, Sheriff of Dolores County, Colorado;
 MIKE ENSMINGER, Sheriff of Teller County, Colorado;
 SHAYNE HEAP, Sheriff of Elbert County, Colorado;
 CHAD DAY, Sheriff of Yuma County, Colorado;
 FRED D. MCKEE, Sheriff of Delta County, Colorado;
 LOU VALLARIO, Sheriff of Garfield County, Colorado;
 FRED HOSSELKUS, Sheriff of Mineral County, Colorado;
 BRETT L. POWELL, Sheriff of Logan County, Colorado;
 JAMES FAULL, Sheriff of Prowers County, Colorado;
 LARRY KUNTZ, Sheriff of Washington County, Colorado;
 BRIAN E. NORTON, Sheriff of Rio Grande County, Colorado;
 DUKE SCHIRARD, Sheriff of La Plata County, Colorado;
 JIM BEICKER, Sheriff of Fremont County, Colorado;
 RONALD BRUCE, Sheriff of Hindsdale County, Colorado;
 CHRIS S. JOHNSON, Sheriff of Otero County, Colorado;
 FRED JOBE, Sheriff of Custer County, Colorado;
 DONALD KRUEGER, Sheriff of Clear Creek County, Colorado;
 JAMES CRONE, Sheriff of Morgan County, Colorado;
 SI WOODRUFF, Sheriff of Rio Blanco County, Colorado;
 TOM RIDNOUR, Sheriff of Kit Carson County, Colorado;
 TOM NESTOR, Sheriff of Lincoln County, Colorado;
 STAN HILKEY, Sheriff of Mesa County, Colorado;
 FORREST FRAZEE, Sheriff of Kiowa County, Colorado;
 RICK DUNLAP, Sheriff of Montrose County, Colorado;
 TED B. MINK, Sheriff of Jefferson County, Colorado;
 DAVE STONG, Sheriff of Alamosa County, Colorado;
 FRED WEGENER, Sheriff of Park County, Colorado;
 BRUCE NEWMAN, Sheriff of Huerfano County, Colorado;
 RANDY PECK, Sheriff of Sedgwick County, Colorado;
 DOMINIC MATTIVI, JR., Sheriff of Ouray County, Colorado;
 JOHN MINOR, Sheriff of Summit County, Colorado;
 SCOTT FISCHER, Sheriff of Jackson County, Colorado;




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 PETER GONZALEZ, Sheriff of Archuleta County, Colorado;
 RICK BESECKER, Sheriff of Gunnison County, Colorado;
 CHARLES “ROB’ URBACH, Sheriff of Phillips County, Colorado;
 ROD FENSKE, Sheriff of Lake County, Colorado;
 GRAYSON ROBINSON, Sheriff of Arapahoe County, Colorado;
 DAVID D. CAMPBELL, Sheriff of Baca County, Colorado;
 MIKE NORRIS, Sheriff of Saguache County, Colorado;
 AMOS MEDINA, Sheriff of Costilla County, Colorado;
 MILES CLARK, Sheriff of Crowley County, Colorado;
 DAVID ENCINIAS, Sheriff of Bent County, Colorado;
 SUE KURTZ, Sheriff of San Juan County, Colorado;
 JAMES (JIM) CASIAS, Sheriff of Las Animas County, Colorado;
 GARRETT WIGGINS, Sheriff of Routt County, Colorado;
 DOUGLAS N. DARR, Sheriff of Adams County, Colorado;
 COLORADO OUTFITTERS ASSOCIATION;
 COLORADO FARM BUREAU;
 NATIONAL SHOOTING SPORTS FOUNDATION;
 MAGPUL INDUSTRIES;
 USA LIBERTY ARMS;
 OUTDOOR BUDDIES, INC.;
 WOMEN FOR CONCEALED CARRY;
 COLORADO STATE SHOOTING ASSOCIATION;
 HAMILTON FAMILY ENTERPRISES, INC., d/b/a FAMILY SHOOTING CENTER AT
 CHERRY CREEK STATE PARK;
 DAVID STRUMILLO;
 DAVID BAYNE;
 DYLAN HARRELL;
 ROCKY MOUNTAIN SHOOTERS SUPPLY;
 2ND AMENDMENT GUNSMITH & SHOOTER SUPPLY, LLC;
 BURRUD ARMS INC. D/B/A JENSEN ARMS;
 GREEN MOUNTAIN GUNS;
 JERRY’S OUTDOOR SPORTS;
 GRAND PRIX GUNS;
 SPECIALTY SPORTS & SUPPLY; and
 GOODS FOR THE WOODS;

       Plaintiffs,

 v.

 JOHN W. HICKENLOOPER, Governor of the State of Colorado,

       Defendant.




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                        OPINION AND ORDER GRANTING IN PART
                                AND DENYING IN PART
                          DEFENDANT’S MOTION TO DISMISS

        THIS MATTER comes before the Court on the Defendant Governor John W.

 Hickenlooper’s (hereafter referred to as “the State”) Motion to Dismiss (#64). The Plaintiffs

 filed two Responses1 to the motion (#69, 70), and the State replied (#75).

                                          I. Background

        The Colorado General Assembly recently enacted new gun regulations. At issue in this

 lawsuit are two statutes — C.R.S. §§ 18-12-112 and 18-12-302.

        The first statute, § 18-12-112, imposes mandatory background checks for the transfer of

 guns in private transactions, subject to certain exceptions. The law mandates that before a

 person (who is not a gun dealer) can transfer ownership of a gun to someone else, the transferor

 must require that the transferee obtain a background check by a licensed gun dealer, and the

 transferor must obtain approval of the transfer from the Colorado Bureau of Investigation.

 § 18-12-112(1). An individual who violates the law is guilty of a crime. § 18-12-112(9).

 Although challenged in this lawsuit, § 18-12-112 is not the subject of the State’s instant motion

 to dismiss.

        The second statute, § 18-12-302, prohibits the possession, sale, or transfer of large-

 capacity ammunition magazines. Section 18-12-301(2) defines “large-capacity magazine” to


 1
   The Response found at Docket #69 was filed by Colorado Outfitters Association, Colorado
 Farm Bureau, National Shooting Sports Foundation, Magpul Industries, USA Liberty Arms,
 Outdoor Buddies, Inc., Women for Concealed Carry, Colorado State Shooting Association,
 Hamilton Family Enterprises, Inc., David Strumillo, David Bayne, Dylan Harrell, Rocky
 Mountain Shooters Supply, 2nd Amendment Gunsmith & Shooter Supply, LLC, Burrud Arms
 Inc., Green Mountain Guns, Jerry’s Outdoor Sports, Grand Prix Guns, Specialty Sports &
 Supply, and Goods for the Woods. The remaining Plaintiffs, county Sheriffs from across
 Colorado, joined in the first response and also filed a separate Response at Docket #70.


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 include magazines that are capable of accepting, or are “designed to be readily converted to

 accept,” more than fifteen rounds of ammunition. Under the statute, a person who sells,

 transfers, or possesses a large-capacity magazine is guilty of a crime. § 18-12-302(1). However,

 the statute contains a grandfather clause that allows a person to possess a large-capacity

 magazine if he or she (1) owned the magazine as of July 1, 2013 (the effective date of the

 statute), and (2) has maintained “continuous possession” of the magazine thereafter.            §

 18-12-302(2). Only §§ 18-12-301 and -302 are at issue in the context of this motion. Since

 these statutes were enacted, a number of relevant events have occurred. The facts with regard to

 these events are undisputed and are recounted generally here. To the extent further detail is

 required, the Court will elaborate in its analysis.

        On May 16, 2013, the Colorado Attorney General, at the request of Governor

 Hickenlooper, sent a “Technical Guidance” letter to the Executive Director of the Colorado

 Department of Public Safety. The letter was intended to assist Colorado law enforcement

 agencies in understanding and applying portions of the statute prohibiting large-capacity

 magazines. The Technical Guidance addressed the scope of the phrase “designed to be readily

 converted to accept more than fifteen rounds of ammunition,” and set forth the Attorney

 General’s interpretation of the “continuous possession” requirement of the grandfather clause.

        Soon after the Technical Guidance was issued, the Plaintiffs initiated this action. Their

 claims are currently stated in a Second Amended Complaint (#62). They assert six claims, five

 of which challenge the constitutionality of various provisions of the new statutes.




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        The Plaintiffs assert that:

        (1) the prohibition on the sale, transfer, or possession of magazines with a capacity larger

 than fifteen rounds of ammunition, §§ 18-12-301 and -302, violates the Second Amendment of

 the United States Constitution;2

        (2) the prohibition on the sale, transfer, or possession of magazines that are “designed to

 be readily converted” to accept more than fifteen rounds of ammunition, §§ 18-12-301 and -302,

 violates the Second Amendment of the United States Constitution;3

        (3) the phrase “designed to be readily converted,” found in § 18-12-301(2)(a)(I), is

 unconstitutionally vague under the Due Process Clause of the Fourteenth Amendment;

        (4) the phrase “continuous possession,” found in the grandfather clause of § 18-12-

 302(2)(a)(II), is unconstitutionally vague under the Due Process Clause of the Fourteenth

 Amendment;

        (5) §§ 18-12-301 et seq. and § 18-12-112 violate Title II of the Americans with

 Disabilities Act (ADA), 42 U.S.C. § 12132, because they discriminate against disabled persons;

 and

        (6) the restrictions imposed on the transfer of firearms between private individuals under

 § 18-12-112 violates the Second Amendment of the United States Constitution.

        A month after filing their initial Complaint (and just two weeks before the statute

 prohibiting large-capacity magazines was set to go into effect), the Plaintiffs requested a

 preliminary injunction to stop the statute from taking effect. The parties were able to resolve
 2
  The provisions of the Second Amendment to the United States Constitution are made
 applicable to state laws by virtue of the Fourteenth Amendment to the United States
 Constitution. See McDonald v. City of Chicago, 130 S.Ct. 3020 (2010).
 3
  Although the Plaintiffs’ first two claims appear to present separate challenges, the Court
 understands these two claims to actually be one claim challenging the constitutionality of §§ 18-
 12-301 et seq., as a whole, under the Second Amendment.

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 such motion without the Court’s involvement due, in part, to the State’s agreement to issue

 further guidance on the statutes. The Colorado Attorney General issued a second Technical

 Guidance letter, providing additional guidance with regard to the definition of “large-capacity

 magazine” and as to the “continuous possession” requirement of the grandfather clause.

        Citing to Fed. R. Civ. P. 12(b)(1),4 the State now moves to dismiss particular claims in

 the Second Amended Complaint. The State requests that the Court dismiss the Plaintiffs’ claims

 that the language found in §§ 18-12-301(2)(a)(I) and -302(2)(a)(II) is unconstitutionally vague

 and all claims asserted by the Sheriffs5 in their official capacity. The State contends that the

 Court lacks subject matter jurisdiction over these claims because the Plaintiffs do not have

 standing to assert them.




 4
   Rule 12(b)(1) motions to dismiss for lack of subject matter jurisdiction generally take one of
 two forms. The moving party may (1) facially attack the complaint’s allegations as to the
 existence of jurisdiction, or (2) go beyond the allegations contained in the complaint by
 presenting evidence to challenge the factual basis upon which subject matter jurisdiction rests.
 Maestas v. Lujan, 351 F.3d 1001, 1013 (10th Cir. 2003).
         Under a facial attack, the movant merely challenges the sufficiency of the complaint,
 requiring the Court to accept the allegations in the complaint as true. Holt v. United States, 46
 F.3d 1000, 1002 (10th Cir. 1995). On the other hand, in a factual attack, the movant goes
 beyond the allegations in the complaint and challenges the facts upon which subject matter
 jurisdiction depends. In such situations, the Court must look beyond the complaint and has wide
 discretion to allow documentary and even testimonial evidence to resolve disputed jurisdictional
 facts. Id. In the course of a factual attack under Rule 12(b)(1), the Court’s reference to evidence
 outside the pleadings does not convert the motion into a motion for summary judgment under
 Rule 56. Id.
         The State presents both kinds of challenges under Rule 12(b)(1) — a factual attack as to
 the Plaintiffs’ ability to establish standing to assert their vagueness claims and a facial attack as
 to the standing of the Sheriffs to bring claims in their official capacities.
 5
   For the sake of clarity in identifying various groups of Plaintiffs, the Court notes that it uses the
 term “Plaintiffs” only when collectively referring to all of the Plaintiffs involved in this lawsuit.
 The group of Plaintiffs comprised of individuals identified as county Sheriffs is referred to as
 “the Sheriffs.” The remaining non-sheriff Plaintiffs (including individuals and entities) are
 referred to by name where appropriate.

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                                           II. Jurisdiction

         The issues presented in the State’s motion to dismiss concern whether the Court has

 subject matter jurisdiction over certain claims. The Court may exercise jurisdiction over this

 matter so that it may determine its own jurisdiction. See Dennis Garberg & Associates, Inc. v.

 Pack-Tech Intern. Corp., 115 F.3d 767, 773 (10th Cir. 1997).

                                            III. Analysis

         Before beginning its legal analysis, the Court pauses to address a preliminary matter.

 Recognizing that this case is one of great public concern and interest, it is important to identify

 what the Court is not doing and not considering.

         Determination of this motion to dismiss has nothing to do with the merits of the

 Plaintiffs’ claims. The Court is not be determining whether the new laws are good, bad, wise,

 unsound, or whether they are the subject of legitimate concern. Indeed, at this juncture, the

 Court is not even considering whether the challenged portions of the laws are constitutional.

 This ruling determines only whether the Court can consider particular claims (that is, the Court’s

 jurisdiction ).

         A court’s “jurisdiction” is a broad concept. For purposes of the matters addressed herein,

 jurisdiction means a court’s power or authority to interpret and apply the law.

         All federal courts are courts of “limited jurisdiction,” meaning that they possess only that

 power given to them by the United States Constitution and federal statutes.6 Kokkonen v.

 Guardian Life Ins. Co. of America, 511 U.S. 375, 377 (1994). Article III of the United States

 Constitution restricts the authority of federal courts to adjudicating actual “cases” and
 6
   This is in contrast to the state courts. Typically courts of general jurisdiction, state courts are
 presumed to have the power to hear virtually any claim arising under federal or state law, except
 those which Congress or the United States Constitution specifies can be heard only by federal
 courts.


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 “controversies.” U.S. Const. art. III, § 2, cl.1; Sprint Commc’ns Co. v. APCC Servs., Inc., 554

 U.S. 269 (2008). Limitation of the jurisdiction of federal courts to cases and controversies is

 crucial to maintaining the “tripartite allocation of power” set forth in the United States

 Constitution. Indeed, no principle is more fundamental to the judiciary’s proper role in our

 system of government. See Valley Forget Christian College v. Americans United for Separation

 of Church and State, Inc., 454 U.S. 464, 474 (1982); Raines v. Byrd, 521 U.S. 811, 818 (1997).

        A case or controversy can only be brought by a person with “standing” to sue. This

 means that a plaintiff must have a right or interest that has been, is being, or will be affected by

 the challenged act or statute. See Allen v. Wright, 468 U.S. 737, 750-51 (1984). In other words,

 to invoke federal court jurisdiction, a plaintiff must demonstrate that he or she “has a stake” in

 the outcome at the time the suit is filed. Thus, unlike doctrines which restrain federal courts

 from exercising jurisdiction based on the characteristics of the claims themselves (e.g. doctrines

 of abstention or grants of exclusive jurisdiction), the question of standing focuses on the party

 who seeks relief rather than on the issues that he or she wants adjudicated. See Flast v. Cohen,

 392 U.S. 83, 95 (1968). In addition, a plaintiff must demonstrate standing for each claim he or

 she asserts and for each form of relief that is sought. DaimlerChrysler Corp. v. Cuno, 547 U.S.

 332, 352 (2006).

        If there is no plaintiff with standing to assert a particular claim, federal courts lack

 jurisdiction to consider it. Summers v. Earth Island Inst., 555 U.S. 488, 492-93 (2009). Parties

 who invoke federal jurisdiction, here the Plaintiffs, bear the burden of establishing a court’s

 jurisdiction. Steel Co. v. Citizens for a Better Environment, 523 U.S. 83, 104 (1998).       Thus, it

 is the Plaintiffs who must establish their standing to proceed with the claims in the Second

 Amended Complaint.



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        To establish standing, a plaintiff must show that: (1) he or she has suffered an “injury in

 fact” that is concrete and particularized, and actual or imminent (not merely conjectural or

 hypothetical); (2) the injury is fairly traceable to the challenged action of the defendant; and (3) it

 is likely, as opposed to merely speculative, that the injury will be redressed by the relief

 requested. Friends of the Earth, Inc. v. Laidlaw Envtl. Servs., Inc., 528 U.S. 167, 180-81 (2000);

 Tandy v. City of Wichita, 380 F.3d 1277, 1283 (10th Cir. 2004).

        The “injury in fact” requirement is satisfied differently depending on what kind of relief a

 plaintiff seeks. A plaintiff may seek retrospective relief (typically in the form of an award of

 money damages) when he or she wants to be compensated for a past injury. In contrast, a

 plaintiff may seek prospective relief (usually in the form of a declaratory judgment or an

 injunction) when he or she believes that he or she will be injured in the future and wants to

 prevent the injury from happening. Here, the Plaintiffs do not claim that they have suffered any

 past injuries due to prior enforcement of the new statutes. Instead, they seek prospective relief

 by asking the Court to enjoin the State from enforcing the statutes in the future.

        To have standing to seek prospective relief, a plaintiff must establish that he or she is

 suffering a continuing injury from the challenged act, or that he or she is under a real and

 immediate threat of being injured by that act in the future. City of Los Angeles v. Lyons, 461

 U.S. 95, 101-02 (1983). The threatened injury must be “certainly impending” and not merely

 speculative. Laidlaw, 528 U.S. at 190. When, as here, the constitutionality of a criminal statute

 is challenged based on the prospect of future enforcement, a plaintiff must show that “there

 exists a credible threat of [future] prosecution” of the plaintiff under the statute. Ward v. Utah,

 321 F.3d 1263, 1267 (10th Cir. 2003).




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        B. Do any of the Plaintiffs have standing to assert that §§ 18-12-301 and -302 are

 unconstitutionally vague?

        The Plaintiffs claim that certain language found in §§ 18-12-301 and -302 is

 unconstitutionally vague under the Due Process clause of the 14th Amendment to the United

 States Constitution. The State argues that these claims must be dismissed because no Plaintiff

 has, or can, show a “credible threat” that he, she, or it will be prosecuted under the statutes

 because the Technical Guidance letters have adequately clarified the statutory terms. This is a

 factual challenge to the Plaintiffs’ standing. Accordingly, the Court does not presume the

 truthfulness of the factual allegations in the Second Amended Complaint and has wide discretion

 to consider affidavits, other documents, and evidence. Holt v. United States, 46 F.3d 1000,

 1002-03 (10th Cir. 1995).

        As noted above, to have standing, a plaintiff who challenges the prospective enforcement

 of a criminal statute must show a “real and immediate threat” of future prosecution under the

 statute. Bronson v. Swensen, 500 F.3d 1099, 1107 (10th Cir. 2007). This requirement has been

 characterized as a “credible” threat of prosecution, meaning that is arises from an “objectively

 justified fear of real consequences.” Id. (quoting D.L.S. v. Utah, 374 F.3d 971, 975 (10th Cir.

 2004)). In Bronson, the Tenth Circuit explained that the credible threat test operates as a

 continuum, along which the degree of likelihood of enforcement must be assessed. At the

 “credible threat” end of the spectrum are cases in which the plaintiff has been explicitly

 threatened with arrest or prosecution. See, e.g., Doctor John’s, Inc. v. City of Roy, 465 F.3d

 1150, 1156 (10th Cir. 2006). At the “no credible threat” end of the spectrum are cases in which

 there was an affirmative assurance by a government actor responsible for enforcing the

 challenged statute that there will be no prosecution. Bronson, 500 F.3d at 1108. Such



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 assurances prevent a “threat” of prosecution from maturing into a “credible” one. See, e.g., Mink

 v. Suthers, 482 F.3d 1244, 1253-55 (10th Cir. 2007); Winsness v. Yocom, 433 F.3d 727, 732

 (10th Cir. 2006); Faustin v. City & County of Denver, 268 F.3d 942, 948 (10th Cir. 2001).

        Here, the Colorado Attorney General’s two Technical Guidance letters specify how the

 statutes should be interpreted and enforced. The State argues that the Technical Guidance letters

 act as assurances that there will be no prosecution contrary to their terms. The Plaintiffs argue

 that the Technical Guidance letters are insufficient to act as “assurances” of non-prosecution

 because they are not binding on state or local law enforcement and they do not explicitly state

 that there will be no prosecution.

        The Court rejects the Plaintiffs’ argument. Although the letters do not explicitly state

 that these Plaintiffs will not be prosecuted under the statutes, the Technical Guidance letters

 advise the Plaintiffs of the conduct that is permissible (for example, possession of magazines

 accepting fewer than fifteen rounds but with removable base plates), and therefore the Plaintiffs

 are assured that they will not be prosecuted for such conduct. Indeed, C.R.S. § 18-1-504(2)(c)

 provides an affirmative defense to criminal liability if a defendant engages in conduct under a

 mistaken belief that the conduct is permitted by “[a]n official written interpretation of the statute

 or law relating to the offense.” In addition, the question is whether there is a credible threat of

 prosecution, not simply arrest. The Plaintiffs have not provided any evidence to suggest that

 any District Attorney will prosecute in variance to the directive of the Attorney General. The

 idea that a rogue District Attorney might choose to prosecute a Plaintiff for conduct explicitly

 permitted under the terms of the Technical Guidance is purely speculative.

        Recognizing a spectrum of likelihood of prosecution, the Tenth Circuit has also held that

 the “possibility” of future enforcement need not be “reduced to zero” to defeat standing. Mink,



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 482 F.3d at 1255 (quoting Winsness, 433 F.3d at 733). Thus, a defendant need not contend or

 show that there is no possibility of prosecution. Instead, a plaintiff must demonstrate an “actual

 or imminent, not conjectural or hypothetical” threat that the statute will be enforced against him,

 her, or it. Winsness, 433 F.3d at 733. Accordingly, the Court finds that the Technical Guidance

 letters are sufficient to act as assurances by the State that prosecution will be subject to the

 clarifications provided by the Technical Guidance letters.

        In light of the Technical Guidance letters, to show a credible threat of prosecution, a

 Plaintiff must show that his, her or its intended behavior falls afoul of both the statute(s) and the

 Technical Guidance letters. It is not necessary for every Plaintiff to show a credible threat of

 prosecution for the claims to proceed. If any Plaintiff can show standing, the claim may proceed

 (albeit only as to that Plaintiff). See American Atheists, Inc. v. Davenport, 637 F.3d 1095, 1114

 (10th Cir. 2010) (citing Watt v. Energy Action Educ. Found., 454 U.S. 151, 160 (1981)).

        The Court notes that the Plaintiffs have brought separate vagueness claims as to specific

 phrases found in §§ 18-12-301 and -302. Thus framed, the Court focuses on each challenged

 phrase as interpreted by the Technical Guidance. To recap, the Plaintiffs claim that the phrases

 “designed to be readily converted,” found in § 18-12-301(2)(a)(I), and “continuous possession,”

 found in § 18-12-302(2)(a)(II), are unconstitutionally vague. In determining whether any

 Plaintiff has standing to assert these claims, the Court has considered all of the pleadings and

 factual showings made by the Plaintiffs as to how the new statutes might affect them.

        1. “designed to be readily converted”

        Section 18-12-302 prohibits the possession, sale, or transfer of large-capacity ammunition

 magazines. Section 18-12-301(2) defines “large-capacity magazine” as including “a fixed or

 detachable magazine, box, drum, feed strip, or similar device capable of accepting, or that is



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 designed to be readily converted to accept, more than fifteen rounds of ammunition.” The first

 Technical Guidance letter set forth guidance as to how this phrase should be interpreted and

 enforced:

                [t]he term “designed,” when used as a modifier, denotes a feature
                that meets a specific function. This suggests that design features
                that fulfill more than one function, and whose function is not
                specifically to increase the capacity of a magazine, do not fall
                under the definition. The features of a magazine must be judged
                objectively to determine whether they were “designed to be readily
                converted to accept more than fifteen rounds.”

                Under this reading of the definition, a magazine that accepts fifteen
                or fewer rounds is not a ‘large capacity magazine simply because it
                includes a removable baseplate which may be replaced with one
                that allows the magazine to accept additional rounds. On many
                magazines, that design feature is included specifically to permit
                cleaning and maintenance. Of course, a magazine whose baseplate
                is replaced with one that does, in fact, allow the magazine to accept
                more than fifteen rounds would be a “large capacity magazine”
                under House Bill 1224.

        The second Technical Guidance letter provided additional guidance with regard to

 magazines with removable base plates:

                [m]agazines with a capacity of 15 or fewer rounds are not large
                capacity magazines as defined in [§ 18-12-301] whether or not
                they have removable base plates. The baseplates themselves do
                not enable the magazines to be expanded and they serve functions
                aside from expansion — notably, they allow the magazines to be
                cleaned and repaired. To actually convert them to higher capacity,
                one must purchase additional equipment or permanently alter their
                operation mechanically. Unless so altered, they are not prohibited.

        Thus, to establish standing to challenge the phrase “designed to be readily converted,” at

 least one Plaintiff must show that he, she, or it intends to sell, transfer, or possess a magazine that

 accepts fifteen rounds or less, but which has a design feature other than a removable base plate

 that makes it capable of accepting more than fifteen rounds.




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        Nothing in the Second Amended Complaint or elsewhere in the record to establishes that

 any Plaintiff is under a credible threat of prosecution under § 18-12-302 for selling, transferring,

 or possessing a magazine that is “designed to be readily converted” to accept more than fifteen

 rounds of ammunition. Several firearm dealer Plaintiffs, including 2nd Amendment Gunsmith &

 Shooter Supply, LLC; Green Mountain Guns; Jerry’s Outdoor Sports; and Magpul Industries,

 indicate that they own and intend to sell magazines that have removable “floor plates” or “end

 caps” (which the Court understands to be equivalent to the “base plates” mentioned in the

 Technical Guidance letters). However, in accordance with the Technical Guidance, possession

 or transfer of magazines that could potentially accept more than 15 rounds by virtue of

 removable floor plates or end caps alone is not precluded. The letters expressly state that such

 magazines are not considered to be “designed to be readily converted” into large-capacity

 magazines for purposes of enforcement of the statute.

          No other Plaintiff has alleged that they intend to sell, transfer, or possess magazines that

 have a design feature, other than a removable base plate, that allows the magazine to accept more

 than fifteen rounds.7 Accordingly, the Court finds that no Plaintiff has alleged sufficient facts to

 show a credible threat of prosecution for violation of § 18-12-301 based on the possession, sale,

 or transfer of a magazine that is “designed to be readily converted” to accept more than 15

 rounds. The State’s motion to dismiss this claim is therefore GRANTED, and the claim that this

 portion of the statute is unconstitutionally vague is dismissed.
 7
   Several Plaintiffs who are organizations and associations, including the National Shooting
 Sports Foundation, Colorado State Shooting Association, Outdoor Buddies, Colorado Outfitters
 Association, and Women for Concealed Carry, assert that they are suing on behalf of their
 members. However, these Plaintiffs have not asserted that their individual members intend to
 sell, possess, or transfer a magazine that is designed to be readily converted to accept more than
 fifteen rounds by virtue of something other than a removable base plate. Because these Plaintiffs
 have not established that their members would have standing to sue in their own right, they have
 not established their standing to sue on behalf of their members. See Friends of the Earth, Inc. v.
 Laidlaw Environmental Services, Inc., 528 U.S. 167, 181 (2000).

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        2. “continuous possession”

         As noted, section 18-12-302 prohibits the possession, sale, or transfer of large-capacity

 magazines, subject to a grandfather clause. The grandfather clause protects a person who

 possesses a large-capacity magazine if he, she, or it (1) owned the magazine as of July 1, 2013

 (the effective date of the statute), and (2) maintains “continuous possession” of the magazine

 thereafter. § 18-12-302(2).

        The first Technical Guidance letter explains:

                Responsible maintenance, handling, and gun safety practices, as
                well as constitutional principles, dictate that [§ 18-12-
                302(2)(a)(II)] cannot be reasonably construed as barring the
                temporary transfer of a large-capacity magazine by an individual
                who remains in the continual physical presence of the temporary
                transferee, unless that temporary transfer is otherwise prohibited
                by law. For example, an owner should not be considered to have
                “transferred” a large-capacity magazine or lost “continuous
                possession” of it simply by handing it to a gunsmith, hunting
                partner, or an acquaintance at a shooting range with the
                expectation that it will be promptly returned. Likewise, a
                gunsmith, hunting partner, or acquaintance at a shooting range who
                acquires temporary physical custody of a large-capacity magazine
                from its owner should not be considered in “possession” of the
                magazine so long as he or she remains in the owner’s physical
                presence. However, it would be unreasonable to construe the bill
                or this guidance to exempt a temporary transfer of a large-capacity
                magazine in connection with criminal activity.

                For similar reasons, the bill’s requirement that an owner must
                maintain “continuous possession” in order to ensure the application
                of the grandfather clause cannot reasonably be read to require
                continuous physical possession. . . .

        The second Technical Guidance letter provides additional explanation:

                The phrase “continuous possession” in [§ 18-12-302(2)] shall be
                afforded its reasonable, every-day interpretation, which is the fact
                of having or holding property in one’s power or the exercise of
                dominion over property, that is uninterrupted in time, sequence,
                substance, or extent. “Continuous possession” does not require a
                large-capacity magazine owner to maintain literally continuous


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                physical possession of the magazine. “Continuous possession” is
                only lost by a voluntary relinquishment of dominion and control.

        In light of the Technical Guidance, to establish standing with regard to the phrase

 “continuous possession,” a Plaintiff must establish that he, she, or it is subject to a credible threat

 of prosecution for possessing a large-capacity magazine and is not protected by the grandfather

 clause. In other words, a Plaintiff must show that he, she or it acquired a large-capacity

 magazine before July 1, 2013, but that he, she, or it does not fall within the grandfather clause

 because he, she, or it intends to give up “continuous possession” of the magazine.

        Plaintiff David Strumillo, a retired police officer, submitted a declaration in which he

 states that he owns firearms that use large-capacity magazines. He asserts that under the new

 statute, he will be “prevented from lending [his] firearms containing [the large-capacity

 magazines] to [his] family members.”

        The Court finds that Mr. Strumillo’s intended conduct of “lending” his large-capacity

 magazines to family members subjects him to a credible threat of criminal prosecution under

 § 18-12-302. The second Technical Guidance letter states that “continuous possession” is lost

 only by a “voluntary relinquishment of dominion and control.” A reasonable interpretation of

 Mr. Strumillo’s use of the word “lending” suggests that Mr. Strumillo intends to give up his

 dominion and control over the magazines for a period of time, and that the magazine will later be

 returned to him. Thus, although Mr. Strumillo owned his magazines as of July 1, 2013, the

 grandfathering clause does not protect him because he intends to give up “continuous

 possession” of the magazines.

        The State further contends that even if there is a Plaintiff who establishes a potential

 injury, that such Plaintiff lacks standing because the relief sought (an injunction against

 enforcement) will not redress the injury. It argues that because the Plaintiffs sued the Governor,


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 any injunction against enforcement of the statute or declaratory relief deeming the statute

 unconstitutional would not bind the local District Attorneys who carry out the actual

 enforcement of the statute.

        The Court is not persuaded. The Colorado Constitution states that the “supreme

 executive power of the state shall be vested in the governor, who shall take care that the laws be

 faithfully executed.” Colo. Const. Art. IV, § 2. Colorado has long recognized the practice of

 naming the governor, in his official role as the state’s chief executive, as the proper Defendant in

 cases where a party seeks to enjoin state enforcement of a statute, regulation, ordinance, or

 policy. See Developmental Pathways v. Ritter, 178 P.3d 524, 529 (Colo. 2008). The Court finds

 that the Governor, in his official capacity, possesses sufficient authority to enforce (and control

 the enforcement of) the complained-of statute. Thus, the relief sought is against the Governor in

 his official capacity, and therefore would redress injury to Mr. Strumillo.

        Accordingly, the Court finds that at least one Plaintiff has established standing to assert a

 claim that the phrase “continuous possession,” § 18-12-302(2), is unconstitutionally vague. The

 State’s motion to dismiss this claim is therefore DENIED.

        C. Do the Sheriffs have standing to sue the State of Colorado?

        The State also request dismissal of all claims brought by Plaintiffs who are county

 sheriffs because they have no standing to sue the State in their “official capacity”. The State

 relies upon the political subdivision doctrine which teaches that a political subdivision of a state

 may not sue its parent state under certain provisions of the United States Constitution.

        To understand the State’s argument, it is important to distinguish between claims brought

 by a person in an “official capacity” and those brought in a personal/individual capacity.




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 Generally, a government official (whether elected or appointed) can assert rights in two different

 capacities. One pertains to the office in which the official serves. In that capacity, the official

 acts on behalf of, and is the representative of, the office that he or she holds. That role continues

 until the person no longer serves in the office, at which point, the official’s successor assumes

 that role. An “official capacity” claim is one that is brought by or against the person acting as

 the representative of, or as substitute for, the office or agency. In other words, in an official

 capacity claim, one can readily replace the named individual with the name of the office itself.

 For example, an official capacity claim brought by “John Cooke, Sheriff of Weld County,” is

 actually a claim being brought by the Weld County Sheriff’s Office.8 See Hafer v. Melo, 502

 U.S. 21, 25 (1991).

         A government official can also assert rights that he or she has as an ordinary, private

 citizen. Following the prior example, a claim brought by Sheriff Cooke in an individual capacity

 is actually one by Mr. Cooke as a private citizen.

         A government official can be involved in a lawsuit either in his or her official capacity

 (that is, as a representative of the office itself) or as an individual, or both.9 Here, the Court

 understands the parties to agree that the claims asserted by the Sheriffs in the Second Amended

 Complaint are all intended to be brought as official capacity claims. See generally Docket # 70

 (repeatedly arguing that the “Sheriffs have standing, in their official capacity,” in various


 8
  It is in this same sense that the Court has referred to the Defendant in this case — nominally,
 Mr. Hickenlooper — as simply “the State,” as all claims are brought against Mr. Hickenlooper in
 his official capacity as the Governor of Colorado.
 9
   The issue presented here is the relatively unusual question of whether plaintiffs are bringing
 claims in their official or individual capacities. The more common question — whether a claim
 is brought against a defendant in an official or individual capacity — is not at issue here. See
 generally Watson v. Polland, 2009 WL 1328316 (D. Colo. May 8, 2009) (slip op.) (discussing
 the difference between official and individual capacity claims brought against a defendant).


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  respects, but never contending that the Sheriffs have standing “in their individual capacity”).

  Thus, these are claims brought by the Sheriffs’ offices of each of the respective county.

           The State argues that under the doctrine of political subdivision standing, the Sheriff’s

  Offices in each county are barred from suing the State because a county Sheriff’s Office is a

  political subdivision of the State of Colorado. Consideration of this argument requires

  application of both federal and state law.

           Turning first to federal law, political subdivisions of states, such as cities and counties,

  are recognized as subordinate governmental instrumentalities created by a state to assist in

  carrying out state governmental functions. See Reynolds v. Sims, 377 U.S. 533, 575 (1964).

  Under the doctrine of political subdivision standing, a political subdivision of a state cannot sue

  its parent state for alleged violations of the Fourteenth Amendment. This is because that

  amendment was written to protect individual rights, as opposed to protecting collective or

  structural rights.10 Branson Sch. Dist. RE-82 v. Romer, 161 F.3d 628 (10th Cir. 1998). Indeed,

  the Tenth Circuit has observed that there is not “a single case in which the Supreme Court or a

  court of appeals has allowed a political subdivision to sue its parent state under a substantive

  provision of the Constitution.” City of Hugo v. Nichols, 656 F.3d 1251, 1253-54 (10th Cir.

  2011).

           This doctrine is an important limitation on the power of the federal government. It

  guarantees that a federal court will not resolve certain disputes between a state and local

  government. A political subdivision may seek redress against its parent state for violation of a

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    The Tenth Circuit has expressed some doubt as to whether the issue of a political subdivision
  suing its parent state is properly regarded as a question of standing or a substantive determination
  that the Constitution does not afford rights to political subdivisions as against their states. See
  City of Hugo v. Nichols, 656 F.3d 1251, 1255 n.4 (19th Cir. 2011). Nevertheless, in an earlier
  decision, Branson Sch. Dist. RE-82 v. Romer, 161 F.3d 628 (10th Cir. 1998), the Tenth Circuit
  cast the issue as one of jurisdictional standing. Thus, this Court treats it as such.

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  state Constitution, but the political subdivision cannot invoke (nor can a federal court impose)

  the protections of the United States Constitution for individuals against a state. See Williams v.

  Mayor & City Council of Balt., 289 U.S. 36, 40 (1933). With regard to its own subdivisions, the

  power of the state is unrestrained by the Fourteenth Amendment. City of Trenton v. New Jersey,

  262 U.S. 182, 188 (1923).

           Turning to Colorado law, a county in Colorado is undisputedly a political subdivision of

  the State of Colorado. See Bd. of Cnty. Com’rs of Douglas Cnty. v. Bainbridge, Inc., 929 P.2d

  691, 699 (Colo. 1996). The Colorado Constitution creates an office of Sheriff for each county

  and lists the Sheriff as a county officer. Colo. Const. Art. XIV, § 8. The Sheriff’s Office

  functions as a department of the county, charged with enforcing State laws within the county

  limits. As such, it is an extension of the county in which it is situated. Thus, an official capacity

  claim asserted by a county Sheriff’s Office is a claim asserted by a political subdivision of the

  State.

           The Sheriffs argue that they are not a political subdivision of the State because the Office

  of Sheriff was created by the People of Colorado, through the Colorado Constitution, rather than

  being created by state law. This argument is not persuasive. The Sheriffs are correct that that

  the People of Colorado acted through the Colorado Constitution, but in doing so they created and

  empowered the State of Colorado and its subdivisions. Colo. Const. Art. II, § 1 (“[a]ll political

  power is vested in and derived from the people; all government, of right, originates from the

  people . . . .”); Colo. Const. Art. II, § 2 (“The people of this state have the sole and exclusive

  right of governing themselves, as a free, sovereign and independent state . . . .”). In the Colorado

  Constitution, the People of the State of Colorado created the structure of the state government,




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  making counties and county Sheriff’s Offices part of it – a political subdivision of the State of

  Colorado.

         Alternatively, the Sheriffs argue that the Supreme Court in Board of Education v. Allen,

  392 U.S. 236 (1968), carved out an exception to the political subdivision doctrine if the plaintiff

  has a “personal stake in the outcome” of the litigation. In Allen, a local Board of Education sued

  to stop enforcement of a New York statute requiring public school authorities to lend free

  textbooks to students at parochial schools. In a footnote, the Supreme Court noted that the

  Board’s standing had not been challenged. However, the Court went on to observe that the

  “[plaintiffs] have taken an oath to support the United States Constitution. Believing [the statute]

  to be unconstitutional, they are in the position of having to choose between violating their oath

  and taking a step — refusal to comply with [the statute] — that would be likely to bring their

  expulsion from office and also a reduction in state funds for their school districts. There can be

  no doubt that [the plaintiffs] thus has a ‘personal stake in the outcome’ of this litigation.” Allen,

  392 U.S. at 241 n.5 (quoting Baker v. Carr, 369 U.S. 186, 204 (1962)). The Sheriffs argue that,

  like the members of the Board of Education, they are compelled by their oath to enforce both the

  U.S. Constitution and state law, yet believe that the state law they are required to enforce violates

  the U.S. Constitution, giving them the same “personal stake” in the outcome.

         The Tenth Circuit addressed this aspect of Allen in City of Hugo v. Nichols, 656 F.3d

  1251 (10th Cir. 2011). In that case, the Tenth Circuit specifically considered Allen in the context

  of the political subdivision doctrine. The Tenth Circuit explained that in Allen, standing was

  based on the individual board members’ personal stake in losing their jobs. 656 F.3d at 1260. In

  other words, the board members were asserting individual claims, rather than “official capacity”

  claims. Thus, even if members of the Board of Education in Allen did not have standing to bring



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  an official capacity claim, its members could bring a claim as individuals who were at risk of

  losing their jobs if they adhered to the oath they took. .

          The same is true in this case. If individual sheriffs wish to protect individual rights or

  interests they may do so. In the Second Amended Complaint, however, the Sheriffs have

  confused their individual rights and interests with those of the county Sheriff’s Office. They

  each assert that they have a stake in the outcome of this litigation because (1) they desire to

  adhere to their oath of office, (2) must preserve their ability to use posse comitatus,11 (3) it would

  be burdensome to do background checks before transferring weapons in the routine execution of

  Sheriff duties (e.g. issuing Sheriff’s Office-owned firearms to deputies, collecting and

  maintaining firearms seized as evidence, etc.), and (4) it would compromise the performance of

  their office by diverting time and financial resources away from higher law-enforcement

  priorities.

          The latter three interests are all incident to the functioning of a Sheriff’s Office, but are

  not individual rights of the person who serves as Sheriff. In other words, Mr. Cooke does not

  have an individual ability to invoke posse comitatus or to issue Sheriff’s Office firearms to

  deputies or to direct use of Sheriff Office resources. Thus, any injuries affecting these rights are

  suffered by the Sheriff’s Office, not Mr. Cooke. Because such injury is to a political subdivision

  of the State, they are not the type of injury to the individual interests of a government official as

  contemplated in Allen and Hugo.

          The remaining injury identified by the Sheriffs — the duty to avoid violating their oath of

  office — is a type of “personal stake” or potential injury that is acknowledged in Allen.
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     Essentially, the power of law enforcement authorities to call upon the general citizenry for
  assistance in keeping the peace. Black’s Law Dictionary, 7th Ed. at 1183. The Sheriffs’
  argument is thus that a citizenry dispossessed of certain weapons due to the operation of the
  statutes offers the Sheriffs a less effective “posse.”


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  However, in Allen, the Supreme Court characterized this “personal stake” as the dilemma of

  “choos[ing] between violating their oath and taking a step . . . that would be likely to bring their

  expulsion from office.” 392 U.S. at 241 n. 5. Similarly, the Court in Hugo understood standing

  under Allen to be “based on the individual board members’ personal stake in losing their jobs.”

  656 F.3d at 1260. Perhaps there are individual Sheriffs who desire to bring claims in their

  individual capacities like that asserted in Allen. But no individual claims have been asserted in

  the Second Amended Complaint.12

         Finally, the Sheriffs contend that they have third-party standing on behalf of (1) the

  Colorado mounted rangers and their posse comitatus, (2) sheriffs and deputies who wish to

  purchase large-capacity magazines, and (3) current and former Sheriffs who are disabled under

  the ADA. This argument presents many problems.

         First, the Second Amended Complaint makes no mention of the third parties whose rights

  the Sheriffs seek to vindicate. Third-party standing is asserted for the first time in the Sheriffs’

  response to the motion to dismiss. Second, for the reasons discussed above, the Sheriff’s Office

  cannot sue the State under substantive provisions of the United States Constitution. And finally,

  “third-party standing” requires not only an injury in fact and a close relation to the third-party,

  but also a hindrance or inability of the third-party to pursue his or her own claims.” Terrell v.

  INS, 157 F.3d 806, 809 (10th Cir. 1998). The Sheriffs have not explained why the third-parties

  did not, or cannot, raise the claims on their own.

         Accordingly, the Court finds the doctrine of political subdivision standing applies to the

  Sheriffs’ claims in their official capacity. The Sheriffs, in their official capacities, cannot sue the

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     The Court offers no opinion as to whether the Sheriffs could rejoin the lawsuit by seeking to
  amend the Second Amended Complaint to assert individual capacity claims, nor what specific
  facts they must assert to successfully state a claim in which they would have such individual
  standing.

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  State under the Fourteenth Amendment to the United States Constitution. With regard to the

  ADA claims asserted in this case, the Court also finds that the Sheriffs cannot assert them in an

  official capacity. The statutory provisions under which the claims are asserted protect

  individual rights, and do not specifically provide rights to political subdivisions. See City of

  Hugo, 656 F.3d at 1257 (the Supreme Court and courts of appeals have allowed a political

  subdivision to sue its parent state only when Congress has enacted statutory law specifically

  providing rights to municipalities).

         Accordingly, all claims asserted by the Sheriffs in the Second Amended Complaint are

  DISMISSED for lack of standing.

                                            IV. Conclusion

         For the forgoing reasons, the Defendant’s Motion to Dismiss is GRANTED IN PART

  AND DENIED IN PART. The motion is GRANTED with respect to all claims asserted by the

  Sheriffs. The claims are DISMISSED without prejudice. Any Sheriff shall have 14 days from

  the date of this Order in which to seek to join the action in an individual capacity.

         The motion is GRANTED with respect to the Plaintiffs’ claim that the phrase “designed

  to be readily converted,” found in § 18-12-301(2)(a)(I), is unconstitutionally vague, and the

  claim is DISMISSED.




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         The claims proceeding in this case are (1) Second Amendment challenges to §§ 18-12-

  301 et seq. and § 18-12-112; (2) a claim for unconstitutional vagueness as to the phrase

  “continuous possession,” § 18-12-302(2)(a)(II); and (3) the ADA claims.

         Dated this 27th day of November, 2013.

                                                      BY THE COURT:




                                                      Marcia S. Krieger
                                                      Chief United States District Judge




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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

  Civil Action No. 13-CV-1300-MSK-MJW

  JOHN B. COOKE, et al.,

           Plaintiffs
  v.

  JOHN W. HICKENLOOPER, Governor of the State of Colorado,

           Defendant.

                PLAINTIFFS’ UNOPPOSED MOTION TO ALTER OR AMEND
                        ORDER (#96) ON MOTION TO DISMISS

         Pursuant to Fed. R. Civ. P. 59(e) and 60(a), Plaintiffs move this Court to correct one

  aspect of its Order (#96) on Defendant’s motion to dismiss. In particular, Plaintiffs respectfully

  request this Court to amend the Order to clarify that the Plaintiff Sheriffs have already asserted

  claims in their respective individual capacities in the Second Amended Complaint, and that they

  remain in this case as Plaintiffs in their individual capacities only.

         Certification. Pursuant to D.C.COLO.LCivR 7.1(A), undersigned counsel certifies that

  he has conferred with counsel for Defendant concerning the relief sought in this motion.

  Defendant’s counsel has stated that Defendant does not oppose this motion to seek clarification

  of the Court’s Order.

                                            BACKGROUND

         In its Opinion and Order Granting in Part and Denying in Part Defendant’s Motion to

  Dismiss (“Order”), this Court granted Defendant’s motion with respect to the Plaintiff Sheriffs,

  holding that they do not have standing in their official capacities to sue the State of Colorado.


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  Order, at 21-22. In the course of reaching that conclusion, this Court’s order contained two

  statements that indicate a misunderstanding concerning the Sheriffs’ claims. Page 16 of the

  Order stated: “Here, the Court understands the parties to agree that the claims asserted by the

  Sheriffs in the Second Amended Complaint are all intended to be brought as official capacity

  claims.” Similarly, at page 21, the Order stated that “no individual claims have been asserted in

  the Second Amended Complaint.”

         Based on the premise that the Sheriffs had not asserted individual claims in this action,

  and indeed that all the parties agreed that they had not done so, this Court held that Defendant’s

  motion to dismiss the Sheriffs in their official capacities was granted “with respect to all claims

  asserted by the Sheriffs.” Order at 22. The Order gave the Sheriffs 14 days from the date of the

  Order in which to seek to join in the action in their individual capacities. Id.

         As further discussed below, the Sheriffs have already asserted individual claims in the

  Second Amended Complaint. Indeed, all the parties, including Defendant and his counsel,

  understood that pursuant to the Second Amended Complaint, the Sheriffs had asserted claims in

  both their official and individual capacities. Accordingly, Plaintiffs respectfully request that this

  Court amend its Order to state that while the Sheriffs’ official claims are dismissed for the

  reasons detailed by this Court, they remain in the case in their individual capacities only.

                                             ARGUMENT

         Rule 59(e) of the Federal Rules of Civil Procedure allows for a motion to alter or amend

  a judgment. Since specific grounds for such a motion are not listed in the rule, this Court enjoys

  considerable discretion in whether to grant such a motion. 11 CHARLES ALAN WRIGHT, ET AL.,

  FEDERAL PRACTICE & PROCEDURE, § 2810.1 (3d ed.). In addition, Rule 60(a) states that “[t]he


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  court may correct . . . a mistake arising from oversight or omission whenever one is found in a

  judgment, order, or other part of the record.”1 Here, a correction or alteration of the record is

  warranted because the Sheriffs had asserted individual claims in the Second Amended

  Complaint, and therefore should remain in this case for purposes of asserting their own

  individual Second Amendment rights.

         On July 1, 2013, Plaintiffs filed a motion for leave to file a Second Amended Complaint.

  Doc.43. In that motion, Plaintiffs explained that the Sheriffs in the First Amended Complaint

  had asserted claims premised on their personal Second and Fourteenth Amendment rights:

                 6.      [I]n the First Amended Complaint, the Sheriffs, as members of the
         category of the Plaintiffs in general, and as members of the category of individual
         Plaintiffs, had raised their personal Second and Fourteenth Amendment rights as
         American citizens. See First Amended Complaint, ¶¶ 95, 137, 158, 187, 207, 214,
         217, and 231.

                 7.      Defendant, in his Response Brief, expressed surprise that the
         Sheriffs are asserting their individual rights. Response at 14.

                 8.      Therefore, in the interest of absolute clarity, Plaintiffs seek to
         amend paragraph 105, in the section on the Plaintiff Sheriffs’ interests, to further
         state the Sheriffs’ individual rights and interests, even though those rights and
         interests had already been repeatedly stated in the First Amended Complaint.

  Id. ¶¶ 6-8. Because Defendant’s counsel had indicated surprise that the Sheriffs were asserting

  rights in their individual capacities, Plaintiffs sought to amend the complaint to clarify and

  “further state the Sheriffs’ individual rights and interests, even though those rights and interests

  had already been repeatedly stated in the First Amended Complaint.” Id. ¶ 8. Defendant’s



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    Although Rule 60(b)(1) also contemplates motions for relief from a final order for, among
  other things, mistake or inadvertence, there is some doubt concerning the circumstances under
  which relief can be sought for an error of the court WRIGHT, ET AL., § 2858.1

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  counsel were fully aware that this was one of Plaintiffs’ purposes in filing the Second Amended

  Complaint, and indeed Defendant’s counsel did not oppose the motion.

         Paragraph 105 of the Plaintiffs’ proposed Second Amended Complaint, which this Court

  subsequently accepted for filing on July 10, 2013 (#58), contains the following pertinent

  allegations:

         As described in paragraphs 95, 137, 158, 187, 207, 214, 217, and 231, the
         Sheriffs, like all Plaintiffs, are injured by the infringements of their individual
         rights under the Second and Fourteenth Amendments. The infringements of the
         Sheriffs’ rights are particularly harmful because of the heightened danger that the
         Sheriffs and their families presently face and will continue to face after retirement
         as the result of the Sheriffs’ public service.

  Second Amended Complaint, ¶ 105 (emphasis added). Thus, the Second Amended Complaint

  explicitly contained an assertion by the Sheriffs of violations of their own individual rights under

  the Second and Fourteenth Amendments.

         The fact that all parties agreed that the Sheriffs had asserted claims in both their official

  and personal capacities was later illustrated in Defendant’s Motion to Dismiss Plaintiffs’ Claims

  Two, Three, and Four, and to Dismiss Sheriffs as Plaintiffs Acting in Their Official Capacity

  (#64). At footnote 3 of that motion, Defendant stated as follows: “Defendants [sic] do not

  contend that the sheriffs lack standing in their individual capacities.” Doc.64 at 15 n.3. Of

  course, that assurance only made sense if the Sheriffs had in fact asserted claims in their

  individual capacities – which they had.

         Defendant in his Reply Brief for his Motion to Dismiss (#75), at 18, emphatically restated

  that the Sheriffs would remain in the case in their individual capacities: “As an initial matter,

  Sheriffs [sic] claim for third-party standing ignores that Defendant has not moved to dismiss

  Sheriffs through their individual capacities. Defendant has never disputed that Sheriffs can bring

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  the claims through their individual capacities.” (Internal citation omitted.) Similarly, in an e-

  mail sent on July 31, 2013 (attached as Ex. A), Assistant Attorney General David Blake

  acknowledged: “We are not moving to remove sheriffs in their personal capacity . . . .”

  (Emphasis added.)

         The Sheriffs’ briefing has always been consistent with the Sheriffs’ dual capacities. In

  response to Defendant’s Motion “To Dismiss Sheriffs As Plaintiffs Acting In Their Official

  Capacity” the Sheriffs of course addressed only issues of official capacity, since those were the

  only issues relevant to the Motion.

         Previously, when this Court asked the Plaintiffs for supplemental briefing on Plaintiffs’

  standing for the preliminary injunction motion, the Plaintiffs filed a joint brief in which one

  section was titled “The Sheriffs’ Individual Second and Fourteenth Amendment Rights.” The

  next section of the brief was captioned “The Sheriffs in their Official Capacity,” and began,

  “Besides having standing as individual American citizens, the Sheriffs also have standing in their

  official capacity.” Plaintiffs’ Supplemental Brief Regarding Plaintiff’s Standing and Other Issues

  Raised by the Court (#37), at 21-22.

         Not only have the parties documented their understanding that the Sheriffs were

  proceeding in their individual and official capacities, but discovery proceeded on the common

  understanding of the parties that the Sheriffs were asserting both individual and official capacity

  claims. In every Sheriff’s deposition, Defendant’s counsel questioned the Sheriffs at length

  concerning purely personal issues, including questions relating to, among other things, every

  single firearm in their personal collections, the shooting ability of their spouses and children,




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  their experience as hunters, their recreational use of firearms, and any personal home defense

  situations the Sheriffs and their family members had faced.


                                             CONCLUSION

            In light of the foregoing, Plaintiffs respectfully request this Court to amend its Order to

  clarify that while the Sheriffs have been dismissed in their official capacities for the reasons

  stated in the order,2 they remain Plaintiffs in this case as parties asserting their own individual

  rights.

            Dated this 6th day of December, 2013.

                                                 Respectfully submitted,


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    By this motion, it is not Plaintiffs’ intention to waive for appellate purposes the issue of the
  Sheriffs’ standing in their official capacities.

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                                CERTIFICATE OF SERVICE

       I hereby certify that on December 9, 2013, I have served the foregoing pleading via the
  CM/ECF system for the United States District Court for the District of Colorado:


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             IN THE UNITED STATES DISTRICT COURT

                 FOR THE DISTRICT OF COLORADO



  Civil Action No. 13-CV-1300-MSK-MJW



  COLORADO OUTFITTERS ASSOCIATION, et al.,

          Plaintiffs

  v.

  JOHN W. HICKENLOOPER, Governor of the State of Colorado,

          Defendant.




          MOTION FOR JOINDER AND FOR LEAVE TO FILE AMENDED
                             COMPLAINT


       1. Pursuant to this Court’s instructions in its Opinion of November 27, 2013

          (#96), fifty-five Sheriffs, in their personal, individual capacities as American

          citizens, request joinder and leave for filing a Third Amended Complaint. FED.

          R. CIV. PRO. 20(a)(1).

       2. The Sheriffs request that the Court consider this Motion only if the Court

          denies the Plaintiffs’ Motion to Amend/Correct/Modify (#102). That Motion

          suggests that the Sheriffs had always been parties to the case in part in dual

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        capacities: official and personal. Therefore, that Motion requests that the

        Opinion and Order (#96) be modified to state that the Sheriffs are dismissed

        in their official capacities, and remain in the case in their individual

        capacities.

     3. If the Court grants the Motion to Amend/Correct/Modify, the Sheriffs will

        immediately withdraw the instant Motion.

     4. Pursuant to D.C.COLO.LCivR 7.1(a), counsel has conferred telephonically

        with Defendant’s attorneys Matthew Grove, David Blake, and Kathleen

        Spalding regarding this Motion. Counsel explained that the Sheriffs would be

        filing this Motion, and described the contents of the proposed Third Amended

        Complaint. Defendant’s counsel does not presently declare a position

        regarding this Motion, and Defendant reserves the right to oppose this

        Motion, following review of the proposed Third Amended Complaint.

     5. Pursuant to D.C.COLO.LCivR 15.1(b), a copy of the proposed Third Amended

        Complaint is attached to this Motion, as an exhibit, with strike-throughs and

        underlines to indicate the removal or addition of text.

     6. The only changes from the Second to the Third Amended Complaints are as

        follows:

        a. In the caption, removal of the Sheriff’s Office and County (e.g., “Sheriff of

        Weld County, Colorado”).




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        b. Replacing section III.A.1 of the Complaint in its entirety. This section

        describes the identities and interests of the individual Sheriff plaintiffs.

        c. Changing the date of the Complaint.

     7. Granting of this Motion for Joinder/Amendment will prejudice no party, nor

        will it delay the case. “Prejudice is the ‘most important [ ] factor in deciding a

        motion to amend the pleadings.’” Mohammed v. Holder, 2013 WL 4949282, *6

        (D. Colo., 2013), quoting Minter v. Prime Equipment Co., 451 F.3d 1196, 1207

        (10th Cir.2006). As detailed in the Plaintiffs’ Motion to

        Amend/Correct/Modify, all parties have proceeded for the last half-year on

        the shared understanding that the Sheriffs were participating in this case in

        the dual capacities of official and personal.

     8. Accordingly, extensive discovery has been completed regarding the Sheriffs’

        personal capacities, including depositions which have inquired in great depth

        about the Sheriffs’ personal firearms collections, their personal hunting and

        recreational target shooting, their families, and threats/violence against them

        and their families. Excerpts from those depositions accompany the proposed

        Third Amended Complaint, as Exhibit A.

     9. During the discovery phase, six Sheriffs were disclosed as possible witnesses

        at trial, and each of them was deposed. These six Sheriffs remain the ones

        who would be witnesses at trial.

     10. The Third Amended Complaint raises no new claims.


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     11. While the Third Amended Complaint does provide additional details about

        some topics, all of the topics are ones which have previously been identified in

        the case, and which have been topics of discovery. The Third Amended

        Complaint includes citations to the relevant discovery.

     12. Joinder would promote judicial economy, because claims could be resolved in

        a single case, rather than in separate cases.

     13. The Sheriffs’ claims arise from the same transaction as do the claims of the

        other plaintiffs, namely the enactment of HB 1224 and HB 1229. FED. R. CIV.

        PRO. 20(a)(1)(A). The questions of law are identical, with the exception that

        the Sheriffs also address the scope of the law enforcement employee

        exemption in HB 1224. FED. R. CIV. PRO. 20(a)(1)(B).

     14. The questions of fact are also nearly identical. FED. R. CIV. PRO. 20(a)(1)(B).

        Whatever state interests could be said to justify HB 1224 and 1229 would be

        the same or very similar for all plaintiffs, including the Sheriffs.

     15. Likewise, the interests of the Sheriffs as individual gun owners are similar to

        the interests of individual gun owners who are already plaintiffs, either as

        named plaintiffs or as individual members of various organizations. Of course

        no two individuals are identical, but the interests of the Sheriffs as gun

        owners, in wishing to acquire, use, lend, and sell their own firearms and

        magazines are identical or similar to the interests of other individual gun

        owners.


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     16. Because all of the Sheriffs have already been part of the case, and thorough

        discovery has already taken place regarding their personal capacities, no

        additional discovery is necessary.

     17. The proposed Third Amended Complaint has nine exhibits—designated

        “Exhibit A” through “Exhibit I.” Exhibits A and B are being filed separately,

        with a Motion For Leave To Restrict.

     Respectfully submitted, this 11th day of December, 2013.



                                         s/David B. Kopel
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                                    ATTORNEY FOR SHERIFFS AND DAVID STRUMILLO




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                             CERTIFICATE OF SERVICE

         I hereby certify that on December 11, 2013, I have served the foregoing
  pleading via the CM/ECF system for the United States District Court for the
  District of Colorado:

        Jonathan M. Anderson     jmanderson@hollandhart.com

        Douglas Abbott           dabbott@hollandhart.com

        Marc F. Colin            mcolin@bcjlpc.com

        Anthony J. Fabian        fabianlaw@qwestoffice.net

        Matthew Grove            matt.grove@state.co.us

        Kathleen Spalding        kit.spalding@state.co.us

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        David Blake              david.blake@state.co.us

        Daniel D. Domenico       dan.domenico@state.co.us

        Stephanie Scoville       Stephanie.Scoville@state.co.us

        John Lee                 jtlee@state.co.us



  /s/David B. Kopel
  __________________________




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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

  Civil Action No. 13-CV-1300-MSK-MJW

  JOHN B. COOKE, Sheriff of Weld County, Colorado;
  TERRY MAKETA, Sheriff of El Paso County, Colorado;
  JUSTIN SMITH, Sheriff of Larimer County, Colorado;
  DAVID A. WEAVER, Sheriff of Douglas County, Colorado;
  BRUCE W. HARTMAN, Sheriff of Gilpin County, Colorado;
  KEN PUTNAM, Sheriff of Cheyenne County, Colorado;
  DENNIS SPRUELL, Sheriff of Montezuma County, Colorado;
  TIM JANTZ, Sheriff of Moffat County, Colorado;
  JERRY MARTIN, Sheriff of Dolores County, Colorado;
  MIKE ENSMINGER, Sheriff of Teller County, Colorado;
  SHAYNE HEAP, Sheriff of Elbert County, Colorado;
  CHAD DAY, Sheriff of Yuma County, Colorado;
  FRED D. MCKEE, Sheriff of Delta County, Colorado;
  LOU VALLARIO, Sheriff of Garfield County, Colorado;
  FRED HOSSELKUS, Sheriff of Mineral County, Colorado;
  BRETT L. POWELL, Sheriff of Logan County, Colorado;
  JAMES FAULL, Sheriff of Prowers County, Colorado;
  LARRY KUNTZ, Sheriff of Washington County, Colorado;
  BRIAN E. NORTON, Sheriff of Rio Grande County, Colorado;
  DUKE SCHIRARD, Sheriff of La Plata County, Colorado;
  JIM BEICKER, Sheriff of Fremont County, Colorado;
  RONALD BRUCE, Sheriff of Hinsdale County, Colorado;
  CHRIS S. JOHNSON, Sheriff of Otero County, Colorado;
  FRED JOBE, Sheriff of Custer County, Colorado;
  DONALD KRUEGER, Sheriff of Clear Creek County, Colorado;
  JAMES CRONE, Sheriff of Morgan County, Colorado;
  SI WOODRUFF, Sheriff of Rio Blanco County, Colorado;
  TOM RIDNOUR, Sheriff of Kit Carson County, Colorado;
  TOM NESTOR, Sheriff of Lincoln County, Colorado;
  STAN HILKEY, Sheriff of Mesa County, Colorado;
  FORREST FRAZEE, Sheriff of Kiowa County, Colorado;
  RICK DUNLAP, Sheriff of Montrose County, Colorado;
  TED B. MINK, Sheriff of Jefferson County, Colorado;
  DAVE STONG, Sheriff of Alamosa County, Colorado;
  FRED WEGENER, Sheriff of Park County, Colorado;
  BRUCE NEWMAN, Sheriff of Huerfano County, Colorado;
  RANDY PECK, Sheriff of Sedgwick County, Colorado;
  DOMINIC MATTIVI, JR., Sheriff of Ouray County, Colorado;
  JOHN MINOR, Sheriff of Summit County, Colorado;




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  SCOTT FISCHER, Sheriff of Jackson County, Colorado;
  PETER GONZALEZ, Sheriff of Archuleta County, Colorado;
  RICK BESECKER, Sheriff of Gunnison County, Colorado;
  CHARLES “ROB” URBACH , Sheriff of Phillips County, Colorado;
  ROD FENSKE, Sheriff of Lake County, Colorado;
  GRAYSON ROBINSON, Sheriff of Arapahoe County, Colorado;
  DAVID D. CAMPBELL, Sheriff of Baca County, Colorado;
  MIKE NORRIS, Sheriff of Saguache County, Colorado;
  AMOS MEDINA, Sheriff of Costilla County, Colorado;
  MILES CLARK, Sheriff of Crowley County, Colorado;
  DAVID ENCINIAS, Sheriff of Bent County, Colorado;
  SUE KURTZ, Sheriff of San Juan County, Colorado;
  JAMES (JIM) CASIAS, Sheriff of Las Animas County, Colorado;
  GARRETT WIGGINS, Sheriff of Routt County, Colorado;
  DOUGLAS N. DARR , Sheriff of Adams County, Colorado;
  RODNEY JOHNSON, Sheriff of Grand County, Colorado;
  COLORADO OUTFITTERS ASSOCIATION;
  COLORADO FARM BUREAU;
  NATIONAL SHOOTING SPORTS FOUNDATION;
  MAGPUL INDUSTRIES;
  COLORADO YOUTH OUTDOORS;
  USA LIBERTY ARMS;
  OUTDOOR BUDDIES, INC.;
  WOMEN FOR CONCEALED CARRY;
  COLORADO STATE SHOOTING ASSOCIATION;
  HAMILTON FAMILY ENTERPRISES, INC., d/b/a FAMILY SHOOTING CENTER
  AT CHERRY CREEK STATE PARK;
  DAVID STRUMILLO;
  DAVID BAYNE;
  DYLAN HARRELL;
  ROCKY MOUNTAIN SHOOTERS SUPPLY;
  2ND AMENDMENT GUNSMITH & SHOOTER SUPPLY, LLC;
  BURRUD ARMS INC. D/B/A JENSEN ARMS;
  GREEN MOUNTAIN GUNS;
  JERRY’S OUTDOOR SPORTS;
  GRAND PRIX GUNS;
  SPECIALTY SPORTS & SUPPLY;
  GOODS FOR THE WOODS;

        Plaintiffs,




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  vs.

  JOHN W. HICKENLOOPER, Governor of the State of Colorado,

          Defendant.


  SECOND THIRD AMENDED COMPLAINT FOR DECLARATORY
                AND INJUNCTIVE RELIEF

          Peace officers and peaceable citizens join together to bring this action in

  defense of public safety, the Second and Fourteenth Amendments of the

  Constitution of the United States, and the Americans with Disabilities Act.

  Plaintiffs are 55 Colorado elected sheriffs, retired law enforcement officers, disabled

  individuals, civil rights and disability rights organizations, licensed firearms

  dealers, associations of law-abiding gun owners, hunting outfitters, and the

  firearms industry, and a manufacturer of firearm accessories.

                                   I.     OVERVIEW

          1.    On March 20, 2013, Colorado Governor John Hickenlooper signed two

  measures that severely restrict citizens’ rights to own, use, manufacture, sell, or

  transfer firearms and firearms accessories.


                                        HB 1224

          2.    House Bill 13-1224 (“HB 1224”) bans outright all ammunition

  magazines sold or acquired after July 1, 2013 that hold more than 15 rounds of

  ammunition. HB 1224 also bans most other magazines of any size because it

  prohibits smaller magazines that are “designed to be readily converted” to hold

  more than 15 rounds of ammunition.




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        3.     The magazines for most handguns and for many rifles are detachable

  box magazines. The very large majority of magazines contain a removable floor

  plate. The removable floor plate allows the user to clear ammunition jams, clean the

  inside of the magazine, and perform maintenance on the internal mechanics of the

  magazine.

        4.     The fact that a magazine floor plate can be removed inherently creates

  the possibility that the magazine can be extended through commercially available

  extension products or readily fabricated extensions. As a result, nearly every magazine

  can be readily converted to exceed the capacity limit set by HB 1224.

        5.     Some rifles have fixed box magazines, which are permanently attached

  to the rifle. Many of these also have removable floor plates.

        6.     Instead of a box magazine, some rifles have fixed tube magazines,

  which lie underneath the rifle barrel. Many tube magazines have removable end

  caps for cleaning to which extenders can be added. A ban on certain types of fixed

  magazines is necessarily a ban on the rifles to which they are fixed.

        7.     The Appendix to this Complaint contains diagrams showing the parts

  of a detachable box magazine and a fixed tube magazine.

        8.     Magazine capacity can be increased in many other ways, such as

  snipping the spring inside the magazine so that there is more space to accommodate

  additional rounds, using a coupler so that a second box magazine is attached

  (upside down) to the bottom of another, or simply using duct tape instead of a

  coupler.




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        9.     The chief sponsor of HB 1224 and Governor Hickenlooper have both

  publicly confirmed that HB 1224 bans all magazines with removable floor plates.

        10.    By outlawing most box and tube magazines, HB 1224 outlaws an

  essential component of many common firearms. Eighty-two percent of handguns

  and at least one-third of rifles currently manufactured in the United States are

  semi-automatic, which means that most of them store their ammunition in

  detachable box magazines. Rifles which use box or tube magazines are not limited

  to semi-automatics, but also include pump action, bolt action, and lever action rifles.

  (HB 1224 exempts lever action guns which use tube magazines, but not lever action

  guns which use box magazines; the bill also exempts rimfire rifles which use tube

  magazines, but does not exempt such rifles that use box magazines.)

        11.    Thus, the magazine ban amounts to a ban on having a functional,

  operating unit for most handguns and a very large fraction of rifles – a patent

  violation of the Second and Fourteenth Amendments under District of Columbia v.

  Heller, 554 U.S. 570 (2008) and McDonald v. Chicago, 130 S. Ct. 3020 (2010).

        12.    As detailed infra, HB 1224 allows the possession of grandfathered

  magazines only if two separate requirements are satisfied: First, they must be

  owned on July 1, 2013. Second, the owner must maintain “continuous possession” of

  the magazine.

        13.    The requirement for “continuous possession” makes it impossible for

  firearms to be used or shared in ordinary and innocent ways, such as a gun owner

  loaning his or her firearm with the magazine to a spouse, family member, or friend;




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  entrusting it to a gunsmith for repair; a military reservist leaving firearms and

  their associated magazines with a spouse when he or she is called into service away

  from home; or even temporarily handing a firearm with its magazine to a firearms

  safety instructor so that the owner can be shown by the instructor how to better

  grip, aim, or otherwise use the firearm.

        14.    The    requirement    of      “continuous     possession”    prohibits   the

  grandfathered owner from ever allowing anyone to hold or use his firearm if the

  firearm is in a functional state (with a magazine inserted) – an extreme

  infringement of Second Amendment rights.

        15.    In Heller, the Supreme Court adopted a rule enforcing the Second

  Amendment that prohibited the banning of arms “typically possessed by law-

  abiding citizens for lawful purposes.” The ban against all magazines holding more

  than 15 rounds violates this rule. Rifles with magazines larger than 15 rounds are

  so commonplace that many models are supplied in a standard 30-round

  configuration. Indeed, one such rifle is the AR-15 and its many variants, which has

  for years been one of the best-selling types of firearms in the United States and of

  which there are at least four million in the United States today. The number of

  other models of Modern Sporting Rifles is likewise in the millions, which are also

  often sold with magazines holding more than 15 rounds.

        16.    Similarly, many popular handguns are sold with magazines with 16 to

  20-round capacities. Many gun owners own several magazines for each firearm. The




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  number of magazines in the United States which are of the size directly outlawed by

  HB 1224 is in the tens of millions.

        17.       Disabled citizens, whose disabilities often make it difficult to change

  magazines quickly, are acutely harmed by HB 1224. This is a particularly grave

  violation of their Second Amendment rights, especially their right to self-defense in

  the home.

        18.       HB 1224 also violates Title II of the Americans with Disabilities Act

  (“ADA”). Even assuming that HB 1224 is constitutional, all persons with relevant

  disabilities are entitled to an accommodation under the ADA so that they may

  possess and acquire the magazine in the sizes they need.

        19.       The effect of HB 1224’s various provisions is the widespread ban on

  functional firearms. The prohibition of so many box and tube magazines of any size,

  and the prohibition of magazines greater than 15 rounds, directly and gravely harm

  the ability of law-abiding citizens to use firearms for lawful purposes, especially

  self-defense.

                                          HB 1229

        20.       House Bill 13-1229 (“HB 1229”) requires “universal” background

  checks before any sale or transfer of a firearm can occur, with some exceptions.

  HB 1229, even considering the exceptions, prohibits a wide range of common,

  temporary, or permanent transfers or loans of firearms between law-abiding

  citizens in violation of the Second Amendment.




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        21.    As a practical matter, it will be impossible for citizens to comply with

  HB 1229. The bill requires that when one individual sells or loans a firearm to

  another, that “transfer” must be conducted through a Federal Firearms Licensee

  (“FFL,” a licensed gun dealer). The FFL is required to process the transfer as if he

  or she is selling a firearm out of his or her own inventory. HB 1229 allows the FFL

  to charge a fee of no more than $10 for conducting the transfer.

        22.    Many FFLs in Colorado, including FFL Plaintiffs, are unwilling to

  conduct the transfer under such conditions. Accordingly, it will be extremely

  difficult, if not impossible, for many Coloradans to find a FFL to conduct the

  transfers, even if the buyer and seller are both willing and able to drive long

  distances to do so.

        23.    To conduct the transfer pursuant to HB 1229, the FFL must complete

  the same paperwork as if he or she were selling from his or her own inventory. This

  means that for each firearm transferred, a three-page federal form (ATF Form

  4473) must be filled out. Some parts of the form are filled out by the customer, and

  some by the FFL. FFLs are liable for errors on a Form 4473 and subject to license

  revocation and even federal felony charges.

        24.    FFLs must monitor the transferor and transferee for as long as it takes

  to complete the transaction. The “instant check” which is conducted by the Colorado

  Bureau of Investigation often takes hours, and sometimes days, to complete.

        25.    Currently, when FFLs are asked to conduct a background check for a

  firearm, not involving a profitable sale from the FFL’s actual inventory, the fee




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  charged may be $50. A fee cap of $10 will likely result in very few, if any, FFLs

  being willing to perform the services which are necessary for transfers under HB

  1229, making compliance with HB 1229 next to impossible in many private transfer

  situations.

        26.     Moreover, setting aside the myriad problems with compliance with HB

  1229, the scope of HB 1229’s regulation, which impacts a vast array of innocent and

  lawful temporary transfers among friends and members of various hunting and

  shooting organizations, unconstitutionally infringes the Second Amendment rights

  of tens of thousands of Coloradans.

        The Supreme Court’s Landmark Decisions: Heller and McDonald

        27.     There are certain indisputable legal principles announced by the

  United States Supreme Court against which HB 1224 and HB 1229 must be judged.

        28.     Under Heller,   the     Second Amendment to     the United States

  Constitution guarantees the right of individual citizens to keep and bear commonly-

  used firearms for all lawful purposes.

        29.     The individual right to employ commonly-used firearms for self-

  defense is “the central component” of the Second Amendment guarantee.

        30.     An individual’s Second Amendment rights, including the right to self-

  defense, are fundamental rights.

        31.     Under McDonald, the rights protected by the Second Amendment

  apply equally to the states, including Colorado, through the Fourteenth Amendment

  to the United States Constitution.




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          32.   HB 1224 and HB 1229 violate these principles.

                          II.   JURISDICTION AND VENUE

          33.    This Court has jurisdiction over this matter pursuant to 28 U.S.C.

  § 1331 because the claims arise under the Constitution and statutes of the United

  States.

          34.    This Court has jurisdiction to grant the declaratory relief sought

  pursuant to 18 U.S.C. § 2201, and additional relief pursuant to 18 U.S.C. § 2202.

          35.    This Court also has jurisdiction under 28 U.S.C. § 1343(a)(3) and 42

  U.S.C. § 1983 because this action involves a deprivation of federal constitutional

  rights by those acting under color of state law.

          36.    Venue is proper in this district pursuant to 28 U.S.C. § 1391.

                                    III.   PARTIES

  A.      Plaintiffs

          1.    The Sheriffs of 55 Colorado Counties

          37.    Each of the following Sheriffs of 55 Colorado counties (“the Sheriffs”)

  has the primary obligation to obey the Constitution of the United States of America.

  The Sheriffs bring this case pursuant to this primary obligation, which is supreme

  over any other purported enactment.

          38.    John B. Cooke is the Sheriff of Weld County, Colorado.

          39.    Terry Maketa is the Sheriff of El Paso County, Colorado.

          40.    Justin Smith is the Sheriff of Larimer County, Colorado.

          41.    David A. Weaver is the Sheriff of Douglas County, Colorado.

          42.    Bruce W. Hartman is the Sheriff of Gilpin County, Colorado.



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        43.     Ken Putnam is the Sheriff of Cheyenne County, Colorado.

        44.     Dennis Spruell is the Sheriff of Montezuma County, Colorado.

        45.     Tim Jantz is the Sheriff of Moffat County, Colorado.

        46.     Jerry Martin is the Sheriff of Dolores County, Colorado.

        47.     Mike Ensminger is the Sheriff of Teller County, Colorado.

        48.     Shayne Heap is the Sheriff of Elbert County, Colorado.

        49.     Chad Day is the Sheriff of Yuma County, Colorado.

        50.     Fred D. McKee is the Sheriff of Delta County, Colorado.

        51.     Lou Vallario is the Sheriff of Garfield County, Colorado.

        52.     Fred Hosselkus is the Sheriff of Mineral County, Colorado.

        53.     Brett L. Powell is the Sheriff of Logan County, Colorado.

        54.     James Faull is the Sheriff of Prowers County, Colorado.

        55.     Larry Kuntz is the Sheriff of Washington County, Colorado.

        56.     Brian E. Norton is the Sheriff of Rio Grande County, Colorado.

        57.     Duke Schirard is the Sheriff of La Plata County, Colorado.

        58.     Jim Beicker is the Sheriff of Fremont County, Colorado.

        59.     Ronald Bruce is the Sheriff of Hinsdale County, Colorado.

        60.     Chris S. Johnson is the Sheriff of Otero County, Colorado.

        61.     Fred Jobe is the Sheriff of Custer County, Colorado.

        62.     Donald Krueger is the Sheriff of Clear Creek County, Colorado.

        63.     James Crone is the Sheriff of Morgan County, Colorado.

        64.     Si Woodruff is the Sheriff of Rio Blanco County, Colorado.




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        65.     Tom Ridnour is the Sheriff of Kit Carson County, Colorado.

        66.     Tom Nestor is the Sheriff of Lincoln County, Colorado.

        67.     Stan Hilkey is the Sheriff of Mesa County, Colorado.

        68.     Forrest Frazee is the Sheriff of Kiowa County, Colorado.

        69.     Rick Dunlap is the Sheriff of Montrose County, Colorado.

        70.     Ted B. Mink is the Sheriff of Jefferson County, Colorado.

        71.     Dave Stong is the Sheriff of Alamosa County, Colorado.

        72.     Fred Wegener is the Sheriff of Park County, Colorado.

        73.     Bruce Newman is the Sheriff of Huerfano County, Colorado.

        74.     Randy Peck is the Sheriff of Sedgwick County, Colorado.

        75.     Dominic Mattivi, Jr., is the Sheriff of Ouray County, Colorado.

        76.     John Minor is the Sheriff of Summit County, Colorado.

        77.     Scott Fischer is the Sheriff of Jackson County, Colorado.

        78.     Peter Gonzalez is the Sheriff of Archuleta County, Colorado.

        79.     Rick Besecker is the Sheriff of Gunnison County, Colorado.

        80.     Charles “Rob” Urbach is the Sheriff of Phillips County, Colorado.

        81.     Rod Fenske is the Sheriff of Lake County, Colorado.

        82.     Grayson Robinson is the Sheriff of Arapahoe County, Colorado.

        83.     David D. Campbell is the Sheriff of Baca County, Colorado.

        84.     Mike Norris is the Sheriff of Saguache County, Colorado.

        85.     Amos Medina is the Sheriff of Costilla County, Colorado.

        86.     Miles Clark is the Sheriff of Crowley County, Colorado.




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        87.      David Encinias is the Sheriff of Bent County, Colorado.

        88.      Sue Kurtz is the Sheriff of San Juan County, Colorado.

        89.      James (Jim) Casias is the Sheriff of Las Animas County, Colorado.

        90.      Garrett Wiggins is the Sheriff of Routt County, Colorado.

        91.      Douglas N. Darr is the Sheriff of Adams County, Colorado.

        92.      Rodney Johnson is the Sheriff of Grand County, Colorado.

        93.      HB 1224 and 1229 violate the Constitution of the United States. The

  Sheriffs cannot enforce a statute that violates the fundamental constitutional rights

  of the citizens of Colorado.

        94.      For reasons detailed supra and infra, HB 1224 and 1229 are utterly

  unenforceable, even if the Sheriffs wished to violate the U.S. Constitution.

        95.      After HB 1229 becomes effective, every citizen of Colorado can legally

  possess a “large capacity” magazine that holds more than 15 rounds so long as they

  owned it prior to the effective date and maintain “continuous possession” of it after

  the effective date. This includes both magazines that hold more than 15 rounds, and

  smaller magazines with removable floor plates or end caps. At least hundreds of

  thousands of Colorado citizens, including the individual Plaintiffs and members of

  Plaintiff associations, will lawfully own hundreds of thousands (or more) of such

  magazines.

        96.      The Sheriffs have limited resources and limited public funds to spend

  on investigations. They cannot expend those resources to conduct investigations

  that would be necessary to monitor compliance with the new magazine restrictions.




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  No documentation has ever been required for the retail or private purchase of

  magazines, making it a practical impossibility for the Sheriffs to determine whether

  one of the many magazines already in existence was obtained after the effective

  date.

          97.    It would be similarly impossible to determine whether a magazine

  was in the “continuous possession” of its owner after July 1, 2013.

          98.    With very few exceptions, magazines manufactured in other states

  are not required to bear date stamps, making it impossible to determine their date

  of manufacture. The Sheriffs will have no means to determine whether a magazine

  possessed by an individual in Colorado was manufactured before or after July 1,

  2013, with the exception of those manufactured in Colorado after July 1, 2013 that

  are required by the bill to bear a date stamp.

          99.    The foregoing presumes that it is clear what the bill prohibits. But

  the Sheriffs’ enforcement obstacles become insurmountable if they must also resolve

  ambiguities in the bill. If the bill does not prohibit every magazine with a removable

  floor plate and end cap, but only those that were intentionally “designed” for the

  purpose of expanding capacity, the Sheriffs are given no tools to make that

  determination. They cannot know the intent of the designer.

          100.   Likewise, each Sheriff will have to determine what constitutes

  “continuous possession,” since the statute provides no guidance. They will have to

  make individual decisions whether continuous possession allows for temporary

  loans to others and, if so, for what duration.




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        101.     In addition to the core infringement on a fundamental right inherent

  in any enforcement of these provisions, the result of the many ambiguities will be

  varying individual decisions and inconsistent enforcement across jurisdictions.

  Effective law enforcement depends on close and supportive relations between the

  public and law enforcement. Unconstitutional, vague laws which are inconsistently

  enforced poison that relationship, and make it significantly more difficult for the

  Sheriffs to receive the witness cooperation, tips, and other forms of public support

  which are necessary to effective law enforcement in a free society.

        102.     Sheriffs have the common law power to request the armed assistance

  of able-bodied adults in their County. This is known as the “posse comitatus.” One

  well-known use of the posse in Colorado was in June 1977, when Pitkin County

  citizens with their own guns responded to a request to help with the search for

  escaped mass murderer Theodore Bundy.

        103.   Sheriffs also have the authority to appoint deputies who are not

  certified peace officers. The “non-certified” deputies may be appointed for a limited

  period of time, or for specific tasks. C.R.S. §§ 16-2.5-103(2); 30-10-506. Particularly

  in rural parts of Colorado, Sheriffs utilize the authority to deputize individuals to

  augment law enforcement efforts in times of disturbances and natural disasters.

        104.   When those Sheriffs deputize, they do not have a cache of firearms to

  issue. Moreover, a person who is deputized in an emergency will be safer and more

  effective using his or her personal firearm, with which he or she is already familiar.




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         105.    HB 1224 seriously impedes the ability of Sheriffs to call upon armed

  citizen assistance during emergencies and natural disasters because it prevents

  citizens from having the types of magazines which the Sheriffs and their ordinary

  deputies have determined to be most effective for the preservation of public safety.

  As described in paragraphs 95, 137, 158, 187, 207, 214, 217, and 231, the Sheriffs,

  like all Plaintiffs, are injured by the infringements of their individual rights under

  the Second and Fourteenth Amendments. The infringements of the Sheriffs’ rights

  are particularly harmful because of the heightened danger that the Sheriffs and

  their families presently face and will continue to face after retirement as the result

  of the Sheriffs’ public service.

         1. Plaintiff Sheriffs, in the personal capacities

         a.     Background of Sheriff Plaintiffs

         106.    The Fifty-five Plaintiffs are individual citizens who are career law

  enforcement officers and who are presently elected Sheriffs. The aforesaid Plaintiffs

  are suing in their individual capacities as American citizens with individual rights

  under the Second and Fourteenth Amendments. Because all of them happen to be,

  at this time, elected Sheriffs, this Complaint refers to them as “the Sheriffs” for

  concision.

         107.    John B. Cooke has served nearly 35 years in law enforcement. He has

  five years of experience with the Breckenridge Police Department, and has served

  29 years and 8 months with the Weld County Sheriff’s Office, including 11 as

  Sheriff. Because of term limits, he will complete his law enforcement career in

  January 2015. Like several other Sheriffs, Cooke and his family have been the




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  victims of identifiable threats; those threats are described in Exhibit A (at 4-6) to

  this Complaint. All Exhibits to this Complaint are incorporated by reference.

        108.      Terry Maketa is the Sheriff of El Paso County, Colorado. He has 26

  years of law enforcement experience, all of them with the El Paso County Sheriff’s

  Office. He is the first person in the Office’s history to rise all the way through every

  rank and then become Sheriff.

        109.      Justin Smith is the Sheriff of Larimer County, Colorado. He has 27

  years law enforcement experience, 13 of them in command ranks. If he continues to

  be re-elected, his law enforcement service will end in January 2019.

        110.   David A. Weaver is the Sheriff of Douglas County, Colorado. He has

  over 32 years of law enforcement experience, and has worked in nearly every area of

  police administration.

        111.   Bruce W. Hartman is the Sheriff of Gilpin County, Colorado. He is

  currently serving his fifth term as Sheriff and was originally elected in 1992.

        112.      Ken Putnam is the Sheriff of Cheyenne County, Colorado. He has 18

  years of law enforcement experience, and will finish his service as Sheriff in

  January 2015.

        113.      Dennis Spruell is the Sheriff of Montezuma County, Colorado. He has

  33 years in law enforcement, with 27 years as a Supervisor, including as a K-9

  Officer and director of a multijurisdictional drug task force. Sheriff Spruell has been

  Sheriff for three years and will be term limited in 2021, if he is re-elected.




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        114.     Tim Jantz is the Sheriff of Moffat County, Colorado. He has 33 years

  of law enforcement, 14 of them at the supervisory level.

        115.     Jerry Martin is the Sheriff of Dolores County, Colorado. He has 27

  years of law enforcement experience, and his serving his sixth term as Sheriff.

        116.   Mike Ensminger is the Sheriff of Teller County, Colorado. He retired

  from the San Diego County Sheriff’s office in 1987, and moved to Colorado. From

  1988 to 2010, he was a Professor of Criminal Justice at Pikes Peak Community

  College. He was elected Sheriff in 2010.

        117.     Shayne Heap is the Sheriff of Elbert County, Colorado. He has 12

  years in law enforcement, three of them as Sheriff. He is a member of the Elizabeth

  C-1 School Safety Board.

        118.     Chad Day is the Sheriff of Yuma County, Colorado. He has 11 years

  of law enforcement experience.

        119.     Fred D. McKee is the Sheriff of Delta County, Colorado. He has 31

  years of law enforcement experience, including 10 as Sheriff. If he is re-elected in

  2014, he plans to retire after the end of his term in January 2019.

        120.     Lou Vallario is the Sheriff of Garfield County, Colorado. He has 26

  years of law enforcement experience, and served with the Glenwood Springs Police

  Department before being elected Sheriff.

        121.     Fred Hosselkus is the Sheriff of Mineral County, Colorado. He was

  first elected in 2006, and previously served as a deputy in the Office.




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        122.    Brett L. Powell is the Sheriff of Logan County, Colorado. He has 17

  years of law enforcement experience.

        123.    James Faull is the Sheriff of Prowers County, Colorado. He has 37

  years of law enforcement experience—14 as Sheriff, and 23 years with a police

  department (15 of those in command positions). He plans on retiring at the end of

  his term in January 2015.

        124.    Larry Kuntz is the Sheriff of Washington County, Colorado. He will

  retire in January 2015 at the completion of his third term. He has 36 years of law

  enforcement experience, including as a city police officer and a Sheriff’s deputy.

  Part of the reason for his retirement is regulatory changes that he feels put citizens

  in jeopardy, and that endanger law enforcement officers. These changes include HB

  1224’s de facto prevention of law enforcement officers and citizens, including

  himself, from acquiring standard capacity magazines holding 16 or more rounds.

        125.    Brian E. Norton is the Sheriff of Rio Grande County, Colorado. He

  has 26 years of law enforcement experience, including nine as Undersheriff and 11

  as Sheriff.

        126.    Duke Schirard is the Sheriff of La Plata County, Colorado. He has 39

  years of law enforcement experience, including as Sheriff's deputy, police officer,

  town marshal, and Sheriff.

        127.    Jim Beicker is the Sheriff of Fremont County, Colorado. He has 27

  years of law enforcement experience, including 10 as Sheriff.




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          128.    Ronald Bruce is the Sheriff of Hinsdale County, Colorado. He joined

  the Arizona Department of Public Safety – Highway Patrol Bureau in 1974, and

  retired therefrom on October 31, 2002. His wife retired as an Arizona Trooper that

  same day, after 22 years of service. He was elected Sheriff of Hinsdale County in

  2006.

          129.    Chris S. Johnson is the Sheriff of Otero County, Colorado. He has 35

  years of law enforcement experience, and has been Sheriff for 11 years.

          130.    Fred Jobe has been the Sheriff of Custer County, Colorado, for 28

  years, and he has 39 years of law enforcement experience. He plans to retire at the

  end of his current term, in January 2015.

          131.    Donald Krueger is the Sheriff of Clear Creek County, Colorado. He

  has 25 years of full-time law enforcement experience, plus 14 years as a reserve

  officer. He has been Sheriff for 19 years and will retire at the end of his term in

  January 2015.

          132.    James Crone is the Sheriff of Morgan County, Colorado. He has

  served as Sheriff for 15 years, and had 19 years of law enforcement experience

  before that.

          133.    Si Woodruff is the Sheriff of Rio Blanco County, Colorado. He has 39

  years of law enforcement experience, as Police officer, Senior patrol officer, Chief of

  Police, and then Sheriff.




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          134.   Tom Ridnour is the Sheriff of Kit Carson County, Colorado. He has

  previously served as an investigator for the Colorado Department of Corrections as

  well as a police officer for the City of Burlington.

          135.   Tom Nestor is the Sheriff of Lincoln County, Colorado. He has been

  with the Lincoln County Sheriff’s Office for 24 years. He previously served as

  Undersheriff.

          136.    Stan Hilkey is the Sheriff of Mesa County, Colorado. He has 27 years

  of law enforcement experience. He is term limited, and his final term ends in

  January 2015.

          137.    Forrest Frazee is the Sheriff of Kiowa County, Colorado. After

  retiring from a long career in the U.S. Navy, he was elected Sheriff in 2006.

          138.    Rick Dunlap is the Sheriff of Montrose County, Colorado. He has 23

  years of law enforcement experience, including seven as Sheriff. If he is re-elected in

  2014, his service as Sheriff will end in January 2019.

          139.   Ted B. Mink is the Sheriff of Jefferson County, Colorado. He will

  complete his final term as Sheriff in January 2015. Before being appointed Sheriff

  in July 2003, he had served as Undersheriff in Jefferson County. He was an officer

  with the Arvada Police Department from September 1977 until January 2003, and

  had been Deputy Chief of Police since 1998.

          140.    Dave Stong is the Sheriff of Alamosa County, Colorado. He has 40

  years law enforcement experience, 20 of them as Sheriff. He will retire in January

  2015.




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           141.   Fred Wegener is the Sheriff of Park County, Colorado. He has been in

  law enforcement for 26 years, and prior to that was a military police officer for six

  years.

           142.   Bruce Newman is the Sheriff of Huerfano County, Colorado. He has

  26 years law enforcement experience, including a year at the federal Supermax.

           143.   Randy Peck is the Sheriff of Sedgwick County, Colorado. He has been

  Sheriff for three years, and before that had 20 years of experience as a Deputy

  sheriff, Sergeant, and Undersheriff.

           144.   Dominic Mattivi, Jr., is the Sheriff of Ouray County, Colorado. He

  was first elected in 2002, and before that was a deputy in the Office.

           145.   John Minor is the Sheriff of Summit County, Colorado. He has served

  in law enforcement since 1990. His service includes four months as Acting Chief of

  Police in Silverthorne. He has been Sheriff since 2004. If he is re-elected in 2014,

  term limits will bring his service to an end in January 2019.

           146.   Scott Fischer is the Sheriff of Jackson County, Colorado. He has 16

  years of law enforcement experience, including as State Trooper and Undersheriff.

           147.   Peter Gonzalez is the Sheriff of Archuleta County, Colorado. He has

  42 years of law enforcement experience, including six years as Chief of Police in

  Ignacio, Colorado. He will retire in January 2015, after completing eight years of

  service as Sheriff.




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            148.    Rick Besecker is the Sheriff of Gunnison County, Colorado. He has 41

  years of law enforcement experience divided between the Saguache County Sheriff’s

  Office, the Gunnison Police Department and Gunnison County Sheriff’s Office.

            149.    Charles “Rob” Urbach is the Sheriff of Phillips County, Colorado. He

  joined the Office in 2002. He previously served in the Summit County Sheriff’s

  Office.

            150.    Rod Fenske is the Sheriff of Lake County, Colorado. He has 29 years

  of law enforcement experience, including as Police Chief.

            151.   Grayson Robinson is the Sheriff of Arapahoe County, Colorado. His law

  enforcement career began with the Littleton Police Department in 1972, and he

  became a Division Commander in 1979. In 1992, he joined the Arapahoe County

  Sheriff's Office. He became Undersheriff in 1995, and was elected Sheriff in 2002,

            152.    David D. Campbell is the Sheriff of Baca County, Colorado.

            153.    Mike Norris is the Sheriff of Saguache County, Colorado. Previously,

  he served as Undersheriff, and before that as a deputy.

            154.    Amos Medina is the Sheriff of Costilla County, Colorado. He has 23

  years of experience with the Office, and was elected in 2010.

            155.    Miles Clark is the Sheriff of Crowley County, Colorado. He was first

  elected in 2005, and had previously served as Undersheriff.

            156.    David Encinias is the Sheriff of Bent County, Colorado. He has over

  29 years of experience in law enforcement.




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        157.      Sue Kurtz is the Sheriff of San Juan County, Colorado. She has 31

  years of law enforcement experience, as Sheriff, Undersheriff, Deputy sheriff, and

  District Attorney investigator. She will retire at the end of her current term in

  January 2015.

        158.      James (Jim) Casias is the Sheriff of Las Animas County, Colorado.

  He has 30 years of law enforcement experience, including as Undersheriff, Acting

  Chief of Police for the City of Trinidad, and other positions with the Las Animas

  Sheriff’s Office and City of Trinidad Police Department.

        159.      Garrett Wiggins is the Sheriff of Routt County, Colorado. He began

  his law enforcement career on January 1, 1986, in Florida, at age 19. He worked for

  the Quincy Police Department full time for approximately 8.5 years and part-time

  on the reserve for approximately one year. During the past 15 years he has worked

  for the Steamboat Springs Police Department and for the Routt County Sheriff’s

  Office. During five of his years with Steamboat, he was the Taskforce Commander

  for the All Crimes Enforcement Team as a supervisor and undercover narcotics

  investigator.

        160.      Douglas N. Darr is the Sheriff of Adams County, Colorado. He took

  office in January 2003, and will complete his service as Sheriff in January 2015.

        161.      Rodney Johnson is the Sheriff of Grand County, Colorado. He has 29

  years of law enforcement experience.

        162.      While the individual Sheriffs do keep and bear arms pursuant to

  their duties as Sheriffs, the individual Sheriffs also own and use firearms and




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  magazines personally. Moreover, almost all of the Sheriffs’ duty firearms and

  magazines are personally owned by the Sheriffs. Like the other plaintiffs in this

  case, the Sheriffs keep and bear arms for a wide variety of lawful purposes of arms

  ownership, all such purposes being protected by the Second Amendment. District of

  Columbia v. Heller, 554 U.S. 570, 577, 620, 624, 625, 628, 630 (2008) (“lawful

  purpose” or “lawful purposes”); McDonald v. Chicago, 130 S.Ct. 3020, 3023, 3030,

  3036, 3044 (2010) (same). Every Sheriff in this case is a law-abiding citizen of the

  United States of America. As such, every Sheriff has an individual Second

  Amendment right to keep and bear arms, and an individual Fourteenth

  Amendment right not to be subject to vague laws which chill the exercise of the

  Second Amendment rights. The Sheriffs, like all Plaintiffs, are injured by the

  infringements of their individual rights under the Second and Fourteenth

  Amendments. The infringements of the Sheriffs’ rights are particularly harmful

  because of the heightened danger that the Sheriffs and their families presently face

  and will continue to face after retirement as the result of the Sheriffs’ public service.

          b. Threats to Sheriffs

        163.     Sheriffs have a particularly great personal need to exercise the “core”

  Second Amendment right of lawful self-defense, “hearth,” “home” and “family.”

  Heller, 554 U.S. at 573-75, 577, 615-16, 625, 628-630, 632, 634-36; McDonald, 130

  S.Ct. at 3026-27, 3036, 3039, 3041, 3044, 3047, 3049-50. Sheriffs are often away

  from their home. Disgruntled or mentally ill persons sometimes come to their homes

  and threaten family members. Such threats to family members also materialize

  away from home. One reason the Sheriffs wish to personally own firearms and



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  magazines is to share them with or permanently give them to family members who

  need them for self-defense. Credible threats to the families are common, including

  within the last year

           164.   Especially in lower-population communities, it is impossible for out-

  of-uniform Sheriffs or their families to blend into the background. Almost everyone

  knows who they are and where they live.

           165.   Moreover, all of the Sheriffs know that they will eventually retire

  from their positions as law enforcement officers. At that time, the limited law

  enforcement exemption of HB 1224 will not apply to them. Yet for the rest of the

  lives they and their families will continue to face the danger of retaliation from the

  many criminals whom they have arrested, or from any other person who may bear a

  grudge. Their current public service in law enforcement makes their and their

  families’ present and post-retirement needs for armed self-defense particularly

  acute.

           166.   The Sheriffs and their families have already made substantial

  sacrifices for the public interest. It is in the public interest that they not be forced to

  face even greater risks by being disarmed from using the magazines and firearms

  that they have decided are the best for family protection.

           167.   Additional information about threats to certain Sheriffs and their

  families, and the defensive firearms and magazines used by the Sheriffs and their

  families, is detailed in Exhibits A and B to this Complaint. For personal safety

  reasons for the Sheriffs and their families, Exhibits A and B have been filed




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  separately, accompanying a Motion for Leave to Restrict, Level 1. Exhibit A is

  excerpted from confidential portions of Defendant’s depositions of six Sheriffs, in

  which Defendant’s counsel asked the Sheriffs many personal questions about their

  firearms collections, hunting experience, personal history of gun use, and about

  personal threats against the Sheriffs and their families. Exhibit B contains

  Declarations from several other Sheriffs about personal threats to them and their

  families, and some of the defensive firearms and magazines owned by those

  Sheriffs. See also Declaration of Sheriff Garrett Wiggins, paras. 2-4 (Exhibit B to

  Plaintiffs’ Reply Brief for Preliminary Injunction (#41)).

        c.     Sheriffs’ personal firearms and magazines

        168.     All of the Sheriffs and their families personally own firearms. They

  believe that law enforcement officers and all other law-abiding citizens should fully

  and equally enjoy the same Second and Fourteenth Amendment rights. Exhibits A

  (deposition excerpts) and B (declarations) to this Complaint provide details about

  some of the firearms and magazines owned by some of the individual Sheriffs,

  including magazines affected by HB 1224.

        169.     Except for Rick Dunlap, Jim Faull, Scott Fischer, Peter Gonzalez,

  and Tom Ridenour, all of the Sheriffs and their families personally own magazines

  for self-defense which accept more than 15 rounds. All of the Sheriffs and their

  families personally own magazines which accept 15 or fewer rounds. All the Sheriffs

  wish to be able to buy magazines of more than 15 rounds, now and in the future.




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        170.    Some of the firearms and magazines which the Sheriffs and their

  families own were purchased in part for use in law enforcement duties; others were

  acquired and are used purely for personal reasons.

          i.   Magazines of greater than 15 rounds

        171.    All of the Sheriffs know that as they continue to age, their physical

  capabilities will change. They know that their reaction speeds, mobility, fine motor

  skills, and upper body strength will decline. As a statistical certainty, some the

  Sheriffs will become disabled. As detailed in the expert report of Massad Ayoob,

  older persons and the disabled have a particularly strong need for magazines which

  hold more than 15 rounds. Ayoob Report at 3-4 (Exhibit 17 to #70).

        172.    All the Sheriffs wish to be able to possess, purchase, own, loan, and

  sell 16-round and larger magazines over the course of their entire lives, including

  the portions of those lives which follow retirement from law enforcement. They wish

  to do so based on their individual determinations that such magazines are often the

  best choice for lawful self-defense for themselves and their families, based on

  individual circumstances now and in the future.

        173.    At present, the Sheriffs wish to be able to purchase additional

  magazines holding more than 15 rounds for their personal use in their law

  enforcement duties, and for other purposes. Their ability to do so is entirely

  thwarted, or significantly impaired; HB 1224’s general prohibition on the sale of

  banned magazines contains no exceptions allowing a store to possess or sell such

  magazines within Colorado to Colorado law enforcement employees. See Sheriffs’




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  Response Brief on Motion to Dismiss at 34-37 (#70); Lou Vallario deposition

  (Exhibit A, at 67-69). Nor does HB 1224 contain any exemption allowing common

  carriers to transport such magazines to Colorado stores for sale in Colorado.

         174.     HB 1224 does not appear to allow Sheriffs to acquire magazines for

  purely personal use. There is an exemption in HB 1224 for:

         (b) An employee of any of the following agencies who bears a firearm in

         the course of his or her official duties:

         (I) a branch of the armed forces of the United States; or

         (II) a department, agency, or political subdivision of the State of

         Colorado, or of any other state, or of the United States government.

  If the exemption means that such persons may acquire magazines for personal use,

  then every private at Fort Carson can acquire personal magazines without limit and

  without need for authorization from a superior officer. Conversely, if the exception

  is read narrowly, to apply only to magazines for use in official duties, then the

  Sheriffs are currently prohibited from acquiring magazines for all of their firearms,

  except for the handguns that they carry on duty, and the long guns they keep in

  their official vehicles.

         175.     Any banned magazine which a Sheriff acquires after July 1, 2013,

  will instantly become criminal contraband on the day that the Sheriff retires from

  law enforcement. This is because the Sheriff will no longer qualify for the

  government employee exemption, and because grandfathering only applies to




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  magazines which were owned before July 1, 2013. The Sheriffs wish to retain such

  magazines for personal use after retirement.

        176.   HB 1224 includes a section punishing anyone who “sells, transfers, or

  possesses.” The section exempts many government employees. C.R.S. § 18-12-

  302(1)(a), (3)(b)(II). HB 1224 contains a separate section mandating that “A large-

  capacity magazine that is manufactured in Colorado” must have a date stamp. The

  section provides criminal penalties for violations. There is no government employee

  exemption. C.R.S. § 18-12-303. Some Sheriffs add extenders to their magazines,

  thus “manufacturing” a magazine which can accept more than 15 rounds. See, e.g.,

  Exhibit A at 7-8, 11, 15, 46-47, 52-54; MERRIAM-WEBSTER.COM (“manufacture”

  definition 3, “the act or process of producing something”), http://www.merriam-

  webster.com/dictionary/manufacture; OXFORD ENGLISH DICTIONARY (“manufacture”

  defn. 2a, “to work up as or convert into a specified product”) (emphasis added).

        ii. Fifteen-round magazines

        177.    Some Sheriffs, including Ronald Bruce, Jim Faull, Donald Krueger,

  Larry Kuntz, Sue Kurtz, Terry Maketa, Jerry Martin, Fred McKee, Brian Norton,

  Brett Powell, Ken Putnam, Justin Smith, Dennis Spruell, Lou Vallario, and Garrett

  Wiggins own one or more magazines with a nominal capacity of 15 rounds. They

  wish to be able to acquire such magazines in the future. As detailed in the expert

  report of Michael Shain, some nominally 15-round magazines are in fact “capable of

  accepting” 16 rounds; due to variations in manufacturing tolerances, some springs

  for 15-round magazines are so compressible that 16 rounds will fit in the magazine.

  Shain expert report at 11-12, Opinion B (#69, Exhibit B). This is confirmed by the



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  deposition of Defendant’s witness Scott Wagner. (Filed as Exhibit C to this

  Amended Complaint, at 153-56, 192-95.) Defendant says he has no knowledge of

  this matter. Defendant’s Response to Discovery from FFLs et al., at 23. (Attached to

  this Complaint as Exhibit D). (As previously stated, all exhibits to this Complaint

  are incorporated by reference.) Such magazines are outlawed by HB 1224 (“capable

  of accepting…more than fifteen rounds of ammunition”). Sheriffs Bruce, Kuntz,

  Maketa, Norton, Powell, and Wiggins own 15 round magazines which do in fact

  accept 16 rounds. (For Maketa, Exhibit A at 28.)

        178.    The very act of testing a 15-round magazine to see if it will accept 16

  rounds instantly makes the magazine owner into a criminal in possession of

  contraband, if the magazine is discovered to accept 16 rounds. The mere possession

  of an untested 15 round magazine which actually could accept 16 rounds is also a

  crime. Accordingly, it is legally perilous to acquire a new a 15 round magazine.

  Magazines are often sold in circumstances which do allow the buyer to pretest the

  capacity. Moreover, stores which sell magazines have no way to test the capacity of

  every magazine prior to purchasing them at wholesale. (Shain report at 11-12,

  Opinion B [#69, exhibit B]; Wagner deposition at 177-78 [Ex. C. to this Complaint].)

  The Sheriffs wish to own such magazines, now and after they retire from law

  enforcement. They also wish to sell and/or temporarily transfer such magazines, on

  a short-term or long-term basis, to family members, friends, and other persons.

          iii. Sales and other transfers of personally-owned prohibited

          magazines




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        179.    Except for Sue Kurtz, all the Sheriffs wish to have the ability to

  make long-term loans of magazines to friends and family members. At present,

  Bruce Hartman, Fred Jobe, Terry Maketa, Jerry Martin, Bruce Newman, and Dave

  Stong currently have made, do make, or would make loans which are contrary to

  what is allowed by the Attorney General’s July 10, 2013, “Technical Guidance” as

  interpreted by this Court. Donald Krueger would like to make such loans of his 17-

  round magazines after he retires in January 2015.

        180.    The Sheriffs wish to transfer ownership of their magazines either

  now or in the future, by sale, gift, and bequest. HB 1224 forbids such sales, gifts,

  and bequests for prohibited magazines. Under HB 1224, when a Sheriff dies, his

  magazines instantly become contraband, and HB 1224 immediately criminalizes

  whoever is the owner, custodian, or executor of the Sheriff’s property.

        181.    All of the things that the Sheriffs wish to do with magazines of 16

  rounds or more they also wish to do with magazines holding fewer than 16 rounds.

          iv. Sales and other transfers of firearms

        182.    The Sheriffs wish to be able to sell, give, or lend handguns and long

  guns to persons of all races, ages, and nationalities, of both sexes (to persons who

  may lawfully possess such arms). The Sheriffs wish to make such sales, gifts, or

  loans under conditions that are unconstitutionally prohibited or restricted by HB

  1224 and HB 1229. These include lending firearms for more than a 72 hour period,

  and giving firearms as gifts to persons who are not immediate family members. The

  Sheriffs further wish to be able to sell firearms to family members and to be able to




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  purchase firearms from family members; HB 1229’s family exemption irrationally

  applies only to “bona fide gifts and loans,” but not to sales.

        183.     HB 1229’s requirement that temporary transfers of firearms—which

  are part of the ordinary use of a firearm—be treated as if they were gun sales

  violates the Second Amendment.

        184.     The dysfunctional system created by HB 1229 (requiring the use of a

  Federal Firearms Licensee [FFL], while capping the FFL’s fee at $10) often makes

  it extremely burdensome, and sometimes impossible, for law-abiding citizens,

  including the Sheriffs, to consummate a private sale or a temporary transfer.

        v.     Prohibitions of firearms

        185.     The Sheriffs wish to have the option, now as well as after they retire

  from law enforcement, of personally purchasing firearms for which there are no

  magazines which accept 15 or fewer rounds. These firearms include full-size

  Springfield Armory XD handguns in 9mm and .40 caliber, the Kel-Tec PMR .22

  caliber pistol, and the SRM Arms model 1216 shotgun (a pump action shotgun with

  four tubes that each hold four rounds). Without a magazine, none of these firearms

  are functional. Accordingly, HB 1224 amounts to a prohibition on such arms.

  Defendant admits that there are no commercially available magazines for the

  Springfield Armory and Keltec pistols. Defendant’s Answers to Discovery from

  Sheriffs and Strumillo, at 9-10, interrog. 12 (Exhibit E to this Complaint.). There is

  self-evidently no alternative magazine for the SRM shotgun, since the magazine is

  integral to the shotgun.




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        186.     Defendant asserts that such firearms are not de facto prohibited

  because an individual can “permanently alter” the magazines for these firearms.

  Defendant’s Answers to Discovery from FFLs et al., at 21-22 (Exhibit D to this

  Complaint); HB 1224 (“permanently altered so that it cannot accommodate more

  than fifteen rounds of ammunition”). This is incorrect. Notably, the possession of

  such a magazine, prior to alteration, is a crime. HB 1224 has no exemption for

  banned magazines which a person intends to alter. Further, according to

  Defendant’s witness Scott Wagner, every method for limiting the capacity of a

  magazine can be undone in no more than a half hour, and more typically in just “a

  matter of minutes” or “a couple minutes.” Scott Wagner deposition at 171-77, 187-

  89. (Exhibit C to this Complaint.) Finally, Defendant refuses to say whether a

  common means of attaching a limiter—with a pin—does or does not count at a

  permanent alteration. Defendant’s Answers to Sheriffs and Strumillo Discovery, at

  6, interrog. 7 (Exhibit E to this Complaint).

          d.   Sheriffs’ inability to comply with HB 1224 and 1229

        187.     The Sheriffs, like the other Plaintiffs, wish to know how to comply

  with HB 1224 and 1229. During the discovery process, it has become clear that

  when citizens have questions about how to comply with HB 1224 or HB 1229, the

  Colorado Bureau of Investigation refers such questions to the Attorney General.

  The Attorney General then refuses to answer, or refers the citizens back to the

  Colorado Bureau of Investigation. The citizen may be sent copies of Defendant’s

  signing statement, and of the Attorney General’s two Technical Guidance letters.




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  See CBI document production at CBI 00031-33, CBI 00071, CBI 00074-75, CBI

  000124-26 (attached to this Complaint as Exhibit F); CBI Director Ronald Sloan

  deposition at 55-58 (attached to this Complaint as Exhibit G) (CBI will only answer

  citizen questions for which the black letter law answer is obvious).

         188.   There are many questions about how to comply with HB 1224 and

  1229 which are in no way addressed by Defendant’s signing statement or by the

  Technical Guidance. Indeed, these documents do not even address HB 1229.

  Regarding HB 1224, they only address two particular issues (“designed to be readily

  converted” and “continuous possession.”) During discovery, the Plaintiffs asked

  Defendant various questions about the meaning of HB 1224 and HB 1229.

  Defendant refused to answer. Regardless of whether some or any of Defendant’s

  refusals might be sanctionable, the refusals underscore the fact that no-one in the

  Colorado State government can or will provide citizens with answers about how

  citizens, including the Sheriffs, are supposed to comply HB 1224 and 1229. Among

  the issues for which there is no answer are the following, all of which are taken

  verbatim from Plaintiffs’ discovery requests to Defendant:

        If an individual privately transfers a firearm to another individual, and a

         background check is performed pursuant to HB 1229, would you consider

         that background check sufficient to cover any subsequent transfers of the

         same firearm between the same two individuals?

        If an employer loans an employee a firearm for more than 72 hours and

         conducts the necessary background check pursuant to HB 1229, would you




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         require the employee to conduct another background check upon returning

         the firearm to his or her employer?

        Please describe the process for conducting a background check under HB

         1229 when the transferee of the firearm is not a natural person, such as a

         limited liability company or corporation.

        If a farm or ranch employee utilizes a vehicle owned by his or her employer

         for more than 72 hours, and the vehicle contains a firearm, do you interpret

         HB 1229 to require a background check to be performed on the employee

         even if he or she never touches the firearm?

        Admit that with respect to HB 1229 there is no exception for farmers or

         ranchers who, for a period of more than 72 hours, loan firearms to employees

         for defense of livestock and crops.

        Admit that there is no exemption in HB 1229 for firearms training conducted

         under the auspices of a nonprofit organization other than at a shooting range

         under C.R.S. § 18-12-112(6)(e)(I).

        Admit that no licensed gun dealer in Colorado is required to perform a

         background check when requested to do so by two individuals conducting a

         private sale or transfer of a firearm.

        What recourse does a person have under HB 1229 or any other laws of the

         State of Colorado if he or she wants to transfer a firearm but cannot find a

         Federal Firearms Licensee (“FFL”) either available or willing to perform the

         required background check?




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        Admit that HB 1224’s exceptions pertaining to lawful possession of banned

         magazines after July 1, 2013, do not include any provision allowing retailers

         to possess banned magazines for the purposes of selling such magazines to

         law enforcement officers within Colorado.

        Admit that HB 1229 contains no exception pertaining to the permanent

         acquisition of firearms by law enforcement officers for law enforcement

         purposes.

        Admit that HB 1229 contains no exception pertaining to the temporary

         acquisition of firearms by law enforcement officers for law enforcement

         purposes.

        Admit that HB 1229 forbids the return of a stolen firearm to the rightful

         owner, unless the return is processed by a FFL pursuant to HB 1229’s

         requirement for background check and for FFL record-keeping.

        Admit that HB 1229 forbids law enforcement officers from taking a citizen’s

         firearm for temporary safe-keeping for more than 72 hours, unless the

         transfer is processed by a FFL pursuant to HB 1229’s requirement for

         background check and for FFL record-keeping. By way of illustration, this

         question includes a situation in which a citizen is the victim of a crime or

         accident, is therefore unconscious, and is therefore unable to safeguard a

         firearm which the citizen was carrying or transporting.




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        Admit that HB 1224 contains no exemption for long-haul truckers

         transporting banned magazines from another state through Colorado for

         delivery to another state.

        Admit that HB 1224 contains no exception for travelers passing through

         Colorado who possess a banned magazine which was acquired on or after

         July 1, 2013.


  See Defendant’s Second Answer to Discovery from Non-Profits and Disabled

  Individuals, at 3-6; Defendant’s First Answer to Discovery from Non-Profits and

  Disabled Individuals, interrog. 10; Defendant’s Answer to Discovery from Sheriffs

  and David Strumillo at 10-13) (Exhibits H, I & E to this Complaint). Most of these

  unanswered, unknown vagaries of HB 1224 and 1229 relate to infringements of the

  Sheriffs’ personal ability to personally acquire, transfer, and use magazines and

  firearms—on-duty, off-duty, or after retirement; or to the personal decisions that

  Sheriffs must make regarding firearms and magazines that they personally handle

  in the course of their employment.

         2.     Colorado Farm Bureau

         189.    Colorado Farm Bureau is a Colorado nonprofit corporation. It was

  founded in 1919 by a group of Colorado farmers, ranchers, veterinarians, rural

  doctors, shopkeepers and tradesmen. The Farm Bureau’s mission includes

  enhancing Colorado’s agricultural industry; promoting, protecting, and representing

  the interests of farmers, ranchers, and their communities; and protecting individual

  freedom and opportunity.




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        190.     Colorado    Farm    Bureau’s   membership     now    comprises   23,000

  Coloradans, including Colorado farmers, ranchers, and other Colorado families and

  residents who have an interest in maintaining a strong agricultural industry in this

  State and in promoting and advancing the interests of Colorado farmers and

  ranchers.

        191.     Section (1)(b) of HB 1229 requires that if a transferee of a firearm is

  not a natural person, “then each natural person who is authorized by the transferee

  to possess the firearm after the transfer shall undergo a background check . . .

  before taking possession of the firearm.”

        192.     The vast majority of Colorado farms, including family farms, operate

  as incorporated businesses. Thus, when most Colorado farmers acquire firearms in

  connection with their farming or ranching operations, they do not acquire them as

  “natural persons.”

        193.     Colorado farmers and ranchers often operate their businesses in

  rural and remote areas of the State. Firearms are a necessity for farming and

  ranching for protecting crops and livestock, as well as for self-defense.

        194.     HB 1229 places substantial burdens on the Second Amendment

  rights of Colorado farmers and ranchers because:

               a.      it will often be very difficult to identify each and every natural

  person associated with the farm or ranch who may possess the firearm;




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               b.       it will be very difficult to find FFLs able and willing to perform

  the necessary checks in many, if not most, of the rural areas in which farms and

  ranches are located;

               c.       even when FFLs are available, able, and willing to perform the

  necessary checks, paying a fee for each check for each natural person who may

  possess a firearm places a significant financial burden on the farm or ranch

  acquiring the firearm.

        195.        Setting aside problems with initial acquisitions of firearms, HB 1229

  places an enormous burden on farmers and ranchers to police firearm possession as

  time passes. If farms or ranches do not routinely “audit” new farm and ranch hands,

  they face significant criminal exposure (and being prohibited from owning any

  firearm for at least two years) if a new hand obtains possession without a check

  being performed first, as well as joint and several civil liability if an accident or

  misuse involving the firearm occurs.

        3.     Firearms Industry Trade Association

        196.   The National Shooting Sports Foundation (“NSSF”) is a national trade

  association for the firearms, ammunition, and hunting and shooting sports industry

  based in Newtown, Connecticut.

        197.   As a non-profit, tax-exempt corporation, NSSF has a membership of

  over 9,500 federally licensed firearms manufacturers, distributors and retailers;

  companies manufacturing, distributing and selling shooting and hunting related goods and

  services; sportsmen’s organizations; public and private shooting ranges; gun clubs;




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  publishers and individuals. More than 300 of these members reside and conduct business

  in Colorado.

          198.   The NSSF’s members in Colorado          provide lawful commerce in

  firearms to law-abiding Coloradans. Each of these members’ business interests and

  livelihoods will be adversely and unconstitutionally affected by HB 1224 and HB

  1229.

          4.     Retired Law Enforcement Officers

          199.    David Strumillo resides in Colorado Springs, Colorado, and is a

  citizen of the United States. Mr. Strumillo served as a police officer in the Parker,

  Colorado Police Department from 1994 through 1999, when he was medically

  retired following an injury in the line of duty.

          200.    Mr. Strumillo is authorized to carry a concealed firearm in all states

  and U.S. territories pursuant to the Law Enforcement Officers Safety Act, 18 U.S.C.

  § 926B, 926C. In order to comply with federal law, Mr. Strumillo is required to re-

  qualify each year using the firearms he carries.

          201.    Mr. Strumillo also carries firearms for his personal safety to respond

  to threats made against himself and his family. The firearms Mr. Strumillo carries

  use magazines larger than 15 rounds. The members of the Plaintiff Associations

  also include retired law enforcement officers.

          5.     Disabled Citizens

          202.    David Bayne is a resident of Thornton, Colorado, and a citizen of the

  United States. Mr. Bayne is paralyzed from the chest down and confined to a




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  wheelchair. He holds a concealed carry permit issued by the Adams County Sheriff’s

  Office, which is valid in the State of Colorado. He owns several firearms, several of

  which accept magazines capable of holding more than 15 rounds. Mr. Bayne uses

  these firearms for target shooting, shooting competitions, and the defense of his

  home.

          203.   Dylan Harrell is a resident of Frederick, Colorado, and a citizen of

  the United States. Mr. Harrell is paralyzed from the chest down and confined to a

  wheelchair. He holds a concealed carry permit issued by the Adams County Sheriff’s

  Office, which is valid in the State of Colorado. He owns several firearms which will

  accept magazines capable of holding more than 15 rounds. He uses these firearms

  for hunting, target shooting, and defense of his home.

          204.   Messrs. Bayne and Harrell (“the Disabled Plaintiffs”) are deprived of

  their fundamental right of self-defense in multiple ways.

          205.   First, because firearms that use magazines larger than 15 rounds

  and those with removable floor plates or end caps are in common use, their Second

  Amendment right to self-defense pursuant to Heller is violated regardless of any

  disability because they may be unable to purchase replacement magazines of any

  size, and particularly of the standard 30-round size, which are essential to a

  disabled person.

          206.   Second, disabilities make it difficult to quickly change magazines

  under the stress of a home invasion. For example, Plaintiff Dylan Harrell is

  wheelchair bound and has two small children in his home. The wheelchair limits




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  Mr. Harrell’s mobility and severely restricts his ability to quickly place himself in

  the best position to repel a home invasion, as well as his ability to place himself

  behind barriers or use objects in his home as a means to steady his firearm. Thus,

  he is even more dependent on immediate firearms defense than able-bodied people,

  who might be able to flee the house or buy time by running to another room. The

  limits on Mr. Harrell’s ability to quickly re-position himself also severely limit his

  ability to retreat quickly and effectively in order to allow him the time necessary to

  change magazines. Eliminating his ability to use magazines with a capacity larger

  than 15 rounds has a corresponding impact on his ability to exercise his

  constitutional right to defend himself, his home, and his children.

        207.     Like Mr. Harrell, Plaintiff David Bayne is confined to a wheelchair

  and faces the same challenges. Mr. Bayne has limited ability to retreat or re-

  position himself effectively or safely during a home invasion in order to most

  effectively aim and discharge his firearm, or to safely change magazines.

        208.     If the ban on smaller magazines that can be readily converted is not

  a total prohibition, but applies only after a determination of the intent of the

  designer, the Disabled Plaintiffs have no ability to resolve that ambiguity and

  cannot discern what magazines are allowed and what magazines may subject them

  to criminal penalties.

        6.     Licensed Firearms Dealers

        209.     USA Liberty Arms is a Colorado corporation with its principal place

  of business in Fort Collins, Colorado.




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        210.     Rocky Mountain Shooters Supply is a Colorado corporation with its

  principal place of business in Fort Collins, Colorado.

        211.     2nd   Amendment        Gunsmith   &   Shooter   Supply,    LLC       (“2nd

  Amendment”), is a Colorado corporation with its principal place of business in

  Loveland, Colorado. 2nd Amendment has expended significant resources on

  inventory in firearms and magazines that will be rendered illegal on July 1, 2013.

  2nd Amendment will suffer significant losses in its overall sales if it cannot sell

  firearms or magazines over 15 rounds or with removable floor plates or end caps if

  HB 1224 becomes effective.

        212.     Burrud Arms Inc. d/b/a Jensen Arms is a Colorado corporation with

  its principal place of business in Loveland, Colorado. Jensen Arms is a retail

  firearms dealer in business since 1994 that serves customers throughout much of

  Colorado. To serve its customers, Jensen Arms has invested millions of dollars in

  magazines and firearms inventory that utilizes magazines that will be prohibited

  under HB 1224. Customers have already expressed confusion about what

  magazines will be legal, and Jensen Arms will suffer significant losses in sales.

        213.     Green Mountain Guns is a Colorado corporation with its principal

  place of business in Lakewood, Colorado. Green Mountain Guns has been in

  business for 35 years, and will lose approximately $2 million in sales after HB 1224

  becomes effective because the majority of firearms and magazines that it sells will

  be rendered illegal on July 1, 2013, including many smaller magazines that have

  removable floor plates or end caps.




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        214.     Smith & Wesson has already informed Green Mountain Guns that it

  will no longer ship merchandise to Green Mountain Guns because of the

  uncertainty caused by HB 1224 and confusion about what firearms and firearm

  accessories will be illegal after HB 1224 goes into effect.

        215.     Jerry’s Outdoor Sports is a Colorado corporation with its principal

  place of business in Grand Junction, Colorado. Jerry’s Outdoor Sports has been in

  business for 28 years, and will lose the majority of its sales if HB 1224 becomes

  effective because the majority of firearms and magazines that it sells will be

  rendered illegal on July 1, 2013, including many smaller magazines that have

  removable floor plates or end caps.

        216.     Grand Prix Guns is a Colorado corporation with its principal place of

  business in Littleton, Colorado. Grand Prix Guns anticipates that it may suffer as

  much as an 80% loss in revenue if HB 1224 renders the majority of the firearms and

  magazines it sells illegal.

        217.     Specialty Sports & Supply is a Colorado corporation with its principal

  place of business in Colorado Springs, Colorado. Specialty Sports & Supply

  anticipates that it will lose more than $1 million annually in firearms sales. The

  store currently has 4,000 to 5,000 magazines in stock which it will not be able to sell

  after July 1, 2013, and it will be unable to order and sell additional supplies.

        218.     Goods for the Woods is a Colorado corporation with its principal place

  of business in Durango, Colorado. Goods for the Woods has a current inventory of




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  firearms and magazines that will be rendered illegal as of July 1, 2013, and it will

  also be unable to sell existing and future orders, significantly reducing revenue.

        219.     The Plaintiff firearms dealers have invested significant money in

  existing inventories of firearms with standard magazines larger than 15 rounds and

  in magazines of all sizes with removable floor plates and end caps. That investment

  will be lost without compensation if that inventory cannot be sold. In some cases,

  the continued existence of the business may be threatened.

        220.     The licensed dealers face the same conundrum as all Plaintiffs if they

  are forced to guess at the unknown intent of designers of smaller magazines, and

  are subject to the whims of local law enforcement as they try to enforce an

  ambiguous statute.

        221.     In addition, in light of the fee caps described in Paragraph 21 above,

  each of the Licensed Firearms Dealers will be unwilling or financially unable to

  provide the services necessary for transfers under HB 1229, making compliance

  with HB 1229 impossible in many private transfer situations.

        7.     Shooting Association and Shooting Ranges and Clubs

        222.     The Colorado State Shooting Association (“CSSA”) is the oldest

  statewide shooting and firearms organization in Colorado, established in 1926.

        223.     CSSA has nearly 1,500 individual dues-paying members, and over

  20 business and club members that collectively add more than 20,000 associated

  members. These members include hunters, competitive shooters, recreational

  shooters, firearms instructors, active and retired law enforcement officers, crime




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  prevention advocates, firearms and equipment dealers and wholesalers, and people

  interested in preserving Second Amendment rights. The membership includes many

  who have physical disabilities.

        224.     Many CSSA members own and use firearms with a capacity

  exceeding 15 rounds, and many of the CSSA sanctioned events require the use of

  such firearms. Many CSSA members also own magazines (and associated firearms)

  with removable floor plates or end caps.

        225.     The CSSA provides shooting opportunities for law-abiding Colorado

  residents by uniting shooters, hunters, sportsmen and collectors, as well as all other

  types of law-abiding firearms enthusiasts, to promote the safe and responsible use

  of firearms.

        226.     CSSA promotes the development of shooting sports and related

  facilities and speaks on behalf of its membership to defend shooting sports, hunting

  rights, and firearms ownership.

        227.     CSSA also promotes and organizes firearms safety programs and

  hunter safety education, supports the training of NRA-certified firearms

  instructors, and organizes and supports state regional competitive matches.

        228.     CSSA is the official NRA-delegated sanctioning body for all state and

  regional competitive firearms matches in Colorado, and CSSA membership is

  required for Colorado shooters to participate in any such matches. CSSA is also the

  official state association for the Civilian Marksmanship Program, a congressionally-




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  created program that fosters firearms marksmanship through competitive matches

  and clinics.

          229.   The members of the Colorado State Shooting Association engage in

  every form of lawful activity with firearms and magazines, including each and every

  activity mentioned in this Complaint.

          230.   Hamilton Family Enterprises, Inc. d/b/a Family Shooting Center at

  Cherry Creek State Park (“FSC”) is a Colorado corporation that is designated as the

  Cherry Creek State Park concessionaire for operating recreational shooting

  facilities located at the Cherry Creek State Park in Arapahoe County, Colorado.

          231.   FSC is a multi-discipline shooting facility covering approximately 120

  acres of Cherry Creek State Park and includes a rifle range, a pistol range, a law-

  enforcement range, a sporting clays and five-stand range, a trap range using both

  electric and hand launching stations, a shotgun patterning board, and an archery

  range. FSC is currently adding a “move-and-shoot” pistol range which will double

  the number of pistol shooting positions available to the public.

          232.   FSC is the largest public outdoor shooting facility on the Front Range

  in Colorado. The usage of these facilities has increased each year since FSC began

  concession operations in 2004, and over 64,000 shooters used the facilities at FSC in

  2012.

          233.   In addition to the operation, supervision and maintenance of the

  shooting facilities at Cherry Creek State Park, FSC also makes available for use by

  qualified members of the public firearms that are equipped with standard




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  magazines having capacities of more than 15 rounds or are equipped with smaller

  magazines that are readily convertible to more than 15 rounds.

        234.    Moreover, FSC sells firearms equipment and accessories, which

  include magazines with capacities exceeding 15 rounds or are otherwise readily-

  convertible to more than 15 rounds.

        235.    Approximately fifty percent of FSC’s gross revenue currently derives

  from the sale of firearms equipment, accessories, and ammunition.

        236.    FSC’s patrons have already expressed concerns over the impact that

  HB 1224 and HB 1229 will have on their ability to legally utilize FSC’s facilities or

  purchase goods and equipment from FSC, and many have signified their intent that

  they will not return to FSC after July 1, 2013 for fear of running afoul of the new

  laws. Thus, both proposed laws have already adversely impacted FSC’s business

  and income and will continue to do so in the future.

        237.    Approximately six percent of all of FSC’s revenue, not including

  Colorado sales taxes, are remitted to the State and Colorado’s state park system.

  The significant and inevitable decline in revenue that will result from the

  implementation of HB 1224 and HB 1229 will significantly impact the already

  handicapped budget of Colorado’s state park system.

        8.     Firearms Accessories Manufacturer

        238.    Plaintiff Magpul Industries is a Colorado corporation founded in 1999

  with its principal place of business in Erie, Colorado. Magpul manufactures and




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  sells a wide variety of firearms accessories, including firearm magazines in a

  variety of sizes.

           239.   Magpul has approximately 200 employees in Colorado, and

  approximately 90% of its magazine suppliers are located in Colorado. Magpul will

  be unable to distribute magazines with capacities more than 15 rounds to its

  network of Colorado retailers and faces uncertainly as to whether it can continue to

  distribute any magazines to Colorado retailers based on the vague provisions of HB

  1224.

           240.   Magpul manufactures magazines in 10, 20, and 30 round sizes for

  sale to the public. Magpul has existing commitments to sell magazines through its

  distribution network to retailers in Colorado. Magpul may have to modify those

  commitments for magazines larger than 15 rounds, and lose the value of those

  sales.

           241.   For magazines smaller than 15 rounds, Magpul faces the same

  uncertainty as all of the Plaintiffs in determining which, if any, magazines with a

  removable floor plate can be sold. If all smaller magazines with removable floor

  plates are banned by HB 1224, then Magpul effectively cannot sell any magazines

  in Colorado.

           242.   If the prohibition of smaller magazines is resolved only by law

  enforcement’s interpretation of each designer’s intent, Magpul cannot predict how

  each of the Colorado law enforcement jurisdictions will resolve the ambiguity in the

  statute, and faces the uncertain prospect of criminal prosecution in jurisdictions




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  that interpret the statute as a complete ban on magazines with a removable floor

  plate.

           9.     Nonprofit Representing Disabled Outdoor Enthusiasts

           243.   Outdoor Buddies, Inc. (“Outdoor Buddies”), which was founded in

  1984, is an all-volunteer non-profit organization based in Colorado. Its mission is to

  provide opportunities to enjoy the outdoors to those who have been deprived of it,

  regardless of race, creed, religion, or sex, and with no fees to the participant.

  Outdoor experiences provided through Outdoor Buddies include hunting, target

  shooting, fishing, boating, camping, and education in the use of the outdoors for

  recreational activities.

           244.   There are approximately 760 individual members of Outdoor Buddies.

  Approximately two-thirds of the membership is composed of mobility-disabled

  members of the community who need special assistance to experience the outdoors.

  Approximately one-third of the membership is composed of able-bodied members of

  the community who serve as volunteers. The membership includes many wounded

  warriors and other disabled veterans from World War II through the most recent

  military conflicts in Iraq and Afghanistan.

           245.   The Disabled Plaintiffs, David Bayne and Dylan Harrell, are members

  of Outdoor Buddies.

           10.    Nonprofit Representing Colorado’s Outfitters

           246.   The Colorado Outfitters Association is an organization dedicated to

  improving the Colorado outfitting industry’s standards and the quality of services




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  provided by professional outfitters in Colorado. The Association represents

  approximately 790 professional hunting, fishing, and camping outfitters and guides

  based in Colorado. Colorado’s outfitters are registered, bonded, and insured to

  operate in Colorado and have permits to operate on public lands. The Association

  represents Colorado’s outfitters in a wide range of policy areas affecting Colorado

  outfitters and their clients.

        247.   The chilling effect of the potential legal perils for non-resident hunters

  caused by HB 1224 and 1229 has led many non-resident hunters to shun Colorado,

  which will cost the outfitters, local businesses which cater to hunters (e.g.,

  restaurants and stores), the State, and various local taxing jurisdictions tens of

  millions of dollars in the next few years. Moreover, HB 1229’s requirements for

  background checks for transfers could significantly impact the ability of outfitters

  and their clients to share weapons in the field given the narrowness of HB 1229’s

  exceptions and the unavailability of FFL’s to perform the necessary background

  checks.

        11.    Nonprofit Representing Women’s Right to Self-Defense

        248.   Women for Concealed Carry is a 26 U.S.C. § 501(c)(4) nonprofit

  organization registered in the State of Colorado. Women for Concealed Carry

  supports women’s rights to effective self-defense against physical harm by

  protecting women’s rights to carry concealed firearms, and the organization

  conducts outreach and education to support policies that defend that right.




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  Members of the organization use and carry magazines which would be banned

  under HB 1224.

        12.    Nonprofit Representing Colorado Families and Communities

        249.   Colorado Youth Outdoors (“CYO”) is a nonprofit organization whose

  mission is to serve Colorado communities by providing families with opportunities

  to build healthy relationships through traditional outdoor recreation. One of the

  many disciplines in CYO’s program is shooting sports.

        250.   As part of its programming, CYO provides a curriculum for firearm

  safety, as well as a program to introduce families to sport shooting, including

  wildlife management through hunting. These programs stress the lawful,

  responsible and safe use of firearms.

        251.   Fundraising is an extremely important aspect of CYO’s ongoing

  mission to serve Colorado communities and families. Its most successful fundraiser

  each year is a weekend event involving target shooting.

        252.   Because most of the participants in CYO’s programs are new to

  shooting sports, CYO frequently loans hunting and sporting firearms to

  participants, sometimes for periods exceeding 72 hours. HB 1229 will render this

  aspect of CYO’s programming illegal. Similarly, CYO loans firearms to participants

  at its annual fundraiser, which is held at a for-profit “dude ranch” specializing in

  hosting private events. HB 1229 will have a significant impact on this important

  fundraiser and consequently on CYO’s ability to pursue its mission.




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          253.   CYO makes additional firearm loans to other qualified non-profits who

  do not have the resources to own firearms but who occasionally have special

  programs or events requiring the use of firearms. These loans sometimes exceed 72

  hours. Loaning resources and collaboration between non-profits is critical in non-

  profit business operations.

          254.   Constraining laws with narrowing margins for lawful use make it

  more difficult to find qualified board members willing to navigate through vague

  and uncertain firearm legislation. HB 1229 adds another burden to those in

  leadership roles of organizations which own firearms, which will have devastating

  effects on CYO’s board membership.



  B.      Defendant

          255.    Defendant John Hickenlooper is the Governor of the State of

  Colorado, and is required to ensure that all laws of the state are faithfully executed.

  COLO. CONST. art. IV § 2. As Colorado’s Chief Executive, Governor Hickenlooper is

  the proper defendant to actions to enjoin or invalidate a state statute.

  Developmental Pathways v. Ritter, 178 P.3d 524, 529 (Colo. 2008).

                 IV.   ADDITIONAL SUPPORT FOR ALLEGATIONS

  A.      The Restrictions on Firearms Use in the Bills Is Greater Than That
          Already Determined to Violate the Second Amendment

          256.   The effects of these bills on commonly-used firearms are far more

  overreaching than laws in other locations that have already been determined to be




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  unconstitutional. In District of Columbia v. Heller, the Supreme Court addressed a

  prohibition on the possession of handguns in the District of Columbia.

        257.   Significantly for this case, the Heller Court concluded that the

  “inherent right of self-defense has been central to the Second Amendment right.”

  554 U.S. at 628.

        258.   The individual right to keep and bear arms and to use those arms for

  self-defense extends to all firearms that are “in common use at the time.” Id. at 627.

  The Court emphasized that the Second Amendment does protect firearms which are

  “typically possessed by law-abiding citizens for lawful purposes.” Firearms which do

  not meet this standard may be banned if they are “dangerous and unusual

  weapons.” The paradigmatic examples of the latter category are sawed-off shotguns

  and machine guns. Id. at 625, 627.

        259.   The Court noted that like all constitutional rights, the Second

  Amendment is not absolute in every respect. The Court described three particular

  types of gun controls as “presumptively constitutional”: First, the long-standing

  prohibitions against possession of firearms by felons and the mentally ill. Second,

  laws forbidding the carrying of firearms in “sensitive places such as schools and

  government buildings.” Third, “laws imposing conditions and qualifications on the

  commercial sale of firearms.” Id. at 626-27 (emphasis added).

        260.   HB 1224 and 1229 do not fit within any of the “presumptively

  constitutional” gun control categories described by the Heller Court. The bills do not

  amend Colorado’s long-standing laws forbidding gun possession by various




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  categories of persons who have proven themselves to be dangerous. They do not

  affect the carrying of guns in “sensitive places.” They do not set “conditions or

  qualifications” on the “commercial sale” of arms. HB 1229 applies only to non-

  commercial transfers, and to short term-transfers which do not involve any type of

  sale.

          261.   In McDonald v. Chicago, the Supreme Court addressed a ban similar

  to that in Heller that was in place in Chicago and the suburb of Oak Park. The

  McDonald Court held that the Second Amendment right enunciated in Heller

  applies with equal force to the States through the Fourteenth Amendment.

          262.   The McDonald Court reiterated that the right to self-defense is “deeply

  rooted in this nation’s history and tradition,” and that the “ratifiers of the

  Fourteenth Amendment counted the right to keep and bear arms among those

  fundamental rights necessary to our system of ordered liberty.” 130 S. Ct. at 3036,

  3042. The McDonald Court reiterated the holding in Heller that “the Second

  Amendment protects a personal right to keep and bear arms for lawful purposes,

  most notably for self-defense within the home,” and held that “the Fourteenth

  Amendment incorporates the Second Amendment right recognized in Heller.” Id. at

  3044, 3050.

          263.   By outlawing the larger and smaller magazines which are necessary

  components of the large majority of handguns and of a very large number of rifles,

  HB 1224 is a gun ban even more sweeping than the handgun-only ban which was

  ruled unconstitutional in Heller.




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        264.   The Heller Court pointed out that the D.C. handgun ban was “a

  prohibition of an entire class of ‘arms’ that is overwhelmingly chosen by American

  society for that lawful purpose” of self-defense. 554 U.S. at 628. The prohibition was

  so facially unconstitutional that the Heller Court found it unnecessary to use the

  traditional three-tiered system of scrutiny. Responding to Justice Breyer’s attempt

  to apply a balancing test to the D.C. ban, the Heller Court stated that the handgun

  ban failed “any of the standards of scrutiny the Court has applied to enumerated

  constitutional rights.” 554 U.S. at 571. Thus, the handgun ban would have failed

  both strict scrutiny and intermediate scrutiny, and the result was so obvious that

  the Heller Court did not need to discuss the prongs of the two tests.

        265.   The HB 1224 ban on most handguns and many rifles (accomplished by

  banning the large majority of magazines) is thus even more obviously

  unconstitutional.

        266.   Magazines of 16-20 rounds for handguns, and 16-30 rounds for rifles,

  easily satisfy the “common use” and “typically possessed” standards in Heller.

  Under Heller, their prohibition is thus per se unconstitutional. The Constitution is

  clear, and the balancing has already been done by the enactment of the Second and

  Fourteenth Amendments themselves. Firearms and accessories which are typically

  owned by law-abiding citizens for lawful purposes may not be prohibited.

        267.   Even if it were proper to apply strict or intermediate scrutiny (which it

  is not), the fact that a handgun ban cannot even pass intermediate scrutiny resolves

  the instant case. Handguns are used in the majority of homicides in the United




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  States, and in over two hundred thousand violent crimes annually. The number of

  crimes (including multiple victim homicides) in which handguns are used dwarfs

  the number of such crimes involving magazines that hold more than 15 rounds.

  Because a handgun ban cannot survive intermediate scrutiny, the HB 1224

  magazine ban cannot survive strict scrutiny.

        268.   The banned magazines and associated firearms are also lawful in

  Colorado for hunting. While many states specify no magazine limitations for

  hunting, Colorado is among the group that has some limitations. These are as

  follows: Rifles or handguns of any type for small game, no limit; centerfire semi-

  automatic rifles for big game, six rounds; centerfire rifles of other types (e.g., bolt

  action, pump action, lever action) for big game, no limit; handguns for big game, no

  limit; shotguns for migratory bird hunting, three rounds – otherwise, no limit.

        269.   Regardless of limits while in the field, hunters at their hunting camp

  in isolated areas, or who are driving to or from a hunting trip, may wish to have a

  fully functioning defensive firearm with a fully loaded magazine. This defensive

  arm might be their hunting gun, or it might be another firearm.

        270.   In certain types of big game hunting (e.g., elk or deer) it would be rare

  for a hunter to get more than two shots at an animal. In other types of hunting (e.g.,

  prairie dogs or a pack of coyotes) a significant number of consecutive shots at

  different animals in a group would be common. When Colorado hunters take their

  guns and magazines to go hunting in other states (as many Plaintiffs do, especially

  the members of the Colorado Outfitters Association and the members of the




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  Colorado State Shooting Association), hunters may fire a significant number of

  quick shots at game such as wild boars, which are notoriously hardy and ferocious.

  Even the big game hunter who only plans one or two shots for the trophy deer may

  want a firearm with larger capacity in case of attack by bears, mountain lions, other

  large predators, or criminals.

        271.   The   requirement   of   “continuous   possession”     for   grandfathered

  magazines prevents owners of affected firearms from engaging in safety training,

  repair, temporary loans for sporting purposes, and temporary loans for lawful self-

  defense. This self-defense prohibition flatly contradicts Heller and McDonald.

        272.   The ban on repair and the crippling of defensive instruction violates

  McDonald, which quoted with approval the Tennessee case of Andrews v. State, 50

  Tenn. 165 (1871), which in turn affirmed that the right to keep and bear arms

  includes the right to have firearms repaired and to practice their safe use. A law

  which impedes safe instruction and practice in the use of firearms (as HB 1224 and

  HB 1229 do) is subject to a heightened level of scrutiny which the Defendant cannot

  meet in this case. See Ezell v. Chicago, 651 F.3d 684, 708 (7th Cir. 2011) (enjoining

  municipal ban on gun ranges, the use of which are ancillary to the exercise of core

  Second Amendment rights).

        273.   HB 1224 is facially unconstitutional as a ban on common arms and

  accessories and as a ban on temporary transfers for self-defense.

        274.   Putting aside the facial unconstitutionality, if heightened scrutiny

  were to be applied, HB 1224 does not serve any legitimate governmental purpose,




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  let alone the “important” or “compelling” purpose which is necessary under

  heightened scrutiny. To the contrary, the chief House sponsor and the chief Senate

  sponsor of HB 1224 both stated, repeatedly, that the “only” purpose of magazines of

  more than 15 rounds was to kill a large number of people quickly. The fact that tens

  of millions of such magazines are owned by peaceable citizens – and that such

  magazines are chosen by many of the Plaintiff Sheriffs and their Deputies for

  saving lives and for the lawful defense of self and others – demonstrates beyond any

  doubt the falsity of the sponsors’ assertions.

        275.   Based on the statements of the sponsors themselves, HB 1224 is the

  product of animus – the invidious prejudice that is the quintessence of an

  illegitimate purpose. Romer v. Evans, 517 U.S. 620 (1996); Lawrence v. Texas, 539

  U.S. 558 (2003).

        276.   HB 1224’s ban on the very magazines which a vast number of Sheriffs,

  other law enforcement, and law-abiding citizens choose as the best tools for the

  lawful defense of self and others substantially harms public safety. The ban is

  therefore the opposite of a “necessary” or “substantial” relation to enhancing public

  safety.

        277.   HB 1229 is unconstitutionally overbroad. The 1971 Colorado Supreme

  Court case City of Lakewood v. Pillow, 501 P.2d 744 (Colo. 1972), addressed a

  similarly sweeping gun control ordinance. Citing United States Supreme Court

  precedent, the Pillow Court held that a law is unconstitutional if there are

  “activities . . . entirely free of any criminal culpability yet the ordinance in question




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  effectively includes them within its prohibitions.” 501 P.2d at 745 (citing

  Shuttlesworth v. Birmingham, 382 U.S. 87 (1965); Winters v. New York, 333 U.S.

  507 (1948)).

        278.     Under Pillow: “A governmental purpose to control or prevent certain

  activities, which may be constitutionally subject to state or municipal regulation

  under the police power, may not be achieved by means which sweep unnecessarily

  broadly and thereby invade the area of protected freedoms.” Id. at 745 (citing

  Zwickler v. Koota, 389 U.S. 241 (1967); Aptheker v. Secretary of State, 378 U.S. 500

  (1963); NAACP v. Alabama, 377 U.S. 288 (1964)).

        279.     Moreover: “Even though the governmental purpose may be legitimate

  and substantial, that purpose cannot be pursued by means that broadly stifle

  fundamental personal liberties when the end can be more narrowly achieved.” Id.

  (citing Aptheker, 378 U.S. 500; Shelton v. Tucker, 364 U.S. 479 (1960)).

        280.     Pillow has been followed by several other courts, including in cases

  analyzing excessively intrusive gun control statutes. E.g., Benjamin v. Bailey, 662

  A.2d 1226, 1234 (Conn. 1995); Junction City v. Mevis, 601 P.2d 1145, 1150 (Kan.

  1979); State ex rel. City of Princeton v. Buckner, 377 S.E.2d 139, 143 (W. Va. 1988).

        281.     If strict or intermediate scrutiny are applicable, Defendant must prove

  that HB 1224 and 1229 are “necessary” or have a “substantial” relation to a

  “compelling” or “important” government purpose. HB 1229, which in practice may

  be nearly impossible to comply with, has no necessary or substantial relation to

  anything. It bans temporary transfers for replacement guns for people whose guns




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  are being repaired for a week at the gunsmith, for hunters who go on a trip of more

  than 72 hours, for some persons who are being instructed in gun safety, and for

  some other persons who temporarily need guns for self-defense. This ban harms

  public safety rather than furthering it.

          282.   Sections 2-7 of HB 1229 contain various provisions for providing

  existing data to the FBI’s National Instant Criminal Background Check System,

  and revisions of related laws. Section 2-7 is severable from Section 1 of HB 1229,

  which discusses private temporary transfers and private sales. Section 1 is void in

  toto. To be even arguably constitutional, Section 1 of HB 1229 would have to contain

  temporary transfer exceptions which were deliberately excluded from the bill and

  would also have to set up a functional system of background checks for private sales

  which private individuals could reasonably use. Such language might be created by

  the legislature, but cannot be created by a court. A law covering the same subject as

  Section 1 of HB 1229 might be constitutional in some applications, but Section 1 of

  HB 1229 as written is unconstitutional.

  B.      The Bills Are Unconstitutionally Vague

          283.   The Due Process Clause of the Fourteenth Amendment prohibits

  statutes that are so vague that ordinary persons cannot readily determine whether

  their conduct might expose them to criminal penalties.

          284.   The long-established rule is that “the terms of a penal statue creating

  a new offense must be sufficiently explicit to inform those who are subject to it what

  conduct on their part will render them liable to its penalties is a well-recognized

  requirement . . . and a statute which either forbids or requires the doing of an act in



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  terms so vague that men of common intelligence must necessarily guess at its

  meaning and differ as to its application violates the first essential of due process of

  law.” Connally v. General Const. Co., 269 U.S. 385, 391 (1926). What conduct is

  lawful cannot be left to conjecture. “The crime, and the elements constituting it,

  must be so clearly expressed that the ordinary person can intelligently choose, in

  advance, what course it is lawful for him to pursue.” Id. at 393.

        285.   A statute is also unconstitutionally vague if it may result in arbitrary

  enforcement based on the personal predilections of individual law enforcement

  officers or jurisdictions. Vague statutes are subject to particularly rigorous scrutiny

  when they impact the exercise of constitutional rights.

        286.   The “continuous possession” and “designed to be readily convertible”

  provisions of HB 1224 are both vague, and both severable.

        287.   Any contention that HB 1224’s ban on all magazines “designed to be

  readily converted” somehow does not prohibit smaller magazines with a removable

  floor plate or end cap only highlights the defects in the bill. HB 1224 provides no

  definition of “readily converted,” and the fact is that the large majority of

  magazines can be converted to hold more than 15 rounds.

        288.   Conversions    to   magazines     using     aftermarket   extenders    are

  particularly easy to accomplish. Ordinary gun owners cannot be expected to monitor

  the vast world of aftermarket products in order to know whether an extender is

  currently commercially available for their magazines.




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         289.   If the “designed to be readily converted” language does not mean what

  the sponsor and the Governor said it did (a ban on all magazines with removable

  floor plates), the language is unconstitutionally vague. If the ban is somehow

  limited by the intent behind how the magazine was “designed,” then HB 1224 is

  unconstitutionally vague because citizens have no means to discern how a product

  was designed. Neither gun owners nor licensed firearms dealers nor law

  enforcement officers have a clear guide as to which small magazines are legal and

  which are not, and local law enforcement interpretations will inevitably vary.

         290.   HB 1224 is also vague in its ban on anything “capable of accepting . . .

  more than fifteen rounds of ammunition. Rifle cartridges of a particular diameter

  have varying lengths. For example, Uberti manufactures an exact replica of the

  1875 Colt Lightning pump action rifle. The tube magazine will accept 13 rounds in

  .357 magnum caliber. Cartridges in .38 caliber a fully usable in .357 firearm; the

  same Uberti rifle will also accept 18 rounds of .38 Special wadcutter ammunition.

  An owner of this Uberti rifle might think that he has a legal 13-round magazine;

  but in fact, such a rifle could be illegal under HB 1224. The ordinary gun owner

  plaintiffs, as well as plaintiffs involved in the firearms business, cannot tell whether

  such rifles are legal to sell or transfer after July 1, 2003.

         291.   HB    1224’s   unconstitutional    requirement    that   a   grandfathered

  magazine be in “continuous possession” of the owner mirrors similar language in

  HB 1229. Both bills had the same House of Representatives sponsor. HB 1229

  exempts from the background check requirement “(g) any temporary transfer that




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  occurs while in the continuous presence of the owner of the firearm.” Obviously, this

  means that the owner of the firearm must be present at all times in the exact place

  where the transferee is holding the gun. The requirement of “continuous presence”

  would obviously not be satisfied if the owner left for half an hour or for a few days.

  Accordingly, “continuous possession” is likewise broken if it is interrupted for half

  an hour or for a few days.

        292.   For the reasons stated in paragraphs 13-14, this is a direct violation of

  the Second Amendment. If any argument is offered that “continuous possession”

  means something else, the argument demonstrates that “continuous possession” is

  void for vagueness.

        293.   Governor Hickenlooper, when signing HB 1224 and 1229, promised

  that “guidance” would be created for their implementation. Such “guidance” is not

  legally binding on all state and local law enforcement officers and prosecutors

  throughout Colorado. Nor can there be any assurance that “guidance” which is

  written in one year will not be changed in a future year. To the extent that the

  guidance suggests that law enforcement refrain from enforcing the actual statutory

  language of HB 1224 and 1229 in certain situations, the guidance would amount to

  an admission that the actual text of those bills is an unconstitutional infringement

  of Second or Fourteenth Amendment rights.

                               FIRST CLAIM FOR RELIEF

   (HB 13-1224 – Violation of Second and Fourteenth Amendments Based on
              Prohibition of Magazines Larger Than 15 Rounds)

        294.   Paragraphs 1 through 202 are re-alleged and incorporated herein.




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        295.   HB 1224 was signed by Governor Hickenlooper on March 20, 2013. It

  explicitly prohibits all magazines with a capacity of larger than 15 rounds that are

  bought, sold or transferred after July 1, 2013.

        296.   Many common and popular firearms come standard with magazines

  with a capacity larger than 15 rounds.

        297.   Firearms with magazines larger than 15 rounds are in common use for

  exercising the fundamental right of self-defense, the “central component” of

  Plaintiffs’ Second Amendment rights.

        298.   Disabled persons, including the Disabled Plaintiffs, are at a particular

  disadvantage in exercising their right of self-defense because their physical

  infirmities or confinement to a wheelchair means they can less effectively defend

  themselves or their families with fewer available rounds of ammunition, and are

  unable to quickly and safely change magazines.

        299.   Firearms with magazines larger than 15 rounds are commonly used for

  other lawful purposes, including sport shooting and target shooting.

        300.   Plaintiffs will be unable to legally replace magazines that they owned

  prior to the effective date of HB 1224, as those magazines wear out, break, or are

  damaged.

        301.   The Plaintiffs Federal Firearm Licensees and Magpul will be unable to

  sell many popular magazines or sell firearms in their standard configuration as

  supplied by the manufacturers.




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        302.   Prohibition on a class of firearms or their accessories that are in

  common use for self-defense and other lawful purposes is specifically prohibited by

  the Second Amendment pursuant to Heller, and the incorporation of the Second

  Amendment right into the Fourteenth Amendment under McDonald.



                           SECOND CLAIM FOR RELIEF

   (HB 13-1224 – Violation of Second and Fourteenth Amendments Based on
        Prohibition of Magazines “Designed to Be Readily Converted”)

        303.   Paragraphs 1 through 211 are re-alleged and incorporated herein.

        304.   In addition to the explicit prohibition on all magazines larger than

  15 rounds, HB 1224 prohibits magazines of any size that are “designed to be readily

  converted” to hold more than 15 rounds.

        305.   Most magazines 15 rounds or smaller are manufactured with a

  removable floor plate (box magazines) or end cap (tube magazines) to facilitate

  maintenance and cleaning.

        306.   Magazines with a removable floor plate or end cap can be readily

  converted to hold more than 15 rounds. Even box magazines whose floor plate

  cannot be removed can be converted to hold more than 15 rounds, simply by duct

  taping two such magazines end to end.

        307.   HB 1224 bans magazines regardless of whether they actually have

  been converted to hold more than 15 rounds. A ten-round magazine is prohibited by

  HB 1224 even when it is used only by itself.




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          308.   Tens of millions of rifles and handguns in common use for self-defense

  and other lawful purposes use magazines of various sizes that contain removable

  floor plates or end caps.

          309.   Many common rifles and handguns will be rendered effectively useless

  by the magazine prohibition. Replacing a magazine after the effective date of the

  statue will be prohibited, even where an individual wishes to change to a smaller

  magazine. Especially for firearms that are not in current production, it may be

  impossible for citizens to obtain a replacement magazine that complies with HB

  1224.

          310.   The prohibition on most magazines puts disabled individuals,

  including the Disabled Plaintiffs, at particular risk because they will have far less

  ability to meaningfully defend themselves and their families, and far fewer firearms

  from which to choose.

          311.   A ban on the possession of a broad class of functional firearms, as

  specifically addressed by the Supreme Court in Heller, violates the Second

  Amendment as incorporated in the Fourteenth Amendment.


                               THIRD CLAIM FOR RELIEF

    (HB 12-1224 – Violation of Fourteenth Amendment Right to Due Process
     Based on Ambiguity of Language Regarding Magazines 15 Rounds or
                                    Smaller)

          312.   Paragraphs 1 through 220 are re-alleged and incorporated herein.

          313.   HB 1224 is unconstitutionally vague in violation of the Fourteenth

  Amendment right to Due Process.




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         314.   Plaintiffs cannot determine whether a magazine with a removable

  floor plate or end cap to facilitate maintenance and cleaning was “designed to be

  readily convertible” to hold more than 15 rounds. Plaintiffs cannot possibly know

  the intent of the designers of all the magazines for the firearms which Plaintiffs

  own.

         315.   Law enforcement officers, including the Plaintiff Sheriffs, likewise

  have no means to determine the intent of magazine designers. Enforcement of the

  provision will be difficult, if not impossible, and will result in differing

  interpretations of the meaning of HB 1224 in different jurisdictions.

         316.   Licensed firearms retailers are likewise unable to ascertain design

  intent, and therefore do not know which magazines can be sold without risk of

  criminal prosecution.

         317.   Because of the ambiguity in the language and the likelihood of

  inconsistent interpretation and enforcement, individuals are chilled in the exercise

  of their Second Amendment rights.

         318.   A statute that is so vague that a person cannot clearly determine what

  conduct may result in criminal prosecution, or that will result in inconsistent

  application, thereby chilling the exercise of another constitutional right, violates the

  Fourteenth Amendment guarantee of Due Process of law.




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                           FOURTH CLAIM FOR RELIEF

     (HB 12-1224 – Violation of the Second and Fourteenth Amendments;
    Requirement for “Continuous Possession” of Magazines Owned on the
                                Effective Date)

        319.   Paragraphs 1 through 227 are re-alleged and incorporated herein.

        320.   HB 1224 permits an individual to retain a magazine larger than

  15 rounds or any prohibited smaller magazine that was owned prior to the effective

  date of July 1, 2013, so long as the magazine remains in that individual’s

  “continuous possession.” The statute thus explicitly prohibits the sale or temporary

  transfer of such magazines.

        321.   The term “continuous possession” is undefined.

        322.   Most magazines are essential to the operation of a firearm. HB 1224

  prohibits any loan, even for a short period of time, of a firearm using a

  grandfathered magazine, including temporary loans among family members (such

  as allowing one’s spouse to use a firearm for self-defense – either while the owner is

  home, or while the owner is away from home), or loaning a magazine and the

  associated firearm to disabled neighbors or friends.

        323.   “Continuous possession” would also prohibit innocuous, routine

  bailments or breaks in the chain of custody of a grandfathered magazine, including

  leaving a magazine with neighbors or friends for safe storage while the owner is out

  of town, or sharing the magazine with another person who is also engaged in a

  shooting event in which the owner was participating.




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         324.   “Continuous possession” is undefined and vague, and owners of a

  magazine cannot clearly determine what is required of them to maintain

  “continuous possession” and what conduct may subject them to criminal penalties.

         325.   Law enforcement officials will and do find it impossible to enforce this

  provision because it is impossible to determine whether a magazine was in

  possession of the owner on the statute’s effective date. Law enforcement offices have

  limited resources, and no reasonable investigation can determine the chain of

  custody for every magazine.

         326.   Because the term “continuous possession” is undefined and vague,

  enforcement will be inconsistent and subject to local interpretation and the

  predilections of individual officers or offices.

         327.   HB 1224’s “continuous possession” requirement chills individuals’

  Second Amendment rights by subjecting them to the threat of criminal prosecution

  for routine, lawful sharing of firearms with covered magazines arising from varying

  interpretations of HB 1224 and inconsistent enforcement.

                              FIFTH CLAIM FOR RELIEF

     (HB 1224 and 1229 – Violation of the Americans With Disabilities Act)

         328.   Paragraphs 1 through 236 are re-alleged and incorporated herein.

         329.   Title II of the Americans With Disabilities Act (“ADA”) prohibits public

  entities from subjecting persons with disabilities to discrimination because of their

  disabilities. 42 U.S.C. § 12132.

         330.   States, including the State of Colorado, are included within the ADA

  definition of public entity. 42 U.S.C. § 12131(1)(A).



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           331.   Disabled individuals, including the Disabled Plaintiffs, are subject to

  discrimination by the prohibition on magazines in HB 1224 because they have far

  less ability to defend themselves than do able-bodied persons. Specifically, they are

  unable to change magazines as quickly, and unable to retreat to positions of safety

  where a magazine can be changed.

           332.   HB 1224 puts disabled persons in acute danger in the event of a home

  invasion or other confrontation requiring them to exercise their fundamental right

  to self-defense.

           333.   Persons with disabilities also routinely temporarily transfer firearms

  to one another and to and from persons who aid them in participation in shooting

  sports and self-defense.

           334.   HB 1229’s restrictions of such temporary transfers restrain persons

  with disabilities from engaging in conduct that is essential to the exercise of their

  Second Amendment rights.

           335.   The right to self-defense is a fundamental right under the Second

  Amendment, and is applied to the states through the Fourteenth Amendment. The

  ADA prohibits states from engaging in such discrimination against disabled

  persons, particularly where it prevents the meaningful exercise of a fundamental

  right.

                               SIXTH CLAIM FOR RELIEF

     (HB 13-12-1229 – Violation of the Second and Fourteenth Amendments
      Based on Restrictions of Firearms Sales and Temporary Transfers -
                                   Individuals)

           336.   Paragraphs 1 through 244 are re-alleged and incorporated herein.



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        337.      HB 1229 requires background checks prior to many temporary and

  non-commercial transfers of firearms between private individuals.

        338.      For example, the statute allows gifts or loans between some family

  members, but excludes many common family relationships, such as former spouses,

  other partners, stepchildren, and second cousins. Therefore, a person may not loan

  or give a firearm to a former spouse, even when the former spouse has temporary or

  permanent custody of the couple’s children and needs the firearm for protection of

  the children.

        339.      Similarly, many temporary transfers are limited to 72 hours.

  Therefore, no person may loan a gun for legitimate purposes for longer than three

  days, such as for a disabled person to use while participating in a hunting or a

  sanctioned shooting event; or for a week-long loan to an individual to keep in her

  home when she is criminally threatened but has not yet had time to go to a gun

  store and begin the process of waiting three days (or sometimes longer) for the

  Colorado Bureau of Investigation to approve her purchase of a retail gun.

        340.      The prohibition of non-commercial, temporary transfers is an

  infringement of the Second Amendment.

        341.      Because of the reluctance of home-based Federal Firearms Licensees to

  do business with strangers, and the reluctance of storefront FFLs to perform a $50

  service for the statutory maximum fee of $10, individuals who wish to sell or

  temporarily transfer firearms will find it impossible, or nearly so, to comply with

  HB 1229’s requirement to obtain the services of a FFL.




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          342.   In practice, therefore, HB 1229 amounts to a prohibition, rather than a

  regulation, of the covered sales and temporary transfers. As such, it is a violation of

  the Second Amendment right to bear arms, which includes the right to sell or

  temporarily transfer such arms.

                                 RELIEF REQUESTED

  Plaintiffs pray that this Court:

          A.     Enter a declaratory judgment that the provisions of House Bill 13-

  1224, to be codified at C.R.S. § 18-12-301, that prohibit the sale, transfer or

  possession of magazines with larger than a 15-round capacity are a violation of the

  Second and Fourteenth Amendments of the United States Constitution, and are

  therefore void.

          B.     Enter a declaratory judgment that the provisions of House Bill 13-

  1224, to be codified at C.R.S. §§ 18-12-301 et. seq., that ban the sale, transfer or

  possession of magazines of less than a 15-round capacity violates the Second and

  Fourteenth Amendments to the United States Constitution, and are therefore void.

          C.     Enter a declaratory judgment that the provision of House Bill 13-1224,

  to be codified at C.R.S. § 18-12-302, that requires continuous possession of

  magazines acquired before the effective date of the provision violates the Second

  and Fourteenth Amendments to the United States Constitution, and is therefore

  void.

          D.     Enter a declaratory judgment that the provision of House Bill 13-1224,

  to be codified at C.R.S. § 18-12-302, prohibiting the sale, transfer, or possession of

  magazines smaller than 15 rounds that are “designed to be readily converted to



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  accept more than 15 rounds” is vague, fails to give adequate notice of the conduct

  that may result in criminal penalties, may result in inconsistent enforcement, and

  prevents free exercise of Second Amendment rights in violation of Plaintiffs’ rights

  to Due Process of Law under the Fourteenth Amendment to the United States

  Constitution.

        E.     Enter a declaratory judgment that HB 1224 and HB 1229 violate Title

  II of the Americans With Disabilities Act.

        F.     Enter a declaratory judgment that HB 1229 violates the Second and

  Fourteenth Amendments to the United States Constitution, and is therefore void.

        G.     Issue preliminary and permanent injunctions enjoining Defendant

  John Hickenlooper and any officers, agents, and employees of the State of Colorado

  from administering or enforcing any provisions of HB 1224 and 1229 found to

  violate the United States Constitution or the Americans With Disabilities Act.

        H.     Award Plaintiffs attorneys’ fees and costs and grant other such relief

  as the Court deems proper.

        Dated this 1st 11th day of July December, 2013.




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  Respectfully submitted,


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                                      STATE PARK




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                                         Appendix

  Diagram A. Detachable box magazine

                                         This is a detachable box magazine for the Ruger
                                         Mini-14 rifle. Parts are as follows:

                                         32 = the shell. This is the box in which the
                                         ammunition is contained.

                                         28 = floor plate. Sometimes called the “magazine
                                         bottom,” “base plate,” or “foot plate”. This
                                         Complaint uses “floor plate.”

                                         29 = floor plate retainer. The retainer (29) holds
                                         the floor plate (28) onto the shell (32). There are
                                         many other ways to attach the floor plate to the
                                         magazine shell. For example, a pin might hold the
                                         floor plate in place; or the floor plate might fit into
                                         slots on the magazine shell.

                                         30 = spring. When the magazine is fully loaded,
                                         the spring is fully compressed. When the firing
                                         chamber in the gun is empty, the spring pushes
                                         upward, so that the top round of ammunition in the
                                         magazine is pushed into the firing chamber.

                                          31 = follower. The follower sits on top of the
                                          spring, and underneath the ammunition. It
  provides a solid base for seating of the ammunition. When the magazine is loaded,
  several rounds of ammunition sit in a vertical stack on top of follower. The follower is on
  top of the spring, and the spring sits on the floor plate.




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  Diagram B. Tube magazine.




  This is a schematic for the Remington Model 14. It is a pump-action rifle, first produced
  in 1912. The magazine parts are highlighted with color.

  49 = magazine tube, which contains the ammunition.

  44 = end cap. May also be called “magazine plug” or “removable plug.” Similar in
  function to the floor plate in the detachable box magazine. Can be removed for
  disassembly and cleaning of the magazine. Can be replaced by an extender, which
  increases the ammunition capacity of the magazine.




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  45 = end cap screw (a/k/a “magazine plug screw”). Holds the end cap onto the
  magazine tube, and holds the front of the assembled magazine onto the front of the rifle
  barrel.

  48 = spring. As ammunition is loaded into the magazine, the spring compresses. The
  spring is firmly seated on the end cap. After the shooter has fired a round by pressing
  the trigger, the user pumps the fore-end (35) forward and then back. This cycles the
  “action” of the pump-action gun, so that the empty shell is ejected from the firing
  chamber; then a fresh shell is pushed by the spring from the magazine and into the
  firing chamber.

  43 = magazine follower. Same function as the follower in the box magazine. The
  ammunition is stacked in a horizontal line, with one round of ammunition touching the
  follower. The spring pushes the follower, which pushes the ammunition.

  46 = magazine ring. Holds the middle of the magazine onto the middle of the rifle barrel.

  The back of the magazine tube has threads so that the tube can be screwed into
  connection with the action bar (1), which fits inside the “receiver” (9).




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                                      Exhibit C – Scott Wagner Deposition




                   1

  1 IN THE UNITED STATES DISTRICT COURT

              FOR THE DISTRICT OF COLORADO

  2

  3 Case No.: 13-CV-1300-MSK-MJW

  4 ----------------------------------------------------

  5           DEPOSITION OF SCOTT WAGNER

                   October 30, 2013

  6 ----------------------------------------------------

  7 JOHN B. COOKE, Sheriff of Weld County, Colorado, et

       al.,

  8

                       Plaintiffs,

  9 vs.

  10 JOHN W. HICKENLOOPER, Governor of the State of

       Colorado,

  11

                       Defendant.

  12 ----------------------------------------------------

  13 APPEARANCES:

  14 FOR THE PLAINTIFFS COLORADO STATE SHOOTING

       ASSOCIATION and FAMILY ENTERPRISES:




                                                                                                     1151
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  15

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  18

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  24

  25

                 2

  1       PURSUANT TO WRITTEN NOTICE, the

  2 deposition of SCOTT WAGNER, called for examination

  3 by the Plaintiffs, was taken in the conference room

  4 at the offices of the State of Colorado, Colorado

  5 Department of Law, 1300 Broadway, 6th Floor,

  6 Denver, Colorado, on the 30th day of October 2013,




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  7 at the hour of 9:06 a.m., before Laurie Heckman, a

  8 Notary Public in and for the State of Colorado and

  9 a Registered Professional Reporter.

  ...




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  21     A Correct.

  22        Q Okay.

  23        A The Section B, which would be the

  24 one, two, third paragraph, full paragraph, on page

  25 11, he describes capable accepting, in quotes, as a

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  1 problematic and impractical concept because it

  2 subjects firearms owners to criminal liability that

  3 may have been caused by the manufacturer if the

  4 magazine is unintentionally capable of holding more

  5 ammunition than the manufacturer specifies or that

  6 the user is able to recognize.

  7          Again, that's overgeneral. Some --

  8 some magazines you can put more rounds in than the

  9 indicator holes on the side of the magazine.

  10        Q Right.

  11        A But other magazines, that's not the

  12 case, and other magazines it's actually less. For




                                                                                                1153
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  13 instance, new Glock magazines, you can't, many

  14 times when you first get them, can't put the

  15 suggested amount in them because the springs are

  16 too tight and the fitting is too tight, things like

  17 that.

  18            So I think to -- to talk about that

  19 being impractical or problematic, you know, I could

  20 put too much gas in my gasoline tank too and have

  21 it spill out, and technically that's an EPA

  22 violation. That seems like that's grasping at

  23 straws and seems to be somewhat overgeneral.

  24         Q Well, I just want to get to the

  25 specifics on this. I'm just trying to see where

                   155

  1 the two of you agree and where you disagree.

  2          A Uh-huh.

  3          Q So if you have a 15 -- tell me if I

  4 characterize what you just said accurately. If you

  5 have a 15-round magazine, often it will hold 15

  6 rounds. Sometimes, because of differences in

  7 manufacturing tolerances for the spring or spring

  8 wear or whatever, it might hold 16. And also,

  9 alternatively, another 15-round magazine,

  10 especially a brand-new one, might only hold 14

  11 because the spring is so springy?




                                                                                                1154
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  12        A Correct.

  13        Q Okay.

  14           MR. FERO: Object to form.

  15        Q (By Mr. Kopel) Now, so tell me

  16 where -- so -- and I think my guess is if he were

  17 here, he would say the same thing factually we just

  18 agreed on. So tell me where the disagreement is.

  19        A Well, that's not what he says here.

  20 If he were here, he might say that, but that's

  21 not -- that's not what he's saying here. He's

  22 saying it's problematic and that this is an issue

  23 that will come up, and the implication is that it

  24 will be -- that it's impractical because it

  25 subjects owners to criminal liability, when, in

                 156

  1 fact, I think that's an overgeneral statement. I

  2 don't think that that's the case.

  3        Q Okay.

  4        A Okay.

  5        Q But that people would get prosecuted

  6 and convicted for that.

  7        A Correct.

  8        Q But you're in agreement with him

  9 that some amount of the time you can put 16 into a

  10 thing that's nominally 15?




                                                                                                1155
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  11        A Yes. Some of this -- I mean, some

  12 of this document exceeds what I believe I bring to

  13 the table as far as testimony and so forth.

  ...

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  20 Q So for the limiters you saw, tell me

  21 about the different types you saw.

  22        A I saw the fixed-in magazine from the

  23 manufacturer.

  24        Q Describe how that works, if you

  25 could.

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  1        A Well, they actually alter the shape

  2 of the magazine to limit its ability to be loaded

  3 with any more rounds than --

  4        Q And how do they do that?

  5        A Sometimes they'll machine in a set

  6 of ears to where the floor plate won't go any

  7 lower.

  8        Q Okay.

  9        A Or allow any more ammunition than 10

  10 rounds.

  11        Q Okay.

  12        A Or whatever the set was. At that

  13 time it was 10 rounds.




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  14       Q Can somebody open up the magazine

  15 and take a little hacksaw and take off the ears?

  16       A Sure.

  17       Q And the magazine would still

  18 function properly?

  19       A If they did a good job.

  20       Q Sure, okay. So we've got the

  21 machined-in ears. What's another way of limiting?

  22       A The follower in the magazine.

  23 Several manufacturers just made a longer follower.

  24 Instead of the follower being this thick, they

  25 added material to it to make it longer, so that

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  1 when the spring was compressed, the follower

  2 stopped the downward progression or the compression

  3 of the spring at 10 rounds.

  4        Q And are those easy to take out and

  5 just replace with a standardized follower?

  6        A Yeah, any work on a magazine is

  7 fairly easy.

  8        Q So we've got the machined ears,

  9 we've got the followers. What else?

  10       A And then baseplates that were -- the

  11 same way you can extend, make a baseplate

  12 extension, you could also make a baseplate limiter.




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  13 So you build the baseplate up and as it fits into

  14 the gun and then slides on, it's got some sort of a

  15 stoppage that keeps the magazine spring and the

  16 follower from going clear to the floor of the

  17 magazine.

  18       Q And is that something that's easy to

  19 switch out by just putting in a normal baseplate?

  20       A Yes.

  21       Q Okay. Baseplate, anti-extender or

  22 something?

  23       A A limiter.

  24       Q Okay. What other types of limiters

  25 did you have experience with?

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  1        A Those are pretty much it. There's

  2 just not a lot of other options, as far as -- as

  3 far as limiting the magazines but still keeping

  4 them the same so that they will work in the guns

  5 that they were designed to work in.

  6        Q Is there a way to make a limiter

  7 more permanent by, say, attaching it with a pin?

  8        A You could.

  9        Q And would it be easy to punch the --

  10 did you ever see one of those?

  11       A I never saw one from a manufacturer.




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  12        Q Okay.

  13        A I saw some people that tried to

  14 limit their magazine, their magazines to be

  15 compliant with competitions.

  16        Q Yeah.

  17        A But I never saw any -- I never saw

  18 any from the manufacturer that had a pin in them.

  19        Q And these were maybe not quite

  20 shade-tree gunsmiths but people who had some

  21 ability to work on their guns and they put it in?

  22        A Right.

  23        Q And was it something if you wanted

  24 to remove the limiter, you could take a punch and

  25 knock out the pin?

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  1         A Depending on how it was put in,

  2 yeah.

  3         Q Okay.

  4         A I've seen welded pins, I've seen

  5 driven pins, I've seen tight fit, or just the hole

  6 is just real tight for the pin to fit in. I forget

  7 what they call it, a compression fit, but not from

  8 manufacturers.

  9         Q Can you punch out a compression fit

  10 pin with a little effort?




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  11        A Yes.

  12            MR. FERO: Object to form.

  13        Q (By Mr. Kopel) If you -- how about

  14 welded, you saw people who actually welded a

  15 limiter into place?

  16        A Yes.

  17        Q And did they have a pin and then

  18 they welded the pin? Tell me how they did that.

  19        A I've seen it with pins. I've seen

  20 it with ears, on a steel magazine a weld in the

  21 ears inside the magazine, the body.

  22        Q Did you -- did you ever know of

  23 anybody, in your experience, know of gunsmiths who

  24 provided that as a service to people?

  25        A Gunsmiths will pretty much do

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  1 anything you ask them to do, so to say that -- if I

  2 walk in and hand a gunsmith the magazines, I can

  3 say, yeah, and he'll do that for me.

  4         Q But you didn't personally know of

  5 that?

  6         A It's not a service I ever saw listed

  7 on a web site or on a menu of services at their

  8 facility.

  9         Q Now, what if one of these guys who




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  10 had a welded magazine because he had to in 2003 and

  11 then the ban expired, what could he do to reverse

  12 the weld?

  13        A He could grind those off.

  14        Q And is that something a home guy can

  15 do?

  16           MR. FERO: Object to form.

  17        A Anybody with a dremel tool.

  18        Q (By Mr. Kopel) Okay.

  19        A Or, you know, if you want to do it

  20 right, or any other grinding tool.

  21        Q But, yeah, dremel -- well, could you

  22 explain what a dremel tool is?

  23        A It's a handheld grinder, a rotary

  24 tool, you put it in drill bits or grinders or

  25 stones or polishers or --

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  1        Q Okay. And how long do you think

  2 would it take to use the dremel tool to undo the

  3 weld?

  4        A A matter of minutes.

  5        Q Okay. Page 11, under Heading B, the

  6 second paragraph, at the end of that he says,

  7 "Prepackaged magazines often come in heat sealed

  8 blister packaging that does not allow casual access




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  9 prior to sale." Do you agree?

  10        A No.

  11        Q Elaborate.

  12        A Let's say, okay, often. I think

  13 that's an overgeneral statement. Sometimes they

  14 do, sometimes they don't. More often than not,

  15 they come in a clamshell fit case which can easily

  16 be opened and reclosed.

  17        Q By clamshell do you mean there's

  18 cardboard and then some plastic stuff that kind of

  19 goes around it and there's a lip, and then you can

  20 take it off the lip, remove the lip?

  21        A No, I'm talking about two pieces of

  22 plastic that are designed to fit together like

  23 Tupperware, only not that durable.

  24        Q Okay.

  25        A And that Glock manufacturers put

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  1 theirs in those, Smith & Wesson puts theirs in

  2 those, their extra magazines. I've also seen the

  3 plastic formed where the cardboard back slides into

  4 the plastic and slides out.

  5        Q That latter thing is what I was

  6 trying to describe. I'm not doing a good job.

  7        A I've seen them many ways, but to say




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  8 often is actually probably incorrect. You can go

  9 find both kinds out on the shelf. You can also

  10 find the kind that are packaged in a clear

  11 cellophane or plastic baggy with a cardboard piece

  12 at the top stapled to the bag.

  13        Q Would it be accurate to say that all

  14 the different forms you just described, including

  15 the heat sealed blister packaging, would each of

  16 them be common?

  17        A Yes.

  ...

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  11     Q Mr. Kopel was asking you about

  12 limiters. Do you recall that?

  13        A Yes.

  14        Q And I believe he was restricting it

  15 to what you'd seen and observed out in your

  16 experience?

  17        A Yes.

  18        Q You were talking about pins and

  19 different ways that limiters could be affixed

  20 within a magazine. Is that a fair

  21 characterization?

  22        A Yes.

  23        Q Okay. Is it possible to make -- to




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  24 permanently affix limiters to magazines?

  25        A Well, if you weld a pin, that's a

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  1 pretty permanent -- anything can be altered.

  2        Q Okay.

  3        A So if you were to put one in, and I

  4 guess you could epoxy one into a -- something.

  5 Anything is possible, but to get it out, then you

  6 would have to destroy the magazine or it would not

  7 be removable. But I would think that you could

  8 pretty much remove anything if you have the right

  9 tools and enough desire to take it out.

  10        Q When you were talking about using a

  11 dremel tool, for example, to break the welds, do

  12 you recall that?

  13        A Yes.

  14        Q How long would that take?

  15        A A couple of minutes.

  16        Q But you would need a power supply?

  17        A Oh, a power supply and a dremel tool

  18 with the right tip and gear and a little bit of

  19 know-how.

  20        Q Are there ways that limiters are

  21 secured that would take longer to sort of break or

  22 alter?




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  23       A Yes.

  24       Q Than just a couple minutes?

  25       A If you epoxyed one in, you'd have a

                   189

  1 much more difficult time getting it out.

  2        Q Have you had experience with that?

  3        A No.

  4        Q Do you have any knowledge as to how

  5 long it would take to break the epoxy seal or

  6 remove it?

  7        A Just, I can guesstimate it just

  8 because I've worked on other things that were

  9 epoxyed, but as far as attack on an epoxyed limiter

  10 in a magazine, I've never done that.

  11       Q What would your estimate be, based

  12 on your experience?

  13       A Well, probably close to 30 minutes

  14 to get it out and clean it up to where it was

  15 functional.

  16       Q What kind of equipment would you

  17 need or materials?

  18       A A dremel tool with a number of

  19 different tips. You might be able to do it with

  20 a -- some sort of a saw or Sawzall, or something

  21 like that. There's any number of tools that you




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  22 could cut with or grind with to get that -- to get

  23 something that was epoxyed out.

  ...

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  11 Q Mr. Wagner, do you recall when

  12 Mr. Kopel was asking you on page 11 of Mr. Shain's

  13 report about somehow fitting 16 bullets in a

  14 15-round magazine?

  15        A Yes.

  16        Q Can you give a specific example of a

  17 magazine that is marked for 15 rounds that you know

  18 and you've tried or you've seen will accept another

  19 bullet?

  20        A A lot of the after-markets are

  21 quickly thrown together, and they're not as high

  22 quality and they will sometimes accept a 16th round

  23 or won't accept a 15th round if they're marked 15,

  24 either side of that, just because of manufacturing

  25 differences and the tolerances. I specifically

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  1 have seen Mecgar magazines. Mecgar is an

  2 after-market manufacturer and they consistently

  3 will hold one more than what they're currently

  4 marked for.

  5            MR. KOPEL: Could you spell Mecgar?




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  6        A M-e-c-g-a-r. There are a number of

  7 .22 semiautomatic magazines out on the market. I'm

  8 trying to think of the name. There's a

  9 manufacturer that makes .22 magazines, and they're

  10 everything from drums to long sticks to flippers,

  11 and they regularly will hold one or two or

  12 sometimes even three more than what they're -- what

  13 the packaging says that they'll hold.

  14       Q (By Mr. Fero) Just for purposes of

  15 right now, if you think about that Mecgar magazine

  16 that you were talking about, do you have any

  17 concerns as to the quality of those magazines?

  18       A Oh, absolutely.

  19       Q What is that?

  20       A Any after-market magazine is going

  21 to be less quality probably than what the gun comes

  22 with from a reliable manufacturer, from a reputable

  23 manufacturer, such as Smith, Colt, Glock, Sig,

  24 those kind of things. The reason that they have a

  25 market for those is magazines are expensive, and so

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  1 after-market magazines tend to be, you know,

  2 slightly shorter or lesser value, lesser quality

  3 than what you would get when you would buy the

  4 name-brand magazine for the weapon. So that's




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  5 their appealability on the market. And so because

  6 they're cheaper, they tend to be less quality; and

  7 because they tend to be less quality, they tend to

  8 not be as reliable, they tend to be not as useable

  9 as what the gun comes with.

  10        Q Do you have any knowledge as to

  11 whether Mecgar, those magazines were designed by

  12 the -- by Mecgar to accept an additional bullet

  13 than what they marked on the side of the magazine?

  14        A No, they're not.

  15        Q Why do you say that?

  16        A Because if they were, they would put

  17 that on there. That's also a selling point. If

  18 you can make a magazine that will hold 16

  19 consistently, then you would put on the packaging

  20 it holds 16, because that's a selling point. So

  21 they're not intentionally doing that. If they

  22 drill 15 cycles so that you can see it's a fully

  23 loaded magazine, that's what they are intended for

  24 it to be. And if it happens to hold 16, well,

  25 that's a bonus. I think it's going to hurt

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  1 reliability in the long-run, but if they had

  2 intended it to be that, they would have drilled 16

  3 holes or 17, or whatever it was they intentionally




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  4 made it to produce.

  5       Q Why do you say that's a marketing

  6 point?

  7       A Because people want more capacity in

  8 their guns. There's a reason for double-stack

  9 versus single-stack. That's why the technology

  10 went to the double-stackability.




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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

  Civil Action No. 13-cv-1300-MSK-MJW

  JOHN B. COOKE, Sheriff of Weld County, et al.,

  Plaintiffs

  v.

  JOHN W. HICKENLOOPER, Governor of the State of Colorado,

  Defendant.

   GOVERNOR’S RESPONSES TO FEDERAL LICENSED FIREARMS DEALERS,
   MAGPUL INDUSTRIES, COLORADO STATE SHOOTING ASSOCIATION, AND
    HAMILTON FAMILY ENTERPRISES FIRST SET OF INTERROGATORIES,
     REQUESTS FOR ADMISSION, AND REQUESTS FOR PRODUCTION OF
                           DOCUMENTS

        Defendant John W. Hickenlooper, in his official capacity as Governor of the
  State of Colorado, by and through undersigned counsel, hereby submits his
  responses to the interrogatories, requests for admission, and requests for production
  propounded by the Plaintiff federal licensed firearms dealers, Magpul Industries,
  Colorado State Shooting Association, and Hamilton Family Enterprises.

                                 AUTHENTICATION

         The names and positions of each and every person who assisted in answering
  these requests for admission are as follows:

         (a) Kathleen Spalding, Senior Assistant Attorney General
         (b) Stephanie Scoville, Senior Assistant Attorney General
         (c) Matthew Grove, Assistant Attorney General
         (d) Jack Finlaw, Chief Legal Counsel, Office of the Governor


                      GENERAL OBJECTIONS AND RESPONSES

        The Governor makes the following general objections and responses to the
  non-profit and individual Plaintiffs’ first set of requests for admission:




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        1.     The Governor objects to each Discovery Request to the extent that it:

               (a) is overly broad and/or unduly burdensome;
               (b) is vague, ambiguous, and/or fails to describe with reasonable
                   particularity the information sought;
               (c) seeks information that exceeds the scope of, or is inconsistent with
                   permissible discovery;
               (d) seeks information that is neither relevant to the subject matter of
                   this action, nor reasonably calculated to lead to the discovery of
                   admissible evidence; and/or
               (e) contains undefined terms which are ambiguous and/or prejudicial.

         2.     The above-captioned written discovery requests do not, by their terms,
  exclude privileged or protected communications from production. The Governor
  therefore objects to each discovery request to the extent that it seeks the disclosure
  of any information that is privileged or protected for any reason, including but not
  limited to information protected by the attorney-client privilege, the work product
  doctrine, the deliberative process privilege, and any other applicable privileges or
  protections.

          3.    The Governor objects to each request for admission to the extent it
  seeks the disclosure of information gathered and/or documents prepared by or for
  the Governor or the Governor’s attorneys in anticipation of litigation or in
  preparation for trial that contains or discloses the theories, mental impressions, or
  litigation strategy of the Governor’s attorneys.

         4.     The Governor objects to each request for admission to the extent it
  requests information not in the Governor’s possession, custody or control. The
  Governor further objects to each request for admission to the extent that it seeks
  information in the possession, custody, or control of others. More specifically,
  Plaintiffs purport to define the terms “you,” “your” and “defendant” to include all
  persons and departments within the executive branch of Colorado state
  government. This definition inaccurately reflects the scope of this litigation.
  Plaintiffs have sued the Governor in his official capacity. The Court has recognized
  that for the purposes of this litigation, the Governor’s Office does not include either
  executive departments or the thousands of state employees who work in those
  departments. The Governor objects to the definition of “you,” “your,” and
  “defendant” to the extent that the definition purports to require the disclosure of




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  information or documents from entities or persons who are not within the
  Governor’s Office and not within the custody or control of the Governor’s Office.

         5.     The Governor objects to each request for admission to the extent it
  seeks the disclosure of any confidential information, and will seek an appropriate
  protective order prior to disclosing any such information (to the extent that the
  current protective order does not encompass such information). However, attorney-
  client privileged communications and work product will not be disclosed.

         6.    The Governor responds to the instant discovery requests as required
  by the Federal Rules of Civil Procedure and applicable case law. The Governor
  therefore objects to each request for admission to the extent it seeks to impose
  obligations on the Governor other than those authorized by the Federal Rules of
  Civil Procedure and applicable case law. Any purported instructions, definitions,
  requirements, or requests to the contrary are disregarded.

        7.     By disclosing information and/or materials responsive instant
  discovery requests, the Governor does not stipulate or otherwise admit that any
  such information and/or materials is authentic, relevant, or admissible. The
  Governor expressly reserves all objections to the admission of such information
  and/or materials as provided by the rules of procedure and evidence.

         8.    The Governor’s general objections and responses to the instant
  discovery requests shall be deemed continuing as to each Discovery Request and are
  not waived or in any way limited by the following specific objections and responses
  to each request for admission. Further, the Governor’s general objections and
  responses shall be deemed incorporated into the following specific objections and
  responses to each request for admission.

          9.    The Governor’s responses to the instant discovery requests are based
  upon information presently available and specifically known to the Governor in his
  official capacity. The Governor is aware of his obligation under Fed.R.Civ.P. 26(e),
  and consistent therewith, will timely supplement any specific response with
  additional or corrective information if the Governor learns that in some material
  respect the original response was incomplete or incorrect.

        10.     Defendant objects to Plaintiffs’ interrogatories to the extent they
  request all facts or information upon which Defendant may rely. Defendant’s




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  responses are made subject to the ongoing discovery and trial preparation in this
  case and are based on the best information presently available.


                 SPECIFIC OBJECTIONS AND RESPONSES TO
             INTERROGATORIES, REQUESTS FOR ADMISSION, AND
                       REQUESTS FOR PRODUCTION

  Interrogatory 1: Are you aware of any occasions since 1993 to present, when
  individuals, law enforcement agencies, courts, or any other person or organization
  has violated or taken action contrary to a Technical Guidance, including any
  Guidance issued to clarify or provide an interpretation of Colorado legislation,
  regardless of whether it was styled “Technical Guidance” (hereinafter “Guidance”)
  including but not limited to the Guidances issued relating to HB 1224 and HB
  1229? If so, please describe:

        (a) The Guidance that was violated;
        (b) The date of the violation;
        (c) The events and circumstances surrounding the violation; and
        (d) How the violation was addressed by the Governor, Colorado Attorney
        General, law enforcement agencies, and/or other individual(s).

         Objection: Defendant objects to this Interrogatory on the ground that it
  seeks twenty years of data, the majority of which predate Defendant’s
  administration, and therefore is overbroad, unduly burdensome and oppressive, and
  not reasonably calculated to lead to the discovery of admissible evidence.
  Defendant also objects to this Interrogatory on the ground that it seeks information
  relating to “individuals, law enforcement agencies, courts, or any other person or
  organization,” and therefore, is overbroad, unduly burdensome and oppressive, and
  not reasonably calculated to lead to the discovery of admissible evidence.
  Defendant similarly objects to this Interrogatory on the ground that it asks “How
  the violation was addressed by the Governor, Colorado Attorney General, law
  enforcement agencies, and/or other individual(s)” and therefore, is overbroad,
  unduly burdensome and oppressive, and not reasonably calculated to lead to the
  discovery of admissible evidence. Defendant further objects to this Interrogatory on
  the ground that a request for information relating to “any other person or
  organization” or “other individual(s)” is too vague and ambiguous to permit a
  meaningful response, and is also overbroad and unduly burdensome and oppressive.




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         Response: Subject to and without waiving the foregoing general and specific
  objections, the Governor is aware of no such occasions during his administration.

  Request for Production 1: Produce any and all documents utilized in answering
  Interrogatory 1.

         Objection: The Governor hereby incorporates the objections to Interrogatory
  1.

         Response: The Governor has no documents responsive to this request.


  Interrogatory 2: Identify every instance in which any Colorado Governor,
  Colorado Attorney General, or anyone at their direction, has issued Guidance since
  1993 to present.

         Objection: Defendant objects to this Interrogatory on the ground that it
  seeks twenty years of data, the majority of which predate Defendant’s
  administration, and therefore is overbroad, unduly burdensome and oppressive, and
  not reasonably calculated to lead to the discovery of admissible evidence.
  Defendant also objects to this Interrogatory on the ground that it seeks information
  relating to “any Colorado Governor, Colorado Attorney General, or anyone at their
  direction” and therefore, is overbroad, unduly burdensome and oppressive, and not
  reasonably calculated to lead to the discovery of admissible evidence. Defendant
  further objects to this Interrogatory on the ground that a request for information
  relating to “anyone at their direction” is too vague and ambiguous to permit a
  meaningful response, and is also overbroad and unduly burdensome and oppressive.
  The Governor objects further because this interrogatory seeks information that is
  subject to the attorney-client privilege, work product privilege, and deliberative
  process privilege, and because it seeks information outside the custody and control
  of the Governor’s office.

         Response: Subject to and without waiving the foregoing general and specific
  objections the Governor’s office has not issued any Technical Guidance during the
  current administration. Consistent with the Governor’s signing statement, the
  Attorney General issued Technical Guidance concerning HB 1224 on May 17, 2013,
  and July 10, 2013. The Governor has no knowledge of whether previous
  administrations or other state agencies have issued Technical Guidance on any
  occasion since 1993.




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  Request for Production 2: Produce any and all documents related to any
  Guidance identified in your response to Interrogatory 2, including copies of the
  Guidance.

         Objection: The Governor hereby incorporates the objections to Interrogatory
  2.

        Response: The Governor’s signing statement for HB 1224 and the Technical
  Guidance letters of May 17 and July 10, 2013, are submitted herewith. To the
  extent that Request for Production 2 seeks documents that are subject to the
  attorney-client privilege, work product privilege, deliberative process privilege, or
  any other applicable privilege, such documents will not be produced.


  Interrogatory 3: Identify any and all occasions when a Guidance has been
  modified, removed, or altered, as well as the occasions when more than one
  Guidance has been issued for the same legislation.

         Objection: This interrogatory is not reasonably calculated to lead to the
  discovery of admissible evidence. Because there is no temporal limitation on this
  interrogatory, it is also overbroad, unduly burdensome and oppressive, and not
  reasonably calculated to lead to the discovery of admissible evidence.

        Response: The Governor’s office has no knowledge of an occasion upon which
  “a Guidance has been modified, removed, or altered” during his administration, and
  is aware of only one occasion during his administration upon which “more than one
  Guidance has been issued for the same legislation.” The Attorney General’s office
  issued two Technical Guidance letters relating to HB 1224.


  Request for Production 3: Produce any and all documents related to any
  Guidances identified in your response to Interrogatory 3, including copies of the
  Guidance.

         Objection: The Governor hereby incorporates the objections to Interrogatory
  3.

         Response: The Governor’s signing statement for HB 1224 and the Technical
         Guidance letters of May 17 and July 10, 2013, are submitted herewith. To
         the extent that Request for Production 2 seeks documents that are subject to
         the attorney-client privilege, work product privilege, deliberative process
         privilege, or any other applicable privilege, such documents will not be
         produced.




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  Interrogatory 4: Identify any and all alleged governmental interests served by HB
  1224’s 15-round limitation on the capacity of magazines and describe in detail how
  the 15-round limitation serves or addresses that interest.

         Objection: This interrogatory is an overly broad and unduly burdensome
  “blockbuster” interrogatory. See, e.g., Bat v. A.G. Edwards & Sons, Inc., 2005 U.S.
  Dist LEXIS 47995, 2005 WL 6776838, *6-7 (D. Colo. 2005) (holding interrogatory
  that seeks “each and every fact” supporting party’s position “overbroad and
  burdensome on its face”). It is also a premature contention interrogatory.

        Response: Subject to and without waiving the foregoing general objections,
  the governmental interests served by HB 1224 are the protection of public safety
  and public health. The manner in which limiting magazine size achieves that
  governmental interest is, without limitation, identified in the following documents:

     •   The expert report of Jeffery Zax, Ph.D., submitted August 2, 2013, and
         publications cited therein.
     •   The supplemental expert report of Jeffery Zax, Ph.D., submitted September
         13, 2013, and publications cited therein.
     •   The rebuttal expert report of Douglas S. Fuchs, submitted September 6, 2013,
         and publications cited therein.
     •   The rebuttal expert report of John Cerar, submitted September 5, 2013, and
         publications cited therein.
     •   Legislative history for H.B. 1224.
     •   Testimony of Laurence Tribe before the Senate Judiciary Committee,
         February 2013.
     •   Christopher S. Koper, An Updated Assessment of the Federal Assault
         Weapons Ban: Impacts on Gun Markets and Gun Violence, 1994-2003, Report
         to the National Institute of Justice, June 2004.
     •   Christopher S. Koper, America’s Experience with the Federal Assault
         Weapons Ban, 1994-2004, Key Findings and Implications, in Reducing Gun
         Violence in America, D. Webster and J. Vernick, eds., Johns Hopkins
         University Press (2013).
     •   David S. Fallis and James V. Grimaldi, In Virginia, High-Yield Clip Seizures
         Rise, Washington Post, January 23, 2011, page A-1.
     •   David S. Fallis, High-capacity magazines saw drop during ban, data indicate,
         Washington Post, January 13, 2013, page A-4.
     •   Richmond T, Branas C, Cheney R, Schwab C. The case for enhanced data
         collection of gun type. J Trauma, 2004; 57(6):1356-1360.
     •   Reedy DC, Koper CS. Impact of handgun types on gun assault outcomes: a
         comparison of gun assaults involving semiautomatic pistols and revolvers.
         Inj. Prev., 2003; 9(2):151-155.
     •   Firearm Injury in the U.S., Firearm & Injury Center at Penn (Version 2011).




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       •   Wintemute GJ. The relationship between firearm design and firearm
           violence. Handguns in the 1990s. JAMA, 1996; 275(22):1749-53.
       •   Gotsch KE, Annest JL, Mercy JA, Ryan GW. Surveillance for fatal and
           nonfatal firearm-related injuries—United States, 1993-1998. MMWR, 2001;
           50(SS-2): 1-34.
       •   Hargarten SW, Karlson TA, O’Brien M, Hancock J, Quebbeman E.
           Characteristics of firearms involved in fatalities. JAMA, 1996; 275(1):42-5.

  Request for Production 4: Provide any and all documents, information, or other
  evidence that supports your claimed governmental interests outlined in your
  response to Interrogatory 4.

           Objection: The Governor hereby incorporates the objections to Interrogatory
  4.

         Response: Subject to and without waiving the foregoing specific and general
  objections, copies of the documents identified in response to Interrogatory 4 have
  either been previously disclosed or are provided herewith.

  Request for Admission 1: Admit that HB 1224’s 15-round limitation on the
  capacity of magazines is not narrowly tailored and/or substantially related to meet
  the governmental interests you identified in Interrogatory 4.

         Objection: In the event that a trial is necessary, and assuming that a fifteen-
  round limit on magazine capacity implicates Second Amendment protections at all,
  the Governor will not bear the burden of demonstrating that HB 1224 is “narrowly
  tailored and/or substantially related” to the government’s interest in ensuring
  public safety and public health because HB 1224 does not impose any burden on
  core Second Amendment protections, much less a severe burden.

           Response: Denied.

  Interrogatory 5: If you deny Request for Admission 1, explain the basis for your
  denial and identify any and all evidence you intend to use at trial to establish that
  HB 1224’s 15-round limitation on the capacity of magazines is narrowly tailored
  and/or substantially related to meet the governmental interests you identified in
  response to Interrogatory 4.

         Objection: This interrogatory is an overly broad and unduly burdensome
  “blockbuster” interrogatory. See, e.g. Bat v. A.G. Edwards & Sons, Inc., 2005 U.S.
  Dist LEXIS 47995, 2005 WL 6776838, *6-7 (D. Colo. 2005) (holding interrogatory
  that seeks “each and every fact” supporting party’s position “overbroad and
  burdensome on its face”). It is also a premature contention interrogatory. In the




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  event that a trial is necessary, and assuming that a fifteen-round limit on magazine
  capacity implicates Second Amendment protections at all, the Governor will not
  bear the burden of demonstrating that HB 1224 is “narrowly tailored and/or
  substantially related” to the government’s interest in ensuring public safety and
  public health because HB 1224 does not impose any burden on core Second
  Amendment protections, much less a severe burden.

         Response: Subject to and without waiving the foregoing general and specific
  objections, there is, at a minimum, a substantial relationship between the magazine
  capacity limit and the state’s interest in ensuring public safety and public health.
  This relationship will be demonstrated through the expert testimony of Jeffery Zax,
  Douglas Fuchs, and John Cerar, whose conclusions are outlined in their previously
  disclosed expert and rebuttal reports. The expert testimony will be supported by
  extensive testimony from civilians, witnesses associated with law enforcement, and
  the submission of various studies relating to the allegations in the complaint.

  Request for Production 5: Provide any and all documents, information,
  legislative records, or other materials and evidence that supports your response to
  Interrogatory 5.

        Objection: The Governor hereby incorporates the objections to Interrogatory
  5 and RFA 1.

         Response: Subject to and without waiving the foregoing general and specific
  objections, see the documents identified and provided in response to Interrogatory 4
  and RFP 4.

  Interrogatory 6: Identify any and all alleged governmental interests served by HB
  1224’s prohibition of magazines “designed to be readily converted” to hold greater
  than 15 rounds and describe in detail how the prohibition serves or addresses that
  interest.

         Objection: This interrogatory is an overly broad and unduly burdensome
  “blockbuster” interrogatory. See, e.g. Bat v. A.G. Edwards & Sons, Inc., 2005 U.S.
  Dist LEXIS 47995, 2005 WL 6776838, *6-7 (D. Colo. 2005) (holding interrogatory
  that seeks “each and every fact” supporting party’s position “overbroad and
  burdensome on its face”). It is also a premature contention interrogatory.

        Response: See Response to Interrogatory 4.




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  Request for Production 6: Provide any and all documents, information, or other
  evidence that supports your claimed governmental interests outlined in your
  response to Interrogatory 6.

          Objection: The Governor hereby incorporates the objections to Interrogatory
  6.

          Response: See Response to RFP 4.

  Request for Admission 2: Admit that HB 1224’s prohibition of magazines
  “designed to be readily converted” to hold greater than 15 rounds is not narrowly
  tailored and/or substantially related to meet the governmental interests you
  identified in response to Interrogatory 6.

         Objection: In the event that a trial is necessary, and assuming that a fifteen-
  round limit on magazine capacity implicates Second Amendment protections at all,
  the Governor will not bear the burden of demonstrating that HB 1224 is “narrowly
  tailored and/or substantially related” to the government’s interest in ensuring
  public safety and public health because HB 1224 does not impose any burden on
  core Second Amendment protections, much less a severe burden.

          Response: Denied.

  Interrogatory 7: If you deny Request for Admission 2, explain the basis for your
  denial and identify any and all evidence you intend to use at trial to establish that
  HB 1224’s prohibition of magazines “designed to be readily converted” to hold
  greater than 15 rounds is narrowly tailored and/or substantially related to meet the
  governmental interests you identified in response to Interrogatory 6.

         Objection: This interrogatory is an overly broad and unduly burdensome
  “blockbuster” interrogatory. See, e.g. Bat v. A.G. Edwards & Sons, Inc., 2005 U.S.
  Dist LEXIS 47995, 2005 WL 6776838, *6-7 (D. Colo. 2005) (holding interrogatory
  that seeks “each and every fact” supporting party’s position “overbroad and
  burdensome on its face”). It is also a premature contention interrogatory. In the
  event that a trial is necessary, and assuming that a fifteen-round limit on magazine
  capacity implicates Second Amendment protections at all, the Governor will not
  bear the burden of demonstrating that HB 1224 is “narrowly tailored and/or
  substantially related” to the government’s interest in ensuring public safety and
  public health because HB 1224 does not impose any burden on core Second
  Amendment protections, much less a severe burden.




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         Response: Subject to and without waiving the foregoing general and specific
  objections, magazines that are “designed to be readily converted” to hold more than
  fifteen cartridges implicate the same public safety and health concerns as
  magazines that hold more than fifteen cartridges. See Response to Interrogatory 5.

  Request for Production 7: Provide any and all documents, information,
  legislative records, or other materials and evidence that supports your response to
  Interrogatory 7.

          Objection: The Governor hereby incorporates the objections to Interrogatory
  7.

         Response: Subject to and without waiving the foregoing general and specific
  objections, see the documents identified and provided in response to Interrogatory 4
  and RFP 4.

  Interrogatory 8: Identify any and all alleged governmental interests served by HB
  1224’s continuous possession clause and describe in detail how the clause serves or
  addresses that interest.

         Objection: This interrogatory is an overly broad and unduly burdensome
  “blockbuster” interrogatory. See, e.g. Bat v. A.G. Edwards & Sons, Inc., 2005 U.S.
  Dist LEXIS 47995, 2005 WL 6776838, *6-7 (D. Colo. 2005) (holding interrogatory
  that seeks “each and every fact” supporting party’s position “overbroad and
  burdensome on its face”). It is also a premature contention interrogatory.

         Response: Subject to and without waiving the foregoing general and specific
  objections, HB 1224’s “continuous possession” requirement, as construed by the May
  17, 2013 and July 10, 2013 Technical Guidance documents, provides that the owner
  of a grandfathered LCM must maintain dominion or control of the magazine in
  order to maintain its grandfathered status.

  Request for Production 8: Provide any and all documents, information, or other
  evidence that supports your claimed governmental interests outlined in your
  response to Interrogatory 7.

          Objection: The Governor hereby incorporates the objections to Interrogatory
  7.




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         Response: Subject to and without waiving the foregoing general and specific
  objections, see the documents identified and provided in response to Interrogatory 4
  and RFP 4.

  Request for Admission 3: Admit that HB 1224’s continuous possession clause is
  not narrowly tailored and/or substantially related to meet the governmental
  interests you identified in response to Interrogatory 8.

          Objection: In the event that a trial is necessary, and assuming that a
  fifteen-round limit on magazine capacity implicates Second Amendment protections
  at all, the Governor will not bear the burden of demonstrating that HB 1224 is
  “narrowly tailored and/or substantially related” to the government’s interest in
  ensuring public safety and public health because HB 1224 does not impose any
  burden on core Second Amendment protections, much less a severe burden.

        Response: Denied.

  Interrogatory 9: If you deny Request for Admission 3, explain the basis for your
  denial and identify any and all evidence you intend to use at trial to establish that
  HB 1224’s continuous possession clause is narrowly tailored and/or substantially
  related to meet the governmental interests you identified in response to
  Interrogatory 8.

         Objection: This interrogatory is an overly broad and unduly burdensome
  “blockbuster” interrogatory. See, e.g. Bat v. A.G. Edwards & Sons, Inc., 2005 U.S.
  Dist LEXIS 47995, 2005 WL 6776838, *6-7 (D. Colo. 2005) (holding interrogatory
  that seeks “each and every fact” supporting party’s position “overbroad and
  burdensome on its face”). It is also a premature contention interrogatory.
  Assuming that a fifteen-round limit on magazine capacity implicates Second
  Amendment protections at all, the Governor will not bear the burden of
  demonstrating that HB 1224’s continuous possession clause is “narrowly tailored
  and/or substantially related” to the government’s interest in ensuring public safety
  and public health because HB 1224 does not impose any burden on core Second
  Amendment protections, much less a severe burden.

         Response: Subject to and without waiving the foregoing general and specific
  objections, in the event that a trial is necessary, there is, at a minimum, a
  substantial relationship between the continuous possession requirement, as
  interpreted by the Technical Guidance issued on May 17, 2013, and July 10, 2013,
  and the state’s interest in ensuring public safety and public health. In short, the
  continuous possession requirement is necessary to safeguard the integrity of the




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  grandfather clause and to ensure that grandfathered magazines will not be
  transferred. This relationship will be demonstrated through the expert testimony of
  Jeffery Zax, Douglas Fuchs, and John Cerar, whose conclusions are outlined in their
  previously disclosed expert and rebuttal reports. The expert testimony will be
  supported by extensive testimony from civilians, witnesses associated with law
  enforcement, and the submission of various studies relating to the allegations in the
  complaint.

  Request for Production 9: Provide any and all documents, information,
  legislative records, or other materials and evidence that supports your response to
  Interrogatory 9.

          Objection: The Governor hereby incorporates the objections to Interrogatory
  9.

         Response: Subject to and without waiving the foregoing general and specific
  objections, see the documents identified and provided in response to Interrogatory 4
  and RFP 4.

  Interrogatory 10: Identify and any all alleged governmental interests served by
  HB 1229’s restriction of firearms sales and temporary transfers between
  individuals, and describe in detail how the restrictions serve or address those
  interests.

         Objection: This interrogatory is an overly broad and unduly burdensome
  “blockbuster” interrogatory. See, e.g. Bat v. A.G. Edwards & Sons, Inc., 2005 U.S.
  Dist LEXIS 47995, 2005 WL 6776838, *6-7 (D. Colo. 2005) (holding interrogatory
  that seeks “each and every fact” supporting party’s position “overbroad and
  burdensome on its face”). It is also a premature contention interrogatory.

          Response: HB 1229 does not place “restriction[s]” on firearms sales. It has
  always been illegal for an individual who is prohibited by law from owning or
  possessing a firearm to purchase one. HB 1229 does not extend these prohibitions,
  but instead extends existing background check requirements to private sales in an
  effort to ensure compliance with already-existing state and federal prohibitions on
  firearm ownership and possession. There are many exceptions to HB 1229’s
  background check requirement that amply protect any Second Amendment rights
  that may be affected by the expansion of the background check requirement,
  including, without limitation, among family members, temporary transfers within
  the home, while hunting, and for any reason for a period of up to 72 hours.




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         Universal background check requirements enhance public safety by, among
  other things, ensuring compliance with existing prohibitions on firearm acquisition
  by individuals who are prohibited by state or federal law. This is described more
  completely in the expert report of Daniel Webster.

  Request for Production 10: Provide any and all documents, information, or other
  evidence that supports your claimed governmental interests outlined in your
  response to Interrogatory 10.

        Objection: The Governor hereby incorporates the objections to Interrogatory
  10.

         Response: Subject to and without waiving the foregoing general and specific
  objections, see the documents identified and provided in response to Interrogatory 4
  and RFP 4. See also:

           •   The expert report of Daniel Webster, Sc.D., MPH, submitted August 1,
               2013, and publications cited therein.
           •   Documents provided by the Colorado Bureau of Investigation
               InstaCheck unit in response to the Plaintiffs’ subpoena duces tecum.

  Request for Admission 4: Admit that HB 1229’s restriction on firearms sales and
  temporary transfers between individuals is not narrowly tailored and/or
  substantially related to meet the governmental interests you identified in response
  to Interrogatory 10.

        Objection: Assuming that the implementation of a background check
  requirement for private sales implicates Second Amendment protections at all, the
  Governor will not bear the burden of demonstrating that such requirement is
  “narrowly tailored and/or substantially related” to the government’s interest in
  ensuring public safety and public health because HB 1229 does not impose any
  burden on core Second Amendment protections, much less a severe burden.

        Response: Denied.

  Interrogatory 11: If you deny Request for Admission 4, explain the basis for your
  denial and identify any and all evidence you intend to use at trial to establish that
  HB 1229’s restriction of firearms sales and temporary transfers between individuals
  is narrowly tailored and/or substantially related to meet the governmental interests
  you identified in response to Interrogatory 10.




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         Objection: This interrogatory is an overly broad and unduly burdensome
  “blockbuster” interrogatory. See, e.g. Bat v. A.G. Edwards & Sons, Inc., 2005 U.S.
  Dist LEXIS 47995, 2005 WL 6776838, *6-7 (D. Colo. 2005) (holding interrogatory
  that seeks “each and every fact” supporting party’s position “overbroad and
  burdensome on its face”). It is also a premature contention interrogatory. Assuming
  that requiring background checks for all private sales implicates Second
  Amendment protections at all, the Governor will not bear the burden of
  demonstrating that HB 1229 is “narrowly tailored and/or substantially related” to
  the government’s interest in ensuring public safety and public health because HB
  1229 does not impose any burden on core Second Amendment protections, much less
  a severe burden.

         Response: Subject to and without waiving the foregoing general and specific
  objections, in the event that a trial is necessary, the evidence at trial will show that
  universal background check requirements enhance public safety and health by,
  among other things, making firearms more difficult for prohibited persons to
  acquire. Expert testimony from Daniel Webster will establish the effectiveness of
  universal background check requirements in reducing rates of violent crime and/or
  homicide. Testimony from James Spoden and/or Ronald Sloan will establish that
  HB 1229 has, in fact, prevented many transfers to a prohibited individual in a
  private sale from taking place.

  Request for Production 11: Provide any and all documents, information,
  legislative records, or other materials and evidence that supports your response to
  Interrogatory 11.

        Objection: The Governor hereby incorporates the objections to Interrogatory
  11.

         Response: Subject to and without waiving the foregoing general and specific
  objections, see the documents identified and provided in response to Interrogatory 4
  and RFP 4. See also:

            •   The expert report of Daniel Webster, Sc.D., MPH, submitted August 1,
                2013, and publications cited therein.
            •   Documents provided by the Colorado Bureau of Investigation
                InstaCheck unit in response to the Plaintiffs’ subpoena duces tecum.




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  Interrogatory 12: Provide annual totals for calendar years 2004-2012, citing the
  reasons for insta-check denials that are listed in the Colorado Bureau of
  Investigation’s reports under the category “Other.”

        Objection: This request seeks information outside the Governor’s custody
  and control. It is therefore unduly burdensome and oppressive.

        Response: To the extent that this information exists, it has been produced by
  CBI in response to Plaintiffs’ subpoena duces tecum.

  Interrogatory 13: Provide monthly sales totals for hunting licenses from January
  2004 to the present. As part of your response to this Interrogatory, please report the
  sales for Colorado residents and non-residents separately. Also, please include in
  your response to this Interrogatory the type of licenses provided, e.g., small game,
  antelope, elk, etc.

        Objection: This request seeks information outside the Governor’s custody
  and control.

        Response: To the extent that this information exists, it has been produced by
  CBI in response to Plaintiffs’ subpoena duces tecum.

  Request for Admission 5: Admit that Defendant was aware prior to July 1, 2013
  that HB 1224 would have an adverse economic impact on Magpul Industries and
  the Licensed Firearms Dealer Plaintiffs.

         Objection: The Governor is not required to respond to this request for
  admission because it calls for information concerning the role of the Governor’s
  Office, if any, in deliberations concerning the ultimate content of HB 1224 and HB
  1229. This information is protected from discovery by the deliberative process
  privilege, “which covers documents reflecting advisory opinions, recommendations,
  and deliberations that are part of a process by which Government decisions and
  policies are formulated.” NLRB v. Sears, Roebuck & Co., 421 U.S. 132, 150 (1975).

  Interrogatory 14: If you deny Request for Admission 5, explain the basis for your
  denial and identify any and all attempts you made prior to July 1, 2013 to
  determine if HB 1224 would have an adverse economic impact on Magpul
  Industries and the Licensed Firearms Dealer Plaintiffs as well as the results of
  those attempts.

        Objection: The Governor is not required to respond to this Interrogatory
  because it is not reasonably calculated to lead to the discovery of admissible




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  evidence, and calls for information concerning the role of the Governor’s Office, if
  any, in deliberations concerning the ultimate content of HB 1224 and HB 1229. This
  information is protected from discovery by the deliberative process privilege, “which
  covers documents reflecting advisory opinions, recommendations, and deliberations
  that are part of a process by which Government decisions and policies are
  formulated.” NLRB v. Sears, Roebuck & Co., 421 U.S. 132, 150 (1975).

         Request for Admission 6: Admit that HB 1224 and HB 1229 apply to all
  classes of people in Colorado.

         Objection: This request for admission is vague, ambiguous, and uncertain.
  The meaning of “all classes of people in Colorado” cannot be ascertained from the
  plain language of the question, its context, or the definitions accompanying this set
  of written discovery. Carmichael Lodge No. 2103, Benevolent & Protective Order of
  Elks of the United States of Am., No. 07-2665 LKK GGH, 2009 U.S. Dist. LEXIS
  39223, 2009 WL 1118896, at *5 (E.D. Cal. Apr. 23, 2009) (a party is not required to
  speculate about a request for admission that contains genuinely vague or
  ambiguous statements). The phrase “all classes” is also overbroad.

          Response: Without waiving the foregoing general and specific objections, and
  to the extent a response is required, the language of HB 1224 and 1229 speaks for
  itself.

  Interrogatory 15: If you deny Request for Admission 6, explain the basis for your
  denial and identify any and all evidence you intend to use at trial to establish that
  HB 1224 and HB 1229 apply to a narrow class of persons within the Colorado
  population, not all classes of people in Colorado.

       Objection: This interrogatory cannot be answered because Request for
  Admission 6 is too vague, ambiguous, and uncertain to admit or deny.

          Response: Without waiving the foregoing general and specific objections, and
  to the extent a response is required, the language of HB 1224 and 1229 speaks for
  itself.

  Request for Admission 7: Admit that you have previously interpreted HB 1224’s
  “designed to be readily converted” clause to outlaw at least some magazines that
  accept fewer than 16 rounds and have removable base plates.

        Objection: This interrogatory is not reasonably calculated to lead to the
  discovery of admissible evidence. It also calls for information concerning the role of
  the Governor’s Office, if any, in deliberations concerning the ultimate content of HB




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  1224 and HB 1229. This information is protected from discovery by the deliberative
  process privilege, “which covers documents reflecting advisory opinions,
  recommendations, and deliberations that are part of a process by which
  Government decisions and policies are formulated.” NLRB v. Sears, Roebuck & Co.,
  421 U.S. 132, 150 (1975).

        Response: Without waiving the foregoing general and specific objections, the
  request for admission is denied.

  Interrogatory 16: If you deny Request for Admission 7, explain the basis for your
  denial and identify any and all evidence you intend to use at trial to establish that
  you have not previously interpreted HB 1224’s “designed to be readily converted”
  clause to outlaw at least some magazines that accept fewer than 16 rounds and
  have removable base plates.

         Objection: This interrogatory requests the Governor to prove a negative and
  seeks information that is not reasonably calculated to lead to the discovery of
  admissible evidence. It also calls for information concerning the role of the
  Governor’s Office, if any, in deliberations concerning the ultimate content of HB
  1224 and HB 1229. This information is protected from discovery by the deliberative
  process privilege, “which covers documents reflecting advisory opinions,
  recommendations, and deliberations that are part of a process by which
  Government decisions and policies are formulated.” NLRB v. Sears, Roebuck & Co.,
  421 U.S. 132, 150 (1975).

         Response: Subject to and without waiving the foregoing general and specific
  objections, see the Governor’s signing statement and the Technical Guidance issued
  on May 17, 2013, and July 10, 2013.

  Request for Production 12: Provide any and all documents, information, or other
  materials and evidence that supports your response to Interrogatory 16.

        Objection: The Governor hereby incorporates the objections to Interrogatory
  16.

         Response: Subject to and without waiving the foregoing general and specific
  objections, see the Technical Guidance issued on May 17, 2013, and July 10, 2013.

  Request for Admission 8: Admit that HB 1224 imposes a burden on conduct
  falling within the scope of the Second Amendment’s guarantee.

        Response: Denied.




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  Interrogatory 17: If you deny Request for Admission 8, explain the basis for your
  denial and identify any and all evidence you intend to use at trial to establish that
  HB 1224 does not impose a burden on conduct falling with the scope of the Second
  Amendment’s guarantee.

         Objection: This interrogatory calls for a legal conclusion. It is also an overly
  broad and unduly burdensome “blockbuster” interrogatory. See, e.g. Bat v. A.G.
  Edwards & Sons, Inc., 2005 U.S. Dist LEXIS 47995, 2005 WL 6776838, *6-7 (D.
  Colo. 2005) (holding interrogatory that seeks “each and every fact” supporting
  party’s position “overbroad and burdensome on its face”). It is also a premature
  contention interrogatory.

         Response: Subject to and without waiving the foregoing general and specific
  objections, a large-capacity magazine is not an “arm” that is protected by the Second
  Amendment. It is an accessory.

  Request for Production 13: Provide any and all documents, information, or other
  materials and evidence that supports your response to Interrogatory 17.

           Objection: The Governor hereby incorporates the objections to Interrogatory
  17.

           Response: The Governor anticipates presenting legal argument on this point.

  Request for Admission 9: Admit that HB 1229 imposes a burden on conduct
  falling within the scope of the Second Amendment’s guarantee.

           Response: Denied.

  Interrogatory 18: If you deny Request for Admission 9, explain the basis for your
  denial and identify any and all evidence you intend to use at trial to establish that
  HB 1229 does not impose a burden on conduct falling with the scope of the Second
  Amendment’s guarantee.

         Objection: This interrogatory calls for a legal conclusion. It is also an overly
  broad and unduly burdensome “blockbuster” interrogatory. See, e.g. Bat v. A.G.
  Edwards & Sons, Inc., 2005 U.S. Dist LEXIS 47995, 2005 WL 6776838, *6-7 (D.
  Colo. 2005) (holding interrogatory that seeks “each and every fact” supporting
  party’s position “overbroad and burdensome on its face”). It is also a premature
  contention interrogatory.

           Response: The Governor anticipates presenting legal argument on this
  point.



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  Request for Admission 10: Admit that HB 1224 is not based on longstanding and
  historical regulations to the Second Amendment.

        Response: Denied.

  Interrogatory 19: If you deny Request for Admission 10, explain the basis for your
  denial and identify any and all evidence you intend to use at trial to establish that
  HB 1224 is based on longstanding and historical regulations to the Second
  Amendment, including, specifically, which longstanding regulations HB 1224 is
  based.

         Objection: This interrogatory calls for a legal conclusion. It is also an overly
  broad and unduly burdensome “blockbuster” interrogatory. See, e.g. Bat v. A.G.
  Edwards & Sons, Inc., 2005 U.S. Dist LEXIS 47995, 2005 WL 6776838, *6-7 (D.
  Colo. 2005) (holding interrogatory that seeks “each and every fact” supporting
  party’s position “overbroad and burdensome on its face”). It is also a premature
  contention interrogatory. This interrogatory also calls for information concerning
  the role of the Governor’s Office, if any, in deliberations concerning the ultimate
  content of HB 1224 and HB 1229. This information is protected from discovery by
  the deliberative process privilege, “which covers documents reflecting advisory
  opinions, recommendations, and deliberations that are part of a process by which
  Government decisions and policies are formulated.” NLRB v. Sears, Roebuck & Co.,
  421 U.S. 132, 150 (1975).

  Request for Production 14: Provide any and all documents, information, or other
  materials and evidence that supports your response to Interrogatory 19.

        Objection: The Governor hereby incorporates the objections to Interrogatory
  19.

  Request for Admission 11: Admit that HB 1229’s restrictions on temporary
  transfers of firearms are not based on longstanding and historical regulations to the
  Second Amendment.

        Response: Denied.

  Interrogatory 20: If you deny Request for Admission 11, explain the basis for your
  denial and identify any and all evidence you intend to use at trial to establish that
  HB 1229’s restrictions on temporary transfers of firearms are based on longstanding
  and historical regulations to the Second Amendment, specifically, which long
  standing regulations this section of HB 1229 is based.




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         Objection: This interrogatory calls for a legal conclusion. It is also an overly
  broad and unduly burdensome “blockbuster” interrogatory. See, e.g. Bat v. A.G.
  Edwards & Sons, Inc., 2005 U.S. Dist LEXIS 47995, 2005 WL 6776838, *6-7 (D.
  Colo. 2005) (holding interrogatory that seeks “each and every fact” supporting
  party’s position “overbroad and burdensome on its face”). It is also a premature
  contention interrogatory. This interrogatory also calls for information concerning
  the role of the Governor’s Office, if any, in deliberations concerning the ultimate
  content of HB 1224 and HB 1229. This information is protected from discovery by
  the deliberative process privilege, “which covers documents reflecting advisory
  opinions, recommendations, and deliberations that are part of a process by which
  Government decisions and policies are formulated.” NLRB v. Sears, Roebuck & Co.,
  421 U.S. 132, 150 (1975).

  Request for Production 15: Provide any and all documents, information, or other
  materials and evidence that supports your response to Interrogatory 20.

        Objection: The Governor hereby incorporates the objections to Interrogatory
  20.

  Request for Admission 12: Admit that HB 1224 prohibits the possession of
  certain handguns.

       Objection: The term “certain” is too vague and ambiguous to permit a
  meaningful response.

        Response: Denied.

  Interrogatory 21: If you deny Request for Admission 12, explain the basis for your
  denial and identify any and all evidence you intend to use at trial to establish that
  HB 1224 does not prohibit the possession of any handguns, specifically, those
  handguns that are only compatible with magazines that hold greater than 15
  rounds.

         Objection: The Governor hereby incorporates the objections to RFA 12. It is
  also an overly broad and unduly burdensome “blockbuster” interrogatory. See, e.g.
  Bat v. A.G. Edwards & Sons, Inc., 2005 U.S. Dist LEXIS 47995, 2005 WL 6776838,
  *6-7 (D. Colo. 2005) (holding interrogatory that seeks “each and every fact”
  supporting party’s position “overbroad and burdensome on its face”). It is also a
  premature contention interrogatory.

         Response: Subject to and without waiving the foregoing general and specific
  objections, HB 1224 applies to detachable magazines, not handguns, and therefore




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  by definition does not “prohibit the possession of any handguns.” Magazines that
  were possessed prior to July 1, 2013, are not affected by HB 1224. Assuming that
  there are in fact any models of handguns that are incompatible with a commercially
  manufactured magazine that holds 15 or fewer rounds, such commercially
  manufactured magazines of a higher capacity could be permanently altered to
  comply with the capacity limitations of Colorado law.

  Request for Production 16: Provide any and all documents, information, or other
  materials and evidence that support your response to Interrogatory 21.

        Response: See Shooter’s Bible, 105th Edition; Lee, Jerry, 2013 Standard
  Catalog of Firearms, 23rd Ed; HB 13-1224.

  Request for Admission 13: Admit that HB 1224’s 15-round limitation on the
  capacity of magazines completely bans the possession, purchase, sale, and
  ownership of some firearms and related magazines that are commonly used for
  lawful purposes, such as self-defense, hunting, and sport shooting.

        Objection: Whether a particular firearm or magazine is “commonly used for
  lawful purposes” is a legal conclusion.

        Response: Denied.

  Interrogatory 22: If you deny Request for Admission 13, explain the basis for your
  denial and identify any and all evidence you intend to use at trial to establish that
  that HB 1224’s 15-round limitation on the capacity of magazines does not
  completely ban the possession, purchase, sale, and ownership of some firearms and
  related magazines that are commonly used for lawful purposes.

         Objection: The Governor hereby incorporates the objections to RFA 13. It is
  also an overly broad and unduly burdensome “blockbuster” interrogatory. See, e.g.
  Bat v. A.G. Edwards & Sons, Inc., 2005 U.S. Dist LEXIS 47995, 2005 WL 6776838,
  *6-7 (D. Colo. 2005) (holding interrogatory that seeks “each and every fact”
  supporting party’s position “overbroad and burdensome on its face”). It is also a
  premature contention interrogatory.

         Response: Subject to and without waiving the foregoing general and specific
  objections, HB 1224 does not ban the possession or ownership of any magazine or
  firearm that was acquired prior to July 1, 2013. HB 1224 does ban the purchase or
  sale of large-capacity magazines after its effective date, unless such large-capacity
  magazines are permanently altered to hold 15 rounds or fewer. It does not ban the
  purchase or sale of any firearm because even those rare firearms with internal (non-




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  detachable) magazines that hold 16 or more rounds may be permanently altered to
  reduce their capacity to hold 15 or fewer rounds.

  Request for Production 17: Provide any and all documents, information, or other
  materials and evidence that support your response to Interrogatory 22.

        Response: See Shooter’s Bible, 105th Edition; Lee, Jerry, 2013 Standard
  Catalog of Firearms, 23rd Ed,; HB 13-1224.

  Request for Admission 14: Admit that magazines are often capable of holding one
  more round than it is advertised as holding. For example, a 15-round magazine may
  be capable of holding 16 rounds, even though it is advertised as only a 15-round
  magazine.

        Objection: The terms “often,” “capable,” and “advertised” are too vague,
  ambiguous, and uncertain to permit a response. In addition, this is the subject of
  Plaintiffs’ expert testimony in this case and is outside the scope of the Governor’s
  knowledge. This RFA is therefore unduly burdensome and oppressive.

  Interrogatory 23: If you deny Request for Admission 14, explain the basis for your
  denial and identify any and all evidence you intend to use at trial to establish that a
  magazine is not capable of holding one more round than it is advertised as holding.

         Objection: This interrogatory calls for speculation because, in part, it is
  based on a request for admission that is vague, ambiguous, and uncertain. “As a
  general rule, a party is not required to answer interrogatories calling for
  speculation.” 10A Fed. Proc. L. Ed. § 26:581; see also American Oil Co. v. Penn.
  Petroleum Prod. Co., 23 F.R.D. 680 (D.R.I. 1959); Gregg v. Local 305 IBEW, 2010
  WL 556526, at *4 (N.D. Ind. Feb 9, 2010). This is also the subject of Plaintiffs’
  expert testimony in this case and is outside the scope of the Governor’s knowledge.
  This interrogatory is therefore unduly burdensome and oppressive.

        Response: Because Request for Admission 14 was too vague, ambiguous and
  uncertain to answer, no response is required to this interrogatory.

  Request for Production 18: Provide any and all documents, information, or other
  materials and evidence that supports your response to Interrogatory 23.

        Response: The Governor hereby incorporates the objections to Interrogatory
  23.




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  Request for Admission 15: Admit that any “blocking” or “limiting” device that
  may be attached to a magazine to limit the number of rounds it is capable of holding
  may not be visible from the outside of the magazine.

         Objection: The term “any” and the phrase “may not be visible from the
  outside of the magazine” are vague, ambiguous, and uncertain, and are the subject
  of expert testimony that is outside the scope of the Governor’s knowledge.

        Response: Denied.

  Interrogatory 24: If you deny Request for Admission 15, explain the basis for your
  denial and identify any and all evidence you intend to use at trial to establish that
  “blocking” or “limiting” devices that may be attached to a magazine to limit the
  number of rounds it is capable of holding is visible from the outside of the magazine.

         Objection: This interrogatory calls for speculation because, in part, it is
  based on a request for admission that is vague, ambiguous, and uncertain. “As a
  general rule, a party is not required to answer interrogatories calling for
  speculation.” 10A Fed. Proc. L. Ed. § 26:581; see also American Oil Co. v. Penn.
  Petroleum Prod. Co., 23 F.R.D. 680 (D.R.I. 1959); Gregg v. Local 305 IBEW, 2010
  WL 556526, at *4 (N.D. Ind. Feb 9, 2010).

         Response: Subject to and without waiving the foregoing objections, the
  Governor admits that some blockers or limiters may not be visible from outside the
  magazine, although it depends on the design of the magazine, whether the
  magazine is attached to a firearm, whether the magazine is loaded, whether any
  special equipment is used to make the observations, and whether the permanent
  installation of a blocker or limiter would also modify the external characteristics of
  the magazine in question.

  Request for Production 19: Provide any and all documents, information, or other
  materials and evidence that support your response to Interrogatory 24.

        Objection: The Governor hereby incorporates the objections to Interrogatory
  24.

        Response: The Governor is not in possession of any responsive documents.




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        AS TO OBJECTIONS:

                                     JOHN W. SUTHERS
                                     Attorney General

                                     s/ Matthew D. Grove
                                     DANIEL D. DOMENICO
                                     Solicitor General*
                                     DAVID C. BLAKE*
                                     Deputy Attorney General
                                     KATHLEEN SPALDING*
                                     Senior Assistant Attorney General
                                     MATTHEW D. GROVE *
                                     Assistant Attorney General
                                     JONATHAN P. FERO*
                                     Assistant Solicitor General
                                     JOHN T. LEE*
                                     Assistant Attorney General
                                     MOLLY MOATS*
                                     Assistant Attorney General
                                     Attorneys for Governor John W. Hickenlooper
                                     *Counsel of Record
                                     1300 Broadway, 10th Floor
                                     Denver, Colorado 80203
                                     Telephone: 720-508-6000




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  AS TO RESPONSES:

         Pursuant to 28 U.S.C. § 1746, I, Jack Finlaw, do hereby verify under penalty
  of perjury under the laws of the United States of America that the foregoing
  responses to the Non-Profit and Individual Disabled Plaintiffs’ First Set of Requests
  for Admission are true and correct to the best of my information and belief.

        Dated this 30th day of October, 2013.


                                                              s/ Jack Finlaw_________
                                                             Chief Legal Counsel
                                                             Office of the Governor
                                                             State of Colorado




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                           CERTIFICATE OF SERVICE



         I hereby certify that on October 30, 2013 I served a true and complete copy
  of the foregoing Discovery Responses upon all counsel of record including those
  listed below via email:

  David B. Kopel                           david@i2i.org

  Jonathan M. Anderson                     jmanderson@hollandhart.com
  Douglas L. Abbott                        dabbot@hollandhart.com

  Richard A. Westfall                      rwestfall@halewestfall.com
  Peter J. Krumholz                        pkrumholz@halewestfall.com

  Marc F. Colin                            mcolin@brunolawyers.com
  Jonathan Watson                          jwatson@brunolawyers.com

  Anthony J. Fabian                        fabianlaw@qwestoffice.net



                                              s/Matthew Grove




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     IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF
                            COLORADO

  Civil Action No. 13-CV-1300-MSK-MJW

  JOHN B. COOKE, Sheriff of Weld County, Colorado et al.,

        Plaintiffs v.

  JOHN W. HICKENLOOPER, Governor of the State of

        Colorado, Defendant.


    DEFENDANT’S RESPONSES TO PLAINTIFF 55 SHERIFFS AND DAVID
         STRUMILLO DISCOVERY REQUESTS TO DEFENDANT



        Defendant John W. Hickenlooper, in his official capacity as Governor of the
 State of Colorado, by and through undersigned counsel, hereby submits his responses
 to the interrogatories and requests for admission propounded by the Plaintiff sheriffs
 and David Strumillo.

                                 AUTHENTICATION

        The names and positions of each and every person who assisted in answering
 these requests for admission are as follows:

       (a) Kathleen Spalding, Senior Assistant Attorney General
       (b) Stephanie Scoville, Senior Assistant Attorney General
       (c) Matthew Grove, Assistant Attorney General
       (d) Jack Finlaw, Chief Legal Counsel, Office of the Governor


                        GENERAL OBJECTIONS AND RESPONSES

       The Governor makes the following general objections and responses to the
 instant discovery requests:

       1.     The Governor objects to each Discovery Request to the extent that it:

              (a) is overly broad and/or unduly burdensome;




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              (b) is vague, ambiguous, and/or fails to describe with reasonable
                  particularity the information sought;
              (c) seeks information that exceeds the scope of, or is inconsistent with
                  permissible discovery;
              (d) seeks information that is neither relevant to the subject matter of
                  this action, nor reasonably calculated to lead to the discovery of
                  admissible evidence; and/or
              (e) contains undefined terms which are ambiguous and/or prejudicial.

        2.     The above-captioned written discovery requests do not, by their terms,
 exclude privileged or protected communications from production. The Governor
 therefore objects to each discovery request to the extent that it seeks the disclosure of
 any information that is privileged or protected for any reason, including but not
 limited to information protected by the attorney-client privilege, the work product
 doctrine, the deliberative process privilege, and any other applicable privileges or
 protections.

        3.     The Governor objects to each discovery request to the extent it seeks the
 disclosure of information gathered and/or documents prepared by or for the Governor
 or the Governor’s attorneys in anticipation of litigation or in preparation for trial that
 contains or discloses the theories, mental impressions, or litigation strategy of the
 Governor’s attorneys.

         4.     The Governor objects to each discovery request to the extent it requests
 information not in the Governor’s possession, custody or control. The Governor
 further objects to each request for admission to the extent that it seeks information in
 the possession, custody, or control of others. More specifically, Plaintiffs purport to
 define the terms “you,” “your” and “defendant” to include all persons and departments
 within the executive branch of Colorado state government. This definition
 inaccurately reflects the scope of this litigation. Plaintiffs have sued the Governor in
 his official capacity. The Court has recognized that for the purposes of this litigation,
 the Governor’s Office does not include either executive departments or the thousands
 of state employees who work in those departments. The Governor objects to the
 definition of “you,” “your,” and “defendant” to the extent that the definition purports
 to require the disclosure of information or documents from entities or persons who are
 not within the Governor’s Office and not within the custody or control of the
 Governor’s Office.




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        5.     The Governor objects to each discovery request to the extent it seeks the
 disclosure of any confidential information, and will seek an appropriate protective
 order prior to disclosing any such information (to the extent that the current
 protective order does not encompass such information). However, attorney-client
 privileged communications and work product will not be disclosed.

        6.     The Governor responds to the instant discovery requests as required by
 the Federal Rules of Civil Procedure and applicable case law. The Governor therefore
 objects to each request for admission to the extent it seeks to impose obligations on
 the Governor other than those authorized by the Federal Rules of Civil Procedure and
 applicable case law. Any purported instructions, definitions, requirements, or
 requests to the contrary are disregarded.

       7.     By disclosing information and/or materials responsive instant discovery
 requests, the Governor does not stipulate or otherwise admit that any such
 information and/or materials is authentic, relevant, or admissible. The Governor
 expressly reserves all objections to the admission of such information and/or materials
 as provided by the rules of procedure and evidence.

        8.    The Governor’s general objections and responses to the instant discovery
 requests shall be deemed continuing as to each Discovery Request and are not waived
 or in any way limited by the following specific objections and responses to each
 request for admission. Further, the Governor’s general objections and responses shall
 be deemed incorporated into the following specific objections and responses to each
 request for admission.

         9.    The Governor’s responses to the instant discovery requests are based
 upon information presently available and specifically known to the Governor in his
 official capacity. The Governor is aware of his obligation under Fed.R.Civ.P. 26(e),
 and consistent therewith, will timely supplement any specific response with
 additional or corrective information if the Governor learns that in some material
 respect the original response was incomplete or incorrect.

         10.    Defendant objects to Plaintiffs’ interrogatories to the extent they request
 all facts or information upon which Defendant may rely. Defendant’s responses are
 made subject to the ongoing discovery and trial preparation in this case and are based
 on the best information presently available.




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        SPECIFIC OBJECTIONS AND RESPONSES TO INTERROGATORIES
                     AND REQUESTS FOR ADMISSION


 Interrogatory No. 1: Explain how, in the absence of comprehensive registration of
 firearms, HB 1229 can be enforced. Your answer should specifically address how law
 enforcement officers in the field will be able to tell whether a firearm was
 unlawfully privately transferred or sold after July 1, 2013.

       Objection: Defendant objects to this Interrogatory based on the Court’s order of
       October 28, 2013 [Dkt. #91], which stated, “Governor Hickenlooper has no
       direct enforcement role.” As a result, the Interrogatory is not reasonably
       calculated to lead to the discovery of admissible evidence and is unduly
       burdensome and oppressive.

       Response: Without waiving and subject to this objection, Defendant refers
       Plaintiffs to the Technical Guidance letters dated May 17, 2013, and July 10,
       2013.

 Interrogatory No. 2: Explain how, in the absence of comprehensive registration
 of magazines, HB 1224’s ban on the possession of magazines can be enforced. Your
 answer should specifically address how law enforcement officers in the field will be
 able to tell whether a magazine is covered by the grandfather provision of HB 1224.

       Objection: Defendant objects to this Interrogatory based on the Court’s order of
       October 28, 2013 [Dkt. #91], which stated, “Governor Hickenlooper has no
       direct enforcement role.” As a result, the Interrogatory is not reasonably
       calculated to lead to the discovery of admissible evidence and is unduly
       burdensome and oppressive.

       Response: Without waiving and subject to this objection, Defendant refers
       Plaintiffs to the Technical Guidance letters dated May 17, 2013, and July 10,
       2013.

 Interrogatory No. 3: Explain why you refused on March 4, 2013, to meet with any
 of the approximately 30 Sheriffs who had come to the State Capitol to express
 their concerns about HB 1224 and HB 1229.

       Objection: Defendant objects to this Interrogatory on the ground that it is not
       reasonably calculated to lead to the discovery of admissible evidence. As the
       Court’s order of October 28, 2013 [Dkt. #91] stated, the Governor’s “personal
       thoughts, opinions, and beliefs, including any post-enactment statements, have
       no bearing on the ultimate questions of law on whether the challenged




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       legislation … meets constitutional standards…” As a result, the Interrogatory
       is irrelevant, and unduly burdensome and oppressive.

 Interrogatory No. 4: On March 14, 2013, Larimer County Sheriff Justin Smith
 sent your office a letter requesting that you meet with Sheriffs to discuss the
 pending firearms bills. Please explain why you refused to meet with the Sheriffs.

       Objection: Defendant objects to this Interrogatory on the ground that it is not
       reasonably calculated to lead to the discovery of admissible evidence. As the
       Court’s order of October 28, 2013 [Dkt. #91] stated, the Governor’s “personal
       thoughts, opinions, and beliefs, including any post-enactment statements, have
       no bearing on the ultimate questions of law on whether the challenged
       legislation … meets constitutional standards…” As a result, the Interrogatory
       is irrelevant, and unduly burdensome and oppressive.

 Interrogatory No. 5: Identify every instance in which you have sought input
 from any Sheriff regarding magazine bans.

       Objection: The Governor is not required to respond to this Interrogatory
       because it calls for information concerning the role of the Governor’s Office, if
       any, in deliberations concerning the ultimate content of HB 1224 and HB 1229.
       This information is protected from discovery by the deliberative process
       privilege, “which covers documents reflecting advisory opinions,
       recommendations, and deliberations that are part of a process by which
       Government decisions and policies are formulated.” NLRB v. Sears, Roebuck &
       Co., 421 U.S. 132, 150 (1975). Defendant also objects to this Interrogatory on
       the ground that it is not reasonably calculated to lead to the discovery of
       admissible evidence. As the Court’s order of October 28, 2013 [Dkt. #91] stated,
       the Governor’s “personal thoughts, opinions, and beliefs, including any post-
       enactment statements, have no bearing on the ultimate questions of law on
       whether the challenged legislation … meets constitutional standards…” As a
       result, the Interrogatory is irrelevant, and unduly burdensome and oppressive.

 Interrogatory No. 6: Identify every instance in which you have sought input
 from any Sheriff regarding background checks on private transfers or sales of
 firearms.

       Objection: The Governor is not required to respond to this Interrogatory
       because it calls for information concerning the role of the Governor’s Office, if
       any, in deliberations concerning the ultimate content of HB 1224 and HB 1229.
       This information is protected from discovery by the deliberative process
       privilege, “which covers documents reflecting advisory opinions,
       recommendations, and deliberations that are part of a process by which
       Government decisions and policies are formulated.” NLRB v. Sears, Roebuck &




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       Co., 421 U.S. 132, 150 (1975). Defendant also objects to this Interrogatory on
       the ground that it is not reasonably calculated to lead to the discovery of
       admissible evidence. As the Court’s order of October 28, 2013 [Dkt. #91] stated,
       the Governor’s “personal thoughts, opinions, and beliefs, including any post-
       enactment statements, have no bearing on the ultimate questions of law on
       whether the challenged legislation … meets constitutional standards…” As a
       result, the Interrogatory is irrelevant, and unduly burdensome and oppressive.

  Interrogatory No. 7: Does HB 1224 outlaw magazines which were manufactured
  to accept more than 15 rounds, and whose capacity has been reduced by the
  insertion of a limiter if the limiter is attached to the magazine via a pin? If the
  answer depends on specifically how the pin is attached, please specify which
  forms of attachment make the magazine legal

       Objection: Defendant objects to this Interrogatory on the grounds that the
       phrase “via a pin” is too vague and ambiguous to permit a meaningful response.
       In addition, this is the subject of expert testimony in this case and is outside
       the scope of the Governor’s knowledge. This Interrogatory is, therefore, unduly
       burdensome and oppressive.

 Interrogatory No. 8: On July 22, 2013, you made the following statement to
 CNN regarding the Aurora theater murders:

     JOHN HICKENLOOPER: …. And, you know, if it wasn’t one weapon, it would
     have been another. I mean, he was diabolical. If you look at what he had in his
     apartment and what his intentions were, I mean even now it makes the hair on
     the back of my neck stand up. . . .

     CANDY CROWLEY: What I hear from you is that you would be open to people
     who want to suggest a gun law or something that might prevent this sort of
     thing, but at the moment, you can’t imagine what that would be.

     JOHN HICKENLOOPER: Yeah. I mean, I'm happy to look at anything. But,
     it’s -- again, this person if we had, if there were no assault weapons available,
     and no this or no that, this guy is going to find something, right. He’s going to
     know how to create a bomb. He’s going to -- I mean, who knows where his mind
     would have gone clearly very intelligent individual, however twisted. (Transcript
     available at 2012 WLNR 23824286.) Do your comments indicate that additional
     gun laws would not have prevented the Aurora murders? If this is not true,
     please explain what you meant.

       Objection: Defendant objects to this Interrogatory on the ground that it is not
       reasonably calculated to lead to the discovery of admissible evidence. As the
       Court’s order of October 28, 2013 [Dkt. #91] stated, the Governor’s “personal




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       thoughts, opinions, and beliefs, including any post-enactment statements, have
       no bearing on the ultimate questions of law on whether the challenged
       legislation … meets constitutional standards…” As a result, the Interrogatory
       is irrelevant, and unduly burdensome and oppressive.

 Interrogatory No. 9: On Dec. 16, 2012, you made the following statement to
 CNN regarding the Aurora theater and Newtown murders:

     CANDY CROWLEY: And I think we talked that time [referring to your July 22
     conversation] about the culture of guns and kind of the culture that we live in
     now and that there’s very little you can do to stop a determined person. Do
     you still feel that way?

     JOHN HICKENLOOPER: Well, unfortunately, I think that's true. I mean, and
     you can’t really argue those facts. What you can do is expand your capacity,
     your framework within a state or within the country to have more people paying
     attention and trying to detect folks that are unstable, on the verge of real
     trouble, trying to catch them at a sooner level. (Transcript is available at 2012
     WLNR 27125174.) Do your comments indicate that additional gun laws would
     not have prevented the Aurora and Newtown murders? If this is not true, please
     explain what you meant.

       Objection: Defendant objects to this Interrogatory on the ground that it is not
       reasonably calculated to lead to the discovery of admissible evidence. As the
       Court’s order of October 28, 2013 [Dkt. #91] stated, the Governor’s “personal
       thoughts, opinions, and beliefs, including any post-enactment statements, have
       no bearing on the ultimate questions of law on whether the challenged
       legislation … meets constitutional standards…” As a result, the Interrogatory
       is irrelevant, and unduly burdensome and oppressive.

 Interrogatory No. 10: At a press conference, on Sept. 11, 2013, you stated: “I was
 never as fired up on the magazine checks.” (See Denver Post article on the press
 conference, at http://www.denverpost.com/breakingnews/ci_24070521/gov-
 hickenlooper- disappointed-by-outcome-recalls-democrats?IADID=Search-
 www.denverpost.com-www.denverpost.com.) Please detail all reasons why you
 were never so fired up.

       Objection: Defendant objects to this Interrogatory on the ground that it is not
       reasonably calculated to lead to the discovery of admissible evidence. As the
       Court’s order of October 28, 2013 [Dkt. #91] stated, the Governor’s “personal
       thoughts, opinions, and beliefs, including any post-enactment statements, have
       no bearing on the ultimate questions of law on whether the challenged
       legislation … meets constitutional standards…” As a result, the Interrogatory
       is irrelevant, and unduly burdensome and oppressive.




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 Interrogatory No. 11: At a press conference, on Sept. 11, 2013, you stated that
 between 31% and 41% of magazines used in the killings of police officers in the
 last decade involved magazines of more than 15 rounds. (See press conference video
 at http://www.denverpost.com/breakingnews/ci_24070521/gov-hickenlooper-
 disappointed-by-outcome-recalls-democrats?IADID=Search-www.denverpost.com-
 www.denverpost.com at 5:53). Please provide the source(s) for your assertion.

       Objection: Defendant objects to this Interrogatory on the ground that it is not
       reasonably calculated to lead to the discovery of admissible evidence. As the
       Court’s order of October 28, 2013 [Dkt. #91] stated, the Governor’s “personal
       thoughts, opinions, and beliefs, including any post-enactment statements, have
       no bearing on the ultimate questions of law on whether the challenged
       legislation … meets constitutional standards…” As a result, the Interrogatory
       is irrelevant, and unduly burdensome and oppressive.

 Interrogatory No. 12: On April 4, 2013, on the Mike Rosen Show, on KOA
 850 AM radio, the following exchange took place:

     MIKE ROSEN: So what kind of a magazine then would be...uh...illegal?

     JOHN HICKENLOOPER: Well there are certain magazines that are actually,
     uh, designed and have uh, uh, specific holes and attachments to be, to be
     extended and those specific magazines, uh, where there's, uh, a, certain level of
     design specifically just for extension rather than just cleaning. Uh...but that’s
     not very many of them. Most of them...they may just have a slot which
     something could slide in and out, but again, that's not something that's
     specifically designed. And by using the narrow construction, by making sure that
     we have that in a letter coming out of the governor’s office...uh...we felt that
     there was a good way of...that that was a good way of protecting people's rights
     to hold on to these things right, and even new ones that were designed
     properly. (The audio is available on the KOA website, in the Mike Rosen Show
     archives.) Please explain what “specific holes and attachments” are part of “a
     certain level of design specifically just for extension.”

       Objection: Defendant objects to this Interrogatory on the ground that it is not
       reasonably calculated to lead to the discovery of admissible evidence. As the
       Court’s order of October 28, 2013 [Dkt. #91] stated, the Governor’s “personal
       thoughts, opinions, and beliefs, including any post-enactment statements, have
       no bearing on the ultimate questions of law on whether the challenged
       legislation … meets constitutional standards…” As a result, the Interrogatory
       is irrelevant, and unduly burdensome and oppressive.




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 Interrogatory No. 13: On the same radio program referenced in Interrogatory 12,
 the following exchange took place:

     MIKE ROSEN: There was additional wording in that bill that said the
     original owner of the magazine must keep it in continuous possession. So for
     example, if you died and your wife now has your magazines, she wasn’t the
     original owner, if you’re dead and it isn’t buried with you, you won’t be in
     continuous possession. How in the world is that going to be enforced? Somebody
     had said well that means the wife will have to call the sheriff or police and hand
     over that magazine.

     JOHN HICKENLOOPER: Right...I...I think that would be very hard to enforce.
     I’m not going to argue that. It would be close to impossible to enforce.

     MIKE ROSEN: Which is why some people have said that with these weaknesses
     in the bill why not veto it?

     JOHN HICKENLOOPER: Because they...I think ultimately the...and this
     was certainly not my favorite bill...uh...in any session...uh...you know, there
     is...uh...an issue...uh...for a lot of people, especially in urban and suburban
     areas about...uh...these large capacity magazines and even though it may be
     very difficult or impossible to enforce, setting a law does put some constraints on
     things. Please specify the “constraints on things” which you believe to be
     created by the provisions in HB 1224 which you consider to be very difficult or
     impossible to enforce.

       Objection: Defendant objects to this Interrogatory on the ground that it is not
       reasonably calculated to lead to the discovery of admissible evidence. As the
       Court’s order of October 28, 2013 [Dkt. #91] stated, the Governor’s “personal
       thoughts, opinions, and beliefs, including any post-enactment statements, have
       no bearing on the ultimate questions of law on whether the challenged
       legislation … meets constitutional standards…” As a result, the Interrogatory
       is irrelevant, and unduly burdensome and oppressive.

 Interrogatory No. 14: What information, if any, leads you believe that
 magazines of 15 or fewer rounds are commercially available for any of the following
 semi-automatic handguns.
    a. FNH FN 5.7 model 3868929120.
    b. Keltec PMR 30.
    c. Ruger SR9 models 3301 and 3331
    d. Sig Sauer model 226Tac Ops in .40S&W.
    e. Springfield Armory models XDM95259, XDM9389, XDM9211, XDM9201,
       XDM9202, and XDM95254.




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       Response:
    a. According to the Shooter’s Bible, 105th Edition, the FNH USA FN 5.7 model
       semi-automatic pistol is sold with 10 or 20 round magazines. Information
       provided in the Shooter’s Bible, 105th Edition is corroborated by 2013 Standard
       Catalog of Firearms, 23rd Edition. See attached.

    b. A commercially manufactured 15 cartridge or less magazine cannot be
       identified for the Kel-Tec PMR 30. The PMR 30 is specifically designed and
       marketed as a .22 semi-automatic pistol with a high-capacity 30 round
       magazine. To produce a model with a magazine holding less than 30 rounds is
       apparently a market decision made by Kel-Tec. However, the Kel-Tec PMR 30
       is sold in New York with permanently altered magazines that hold only 10
       rounds.

    c. According to the Ruger website
       (http://www.ruger.com/products/sr9/models.html) the SR9 model 9mm semi-
       automatic pistol is sold directly by the manufacturer with either a 17 cartridge
       capacity magazine or a 10 cartridge capacity magazine.

    d. According to the Sig Sauer
       website(http://www.sigsauer.com/CatalogProductDetails/p226-tactical-
       operations.aspx)the p226 Tac Ops, in both .40 and 9mm is sold from the
       manufacturer with either 10 and 15 round cartridge capacities. See attached.

    e. A commercially manufactured 15 cartridge or less magazine cannot be
       identified for the XDM series semi-automatic pistol manufactured by
       Springfield Armory. Again, this model pistol is marketed to hold high-capacity
       magazines. To produce a model with a magazine holding less than 15 rounds is
       apparently a market decision made by Springfield Armory. However, there are
       commercially available magazine 10 and 15 cartridge capacity limiters
       available for the XDM 9mm model series. See attached.


                           REQUESTS FOR ADMISSION

 Request for Admission No. 1: Admit that HB 1224’s exceptions pertaining to
 lawful possession of banned magazines after July 1, 2013, do not include any
 provision allowing retailers to possess banned magazines for the purposes of selling
 such magazines to law enforcement officers within Colorado.

       Objection: The Governor objects to Request for Admission No. 1 because it
       calls for an improper legal conclusion. Requests for admissions seeking
       legal conclusions are not proper, and a party may not demand that the




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       other party admit the truth of a legal conclusion. Disability Rights Council
       v. Wash. Metro Area, 234 F.R.D. 1, 3 (D.D.C. 2006), citing Lakehead
       Pipeline Co. v. Am. Home Assurance Co., 177 F.R.D. 454, 458 (D. Minn.
       1997); see also Utley v. Wray, 2007 U.S. Dist. LEXIS 68413, 2007 WL
       2703094 at *3 (D. Kan. Sept. 14, 2007).

 Request for Admission No. 2: Admit that HB 1224’s exceptions pertaining to
 lawful possession of magazines after July 1, 2013, do not include any provision
 allowing Coloradoans to purchase banned magazines for the purposes of sending
 them to relatives who are serving overseas in the United States Armed Forces,
 and who wish to acquire such magazines for their military duties.

     Objection: The Governor objects to Request for Admission No. 1 because it
     calls for an improper legal conclusion. Requests for admissions seeking legal
     conclusions are not proper, and a party may not demand that the other party
     admit the truth of a legal conclusion. Disability Rights Council v. Wash.
     Metro Area, 234 F.R.D. 1, 3 (D.D.C. 2006), citing Lakehead Pipeline Co. v. Am.
     Home Assurance Co., 177 F.R.D. 454, 458 (D. Minn. 1997); see also Utley v.
     Wray, 2007 U.S. Dist. LEXIS 68413, 2007 WL 2703094 at *3 (D. Kan. Sept. 14,
     2007).

 Request for Admission No. 3: Admit that HB 1229 contains no exception
 pertaining to the permanent acquisition of firearms by law enforcement officers for
 law enforcement purposes.

     Objection: The Governor objects to Request for Admission No. 1 because it
     calls for an improper legal conclusion. Requests for admissions seeking legal
     conclusions are not proper, and a party may not demand that the other party
     admit the truth of a legal conclusion. Disability Rights Council v. Wash.
     Metro Area, 234 F.R.D. 1, 3 (D.D.C. 2006), citing Lakehead Pipeline Co. v. Am.
     Home Assurance Co., 177 F.R.D. 454, 458 (D. Minn. 1997); see also Utley v.
     Wray, 2007 U.S. Dist. LEXIS 68413, 2007 WL 2703094 at *3 (D. Kan. Sept. 14,
     2007).

 Request for Admission No. 4: Admit that HB 1229 contains no exception
 pertaining to the temporary acquisition of firearms by law enforcement officers for
 law enforcement purposes.

     Objection: The Governor objects to Request for Admission No. 1 because it
     calls for an improper legal conclusion. Requests for admissions seeking legal
     conclusions are not proper, and a party may not demand that the other party
     admit the truth of a legal conclusion. Disability Rights Council v. Wash.
     Metro Area, 234 F.R.D. 1, 3 (D.D.C. 2006), citing Lakehead Pipeline Co. v. Am.




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     Home Assurance Co., 177 F.R.D. 454, 458 (D. Minn. 1997); see also Utley v.
     Wray, 2007 U.S. Dist. LEXIS 68413, 2007 WL 2703094 at *3 (D. Kan. Sept. 14,
     2007).

 Request for Admission No. 5: Admit that HB 1229 forbids the return of a stolen
 firearm to the rightful owner, unless the return is processed by a FFL pursuant to
 HB 1229’s requirement for background check and for FFL record-keeping.

     Objection: The Governor objects to Request for Admission No. 1 because it
     calls for an improper legal conclusion. Requests for admissions seeking legal
     conclusions are not proper, and a party may not demand that the other party
     admit the truth of a legal conclusion. Disability Rights Council v. Wash.
     Metro Area, 234 F.R.D. 1, 3 (D.D.C. 2006), citing Lakehead Pipeline Co. v. Am.
     Home Assurance Co., 177 F.R.D. 454, 458 (D. Minn. 1997); see also Utley v.
     Wray, 2007 U.S. Dist. LEXIS 68413, 2007 WL 2703094 at *3 (D. Kan. Sept. 14,
     2007).

 Request for Admission No. 6: Admit that HB 1229 forbids Chief Law
 Enforcement Officers from transferring agency firearms to a law enforcement officer
 for more than 72 hours, unless the transfer is processed by a FFL pursuant to HB
 1229’s requirement for background check and for FFL record-keeping.

     Objection: The Governor objects to Request for Admission No. 1 because it
     calls for an improper legal conclusion. Requests for admissions seeking legal
     conclusions are not proper, and a party may not demand that the other party
     admit the truth of a legal conclusion. Disability Rights Council v. Wash.
     Metro Area, 234 F.R.D. 1, 3 (D.D.C. 2006), citing Lakehead Pipeline Co. v. Am.
     Home Assurance Co., 177 F.R.D. 454, 458 (D. Minn. 1997); see also Utley v.
     Wray, 2007 U.S. Dist. LEXIS 68413, 2007 WL 2703094 at *3 (D. Kan. Sept. 14,
     2007).

 Request for Admission No. 7: Admit that HB 1229 forbids law enforcement
 officers from taking a citizen’s firearm for temporary safe-keeping for more than
 72 hours, unless the transfer is processed by a FFL pursuant to HB 1229’s
 requirement for background check and for FFL record-keeping. By way of
 illustration, this question includes a situation in which a citizen is the victim of a
 crime or accident, is therefore unconscious, and is therefore unable to safeguard a
 firearm which the citizen was carrying or transporting.

     Objection: The Governor objects to Request for Admission No. 1 because it
     calls for an improper legal conclusion. Requests for admissions seeking legal
     conclusions are not proper, and a party may not demand that the other party
     admit the truth of a legal conclusion. Disability Rights Council v. Wash.




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     Metro Area, 234 F.R.D. 1, 3 (D.D.C. 2006), citing Lakehead Pipeline Co. v. Am.
     Home Assurance Co., 177 F.R.D. 454, 458 (D. Minn. 1997); see also Utley v.
     Wray, 2007 U.S. Dist. LEXIS 68413, 2007 WL 2703094 at *3 (D. Kan. Sept. 14,
     2007).

 Request for Admission No. 8: Admit that HB 1224 contains no exemption for long-
 haul truckers transporting banned magazines from another state through Colorado
 for delivery to another state.

     Objection: The Governor objects to Request for Admission No. 1 because it
     calls for an improper legal conclusion. Requests for admissions seeking legal
     conclusions are not proper, and a party may not demand that the other party
     admit the truth of a legal conclusion. Disability Rights Council v. Wash.
     Metro Area, 234 F.R.D. 1, 3 (D.D.C. 2006), citing Lakehead Pipeline Co. v. Am.
     Home Assurance Co., 177 F.R.D. 454, 458 (D. Minn. 1997); see also Utley v.
     Wray, 2007 U.S. Dist. LEXIS 68413, 2007 WL 2703094 at *3 (D. Kan. Sept. 14,
     2007).

 Request for Admission No. 9: Admit that HB 1224 contains no exception for
 travelers passing through Colorado who possess a banned magazine which was
 acquired on or after July 1, 2013.

     Objection: The Governor objects to Request for Admission No. 1 because it
     calls for an improper legal conclusion. Requests for admissions seeking legal
     conclusions are not proper, and a party may not demand that the other party
     admit the truth of a legal conclusion. Disability Rights Council v. Wash.
     Metro Area, 234 F.R.D. 1, 3 (D.D.C. 2006), citing Lakehead Pipeline Co. v. Am.
     Home Assurance Co., 177 F.R.D. 454, 458 (D. Minn. 1997); see also Utley v.
     Wray, 2007 U.S. Dist. LEXIS 68413, 2007 WL 2703094 at *3 (D. Kan. Sept. 14,
     2007).

       AS TO OBJECTIONS:

                                    JOHN W. SUTHERS
                                    Attorney General

                                    s/ Matthew D. Grove




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                                    Denver, Colorado 80203
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 AS TO RESPONSES:

        Pursuant to 28 U.S.C. § 1746, I, Jack Finlaw, do hereby verify under penalty of
 perjury under the laws of the United States of America that the foregoing responses
 to the Non-Profit and Individual Disabled Plaintiffs’ First Set of Requests for
 Admission are true and correct to the best of my information and belief.

       Dated this 1st day of November, 2013.


                                                              s/ Jack Finlaw_________
                                                           Chief Legal Counsel
                                                           Office of the Governor
                                                           State of Colorado




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                           CERTIFICATE OF SERVICE



        I hereby certify that on November 1, 2013 I served a true and complete copy of
 the foregoing Discovery Responses upon all counsel of record including those listed
 below via email:

 David B. Kopel                            david@i2i.org

 Jonathan M. Anderson                      jmanderson@hollandhart.com
 Douglas L. Abbott                         dabbot@hollandhart.com

 Richard A. Westfall                       rwestfall@halewestfall.com
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 Marc F. Colin                             mcolin@brunolawyers.com
 Jonathan Watson                           jwatson@brunolawyers.com

 Anthony J. Fabian                         fabianlaw@qwestoffice.net



                                              s/Matthew Grove




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                 STATE OF
                 COLORADO




  Refered to you by AG of Colorado

  Spoden- COPS, James <james.spoden@state.co.us>                                  Thu, Jun 6, 2013 at 1:01 PM
  To: titanium68@yahoo.com
  Cc: Paula Williams- COPS <paula.williams@state.co.us>, Bob Brown- COPS <robertd.brown@state.co.us>

     Dear Sir,

     Thank you for contacting the Colorado Bureau of ln\.estigation. I can confirm that by transporting your firearms in
     the manner described below there would not be a conflict with state law. Howewr, due to a new high capacity
     magazine law that will become effecti'l.e in Colorado on July 01, 2013, I cannot confirm how this new law may
     apply to your magazines that haw a capacity of more than 15 rounds.

     As this law is currently subject to litigation, I am unable to prmAde an interpretation of how this may impact your
     trip. Currently we are directing these questions to the Attorney Genera's Office and the Colorado Go\.emor's
     signing statement related to the high capacity magazine law.

     Please ha\.e a safe and enjoyable trip!

     James Spoden
     Supervisor lnstaCheck/CHP Unit
     Colorado Bureau of Investigation
     Ph: (303) 239-5850
     Fax: (303) 239-5848
     Email: James.Spoden@state.co.us


      From: Victor Huntley < titanium68@yahoo.com>
     Date: Wed, Jun 5, 2013 at 12:41 PM
     Subject: Refered to you by AG of Colorado
     To: cdps_cbi __ denver@state. co. us


     Traveling with Personal Fiream1s?

     Dear Sir I Madam,
     I be embarking on a cross country road trip that is scheduled to lea~..e
     Florida in early July and be out for at least 3 months, and planning to
     \>is it nearly all of the Continental US, se"veral National Parks and parts of
     Canada. While on my trip l was hoping to visit a couple of the premier
     shooting academies across the US, there for I will be transporting several
     different fiream1s. The list is as follows:
     AR-15 with 4-30 round magazines, 12 Gauge Pump action shotgun, Ruger 280
     Bolt action rifle, 22 Caliber Semi-Automatic rifle with 2-25 round
     magazines and a Taurus 40 Cal Semi-automatic pistol with 2-10 round
     magazines.
     I have been doing some research and found that while the federal law is
     pretty clear on how I go about transporting these firearms, State and Local
     laws very. So as a solution, I would like to 'l.oerify that if I disassemble
     these firearms (essentially, transporting firearm components) during my
                                                                                                                     CBI-00031
https://mail.google.com/mail/u/O/?ui=2&ik=4d7c60f517&1oiew=pt&q=magazine&qs=true&search=que~th=13f1add3Scc7e6ba                   12141/2
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     tra'.!els and ONLY reassemble them at the appropriate locations for various
     classes. This should meet the letter of the law and abide by and State or
     Local jurisdictions requirements.
     Please let me know if there are any additional requirements that I need to
     be concerned with or any additional persons I need to contact. Thank you
     in advance for your time and consideration.
     Sincerely,
     William "Victor" Huntley
     7415 W. Lemonade Lane
     Dunnellon, Florida 34433



     From: Victor Huntley <titanium68@yahoo.com>
     Date: Wed, Jun 5, 2013 at 12:41 PM
     Subject: Refered to you by AG of Colorado
     To: cdps_cbi_denver@state.co.us


     Traveling with Personal Firearms?

     Dear Sir I Madam,
     I be embarking on a cross country road trip that is scheduled to lea\.e
     Florida in early July and be out for at least 3 months, and planning to
     visit nearly all of the Continental US, several National Parks and parts of
     Canada. While on my trip I was hoping to visit a couple of the premier
     shooting academies across the US, there for I will be transporting se\.eral
     different firearms. The list is as follows:
     AR-15 with 4-30 round magazines, 12 Gauge Pump action shotgun, Ruger 280
     Bolt action rifle, 22 Caliber Semi-Automatic rifle with 2-25 round
     magazines and a Taurus 40 Cal Semi-automatic pistol with 2-10 round
     magazines.
     I have been doing some research and found that while the federal law is
     pretty clear on how I go about transporting these firearms, State and Local
     laws very. So as a solution, I would like to verify that if I disassemble
     these firearms (essentially, transporting 'firearm components) during my
     trawls and ONLY reassemble them at the appropriate locations for various
     classes. This should meet the letter of the law and abide by and State or
     Local jurisdictions requirements.
     Please let me know if there are any additional requirements that I need to
     be concerned with or any additional persons I need to contact. Thank you
     in advance for your time and consideration.
     Sincerely,
     William "Victor" Huntley
     7415 W. Lemonade Lane
     Dunnellon, Florida 34433




                                                                                                                     CBI-00032
https://mail.google.com/mail/u/O/?ui=2&ik=4d7c60f517&1Aew=pt&q=magazine&qs=true&search=qu~th=13f1add35cc7e6ba
                                                                                                                                  12152/2
                 Case 1:13-cv-01300-MSK-MJW Document 104-5 Filed 12/11/13 Page 3 of 11
10/24/13                                            State.co.us Elllcutive Branch Mail- High Capacity Magazines
           Appellate Case: 14-1290              Document: 01019371747                     Date Filed: 01/16/2015            Page: 266

                  STATE OF
                  COLORADO



  High Capacity Magazines

  Spoden -COPS, James <james.spoden@state.co.us>                                                                  Thu, Jun 6, 2013 at 12:07 PM
  To: Bob Brown - CDPS <robertd.brown@state.co.us>

     Bob,

     Here's the situation, the last direction we had was to refer all questions to the AG's office
     regarding HCM (and Universal Background Checks as well). However, what is happening is the
     AG's office is directing them to contact CBI and they get sent right back to us.

     Do we have any infotmation regarding ''the direction" we were to receive on this issue?
     Can we please get a phone number that we can provide to callers with questions on HCM?


     James Spoden
     Supervisor lnstaCheck/CHP Unit
     Colorado Bureau of Investigation
     Ph: (303) 239-5850
     Fax: (303) 239-5848
     Email: James.Spoden@state.co.us




                                                                                                                           CBI-00033
https://mail . google.conv'mail/u/O/?ui=2&ik=4d7c60f517&~ew=pt&q=magazine&qs=true&search=quer)&th=13f1aac7cd9a9650                      12161/1
                  Case 1:13-cv-01300-MSK-MJW Document 104-5 Filed 12/11/13 Page 4 of 11
10/24113                                                    State.co.us ElllCutiw Branch Mail- HB-1224 & 1229
           Appellate Case: 14-1290                  Document: 01019371747                      Date Filed: 01/16/2015    Page: 267
                   STATE OF
                   COLORADO



   HB-1224 & 1229

  Spoden -COPS, James <james.spoden@state.co.us>                                Fri, May 17, 2013 at 3:31 PM
  To: CDPS_CBI_Instacheck_AII_Users@state.co.us
  Cc: Bob Brown- COPS <robertd.brown@state.co.us>, Kart Wilmes- COPS <kart.wilmes@state.co.us>, Ron Sloan-
  COPS <ron.sloan@state.co.us>

     Attention all personnel, specifically those employees who assist in covering the Unit Hot
     Line or answering either the appeals or CHP phones,please review the following
     information related to our handling of questions concerning HB13-1224 and HB13-1229.
     Please contact your supervisor if you have any questions.

     James Spoden
     Supervisor lnstaCheck/CHP Unit
     Colorado Bureau of Investigation
     Ph: (303) 239-5850
     Fax: (303) 239-5848
     Email: James.Spoden@state.co.us


     *Effective Immediately: 05/17/13: Anyone having questions regarding technical
     guidance, interpretation and/or implementation of HB-1224 High Capacity Magazines will
     be directed to review the Governors Signing Statement issued on March 20, 2013 (see
     below) and/or to the Attorney General's Office for and additional information. The CBI is
     unable to provide legal interpretation regarding this bill, to include possible CBirule
     making noted in the bill as well.

     )i> Calls from the public:                      Refer to Gov. signing statement and/or AGs Office.

     )i> Calls from FFLs:                             Refer to Gov. signing statement and/or AGs Office.

     )i> Calls from LEAs:                            Refer to Contact their appropriate departmental legal
     advisors.

     *Effective Immediately: 05/17/13: CBiwill not be providing interpretation and/or
     technical guidance for HB-1229 Universal Background Checks. Please advise anyone with
     questions that they will need to contact the Attorney General's Office for additional
     information, interpretation or technical guidance related to this bill. This includes
     questions from the public, FFLs and LEAs.

     )i> Calls from the public:                      Refer to AGs Office.

     )i> Calls from FFLs:                             Refer to AGs Office.

     )i> Calls from LEAs:                            Refer to AGs Office and/or their own departmental legal
     advisors.



     The following HB13-1224 signing statement is being provided for your information only, it
     is the responsibility of whoever is questioning the bill, to research and/ or review this
     information themselves.
                                                                                                                        CBI-00071
https://mail.g oog le.corn'rnai l/u/OI?ui=2&i~4d7c60f517&\ieN=pt&q =1229&q s=true&search=q lJel)&tF 13eb46746bdcfb3e                 12171/2
                 Case 1:13-cv-01300-MSK-MJW Document 104-5 Filed 12/11/13 Page 5 of 11
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     STA"l""MEl''T Case: 14-1290JOIINW.
                     GOvmNOR        Document: 01019371747
                                        mCKtNLOOPIR                                       Date Filed: 01/16/2015    Page: 268

     ISSUIID MARCH 20,2013 UPON 111ESIGNINGOFHB13-1224

     In signing HB13-1224, "M acknowedge that some haw npressed concerns about the wgueness of the law's definition of
     "large-capacity magazine." By its terms, tbe law does make illegal any magazine manufxtured or purchased after July
     1, 2013, that is capaUe of accepting, or is designed to be reaclly conwrted to accept, more than 15 rounds of ammunition.
     Similar language is used in other states' statutes limiting large-capadty magazines. We know that magazine
     manufacturers haw produced and sell magazines that comply "With these other state law. that limit large-capacity
     magazines and M are aware of no successful legal challenges to those laws. And 'Mlen a Colorado-based magazine
     manufacturer came to us to share their concerns about the wgueness of the definition of"large-capacity magazine"
     contained in the original wrsion of the bill, W! lWI'"kedwth the till's sponsors to fine-tune the definition to make it more
     precise.

      We also haw heard concerns about the reCJiirement in the law that a person ~o owns a large-capacity magazine prior
     to the law's enactment may legally possess that magazine only as long as he or she "maintains continuous possession"
     ofit. We do not beliew a reasonaUe interJWetation of the law means that a person must maintain continuous "physical"
     possession of these items. ResponsiUe maintenance and handing of magazines oiMously contempates that gun owners
     may allow others to physically hold and hanlle them under appropiate circumstances. We are confident that law
     enforcement and the courts \\ill interpret the statute so as to effectuate the lawful use and care of these de'Wces.

      In considering the language ofHBlJ-1224, "M haw consulted l'Wth the Office of the Attorney General and we concur
     with its adWce that the large-capacity magazine han should be construed narrowy to ensure compiance "ith the
     requirements of the SecondAmenmnent and the Due Process Oause ofthe 14th Amenmnent. We haw signedHB13-
     1224 into law based on the understanding that it "Will be interpreted and aRJiied narrowy and consistently "With these
     important constitutional pro'Wsions.

      To this end, today "M are directing the Coloraoo Department of Public Safety to consult "With the Office of the Attorney
     General and others, as necessary, \\ith respect to the interJWetation ofHB13-1224's large-capacity magazine ban, and
     then to draft and issue, to law enforcement agencies in the State ofColoram, technical guidance on how the law should be
     interpreted and enforced This lWrk should be done by July 1 , 2013, the law's effectiw date.




                                                                                                                   CBI-00072
https://mail.google.com'mail/u/O/?ui=2&lk=4d7c60ffi17&1Aew=pt&q=1229&qs=true&searc1Fqllef)&lh=13eb46746bdcfb3e                  1218212
                 Case 1:13-cv-01300-MSK-MJW Document 104-5 Filed 12/11/13 Page 6 of 11
10/24113                                   State.co.us Ela:uth.e Branch Mail- Questions Regarding New Firearm legislation
           Appellate Case: 14-1290              Document: 01019371747                     Date Filed: 01/16/2015             Page: 269
                  STATE OF
                  COLORADO



  Questions Regarding New Firearm Legislation

  Spoden- COPS, James <james.spoden@state.co.us>                            Wed, Jun 26, 2013 at 12:37 PM
  To: COPS_CBI_Instacheck_AII_Users@state.co.us, Ron Sloan- COPS <ron.sloan@state.co.us>, Karl Wilmes-
  COPS <karl.wilmes@state.co.us>

     Please see the attached memo regarding current procedure(s) on how to answer questions or
     direct calls related to the recently passed firearm statutes: HB13-1224, HB13-1228 and HB-1229.

     We will also be covering this as an agenda item during our Unit meeting on July 1st, 2013.

     If you have any questions you may contact a supervisor or ask them at the meeting on Monday
     morning.

     Thank you!

     James Spoden
     Supervisor lnstaCheck/CHP Unit
     Colorado Bureau of Investigation
     Ph: (303) 239-5850
     Fax: (303) 239-5848
     Email: James.Spoden@state.co.us



      ~     Unit Memo 2013.docx
            18K




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https : //mail.google.com/mail/u/OI?ui=2&ik=4d7c60f517&1Aew=pt&q=1229&qs=true&search=quer~th=13f81c652f13a211                            12191/1
     Case 1:13-cv-01300-MSK-MJW Document 104-5 Filed 12/11/13 Page 7 of 11
Appellate Case: 14-1290            Document: 01019371747             Date Filed: 01/16/2015            Page: 270




                                         Attention All Personnel.

   Effective immediately, we will no longer be referring any calls regarding large Capacity Magazines,
   Brady Fee or Universal Background checks to the Attorney General's Office for anv reason.

   We will instead be providing the following direction and/or information regarding any questions or calls
   received regarding there three firearm laws. Please see each law listed below and the basic information
   or steps that we will take in answering questions.

   HB13-1224- Large Capacity Magazines- Effective July 1st, 2013 those magazines that are capable of
   holding more than 15 rounds are illegal in CO; however the statute does contain exceptions to this law
   that they want to review.

       1)   Law Enforcement Agency:
       •    Refer them to the technical guidance posted on the COPS web site.
       •    Refer them to the Colorado General Assembly's web site to review the actual law.
       •    Refer them to their own agency legal counsel for further interpretation of the law, exceptions,
            definitions, enforcement ... etc.
       •    Refer to supervisor if necessary.
       2)   FFL:
       •    Refer them to the technical guidance posted on the COPS web site.
       •    Refer them to the Colorado General Assembly's web site to review the actual law.
       •    Refer them to their own legal counsel for further interpretation of the law, exceptions,
            definitions ... etc.
       •    Refer them to their local law enforcement agency for questions pertaining to actual
            enforcement of the law.
       •    Refer to supervisor if necessary.
       3)   Public:
       •    Refer them to the Colorado General Assembly's web site to review the actual law.
       •    Refer them to their own legal counsel for further interpretation of the law, exceptions,
            definitions ... etc.
       •    Refer them to their local law enforcement agency for questions pertaining to actual
            enforcement of the law.
       •    Refer to supervisor if necessary.

   HB13-1228- Effective March 20, 2013 a $10.00 fee will be assessed to any Brady check submitted by an
   FFL to CBI. It is the responsibility of the FFL to collect the fee from the buyer and remit payment to the
   Bureau on a monthly basis.

       1) Law Enforcement Agency:
       •    Refer them to the Colorado General Assembly's web site to review the actual law.
       •    Refer them to their own legal counsel for further interpretation of the law, exceptions,
            definitions ... etc.




                                                                                                     CBI-00074
                                                                                                                   1220
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       •    Refer to supervisor if necessary.
       2)   FFL:
            •      Refer them to the Financial Section, 303-239-5728.
            •      Refer them to the Colorado General Assembly's web site to review the actual law.
            •      Refer them to their own legal counsel for further interpretation of the law, exceptions,
                   definitions ... etc.
            •      Refer to supervisor if necessary.
       3)   Public:
       •    Refer them to the Colorado General Assembly's web site to review the actual law.
       •    Refer them to their own legal counsel for further interpretation of the law, exceptions,
            definitions ... etc.
       •    Refer to supervisor if necessary.

   HB13-1229- Effective July Pt, 2013 Universal background checks will be required on both private and
   dealer firearm sales in the state of CO. Gun dealers will charge a $10.00 Brady fee for the transaction
   and, if they so choose, may charge an additional $10.00 fee for administrative costs associated with the
   processing of a private firearm transaction.

       1)   Law Enforcement Agency:
       •    Refer them to the Colorado General Assembly's web site to review the actual law.
       •    Refer them to their own legal counsel for further interpretation of the law, exceptions,
            definitions ... etc.
       •    Refer to supervisor if necessary.
       2)   FFL:
       •    Refer them to the Colorado General Assembly's web site to review the actual law.
       •    Refer them to their own legal counsel for further interpretation of the law, exceptions,
            definitions ... etc.
       •    Refer to supervisor if necessary.
       3)   Public:
       •    Refer them to the Colorado General Assembly's web site to review the actual law.
      •     Refer them to their own legal counsel for further interpretation of the law, exceptions,
            definitions ... etc.
       •    Refer to supervisor if necessary.




                                                                                                      CBI-00075
                                                                                                                   1221
                  Case 1:13-cv-01300-MSK-MJW Document 104-5 Filed 12/11/13 Page 9 of 11
10/24/13                                  State.co.us ~loe Branch Mail - Fv.d: FW: Magazine transfers I:Jetv.een Police Officers
           Appellate Case: 14-1290                 Document: 01019371747                      Date Filed: 01/16/2015                Page: 272
                   STATE OF
                   COLORADO



   Fwd: FVI; Magazine transfers between Police Officers

   Williams- COPS, Paula <paula.williams@state.co.us>                                                                 Wed, Aug 21, 2013 at 9:45AM
   To: James Spoden -COPS <james.spoden@state.co.us>



     - - - Forwarded message---
     From: Allen, Terrance <tallen@auroragov. org>
     Date: Wed, Aug 21, 2013 at 9:41AM
     Subject: FW: Magazine transfers between Police Officers
     To: "cdps_cbi_denver@state .co.us" < cdps_cbi_denver@state.co.us>




     --Original Message-
     From: Attorney General [mailto:Attorney. General@state. co. us]
     Sent: Wednesday, August 21, 2013 9:34AM
     To: Allen, Terrance
     Subject: RE: Magazine transfers between Police Officers

     This issue can be more appropriately addressed by the Colorado Bureau of lnwstigations (CBI). For your
     conwnience we are including the contact information for CBI.

            Colorado Bureau of lnwstigation
            690 Kipling Street, Suite 3000
            Demer, Colorado 80215
            Phone Number: (303) 239- 5850
            Website: http://cbi.state.co.us

     --Original Message-
     From: Allen, Terrance [mailto:tallen@auroragov.org]
     Sent: Wednesday, August 21, 2013 8:26AM
     To: Attorney General
     Subject: Magazine transfers between Police Officers

     Good Morning,

     We are seeking some guidance on transferring/selling/trading high capacity magazines with fellow officers.
     No one here wants to make a mistake or ~alate the law.
     Please ad~se if this is possible under HB13-1224.

     Your response is appreciated.

     Respectfully,

     Detectiw Terrance Allen
     Aurora Police Department
     Traffic lnwstigations
                                                                                                                                   CBI-00124
hUf)s://mall.g oog le.c;orn/mai llu/O/?ui=2&1~d7c601517&1.iew=pt&q= 1224&qs:true&searctFq uery&ti"F140a18dceab76560                             12221/3
                 Case 1:13-cv-01300-MSK-MJW Document 104-5 Filed 12/11/13 Page 10 of 11
10/24113                                  State.co.us Becutiw Branch Mail- Fwd: FW: Magazine transfers between Police Officers
           Appellate Case: 14-1290                 Document: 01019371747                      Date Filed: 01/16/2015             Page: 273
     15001 E. Alameda Pkwy.
     Aurora, CO 80012
     303-739-6351 Office
     303-739-6685 Fax
     tallen@auroragov. org




     Paula Williams
     Colorado Bureau oflnvestigation
     690 Kipling St, Denver, CO 80215
     office: 303-239-4202 fax: 303-235-0568
     email: paula.williams@state.co.us



  Spoden -COPS, James <james.spoden@state.co.us>                                                                   Wed, Aug 21, 2013 at 10:15 AM
  To: Bob Brown- COPS <robertd.brown@state.co.us>

     For your review and response. We should meet to discuss.

     James Spoden
     Supervisor lnstaCheck/CHP Unit
     Colorado Bureau of Investigation
     Ph: (303) 239-5850
     Fax: (303) 239-5848
     Email: James.Spoden@state.co.us

     [Quoted text hidden]



  Brown -COPS, Bob <robertd.brown@state.co.us>                                                                     Wed, Aug 21, 2013 at 10:29 AM
  To: "Spoden -COPS, James" <james.spoden@state.co.us>

     I sent this to Kart for rev;ew and feedback. The AG was to no longer forward these calls to us. But.. ......... we
     have another one.
     [Quoted text hidden]


                Robert Brown
                Agent in Charge
                State of Colora9o, Colorado Bureau of Investigation
                690 Kipling Street, Lakewood, CO 80215
                office: 303 .239-4212 I cell: 303.912- 1207 1 fax: 303.239-5848
                email: robertd.brown@state.co.us
     *Please note: As of Oct. 8, 2012, my email changed to robertd.brown@state.co.us Please update your
     address book accordingly. Thank you!

  Spoden -COPS, James <james.spoden@state.co.us>                                                                               2013 at 1('·"~ AM
                                                                                                                  Wed, Aug 21,CBI-00125
https://mail.g oog le.comlmai l/u/O/?ui=2&ik=4d7c60f517&1Ae-N=pt&q = 1224&q s=lrue&search=q uer~th= 14Qa18dceab76560                         12232/3
10/24113                              Stae.co..us Eleculhe Branch Mail - Fv.d: FW. Magazine transferS DetWeen t'lllce umcers
       Appellate
  To: "Brown-    Case:
              COPS,    14-1290
                    Bobn           Document: 01019371747
                         <robertd.brown@state.co.us>                                      Date Filed: 01/16/2015                Page: 274

     Understood,

     James Spoden
     Supervisor lnstaCheck/CHP Unit
     Colorado Bureau of Investigation
     Ph: (303) 239-5850
     Fax: (303) 239-5848
     Email: James.Spoden@state.co.us




     (Quoted text hidden]




                                                                                                                               CBI-00126
https:l/mail.google.com'maillu/OI?ui=2&ik=4d7c60f517&1Aew=pt&q=1224&qs=true&search=quer}&h=140a18dceab76560                                 12243/3
         Case 1:13-cv-01300-MSK-MJW Document 104-6 Filed 12/11/13 Page 1 of 5
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                                Exhibit H – Ronald Sloan Deposition Excerpt


                           1

  1              IN THE UNITED STATES DISTRICT COURT

                FOR THE DISTRICT OF COLORADO

  2

  3 Civil Action No. 13-cv-1300-MSK-MJW

  4 JOHN B. COOKE, Sheriff of Weld County,

       Colorado, et al.,

  5

             Plaintiffs,

  6

       vs.

  7

       JOHN W. HICKENLOOPER, Governor of the

  8 State of Colorado,

  9          Defendant.

  10

  11 _____________________________________________________

  12              DEPOSITION OF RONALD C. SLOAN

  13                  October 28, 2013



  ...

                           55

  3 Q. Let's take a look at the one that's page CBI




                                                                                                   1225
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  4 00017.

  5     A. Okay.

  6     Q. What's the date and time on that e-mail?

  7     A. It is Friday, May 17th, 2013, at 3:31 p.m.

  8     Q. Okay. And is this -- to save time, I'll try

  9 characterizing what is in there, and you can tell me

  10 if that's accurate, or not. Is this an e-mail from

  11 James Spoden to the InstaCheck unit, and also CCed to

  12 the CBI chain of command, including you?

  13     A. It is.

  14     Q. And is the gist of the message that,

  15 starting immediately, CBI should stop answering

  16 questions about the meaning of House Bill 1224 and

  17 House Bill 1229?

  18     A. I don't know that it says we should stop it.

  19 I believe there were questions about whether or not

  20 we should do it, and this basically is giving

  21 direction on what we should do, as opposed to

  22 stopping doing anything.

  23     Q. So is what you should do, for example, when

  24 you get calls from the public -- what does it say

  25 that CBI should do with calls from the public?

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  1     A. It is the same for -- it's a little bit

  2 different on the various bills that are articulated




                                                                                                  1226
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  3 in here. The first one is related to House Bill

  4 1224, high capacity magazines. Calls from the public

  5 referred to governor's signing statement and/or AG's

  6 office.

  7       On House Bill 1229, calls from the public

  8 referred to the attorney general's office, the AG's

  9 office. And then there is a copy of the House

  10 Bill 13-1224 signing statement, statement of

  11 governor, that's attached to that, and that's on the

  12 next page, 00018.

  13    Q. I asked Mr. Spoden why he wrote this memo,

  14 and he said it was at the request or someone in his

  15 chain of command, but he didn't remember who in

  16 particular. Was it you?

  17    A. We had the discussion, and it probably

  18 didn't come directly from me. It probably came from

  19 his supervisor.

  20    Q. Okay. And is there any significance to why

  21 this was issued on May 17th?

  22    A. I don't know that there's any specific

  23 significance to May 17th. I know that when we

  24 started getting more requests for interpretation of

  25 various and sundry circumstances from individuals

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  1 calling in to InstaCheck, there was the question,




                                                                                                 1227
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  2 What should we do regarding giving them direction on

  3 interpreting and trying to assist these folks? And

  4 we had to make some decisions about what was prudent

  5 for CBI to do in terms of both of these bills, in

  6 particular, that we were getting questions on, 1224

  7 and 1229.

  8     Q. And elaborate on the decision of why you

  9 decided that the instructions in here were the

  10 prudent thing to do?

  11     A. Well, it's the same with any statutory

  12 interpretation of particularly new laws, but any

  13 laws, in particular, where you can have any number of

  14 different scenarios. And it is very difficult for

  15 our folks to advise what the intent of the law was.

  16 And the scenarios run the gamut. And it was our

  17 decision that it wasn't really our place to offer

  18 interpretation of either of these statutes.

  19       It was our place to conduct the background

  20 checks on 1229, as indicated in the law, and on 1224

  21 we really had no responsibility over background

  22 checks, or anything else related to that, other than

  23 we had -- it was permissible for us to engage in rule

  24 making related to that, but we did not do that.

  25     Q. Okay.




                                                                                                  1228
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  1    A. So we were not in a position to interpret or

  2 give opinions on what people should do in these wide

  3 ranging scenarios that were being postured before our

  4 personnel. We took the position through the

  5 governor's signing statement and the information that

  6 was put together by the attorney general's office

  7 that that would be the best route for folks to take,

  8 to refer to the opinion of the attorney general's

  9 office and to seek their own legal counsel on those

  10 issues.




                                                                                                 1229
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             IN THE UNITED STATES DISTRICT COURT FOR THE
                              DISTRICT OF COLORADO

   Civil Action No. 13-CV-1300-MSK-MJW

   JOHN B. COOKE, Sheriff of Weld County, Colorado et al.,

         Plaintiffs v.

   JOHN W. HICKENLOOPER, Governor of the State of

         Colorado, Defendant.

      DEFENDANT’S RESPONSES TO NON-PROFIT AND INDIVIDUAL
    DISABLED PLAINTIFFS’ SECOND SET OF INTERROGATORIES AND
                   REQUESTS FOR ADMISSION

        Defendant John W. Hickenlooper, in his official capacity as Governor of the
  State of Colorado, by and through undersigned counsel, hereby submits his
  responses to the second set of interrogatories and requests for admission
  propounded by the non-profit and individual plaintiffs.

                                  AUTHENTICATION

         The names and positions of each and every person who assisted in answering
  these requests for admission are as follows:

        (a) Kathleen Spalding, Senior Assistant Attorney General
        (b) Stephanie Scoville, Senior Assistant Attorney General
        (c) Matthew Grove, Assistant Attorney General
        (d) Jack Finlaw, Chief Legal Counsel, Office of the Governor

                         GENERAL OBJECTIONS AND RESPONSES

        The Governor makes the following general objections and responses to the
  non-profit and individual Plaintiffs’ second set of interrogatories and requests for
  admission:

        1.     The Governor objects to each Discovery Request to the extent that it:

               (a) is overly broad and/or unduly burdensome;
               (b) is vague, ambiguous, and/or fails to describe with reasonable
                   particularity the information sought;




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               (c) seeks information that exceeds the scope of, or is inconsistent with
                   permissible discovery;
               (d) seeks information that is neither relevant to the subject matter of
                   this action, nor reasonably calculated to lead to the discovery of
                   admissible evidence; and/or
               (e) contains undefined terms which are ambiguous and/or prejudicial.

         2.     The above-captioned written discovery requests do not, by their terms,
  exclude privileged or protected communications from production. The Governor
  therefore objects to each discovery request to the extent that it seeks the disclosure
  of any information that is privileged or protected for any reason, including but not
  limited to information protected by the attorney-client privilege, the work product
  doctrine, the deliberative process privilege, and any other applicable privileges or
  protections.

          3.    The Governor objects to each interrogatory request for admission to the
  extent it seeks the disclosure of information gathered and/or documents prepared by
  or for the Governor or the Governor’s attorneys in anticipation of litigation or in
  preparation for trial that contains or discloses the theories, mental impressions, or
  litigation strategy of the Governor’s attorneys.

         4.     The Governor objects to each interrogatory or request for admission to
  the extent it requests information not in the Governor’s possession, custody or
  control. The Governor further objects to each request for admission to the extent
  that it seeks information in the possession, custody, or control of others. More
  specifically, Plaintiffs purport to define the terms “you,” “your” and “defendant” to
  include all persons and departments within the executive branch of Colorado state
  government. This definition inaccurately reflects the scope of this litigation.
  Plaintiffs have sued the Governor in his official capacity. The Court has recognized
  that for the purposes of this litigation, the Governor’s Office does not include either
  executive departments or the thousands of state employees who work in those
  departments. The Governor objects to the definition of “you,” “your,” and
  “defendant” to the extent that the definition purports to require the disclosure of
  information or documents from entities or persons who are not within the
  Governor’s Office and not within the custody or control of the Governor’s Office.

        5.      The Governor objects to each interrogatory or request for admission to
  the extent it seeks the disclosure of any confidential information, and will seek an
  appropriate protective order prior to disclosing any such information (to the extent



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  that the current protective order does not encompass such information). However,
  attorney-client privileged communications and work product will not be disclosed.

         6.    The Governor responds to the instant discovery requests as required
  by the Federal Rules of Civil Procedure and applicable case law. The Governor
  therefore objects to each request for admission to the extent it seeks to impose
  obligations on the Governor other than those authorized by the Federal Rules of
  Civil Procedure and applicable case law. Any purported instructions, definitions,
  requirements, or requests to the contrary are disregarded.

        7.     By disclosing information and/or materials responsive instant
  discovery requests, the Governor does not stipulate or otherwise admit that any
  such information and/or materials is authentic, relevant, or admissible. The
  Governor expressly reserves all objections to the admission of such information
  and/or materials as provided by the rules of procedure and evidence.

         8.    The Governor’s general objections and responses to the instant
  discovery requests shall be deemed continuing as to each Discovery Request and are
  not waived or in any way limited by the following specific objections and responses
  to each request for admission. Further, the Governor’s general objections and
  responses shall be deemed incorporated into the following specific objections and
  responses to each request for admission.

          9.    The Governor’s responses to the instant discovery requests are based
  upon information presently available and specifically known to the Governor in his
  official capacity. The Governor is aware of his obligation under Fed.R.Civ.P. 26(e),
  and consistent therewith, will timely supplement any specific response with
  additional or corrective information if the Governor learns that in some material
  respect the original response was incomplete or incorrect.

        10.     Defendant objects to Plaintiffs’ interrogatories to the extent they
  request all facts or information upon which Defendant may rely. Defendant’s
  responses are made subject to the ongoing discovery and trial preparation in this
  case and are based on the best information presently available.

                                INTERROGATORIES

        1. If an individual privately transfers a firearm to another individual, and a
  background check is performed pursuant to HB 1229, would you consider that




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  background check sufficient to cover any subsequent transfers of the same firearm
  between the same two individuals?

        Objection: Defendant objects to this Interrogatory based on the Court’s order
        of October 28, 2013 [Dkt. #91], which stated, “Governor Hickenlooper has no
        direct enforcement role.” As a result, the Interrogatory is not reasonably
        calculated to lead to the discovery of admissible evidence and is unduly
        burdensome and oppressive.


         2. If an employer loans an employee a firearm for more than 72 hours and
  conducts the necessary background check pursuant to HB 1229, would you require
  the employee to conduct another background check upon returning the firearm to
  his or her employer?

        Objection: Defendant objects to this Interrogatory based on the Court’s order
        of October 28, 2013 [Dkt. #91], which stated, “Governor Hickenlooper has no
        direct enforcement role.” As a result, the Interrogatory is not reasonably
        calculated to lead to the discovery of admissible evidence and is unduly
        burdensome and oppressive.


          3. Please describe the process for conducting a background check under HB
  1229 when the transferee of the firearm is not a natural person, such as a limited
  liability company or corporation.

        Objection: Defendant objects to this Interrogatory based on the Court’s order
        of October 28, 2013 [Dkt. #91], which stated, “Governor Hickenlooper has no
        direct enforcement role.” As a result, the Interrogatory is not reasonably
        calculated to lead to the discovery of admissible evidence and is unduly
        burdensome and oppressive.

       4. Please provide any reliable estimates you have of the number of existing
  magazines in Colorado whose capacity is greater than 15 without modification.

        Objection: The Governor objects to the term “reliable” as vague.

         Response: Subject to and without waiving the foregoing general and specific
  objections, the Governor is aware of no such estimates.

        5. If a farm or ranch employee utilizes a vehicle owned by his or her employer
  for more than 72 hours, and the vehicle contains a firearm, do you interpret HB
  1229 to require a background check to be performed on the employee even if he or
  she never touches the firearm?




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        Objection: Defendant objects to this Interrogatory based on the Court’s order
        of October 28, 2013 [Dkt. #91], which stated, “Governor Hickenlooper has no
        direct enforcement role.” As a result, the Interrogatory is not reasonably
        calculated to lead to the discovery of admissible evidence and is unduly
        burdensome and oppressive.

                           REQUESTS FOR ADMISSION

  1. Admit that with respect to HB 1229 there is no exception for farmers or ranchers
  who, for a period of more than 72 hours, loan firearms to employees for defense of
  livestock and crops.

        Objection: The Governor objects to Request for Admission No. 1 because it
        calls for an improper legal conclusion. Requests for admissions seeking
        legal conclusions are not proper, and a party may not demand that the
        other party admit the truth of a legal conclusion. Disability Rights
        Council v. Wash. Metro Area, 234 F.R.D. 1, 3 (D.D.C. 2006), citing
        Lakehead Pipeline Co. v. Am. Home Assurance Co., 177 F.R.D. 454, 458
        (D. Minn. 1997); see also Utley v. Wray, 2007 U.S. Dist. LEXIS 68413,
        2007 WL 2703094 at *3 (D. Kan. Sept. 14, 2007).

  2. Admit that there is no exemption in HB 1229 for firearms training conducted
  under the auspices of a nonprofit organization other than at a shooting range under
  C.R.S. § 18-12-112(6)(e)(I).

        Objection: The Governor objects to Request for Admission No. 1 because it
        calls for an improper legal conclusion. Requests for admissions seeking
        legal conclusions are not proper, and a party may not demand that the
        other party admit the truth of a legal conclusion. Disability Rights
        Council v. Wash. Metro Area, 234 F.R.D. 1, 3 (D.D.C. 2006), citing
        Lakehead Pipeline Co. v. Am. Home Assurance Co., 177 F.R.D. 454, 458
        (D. Minn. 1997); see also Utley v. Wray, 2007 U.S. Dist. LEXIS 68413,
        2007 WL 2703094 at *3 (D. Kan. Sept. 14, 2007).

  3. Admit that no licensed gun dealer in Colorado is required to perform a
  background check when requested to do so by two individuals conducting a private
  sale or transfer of a firearm.

        Objection: The Governor objects to Request for Admission No. 1 because it
        calls for an improper legal conclusion. Requests for admissions seeking
        legal conclusions are not proper, and a party may not demand that the
        other party admit the truth of a legal conclusion. Disability Rights
        Council v. Wash. Metro Area, 234 F.R.D. 1, 3 (D.D.C. 2006), citing




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        Lakehead Pipeline Co. v. Am. Home Assurance Co., 177 F.R.D. 454, 458
        (D. Minn. 1997); see also Utley v. Wray, 2007 U.S. Dist. LEXIS 68413,
        2007 WL 2703094 at *3 (D. Kan. Sept. 14, 2007).


        AS TO OBJECTIONS:

                                     JOHN W. SUTHERS
                                     Attorney General

                                     s/ Matthew D. Grove
                                     DANIEL D. DOMENICO
                                     Solicitor General*
                                     DAVID C. BLAKE*
                                     Deputy Attorney General
                                     KATHLEEN SPALDING*
                                     Senior Assistant Attorney General
                                     MATTHEW D. GROVE *
                                     Assistant Attorney General
                                     JONATHAN P. FERO*
                                     Assistant Solicitor General
                                     JOHN T. LEE*
                                     Assistant Attorney General
                                     MOLLY MOATS*
                                     Assistant Attorney General
                                     Attorneys for Governor John W. Hickenlooper
                                     *Counsel of Record
                                     1300 Broadway, 10th Floor
                                     Denver, Colorado 80203
                                     Telephone: 720-508-6000




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  AS TO RESPONSES:

         Pursuant to 28 U.S.C. § 1746, I, Jack Finlaw, do hereby verify under penalty
  of perjury under the laws of the United States of America that the foregoing
  responses to the Non-Profit and Individual Disabled Plaintiffs’ First Set of Requests
  for Admission are true and correct to the best of my information and belief.

        Dated this 1st day of November, 2013.


                                                              s/ Jack Finlaw_________
                                                             Chief Legal Counsel
                                                             Office of the Governor
                                                             State of Colorado




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                           CERTIFICATE OF SERVICE

         I hereby certify that on November 1, 2013 I served a true and complete copy
  of the foregoing Discovery Responses upon all counsel of record including those
  listed below via email:

  David B. Kopel                           david@i2i.org

  Jonathan M. Anderson                     jmanderson@hollandhart.com
  Douglas L. Abbott                        dabbot@hollandhart.com

  Richard A. Westfall                      rwestfall@halewestfall.com
  Peter J. Krumholz                        pkrumholz@halewestfall.com

  Marc F. Colin                            mcolin@brunolawyers.com
  Jonathan Watson                          jwatson@brunolawyers.com

  Anthony J. Fabian                        fabianlaw@qwestoffice.net



                                              s/Matthew Grove




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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO

  Civil Action No. 13-cv-1300-MSK-MJW

  JOHN B. COOKE, Sheriff of Weld County, et al.,

  Plaintiffs

  v.

  JOHN W. HICKENLOOPER, Governor of the State of Colorado,

  Defendant.

         GOVERNOR’S RESPONSES TO NON-PROFIT AND INDIVIDUAL
          DISABLED PLAINTIFFS’ FIRST SET OF INTERROGATORIES

        Defendant Governor Hickenlooper, by and through counsel and pursuant
  to Fed.R.Civ.P. 33(b), submits the following Responses to the Non-Profit and
  Disabled Plaintiffs’ First Set of Interrogatories.

                                AUTHENTICATION

       The names and positions of each and every person who assisted in
  answering these requests for admission are as follows:

         (a) Kathleen Spalding, Senior Assistant Attorney General
         (b) Stephanie Scoville, Senior Assistant Attorney General
         (c) Matthew Grove, Assistant Attorney General
         (d) Jack Finlaw, Chief Legal Counsel, Office of the Governor
         (e) Stephanie Donner, Senior Deputy Legal Counsel, Office of the
             Governor


                             GENERAL OBJECTIONS

         Plaintiffs purport to define the terms “you,” “your” and “defendant” to
  include all persons and departments within the executive branch of Colorado
  state government. This definition inaccurately reflects the scope of this
  litigation. Plaintiffs have sued the Governor in his official capacity. The Court
  has recognized that for the purposes of this litigation, the Governor’s Office does



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  not include either executive departments or the thousands of state employees
  who work in those departments. The Governor objects to the definition of “you,”
  “your,” and “defendant” to the extent that the definition purports to require the
  disclosure of information or documents from entities or persons who are not
  within the Governor’s Office and not within the custody or control of the
  Governor’s Office.

          Defendant objects to Plaintiffs’ interrogatories to the extent they request
  all facts or information upon which Defendant may rely. Defendant’s responses
  are made subject to the ongoing discovery and trial preparation in this case and
  are based on the best information presently available.



          OBJECTIONS AND RESPONSES TO INTERROGATORIES

        1.    Identify every person or entity to whom you have sent the May 16,
  2013, Technical Guidance. If you have sent it to any person or entity, specify the
  date(s) on which you did so.

        Response: The Governor’s office forwarded the May 16, 2013 Technical
        Guidance to the Colorado Department of Public Safety on or about May
        16, 2013.

        2.    Identify every person or entity to whom you have sent the July 10,
  2013, Technical Guidance. If you have sent it to any person or entity, specify the
  date(s) on which you did so.

         Response: The Governor’s Office forwarded the July 10, 2013 Technical
        Guidance to the Colorado Department of Public Safety on or about July
        10, 2013.

        3.    Describe in detail what you would do, or request to have done, if any
  law enforcement agency or officer sought or attempted to enforce HB 1224 in a
  manner contrary to the May 16, 2013, Technical Guidance or the July 10, 2013,
  Technical Guidance.

        Objection: This interrogatory calls for speculation. “As a general rule, a
        party is not required to answer interrogatories calling for speculation.”



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        10A Fed. Proc. L. Ed. § 26:581; see also American Oil Co. v. Penn.
        Petroleum Prod. Co., 23 F.R.D. 680 (D.R.I. 1959); Gregg v. Local 305
        IBEW, 2010 WL 556526, at *4 (N.D. Ind. Feb 9, 2010).

        Response: Subject to and without waiving the foregoing general and
        specific objections, the Governor’s Office has no role in the enforcement of
        HB 1224.

        4.    Describe in detail what you would do, or request to have done, if any
  law enforcement agency or officer arrested and/or prosecuted an individual for
  conduct described as lawful in the May 16, 2013 Technical Guidance or the July
  10, 2013 Technical Guidance.

        Objection: This interrogatory calls for speculation. “As a general rule, a
        party is not required to answer interrogatories calling for speculation.”
        10A Fed. Proc. L. Ed. § 26:581; see also American Oil Co. v. Penn.
        Petroleum Prod. Co., 23 F.R.D. 680 (D.R.I. 1959); Gregg v. Local 305
        IBEW, 2010 WL 556526, at *4 (N.D. Ind. Feb 9, 2010).

        Response: See response to interrogatory # 3.

        5.     Identify any documents (including studies, trade materials, reports,
  and articles) on which you relied in creating the First or Second Technical
  Guidance.

        Response: Subject to and without waiving the foregoing general
        objections, neither the First Technical Guidance nor the Second Technical
        Guidance was created by the Governor’s office. The Governor’s Office is
        therefore unable to identify any documents responsive to this
        interrogatory.

        6.    Identify every instance known to you in which harm inflicted by an
  assailant armed with a firearm may have been reduced as a result of that person
  having to change the firearm’s magazines.

        Objection: Defendant objects to this interrogatory on the grounds that
        the terms “harm inflicted” and “reduced” are vague and ambiguous.




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        Defendant further objects to the interrogatory on the grounds that a
        search for all incidents in which “harm may have been reduced” as the
        result of a shooter changing magazines is overly burdensome.

        Response: Subject to and without waiving the foregoing general and
        specific objections, the required pause to change magazines has provided
        an opportunity for bystander intervention and escape in a number of mass
        shooting incidents, including but not limited to:

           •   Long Island Railroad shooting, December 7, 1993.
           •   Springfield, Oregon, May 21, 1998.
           •   Tucson, Arizona, January 8, 2011.
           •   Aurora, Colorado, July 20, 2012.
           •   Newtown, Connecticut, December 14, 2012.

         7.   Describe in detail each benefit to public safety that you believe may
  result in HB 1224’s 15-round limitation on firearm magazine capacity.

        Response: Subject to and without waiving the foregoing general
        objections, benefits to public safety associated with a limitation on firearm
        magazine capacity are, without limitation, identified in the following
        documents:

           • The expert report of Jeffery Zax, Ph.D., submitted August 2, 2013.
           • The supplemental expert report of Jeffery Zax, Ph.D., submitted
             September 13, 2013.
           • The rebuttal expert report of Douglas S. Fuchs, submitted
             September 6, 2013.
           • The rebuttal expert report of John Cerar, submitted September 5,
             2013.
           • Legislative history for H.B. 1224.
           • Testimony of Laurence Tribe before the Senate Judiciary
             Committee, February 2013.
           • Christopher S. Koper, An Updated Assessment of the Federal
             Assault Weapons Ban: Impacts on Gun Markets and Gun Violence,
             1994-2003, Report to the National Institute of Justice, June 2004.




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           • Christopher S. Koper, America’s Experience with the Federal Assault
             Weapons Ban, 1994-2004, Key Findings and Implications, in
             Reducing Gun Violence in America, D. Webster and J. Vernick, eds.,
             Johns Hopkins University Press (2013).
           • David S. Fallis and James V. Grimaldi, In Virginia, High-Yield Clip
             Seizures Rise, Washington Post, January 23, 2011, page A-1.
           • David S. Fallis, High-capacity magazines saw drop during ban, data
             indicate, Washington Post, January 13, 2013, page A-4.
           • Richmond T, Branas C, Cheney R, Schwab C. The case for enhanced
             data collection of gun type. J Trauma, 2004; 57(6):1356-1360.
           • Reedy DC, Koper CS. Impact of handgun types on gun assault
             outcomes: a comparison of gun assaults involving semiautomatic
             pistols and revolvers. Inj. Prev., 2003; 9(2):151-155.
           • Firearm Injury in the U.S., Firearm & Injury Center at Penn
             (Version 2011).
           • Wintemute GJ. The relationship between firearm design and
             firearm violence. Handguns in the 1990s. JAMA, 1996;
             275(22):1749-53.
           • Gotsch KE, Annest JL, Mercy JA, Ryan GW. Surveillance for fatal
             and nonfatal firearm-related injuries—United States, 1993-1998.
             MMWR, 2001; 50(SS-2): 1-34.
           • Hargarten SW, Karlson TA, O’Brien M, Hancock J, Quebbeman E.
             Characteristics of firearms involved in fatalities. JAMA, 1996;
             275(1):42-5.



         8.   Identify all studies, reports, articles, or other documents or
  information which you believe support that there are public safety benefits to
  limiting magazine capacity to 15 rounds.

        Response: Subject to and without waiving the foregoing general
        objections, see Defendant’s response to Interrogatory No. 7.

        9.     Describe in detail your basis for believing that there are public
  safety benefits resulting from HB 1229’s requirements for the processing of
  temporary firearms transfers (when the transfer time exceeds 72 hours) for the
  following situations:




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              a. Farmers and ranchers providing firearms to their employees as
                 part of their work on the farm or ranch.

              b. Non-profit organizations loaning firearms to shooting program
                 participants.

              c. Leaving firearms with a friend or family member not included in
                 C.R.S. § 18-12-112(6)(b) or (i) to accommodate a military
                 assignment, move, or storage.

              d. Loaning of firearms to a hunter for a hunting trip but where the
                 transfer occurs days prior to and/or after the trip itself (i.e. not
                 technically “while hunting”).

              e. Loaning a firearm to someone else who lives in the same
                 residence for personal protection when there is no threat of
                 “imminent death or serious bodily injury.”



        Response: Subject to and without waiving the foregoing general
        objections, benefits to public safety associated with background checks
        are, without limitation, identified in the legislative hearings conducted on
        HB 1229. Copies of the legislative proceedings on both HB 1224 and HB
        1229 have been provided to Plaintiffs’ counsel.


         10.    What recourse does a person have under HB 1229 or any other
  laws of the State of Colorado if he or she wants to transfer a firearm but cannot
  find a Federal Firearms Licensee (“FFL”) either available or willing to perform
  the required background check?

        Objection: This is a hypothetical that calls for speculation. “As a general
        rule, a party is not required to answer interrogatories calling for
        speculation.” 10A Fed. Proc. L. Ed. § 26:581; see also American Oil Co. v.
        Penn. Petroleum Prod. Co., 23 F.R.D. 680 (D.R.I. 1959); Gregg v. Local 305
        IBEW, 2010 WL 556526, at *4 (N.D. Ind. Feb 9, 2010).




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        Response: Subject to and without waiving the foregoing general and
        specific objections, the provisions of HB 1229 speak for themselves.



        11. Identify the laws – including statutes, regulations, or case law – of
  any other State on which HB 1224 and HB 1229 are based, in whole or in part.

        Objection: This interrogatory calls for information concerning the role of
        the Governor’s Office, if any, in deliberations concerning the ultimate
        content of HB 1224 and HB 1229. This information is protected from
        discovery by the deliberative process privilege, “which covers documents
        reflecting advisory opinions, recommendations, and deliberations that are
        part of a process by which Government decisions and policies are
        formulated.” NLRB v. Sears, Roebuck & Co., 421 U.S. 132, 150 (1975).

        12. Identify all communications between you (which as defined in
  instruction 3, includes inter alia, the Colorado Bureau of Investigation and the
  Colorado Department of Natural Resources) and any governmental entity
  concerning how those entities should apply HB 1224 or HB 1229.

        Objection: Communications between and among executive agencies are
        not within the custody and control of the Governor’s Office. This
        interrogatory may seek information that is protected by the attorney-
        client privilege and the work product doctrine.

        Response: Subject to and without waiving the foregoing general and
        specific objections, see responses to interrogatories 1 and 2 and letters
        dated August 21, 2013 and July 10, 2013 from Stephanie Donner to
        Loveland city council members and Mayor Cecil Gutierrez, attached
        hereto.

         13. Identify all FFLs who have conducted background checks for private
  sales or non-sale transfers pursuant to HB 1229 from July 1, 2013 to the present
  day.
         Objection: The information requested is not within the custody and
         control of the Governor’s Office.




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        Response: Subject to and without waiving the foregoing general and
        specific objections, the Governor’s Office is unable to identify any
        documents responsive to this interrogatory.

        14. Identify and describe in detail your bases for why a physically
  disabled person should not be allowed to possess a magazine with a capacity of
  16 rounds or more for personal protection.

        Response: Subject to and without waiving the foregoing general
        objections, benefits to public safety associated with a limitation on firearm
        magazine capacity are, without limitation, identified in the documents
        cited in response to Interrogatory #7.



        AS TO OBJECTIONS:

                                      JOHN W. SUTHERS
                                      Attorney General

                                      s/ Kathleen Spalding
                                      DANIEL D. DOMENICO
                                      Solicitor General*
                                      DAVID C. BLAKE*
                                      Deputy Attorney General
                                      KATHLEEN SPALDING*
                                      Senior Assistant Attorney General
                                      MATTHEW D. GROVE *
                                      Assistant Attorney General
                                      JONATHAN P. FERO*
                                      Assistant Solicitor General
                                      JOHN T. LEE*
                                      Assistant Attorney General
                                      MOLLY MOATS*
                                      Assistant Attorney General
                                      Attorneys for Governor John W.
                                       Hickenlooper



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  AS TO RESPONSES:

          Pursuant to 28 U.S.C. § 1746, I, Jack Finlaw, do hereby verify under
  penalty of perjury under the laws of the United States of America that the
  foregoing responses to the Non-Profit and Individual Disabled Plaintiffs’ First
  Set of Interrogatories are true and correct to the best of my information and
  belief.

        Dated this 25th day of October, 2013.


                                                s/ Jack Finlaw_____________________
                                                 Chief Legal Counsel
                                                 Office of the Governor
                                                 State of Colorado




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                          CERTIFICATE OF SERVICE



        I hereby certify that on October 25, 2013 I served a true and complete
  copy of the foregoing GOVERNOR’S RESPONSES TO NON-PROFIT
  AND INDIVIDUAL DISABLED PLAINTIFFS’ FIRST SET OF
  INTERROGATORIES upon all counsel of record including those listed
  below via the CM/ECF system for the United States District Court for the
  District of Colorado:

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                                            s/Kathleen Spalding




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                                             U.S. District Court

                                             District of Colorado

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   The following transaction was entered on 12/12/2013 at 3:18 PM MST and filed on 12/11/2013

   Case Name:       Colorado Outfitters Association et al v. Hickenlooper
   Case Number:     1:13−cv−01300−MSK−MJW
   Filer:           2nd Amendment Gunsmith &Shooter Supply, LLC
                    David Bayne
                    Burrud Arms Inc.
                    Colorado Farm Bureau
                    Colorado Outfitters Association
                    Colorado State Shooting Association
                    Colorado Youth Outdoors
                    Goods for the Woods
                    Grand Prix Guns
                    Green Mountain Guns
                    Hamilton Family Enterprises, Inc.
                    Dylan Harrell
                    Jerry's Outdoor Sports
                    Magpul Industries
                    National Shooting Sports Foundation
                    Outdoor Buddies, Inc.
                    Rocky Mountain Shooters Supply
                    Specialty Sports &Supply
                    David Strumillo
                    USA Liberty Arms
                    Women for Concealed Carry
   Document Number: 109(No document attached)
   Docket Text:
    Exhibits in Support of [62] Amended Complaint, by Plaintiffs 2nd Amendment Gunsmith
   &Shooter Supply, LLC, David Bayne, Burrud Arms Inc., Colorado Farm Bureau, Colorado
   Outfitters Association, Colorado State Shooting Association, Colorado Youth Outdoors,
   Goods for the Woods, Grand Prix Guns, Green Mountain Guns, Hamilton Family Enterprises,
   Inc., Dylan Harrell, Jerry's Outdoor Sports, Magpul Industries, National Shooting Sports
   Foundation, Outdoor Buddies, Inc., Rocky Mountain Shooters Supply, Specialty Sports

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    Case 1:13-cv-1300           NEF for Docket Entry 109           Filed 12/11/2013 Page 2 of 2
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   &Supply, David Strumillo, USA Liberty Arms, Women for Concealed Carry. (Public Entry for
   [106] Restricted Document − Level 1) (Text only entry) (klyon, )


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